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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

                                                   )
    UNITED STATES SECURITIES                       )
    AND EXCHANGE COMMISSION,                       )
                                                   )
                         Plaintiff,                )      Civil Action No. 18-cv-5587
                                                   )
    v.                                             )      Hon. John Z. Lee
                                                   )
    EQUITYBUILD, INC., EQUITYBUILD                 )      Magistrate Judge Young B. Kim
    FINANCE, LLC, JEROME H. COHEN,                 )
    and SHAUN D. COHEN,                            )
                                                   )
                         Defendants.               )
                                                   )

                        RECEIVER’S SIXTEENTH STATUS REPORT
                                 (Second Quarter 2022)

         Kevin B. Duff, as the receiver (“Receiver”) for the Estate of Defendants EquityBuild, Inc.,

EquityBuild Finance, LLC, their affiliates, and the affiliate entities of Defendants Jerome Cohen 1

and Shaun Cohen, as defined in the Order Appointing Receiver entered August 17, 2018 (Dkt. 16),

as supplemented by Order entered March 14, 2019 (Dkt. 290) and Order entered February 21, 2020

(Dkt. 634) (collectively, the “Receivership Defendants”), and pursuant to the powers vested in him

by Order of this Court, respectfully submits this Sixteenth Status Report for the quarter ending

June 30, 2022.

I.       SUMMARY OF THE OPERATIONS OF THE RECEIVER

         The Receiver, together with his legal counsel, Rachlis Duff & Peel, LLC (“RDP”),

accountants KMA, S.C. f/k/a BrookWeiner, LLC (“KMA”) and Miller Kaplan Arase LLP (“Miller

Kaplan”), and forensic consultant Prometheum Technologies, Inc. (“Prometheum”), have


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 On December 30, 2020, Defendant Shaun Cohen reported to the Receiver that Defendant Jerome
Cohen died on November 28, 2020.
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undertaken, without limitation, the following activities since the submission of his Fifteenth Status

Report (Dkt. 1243):

        a. Identification and Preservation of Assets

        During the Second Quarter 2022, the Receiver continued using reasonable efforts to

determine the nature, location, and value of all property interests of the Receivership Defendants,

including monies, funds, securities, credits, effects, goods, chattels, lands, premises, leases, claims,

rights, and other assets, together with all profits, interest, or other income attributable thereto, of

whatever kind, which the Receivership Defendants owned, possessed, had a beneficial interest in,

or controlled directly or indirectly. The Receiver also continued to devote efforts to claims to

recover assets including, inter alia, those that have been asserted in state court against former

EquityBuild professionals.

        b. Property Sales

        As reported in the Receiver’s Fifteenth Status report, the final property in the Estate was

sold during the First Quarter of 2022. There were no properties remaining in the Estate and

therefore no property sales during the Second Quarter of 2022.

        On November 24, 2021, Ventus Holdings, LLC and Ventus Merrill LLC (collectively,

“Ventus”) filed a motion asking the Court to designate as a final judgment its interlocutory order

denying Ventus’ Motion for Return of Earnest Money Deposits, in an effort to seek a third Seventh

Circuit appeal (see Dkt. 1025, 1095). The Receiver filed an opposition to Ventus’ motion on

December 20, 2021 (Dkt. 1106) and Ventus filed a reply brief on January 10, 2021 (Dkt. 1120).

The motion remains pending.




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       c. Code Violations

       During the Second Quarter 2022, the Receiver received one notice of code violations

involving the property located at 4533 S Calumet. To the Receiver’s knowledge, no administrative

action has been filed regarding this violation, but if the Receiver gets notice of such a proceeding

he will notify the City’s Ownership Dispute Division that the property was sold on December 12,

2020, well before the June 3, 2022 inspection date.

       d. Financial Reporting of Receipts and Expenditures

       During the Second Quarter 2022, the Receiver continued working to prepare final reports

on all sold properties, including an accounting for all moneys the Receiver spent on the properties,

any remaining property-related expenses owed to third parties, and any credits for insurance

premium refunds received. KMA, which was retained to perform accounting, tax, and related

work in connection with winding down the business operations of the Receivership Defendants,

compiled property statements and property spreadsheets and conducted an analysis of insurance

premiums and refunds to properties in the receivership estate. Once this process is completed, the

Receiver will prepare final reports on all properties, and file a motion seeking the Court’s approval

to reimburse the Receiver’s Account and/or pay third party expenses out of the relevant property

accounts, as necessary.

       e. Open Litigation

       The Receiver is aware of four actions currently pending in the Circuit Court of Cook

County in which an EquityBuild entity is a named party, including:

       •   Equity Trust Co. Custodian FBO Joseph Kennedy IRA v. EquityBuild Inc. et al., Case

           No. 2022 CH 02709. This foreclosure action on 107-11 N. Laramie was filed March




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           25, 2022 pursuant to this Court’s Order partially lifting the stay of litigation. (Dkt.

           1176) A case management is scheduled on September 26, 2022.

       •   5201 Washington Investors LLC v. EquityBuild, Inc. et al., Case No. 2022 CH 1268.

           This foreclosure action on 5201 W Washington was filed February 15, 2022 pursuant

           to the Court’s Order partially lifting the stay. (Dkt. 1176) A pending motion to dismiss

           will be fully briefed on August 28, 2022 and a case management conference is

           scheduled on September 26, 2022.

       •   Jerrine Pennington for Valerie Pennington, Deceased v. 4533 Calumet, LLC, Case No.

           2021 L 10115. An order indefinitely transferring this matter to the circuit court’s

           special stay calendar pursuant to this Court’s Order Appointing Receiver (Dkt. 16) was

           entered on January 27, 2022.

       •   Michigan Shore Apartments, LLC v. EquityBuild, Inc., et al., Case No. 2018 CH 09098.

           This matter, which was stayed pursuant to this Court’s Order Appointing Receiver

           (Dkt. 16), is scheduled for a hearing on the status on the stay of litigation on December

           8, 2022.

       During the quarter, a Motion for Preliminary Approval of Proposed Class Action

Settlement was filed in the matter captioned Chang v. Wells Fargo Bank, N.A., Case No. 4:19-cv-

01973-HSG (N. D. Calif). Plaintiffs reported in the motion that a settlement in the amount of

$3,750,000 has been reached in that case, subject to the Court’s approval. The motion further

indicates an intention that upon certification of the class, claim forms will be sent to each of the

835 investor-lender and equity-investor (i.e., non-institutional lender) claimants who have

submitted a claim in this SEC action, and the Receiver has provided contact information for these




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835 claimants to class counsel. The motion is scheduled to be heard by the California District

Court on December 1, 2022.

       Additionally, the Receiver has received notice during the quarter that Bald v. Mudlic

Properties, LLC, et al., Case No. 2020 CH 00483, a foreclosure case involving the former

EquityBuild property located at 6801 S East End, was resolved and settlement distributions were

made to certain of the claimants in this matter. The Receiver is in the process of gathering

additional information about the settlement of this matter.

       f. Notice of Appointment of Receiver

       During the quarter, the Receiver continued his efforts to notify all necessary and relevant

individuals and entities of the appointment and to protect and preserve the assets of the

Receivership Estate. To that end, as they are identified, the Receiver has and will continue to

deliver notices to individuals or entities that have been identified as potentially possessing

property, business, books, records, or accounts of the Receivership Defendants, or who may have

retained, managed, held, insured, or encumbered, or otherwise been involved with, any of the

assets of the Receivership Defendants, as well as to parties attempting to assert claims against or

collect debts of the EquityBuild entities.

       g. Claimant Communications

       The Receiver has provided numerous resources to keep claimants informed. To provide

basic information, the Receiver established a webpage (http://rdaplaw.net/receivership-for-

equitybuild) for claimants and other interested parties to obtain information and certain court

filings related to the Receivership Estate. A copy of this Status Report will be posted on the

Receivership web site.




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       Court filings and orders are also available through PACER, which is an electronic filing

system used for submissions to the Court. Investor claimants and others seeking court filings and

orders can visit www.ilnd.uscourts.gov for information about accessing filings through PACER.

       Beyond those avenues, the Receiver continues to receive and respond to numerous emails

and voicemails from claimants and their representatives. The Receiver and his staff responded to

approximately 140 such inquiries during the Second Quarter 2022, in addition to numerous oral

and other written communications. The Receiver will continue to work to ensure that information

is available and/or otherwise provided as quickly and completely as practicable, asks all

stakeholders and interested parties for patience during this lengthy process, and reiterates that

responding to individual inquiries depletes Receivership assets. These quarterly status reports and

the Receiver’s other court filings remain the most efficient means of communicating information

regarding the activities of the Receivership Estate.

       h. Control of Receivership Property and Records

       The Receiver has continued efforts to preserve all EquityBuild property and records. The

Receiver has been working with vendor CloudNine to obtain an export of the Equity Build

document database that was created pursuant to the Court’s order approving the institutional

lenders’ plan to process EquityBuild’s internal documents (Dkt. 915) in a format that can be

maintained, preserved, and utilized during the pendency of this matter, as well as used for

document productions and investigations in the matters brought by the Receiver against the former

EquityBuild professionals.

       i. Securing Bank and Investment Accounts

       The Receiver notified, contacted, and conferred with the banks and other financial

institutions identified as having custody or control of funds, accounts, or other assets held by, in




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the name of, or for the benefit of, directly or indirectly, the Receivership Defendants. The Receiver

is still pursuing records from certain institutions.

        j. Factual Investigation

        The Receiver and his retained professionals have continued to review and analyze the

following: (i) documents and correspondence sent to or received from the EquityBuild principals,

to whose email accounts the Receiver has access; (ii) bank records from EquityBuild and its

affiliate entities; (iii) EquityBuild documents; (iv) available underlying transaction documents

received to-date from former Chicago-based EquityBuild counsel; and (v) files produced by

former EquityBuild counsel, accountants, and employees.

        k. Tax Issues

        The Receiver has informed investors that he cannot provide advice on tax matters.

Moreover, the Receiver and his retained professionals do not plan to issue 1099-INT’s. With

respect to valuation, loss, or other tax issues, investors and their tax advisors may wish to seek

independent tax advice and to consider IRS Rev. Proc. 2009-20 and IRS Rev. Rul. 2009-9.

        During the quarter, Miller Kaplan, which was retained to serve as tax administrator of the

settlement fund, worked with Receiver to gather information on property sales and to conduct an

analysis of gains and losses on property sales to calculate any potential tax liabilities.

        l. Accounts Established by the Receiver for the Benefit of the Receivership Estate

        The Receiver established custodial accounts at a federally insured financial institution to

hold all cash proceeds from the sale of the Receivership properties. These interest-bearing

checking accounts are used by the Receiver to collect liquid assets of the Estate and to pay

portfolio-related and administrative expenses. The Receiver also established separate interest-

bearing accounts to hold funds from the sale of real estate, as directed by Court order, until such




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time as it becomes appropriate to distribute such funds, upon Court approval, to the various

creditors of the Estate, including but not limited to the defrauded investors or lenders. Attached

as Exhibit 1 is a schedule reflecting the balance of funds in these property specific accounts as of

June 30, 2022, with a description of any changes to the account balance during the quarter.

II.    RECEIVER’S FUND ACCOUNTING

       The Receiver’s Standardized Fund Accounting Report (“SFAR”) for the Second Quarter

2022 is attached hereto as Exhibit 2. The SFAR discloses the funds received and disbursed from

the Receivership Estate during this reporting period. As reported in the SFAR, cash on hand as of

June 30, 2022 equaled $1,052,458.75. The information reflected in the SFAR is based on records

and information currently available to the Receiver. The Receiver and his advisors are continuing

with their evaluation and analysis.

III.   RECEIVER’S SCHEDULE OF RECEIPTS AND DISBURSEMENTS

       The Receiver’s Schedules of Receipts and Disbursements (“Schedule”) for the Second

Quarter 2022 are attached hereto as Exhibit 3. These Schedules in the aggregate reflect $685.96

in total receipts and $73,876.22 in total disbursements to and from the Receiver’s (non-property)

accounts. These disbursements include $45,078.42 paid to Rachlis Duff & Peel LLC for

reimbursement of out-of-pocket expenses that were previously approved by the Court. (Dkt. 614,

710, 824, 1031, 1213)

IV.    RECEIVERSHIP PROPERTY

       All known Receivership Property is identified and described in the Master Asset List

attached hereto as Exhibit 4. The Master Asset List identifies 56 checking accounts in the names

of the affiliate entities identified as Receivership Defendants, reflecting transfers of $213,249.56

to the Receiver’s account. (See also Dkt. 348 at 23-24 for additional information relating to these




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funds) The Master Asset List also identifies funds in the Receiver’s account in the amount of

$1,052,458.75.

       The Master Asset List does not include funds received or recovered after June 30, 2022.

Nor does it include potentially recoverable assets for which the Receiver is still evaluating the

value, potential value, and/or ownership interests. The Receiver is in the process of evaluating

certain other types of assets that may be recoverable by the Receivership Estate.

       Additionally the balances of the 105 property-specific interest-bearing accounts

established to hold the proceeds from sold real estate is attached as Exhibit 1. These accounts

cumulatively contained $70,613,902.80 as of June 30, 2022.

V.     LIQUIDATED AND UNLIQUIDATED CLAIMS HELD BY THE RECEIVERSHIP
       ESTATE

       The Receiver and his attorneys are analyzing and identifying potential claims, including,

but not limited to, potential fraudulent transfer claims and claims for aiding and abetting the fraud

of the Receivership Defendants. As it relates to potential actions against claimants, the Receiver

anticipates that any such claims will be brought as part of the claims dispute resolution process,

consistent with the Court’s prior direction on such matters in establishing the claims dispute

resolution process.

       During the Second Quarter 2022, the Receiver continued to prosecute actions in the Circuit

Court of Cook County and the Northern District of Illinois against former EquityBuild outside

counsel. These claims are for professional malpractice and aiding and abetting the Cohens’

breaches of their fiduciary duties.

       In Duff v. Rock Fusco & Connelly, LLC, Ioana Salajanu, and Berbert Bregman Schwartz

& Gilday, LLC, Case No. 20-L-8843 (the “Rock Fusco Action”), a case management schedule was

entered which contemplates the case will be ready for trial in mid or late 2023. During the quarter,



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the Receiver continued to address written discovery issues, continued review and analysis of

EquityBuild records and records produced in discovery, and engaged in deposition discovery.

        In Duff v. Mark L. Rosenberg and Law Offices Of Mark L. Rosenberg, Civil Action No.

1:21-cv-6756, N D. Ill (the “Rosenberg Action”), which was removed from the Circuit Court of

Cook County, briefing was completed on the defendant’s motion for summary judgment on the

grounds that the claims asserted by the Receiver were time-barred, and defendants’ motion was

denied following a June 22, 2022 hearing. On May 25, 2022, the Receiver filed a Motion for Rule

11 Sanctions on the basis that the defendants’ summary judgment motion was not well-grounded

in either fact or law.

        Additionally, during the Second Quarter 2022 the Receiver served multiple subpoenas for

records related to his claims and potential claims, and the Receiver and his professionals reviewed

the records that were produced pursuant to these and previously-served subpoenas.

VI.     CREDITORS AND CLAIMS AGAINST THE RECEIVERSHIP ESTATE

        During the Second Quarter 2022, the Receiver continued to work on the accuracy and

completeness of its records regarding the nearly 2400 submitted claims. 2 Attached hereto as

Exhibit 5 is an updated version of the Receiver’s “Master Claims Exhibit” listing, showing for

each individual claim submitted, (i) the property address or fund name, (ii) the type (e.g., property

in the Receivership Estate, a former EquityBuild property disposed of prior to the establishment

of the receivership, or an equity fund), (iii) the claimant name, (iv) the total amount claimed, (v)

the category identified by the claimant (e.g., investor-lender, equity investor, institutional lender,


2
  Because many of the Proof of Claim (“POC”) forms submitted to the Receiver included claims
against more than one property, and many claimants submitted more than one POC for the same
claims, the most accurate measure of the total number of claims is the number of unique claims
against a particular property or fund, which total nearly 2400. About 165 of these claims, however,
are asserted against properties that are not part of the Receivership Estate, because they were sold
or otherwise disposed of before the Order Appointing Receiver was entered.


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trade creditor, independent contractor or other), (vi) the amount claimed to have been loaned or

invested in the particular property or fund (where it could be determined from the face of the claim

form), and (vii) the unique claim number assigned to the claim. The updated Exhibit 5 reflects

any additional information provided to the Receiver by claimants since the filing of the Receiver’s

last status report.

        During the quarter, the Court held two hearings regarding the claims process. The first

hearing, held on April 22, 2022, related primarily to (1) the separate claims process requested by

institutional lender claimants U.S. Bank National Association, as Trustee (“U.S. Bank”) and

Midland Loan Services, as Servicer (“Midland”) regarding the resolution of their claims relating

to properties in which no other claimants have submitted a claim (the “Single-Claims Process”);

and (2) the request of institutional lender claimant BC57, Inc., for an evidentiary hearing in the

Group 1 claims process, which the Court took under advisement. At the second hearing, on May

6, 2022, the Court addressed the claims process generally, and heard from a number of individual

investor-lender claimants. Both during and after the hearing, the Receiver heard from several

claimants who had requested an appearance, who said that they had technical difficulty and were

unable to join the videoconference and/or call-in option, and the Receiver informed these claimants

of the Court’s assurances that further opportunities to address the Court would be provided to

claimants.

        During the quarter, the Receiver and his counsel devoted substantial time to the review and

analysis of claimants’ proof of claim forms and documents submitted with the claim forms related

to the aforementioned claims. This process is ongoing, and the although substantial progress has




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been made, there remains much to be done. 3 The Receiver is working toward being in a position

to make timely recommendations on upcoming groups of claims as the claims process proceeds at

an accelerated pace, as anticipated based on the Court’s comments at the May 6, 2022 status

hearing.

       The Receiver and his counsel also devoted substantial effort during the quarter to the

Single-Claims Process. The Receiver’s counsel completed review of the extensive productions

served in response to subpoenas to third-party title companies Primary Title Services LLC,

OS National LLC, Avenue 365 Title Company, and Chicago Title Insurance Company, and by

loan originator CBRE Capital Markets Inc. On April 23 and April 27, CoreVest, the originator of

the Midland Loans produced documents comprising and additional 11,000 pages, which were also

reviewed and analyzed by the Receiver during the quarter.

       The Receiver’s Initial Position Statement Regarding Single-Claim Properties was filed on

April 29, 2022 (Dkt. 1244) In that submission, the Receiver notified the Court and the claimants

that he would not pursue an avoidance claim regarding two of the properties—6749-59 S. Merrill

Avenue (property #65) and 7110-16 S Cornell Avenue (property #66)—and made

recommendations to the Court regarding distributions to claimant U.S. Bank on its claims against

those two properties Id. Because the discovery from the originator of the Midland loans secured

by the other 26 of the single-claim properties was not received until just days before the position

statement was filed, the Receiver was not in a position to advise the Court as to whether or not he

would assert an avoidance claim against Midland. Id. at 4-5.




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  As reported previously, the review of claims in this case is extraordinarily complex and time
consuming due to a variety of reasons, including the frequent rollover of claimant funds from one
property to another property or fund, lien releases or assignments, property sales, and incomplete
or unsupported claim forms. (See, e.g., Dkt. 1243 at 10)


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       Subsequently, the Receiver entered settlement discussions with both U.S. Bank and

Midland regarding the single-claim properties. In connection with these discussions, the Receiver

undertook a cost reimbursement analysis for the impacted properties, calculated fee allocations for

the current quarter, and worked with his accountants to determine whether any tax liabilities were

anticipated. The Receiver reached an agreement with U.S. Bank, a joint motion to approve the

distribution of the proceeds of sale was filed by the parties on July 12, 2022 (Dkt. 1272), and the

Court set a July 29, 2022 deadline for objections (Dkt. 1274). Discussions with Midland have led

to an agreement in principal and the parties anticipate filing a motion to approve distribution of

the proceeds from the sale of the 26 properties impacted in the coming weeks.

       Finally, the Receiver repeats the following reminders regarding claims and the claims

process: claimants may want to consider whether to hire counsel to assist them with the claims

process. Claimants do not have an obligation to retain counsel in order to participate in the claims

process, but the Receiver and his counsel cannot provide legal advice to any claimant, nor can the

Receiver advise claimants regarding whether or not they should retain counsel. Any claimant that

chooses to proceed without counsel should visit the section of the Court’s website

(www.ilnd.uscourts.gov) named “Information for People Without Lawyers (Pro Se)” which

provides useful information and also states the following: “The rules, procedures and law that

affect your case are very often hard to understand. With that in mind, you should seriously consider

trying to obtain professional legal assistance from an attorney instead of representing yourself as

a pro se party.” Claimants may also want to speak with a lawyer to assist them in determining for

themselves whether or not to retain counsel.

       All claimants have a continuing responsibility to ensure that the Receiver at all times has

current and up-to-date contact information so that the Receiver may provide important information




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relating to the claims process, the claimant’s claim, or the Receivership Estate. Additionally, any

claimants who have transferred their interests to a different IRA or 401k custodian, or to

themselves individually, should notify the Receiver and provide documentation of the transfer or

distribution from their former custodian.     Claimants may provide updated information and

documentation to the Receiver at equitybuildclaims@rdaplaw.net.

VII.   PROFESSIONAL FEES AND EXPENSES

       As of June 30, 2022, there were approximately $3,163,776.38 in unpaid fees and expenses

for all professionals that have been approved by the Court subject to certain holdbacks, and the

Receiver has submitted his 13th application for $155,709.74 of fees and costs incurred in the third

quarter of 2021 (Dkt. 1087) his 14th application for $151,828.35 of fees and costs incurred in the

fourth quarter of 2021 (Dkt. 1181), and his 15th application for the first quarter of 2022 for

$241,175.84 (Dkt. 1251). Objections to the 13th fee and 14th fee applications are fully briefed.

(Dkt. 1188, 1207, 1220, 1250, 1254, 1255) The Court has not set a deadline for objections to the

15th fee application.

       Pursuant to the Court’s August 17, 2021, Order Approving First-Priority Receiver’s Lien

for Certain Categories of Expenses, granting in part the Receiver’s motion for approval to pay

certain previously approved fees and costs (Dkt. 947, 1030), the Receiver filed his Motion for

Approval of Allocation of Fees to Properties for Payment Pursuant to Receiver’s Lien (Dkt. 1107),

which was referred to Magistrate Judge Kim. Objections to the Receiver’s fee allocation motion

were filed on March 4 and March 6, respectively, by the Federal Housing Finance Agency

(“FHFA”) (Dkt. 1209) and the institutional lenders (Dkt. 1210), and the Receiver filed his

consolidated Reply on April 1, 2022 (Dkt. 1230). The FHFA’s motion for leave to file a surreply

was denied by Magistrate Judge Kim, and the FHFA filed an objection to the Magistrate Judge’s

denial, which the district court overruled. (Dkt. 1235, 1236, 1246, 1247). On June 22, 2022,


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 Magistrate Judge Kim issued a memorandum opinion and order overruling the FHFA’s objections

 to the Receiver’s motion for approval of fee allocations. (Dkt. 1257, 1258) The FHFA filed

 objections to this order as well, to which the Receiver filed a response on July 20, 2022, and the

 FHFA was granted leave to file a reply on July 29. 2022. (Dkt. 1266, 1275, 1278, 1279) The

 remainder of the Receiver’s fee allocation motion remains pending.

 VIII. CONCLUSION

         At this time, the Receiver recommends the continuation of the Receivership for at least the

following reasons:

         1.     The continued investigation and analysis of current assets and potentially

 recoverable assets for which the Receiver is still evaluating the value, potential value, and/or

 ownership interests;

         2.     The continued investigation, analysis, and recommendations regarding the claims

 against the Receivership Estate, including, but not limited to, the claims and records of investors;

         3.     The continued investigation, analysis, and recovery of potential fraudulent transfer

 claims and claims against third parties;

         4.     The continued analysis and formulation, in consultation with the SEC and the

 Court, of a just and fair distribution plan for the creditors of the Receivership Estate; and

         5.     The discharge of any other legal and/or appointed duties of the Receiver as

 identified in the August 17, 2018 Order Appointing Receiver, or as the Court deems necessary.




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Dated: August 1, 2022                       Respectfully submitted,

                                            Kevin B. Duff, Receiver

                                     By:     /s/ Michael Rachlis
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                                 CERTIFICATE OF SERVICE

       I hereby certify that I provided service of the foregoing Receiver’s Sixteenth Status Report,

via ECF filing, to all counsel of record on August 1, 2022.

       I further certify that I caused true and correct copies of the foregoing to be served upon the

following individuals or entities by electronic mail:

       -       All known EquityBuild investors; and

       -       All known individuals or entities that submitted a proof of claim in this action (sent

               to the e-mail address each claimant provided on the claim form).

       I further certify that the Receiver’s Sixteenth Status Report will be posted to the

Receivership webpage at: http://rdaplaw.net/receivership-for-equitybuild




                                                        /s/ Michael Rachlis

                                                        Michael Rachlis
                                                        Rachlis Duff & Peel, LLC
                                                        542 South Dearborn Street, Suite 900
                                                        Chicago, IL 60605
                                                        Phone (312) 733-3950
                                                        Fax (312) 733-3952
                                                        mrachlis@rdaplaw.net




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                                                           SEC v. EquityBuild, Inc., et al.
                                                                  No. 18‐cv‐5587
                                        Balances of Funds in Property Specific Accounts as of June 30, 2022




                                                   Account Balance                                             Reason for Change (if any)
 Account Number         Account Name                                       Date of Settlement
                                                 (as of June 30, 2022)                                              4/1/22 ‐ 6/30/22
0025              7301 S Stewart Ave                        $303,808.84               11/4/2019   Interest earned, $189.30
0033              5001‐05 S Drexel                        $2,729,511.99               5/22/2019   Interest earned, $1,700.74
0041              7927‐49 S Essex                           $645,277.42                5/1/2019   Interest earned, $402.06
0058              8100‐14 S Essex                           $930,071.30               4/30/2019   Interest earned, $579.51
0066              6160‐6212 S King                          $430,463.41               4/30/2019   Interest earned, $268.22
0074              1102 Bingham                              $702,015.27               10/6/2021   Interest earned, $437.42
0108              8047 S. Manistee                          $806,962.37                2/5/2020   Interest earned, $502.81
0116              5955 S. Sacramento                        $450,669.19               11/5/2019   Interest earned, $280.81
0124              6001‐05 S. Sacramento                     $329,565.52               11/5/2019   Interest earned, $205.35
0132              7026‐42 S. Cornell                        $869,233.15               11/6/2019   Interest earned, $541.61
0140              7237‐43 S. Bennett                        $684,088.38               6/30/2021   Interest earned, $426.24
0157              7834‐44 S. Ellis                        $1,638,648.83               11/4/2019   Interest earned, $1,021.03
0165              701‐13 S. 5th Avenue                      $617,213.81               3/31/2020   Interest earned, $384.58
0199              7625 S. East End                        $1,243,303.26              12/20/2019   Interest earned, $774.69
0207              7635 S. East End                        $1,050,190.46              12/20/2019   Interest earned, $654.36
0215              7748 S. Essex                           $1,195,971.91              12/18/2019   Refund from title company of holdback for
                                                                                                  administrative judgment, $7,927.00; interest
                                                                                                  earned, $743.84
0223              7750 S. Muskegon                         $410,069.20               12/18/2019   Interest earned, $255.51
0231              7749‐59 S. Yates                         $639,888.35                4/22/2020   Interest earned, $398.71
0249              7450 S. Luella                           $198,627.60                 5/7/2020   Interest earned, $123.76
0256              4520‐26 S. Drexel                      $6,212,249.76                5/21/2020   Interest earned, $3,870.80
0264              6749‐59 S. Merrill                     $1,411,777.33                4/28/2020   Interest earned, $879.66
0272              7110 S. Cornell                        $1,171,574.54                8/13/2020   Interest earned, $730.00
0280              7109 S. Calumet                        $1,582,149.25                2/28/2022   Property manager's post‐sale distribution of funds,
                                                                                                  $166,931.69; refund for insurance payments,
                                                                                                  $7,955.00; interest earned, $920.77
0298              7600 S. Kingston                       $1,409,610.12                12/3/2020   Interest earned, $878.32
0306              7656 S. Kingston                         $235,369.12                12/2/2020   Interest earned, $146.66
0314              8201 S. Kingston                         $275,404.23                5/21/2020   Interest earned, $171.60
0322              8326‐58 S. Ellis                       $1,335,361.97                6/11/2020   Interest earned, $832.05
0330              6949‐59 S. Merrill                     $1,544,687.70                12/1/2020   Interest earned, $962.48
0355              7546 S. Saginaw                          $523,881.40                5/13/2020   Interest earned, $322.63
0363              638 N. Avers                             $629,295.73               10/15/2021   Interest earned, $392.11
0371              5450 S. Indiana                        $1,795,590.52                6/25/2020   Interest earned, $1,118.82
0389              6437 S. Kenwood                        $1,344,777.25                6/25/2020   Interest earned, $837.92
0397              7300 S. St. Lawrence                     $310,759.13                7/27/2020   Interest earned, $193.63
0405              7760 S. Coles                           $123,302.48                 6/26/2020   Interest earned, $76.83
0413              8000 S. Justine                          $193,660.77                6/26/2020   Interest earned, $120.66
0421              8107‐09 S. Ellis                         $111,287.18                6/30/2020   Interest earned, $69.34
0439              8209 S. Ellis                            $264,293.43                 7/1/2020   Interest earned, $164.68
0447              8214‐16 S. Ingleside                     $209,641.50                6/30/2020   Interest earned, $130.62
0454              11117 S. Longwood                      $1,695,949.77                 7/8/2020   Interest earned, $1,056.73
0462              1700 Juneway                           $2,778,729.92               10/20/2020   Interest earned, $1,731.40
0470              1131‐41 E. 79th                        $1,181,702.85               12/22/2020   Interest earned, $736.31
0488              2736 W. 64th                             $380,923.95                9/29/2020   Interest earned, $237.35
0496              3074 Cheltenham                        $1,016,626.05                9/24/2020   Interest earned, $633.45
0504              5618 S. Martin Luther King               $628,186.10                9/29/2020   Interest earned, $391.42
0512              6250 S. Mozart                           $910,179.14               12/22/2020   Interest earned, $567.12
0520              6355 S. Talman                           $480,075.13                9/29/2020   Interest earned, $299.13
0538              6356 S. California                       $316,199.93                9/29/2020   Interest earned, $197.02
0546              6554‐58 S. Vernon                        $542,230.40               10/15/2020   Interest earned, $337.86
0553              7051 S. Bennett                          $477,726.26                9/23/2020   Interest earned, $297.67
0561              7201 S. Constance                        $964,303.36                9/30/2020   Interest earned, $600.85
0579              7201‐07 S. Dorchester                    $422,191.33               10/20/2020   Interest earned, $263.06
0587              7508 S. Essex                            $749,753.56               10/28/2020   Interest earned, $467.16
0595              7957 S. Marquette                        $285,373.08                9/21/2020   Interest earned, $177.82
0603              4533 S. Calumet                        $2,202,060.74                12/1/2020   Interest earned, $1,372.08
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                                                           SEC v. EquityBuild, Inc., et al.
                                                                  No. 18‐cv‐5587
                                        Balances of Funds in Property Specific Accounts as of June 30, 2022




                                                   Account Balance                                             Reason for Change (if any)
 Account Number         Account Name                                       Date of Settlement
                                                 (as of June 30, 2022)                                              4/1/22 ‐ 6/30/22
0611              1017 W. 102nd                             $105,929.28               5/26/2021   Interest earned, $66.00
0629              1516 E. 85th                              $110,114.24               5/26/2021   Interest earned, $68.61
0637              417 Oglesby                               $101,787.34               5/26/2021   Interest earned, $63.42
0645              7922 S. Luella                            $143,092.65               5/26/2021   Interest earned, $89.16
0652              7925 S. Kingston                           $88,207.77               5/26/2021   Interest earned, $54.96
0660              8030 S. Marquette                          $81,025.08               5/26/2021   Interest earned, $50.48
0678              8104 S. Kingston                          $150,417.25               5/26/2021   Interest earned, $93.73
0686              8403 S. Aberdeen                          $115,708.25               5/26/2021   Interest earned, $72.10
0694              8405 S. Marquette                         $113,349.28               5/26/2021   Interest earned, $70.63
0702              8529 S. Rhodes                            $134,595.68               5/26/2021   Interest earned, $83.86
0710              9212 S. Parnell                            $98,578.63               5/26/2021   Interest earned, $61.42
0728              10012 S. LaSalle                           $87,614.72               5/26/2021   Interest earned, $54.59
0736              11318 S. Church                           $126,636.26               5/26/2021   Interest earned, $78.90
0744              6554 S. Rhodes                             $87,330.46               5/26/2021   Interest earned, $54.42
0751              6825 S. Indiana                           $127,580.04               5/26/2021   Interest earned, $79.50
0769              7210 S. Vernon                             $61,573.13               5/26/2021   Interest earned, $38.37
0777              7712 S. Euclid                            $131,086.96               5/26/2021   Interest earned, $81.68
0785              8107 S. Kingston                           $98,269.38               5/26/2021   Interest earned, $61.23
0793              8346 S. Constance                         $136,300.80               5/26/2021   Interest earned, $84.92
0801              8432 S. Essex                             $134,487.54               5/26/2021   Interest earned, $83.80
0819              8517 S. Vernon                            $133,307.73               5/26/2021   Interest earned, $83.07
0827              2129 W. 71st                               $64,151.87               5/26/2021   Interest earned, $39.97
0835              9610 S. Woodlawn                           $87,848.29               5/26/2021   Interest earned, $54.73
0843              1401 W. 109th                              $56,504.71               5/26/2021   Interest earned, $35.21
0850              1139 E. 79th                                $3,719.93                     n/a   Interest earned, $2.32
0868              4611 S. Drexel                          $4,939,231.22               5/14/2021   Interest earned, $3,077.59
0876              6217 S. Dorchester                      $2,214,166.26                7/6/2021   Interest earned, $1,379.63
0884              7255 S. Euclid                          $1,070,667.89               6/29/2021   Interest earned, $667.12
0892              7024 S. Paxton                          $1,835,428.30               4/22/2021   Interest earned, $1,143.64
0900              4317 S. Michigan                          $814,333.79               12/2/2020   Interest earned, $507.40
0918              7701 S. Essex                             $733,747.76              11/16/2020   Interest earned, $457.19
0926              816 E. Marquette                         $824,031.02               11/18/2020   Interest earned, $513.45
0934              1422 E. 68th                             $450,252.85                6/23/2021   Interest earned, $280.55
0942              2800 E. 81st                             $445,609.17                4/30/2021   Interest earned, $277.65
0959              4750 S. Indiana                          $740,396.90                4/21/2021   Interest earned, $461.33
0967              7840 S. Yates                            $364,854.66                4/23/2021   Interest earned, $227.34
0975              7442‐48 S. Calumet                       $542,204.59               11/16/2020   Interest earned, $337.84
0983              431 E. 42nd Place                         $65,028.40                11/5/2020   Interest earned, $40.52
0991              1414 E. 62nd Place                        $35,180.29                5/26/2021   Interest earned, $21.92
1007              2136 W. 83rd Street                      $101,907.95                5/26/2021   Interest earned, $63.50
1015              7933 S. Kingston                          $95,780.36                5/26/2021   Interest earned, $59.68
1023              8800 S. Ada                              $127,226.74                5/26/2021   Interest earned, $79.27
1031              3213 S. Throop                           $137,731.37                5/26/2021   Interest earned, $85.82
1049              3723 W. 68th Place                       $124,362.72                5/26/2021   Interest earned, $77.49
1056              406 E. 87th Place                         $99,855.06                5/26/2021   Interest earned, $62.22
1064              61 E. 92nd Street                        $103,515.21                5/26/2021   Interest earned, $64.50
1072              7953 S. Woodlawn                         $128,772.95                5/26/2021   Interest earned, $80.23
1080              5437 S. Laflin                            $45,836.04                5/26/2021   Interest earned, $28.56
1098              6759 S Indiana                            $90,364.82                5/26/2021   Interest earned, $56.30
1106              310 E 50th Street                        $189,383.67                5/26/2021   Interest earned, $118.00
1114              6807 S. Indiana                          $122,350.30                5/26/2021   Interest earned, $76.23

                  TOTAL FUNDS HELD:                     $70,613,902.80
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                    STANDARDIZED FUND ACCOUNTING REPORT for EQUITYBUILD, INC., et al. ‐ Cash Basis
                                   Receivership; Civil Court Docket No. 18‐cv‐05587
                                      Reporting Period 4/1/2022 to 6/30/2022

Fund Accounting (See Instructions):
                                                                             Detail        Subtotal       Grand Total
Line 1        Beginning Balance (As of 4/1/2022):                         $1,125,649.01                   $1,125,649.01
              Increases in Fund Balance:
Line 2        Business Income
Line 3        Cash and unliquidated assets
Line 4        Interest/Dividend Income                                         $685.96
Line 5        Business Asset Liquidation
Line 6        Personal Asset Liquidation
Line 7        Net Income from Properties
Line 8        Miscellaneous ‐ Other
                Total Funds Available (Line 1‐8):                                                         $1,126,334.97
              Decrease in Fund Balance:
Line 9      Disbursements to Investors
Line 10     Disbursements for receivership operations
   Line 10a Disbursements to receiver or Other Profesionals                 ($73,876.22)
   Line 10b Business Asset Expenses²
   Line 10c Personal Asset Expenses
   Line 10d Investment Expenses
   Line 10e Third‐Party Litigation Expenses
                1. Attorney Fees
                2. Litigation Expenses
              Total Third‐Party Litigation Expenses                                             $0.00
   Line 10f Tax Administrator Fees and Bonds
  Line 10g Federal and State Tax Payments
              Total Disbursements for Receivership Operations                              ($73,876.22)
Line 11     Disbursements for Distribution Expenses Paid by the Fund:
   Line 11a    Distribution Plan Development Expenses:
                 1. Fees:
                       Fund Administrator……………………………………………………….….
                       Independent Distribution Consultant (IDC)…………………
                       Distribution Agent……………………….……………………………………
                       Consultants………………………………………………….…………………….
                       Legal Advisers…………………………………………………………….……..
                       Tax Advisers……………………………………………………………………….
                  2. Administrative Expenses
                  3. Miscellaneous
               Total Plan Development Expenses                                                  $0.00
  Line 11b       Distribution Plan Implementation Expenses:
                   1. Fees:
                       Fund Administrator…………..…………….…………………………
                       IDC……………………………………………………………………………..
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                 STANDARDIZED FUND ACCOUNTING REPORT for EQUITYBUILD, INC., et al. ‐ Cash Basis
                                Receivership; Civil Court Docket No. 18‐cv‐05587
                                   Reporting Period 4/1/2022 to 6/30/2022

                    Distribution Agent……………………….………………..…..………
                    Consultants………………………………………………….…………….
                    Legal Advisers………………………………………….………………………..
                    Tax Advisers……………………………………………………..………………..
                 2. Administrative Expenses
                 3. Investor identification
                    Notice/Publishing Approved Plan………………………………….
                    Claimant Identification……………………………………………………
                    Claims Processing……………………………………………………………..
                    Web Site Maintenance/Call Center……………………………….
                 4. Fund Adminstrator Bond
                 5. Miscellaneous
                 6. Federal Account for Investor Restitution
                   (FAIR) reporting Expenses
                 Total Plan Implementation Expenses
                 Total Disbursement for Distribution Expenses Paid by the Fund                          $0.00
Line 12     Disbursement to Court/Other:
   Line 12a     Investment Expenses/Court Registry Investment
                System (CRIS) Fees
   Line 12b     Federal Tax Payments
              Total Disbursement to Court/Others:
              Total Funds Disbursed (Lines 1‐12):                                                                    ($73,876.22)
Line 13         Ending Balance (As of 6/30/2022):                                                                 $1,052,458.75
Line 14     Ending Balance of Fund ‐ Net Assets:
   Line 14a    Cash & Cash Equivalents                                                                            $1,052,458.75
   Line 14b    Investments (unliquidated EquityBuild investments)
   Line 14c    Other Assets or uncleared Funds
               Total Ending Balance of Fund ‐ Net Assets                                                          $1,052,458.75




                                                               Receiver:
                                                                                              /s/ Kevin B. Duff
                                                                                (Signature)

                                                                            Kevin B. Duff, Receiver EquityBuild, Inc., et al.
                                                                                (Printed Name)

                                                                    Date:                     July 22, 2022
Case: 1:18-cv-05587 Document #: 1280 Filed: 08/01/22 Page 22 of 68 PageID #:70831
                      EQUITYBUILD RECEIVERSHIP ESTATE ACCOUNT #0181
                                     Second Quarter 2022
                             Schedule of Receipts and Disbursements


  Beginning Balance
  4/1/22                                                                          $936,122.20

  RECEIPTS

                                  Received From                Amount
                         5/1/2022 Interest                              $198.78
                        5/31/2022 Interest                              $192.42
                        6/30/2022 Interest                              $192.45


                                 TOTAL RECEIPTS:                                     $583.65



  DISBURSEMENTS
                                 Paid To                       Amount




                                 TOTAL DISBURSEMENTS:                                   $0.00


                                 Grand Total Cash on Hand at
                                 6/30/2022:                                       $936,705.85
Case: 1:18-cv-05587 Document #: 1280 Filed: 08/01/22 Page 23 of 68 PageID #:70832
                      EQUITYBUILD RECEIVERSHIP ESTATE ACCOUNT #0348
                                     Second Quarter 2022
                             Schedule of Receipts and Disbursements


  Beginning Balance
  4/1/22                                                                                  $189,526.81

  RECEIPTS

                                      Received From                     Amount
                             5/1/2022 Interest                                   $39.60
                            5/31/2022 Interest                                   $33.83
                            6/30/2022 Interest                                   $28.88

                                     TOTAL RECEIPTS:                                         $102.31

  DISBURSEMENTS

                                     Paid To                            Amount

                                      Brookweiner LLC (3Q & 4Q2020
  2017                        4/21/22 fees)                                ($18,453.00)
                                      Miller Kaplan Arase LLP (1Q2021
  2018                        4/21/22 fees)                                 ($5,998.00)
                                      Prometheum Technologies
  2019                        4/21/22 (2Q2021 fees)                          ($495.00)
                                      KMA, SC (BrookWeiner) (1st &
  2020                         6/1/22 2d Quarter 2021 fees)                 ($3,851.80)
                                      Rachlis Duff & Peel LLC
                                      (reimbursement of approved
  2021                        6/15/22 expenses 2Q2019-2Q2021)              ($45,078.42)

                                     TOTAL DISBURSEMENTS:                                 ($73,876.22)

                                     Grand Total Cash on Hand at
                                     6/30/2022:                                           $115,752.90
     Case: 1:18-cv-05587 Document #: 1280 Filed: 08/01/22 Page 24 of 68 PageID #:70833



                                                    Master Asset List
                                        Receiver’s Account (as of 6/30/2022)
Institution                                Account Information               Amount
AXOS Fiduciary Services                    Checking #0181                                                         $936,705.85
AXOS Fiduciary Services                      Checking #0348                                                       $115,752.90
                                                                                                                        Total:
                                                                                                                $1,052,458.75

                                 Receivership Defendants’ Accounts
Institution      Account Information                         Current Value                           Amount Transferred
                                                                                                     to Receiver’s
                                                                                                     Account
Wells Fargo      Checking (53 accounts in the names of the                                                    $190,184.13¹
                 affiliates and affiliate entities included as
                 Receivership Defendants)
Wells Fargo      Checking (account in the names of Shaun                                                           $23,065.43²
                 Cohen and spouse)
Byline Bank      Checking (2 accounts in names of Receivership                      $21,852.15³
                 Defendants)
                                                                                                                        Total:
                                                                                                                  $213,249.56

                                   EquityBuild Real Estate Portfolio
For a list of the properties within the EquityBuild portfolio identified by property address, alternative
address (where appropriate), number of units, and owner, see Exhibit 1 to the Receiver’s First Status
Report, Docket No. 107.

                                            Other, Non-Illinois Real Estate
Description                                                     Appraised Market Value
Single family home in Plano, Texas                                                                              ±$450,000.00

                                                                          Approximate mortgage amount: $400,000.00
                                                                         Approximate value less mortgage: $50,000.00


     ¹ This amount reflects the total value of all of the frozen bank accounts held by Wells Fargo that were transferred to
     the Receiver’s account; the final transfer was made on 1/22/20, and included as part of the Receiver’s Account as of
     3/31/20.
     ² This amount was transferred to the Receiver’s Account as of 8/27/18, and is included as part of the total balance of
     the Receiver’s Account as of 3/31/19.
     ³ The Receiver is investigating whether these accounts are properly included within the Receivership Estate.
                                                                                                                             Exhibit 5
                                                   Case: 1:18-cv-05587 Document #: 1280     Filed:
                                                                                     Receiver's           08/01/22
                                                                                                Master Claims List Page 25 of 68 PageID #:70834
                                                                                                                      Case No. 18‐cv‐5587




Property Number            Property Address                    Alternative Address                Type                                    Claimant Name                              Claimed Amount (Total     Claim Category as Identified   Amount Claimed to be       Claim Number
                                                                                                                                                                                    Claimed Amount in Claim           on Claim Form            Invested in Property
                                                                                                                                                                                    Category as Identified on
                                                                                                                                                                                          Claim Form)
       58              5955 S Sacramento Avenue               2948‐56 W 60th Street      Estate Property   1839 Fund I LLC                                                         $                 49,937.00       Investor‐Lender          $            42,330.00   58‐367
       74                 3074 Cheltenham Place                 7836 S Shore Drive       Estate Property   1839 Fund I LLC                                                         $                 90,075.00       Investor‐Lender          $            50,000.00   74‐367
       80                 2736‐44 W 64th Street                                          Estate Property   1839 Fund I LLC                                                         $                 29,514.00       Investor‐Lender          $            24,500.00   80‐367
       84                 7051 S Bennett Avenue                                          Estate Property   1839 Fund I LLC                                                         $                 87,717.00       Investor‐Lender          $            70,470.00   84‐367
       91                7701‐03 S Essex Avenue                                          Estate Property   1839 Fund I LLC                                                         $                105,200.00       Investor‐Lender          $            95,000.00   91‐367
       93              7953‐59 S Marquette Road               2708‐10 E 80th Street      Estate Property   1839 Fund I LLC                                                         $                 47,562.00       Investor‐Lender          $            39,483.00   93‐367
      117                 3915 N Kimball Avenue                                          Former Property   1839 Fund I LLC                                                         $                 38,081.00       Investor‐Lender          $            50,000.00   117‐367
      906                          SSDF6                                                 Fund              1839 Fund I LLC                                                         $                 92,879.00       Investor‐Lender          $            92,879.00   906‐367
      100            11117‐11119 S Longwood Drive                                        Estate Property   88 Legacy LLC                                                           $                 56,000.03       Investor‐Lender          $            50,000.00   100‐126
        9                   8100 S Essex Avenue              2449‐57 East 81st Street    Estate Property   Aaron Beauclair                                                         $                 40,000.00       Investor‐Lender          $            10,000.00   9‐408
       62                  7834‐44 S Ellis Avenue                                        Estate Property   Aaron Beauclair                                                         $                 40,000.00       Investor‐Lender          $            10,000.00   62‐408
       72               7024‐32 S Paxton Avenue                                          Estate Property   Aaron Beauclair                                                         $                 40,000.00       Investor‐Lender          $            10,000.00   72‐408
       78               7201 S Constance Avenue               1825‐31 E 72nd Street      Estate Property   Aaron Beauclair                                                         $                 40,000.00       Investor‐Lender          $            10,000.00   78‐408
       79         6160‐6212 S Martin Luther King Drive                                   Estate Property   Aaron Beauclair                                                         $                 30,000.00       Investor‐Lender          $            30,000.00   79‐408
      124                 6801 S East End Avenue                                         Former Property   Aaron Beauclair                                                         $                 40,000.00       Investor‐Lender          $            10,000.00   124‐408
      123               7107‐29 S Bennett Avenue                                         Former Property   Adam Epstein                                                            $                 50,000.00       Investor‐Lender          $            50,000.00   123‐64
        3                5001 S Drexel Boulevard                909 E 50th Street        Estate Property   Adir Hazan                                                              $                150,000.00       Investor‐Lender          $            50,000.00   3‐143
        6              6437‐41 S Kenwood Avenue                                          Estate Property   Adir Hazan                                                              $                150,000.00       Investor‐Lender          $            50,000.00   6‐143
       63              4520‐26 S Drexel Boulevard                                        Estate Property   Adir Hazan                                                              $                151,333.00        Equity Investor         $           100,000.00   63‐143
       74                 3074 Cheltenham Place                 7836 S Shore Drive       Estate Property   Adir Hazan                                                              $                150,000.00       Investor‐Lender          $            50,000.00   74‐143
       82               6355‐59 S Talman Avenue               2616‐22 W 64th Street      Estate Property   Adir Hazan                                                              $                150,000.00       Investor‐Lender          $            50,000.00   82‐143
      901                          SSDF 1                                                Fund              Adir Hazan                                                              $                151,333.00        Equity Investor         $            10,000.00   901‐143
      904                   LEGACY FUND SSDF 4                                           Fund              Adir Hazan                                                              $                151,333.00        Equity Investor         $            51,333.00   904‐143
    10 to 12                        CCF1                                                 Fund              Adir Hazan                                                              $                150,000.00       Investor‐Lender          $            50,000.00   10‐143
    13 to 15                        CCF2                                                 Fund              Adir Hazan                                                              $                150,000.00       Investor‐Lender          $            50,000.00   13‐143
      911                Hybrid Capital Fund, LLC                                        Fund              Advanta IRA Services FBO Krushna Dundigalla Acct#8004195                $                100,000.00        Equity Investor         $           100,000.00   911‐658
        5               7749‐59 S Yates Boulevard                                        Estate Property   Advanta IRA Services LLC, FBO Dwight L. Plymale IRA #8006189            $                 80,826.56       Investor‐Lender          $            97,000.00   5‐847
        1               1700‐08 Juneway Terrace                                          Estate Property   Agee Family Trust c/o Scott R. Agee                                     $                130,000.00       Investor‐Lender          $            40,000.00   1‐2001
        6              6437‐41 S Kenwood Avenue                                          Estate Property   Agee Family Trust c/o Scott R. Agee                                     $                130,000.00       Investor‐Lender          $            15,000.00   6‐2001
      100            11117‐11119 S Longwood Drive                                        Estate Property   Agee Family Trust c/o Scott R. Agee                                     $                130,000.00       Investor‐Lender          $            25,000.00   100‐2001
    10 to 12                        CCF1                                                 Fund              Agee Family Trust c/o Scott R. Agee                                     $                130,000.00        Equity Investor         $            75,000.00   10‐2001
    13 to 15                        CCF2                                                 Fund              Agee Family Trust c/o Scott R. Agee                                     $                130,000.00        Equity Investor         $            55,000.00   13‐2001
     96‐99                 8326‐58 S Ellis Avenue                                        Estate Property   Agee Family Trust c/o Scott R. Agee                                     $                130,000.00       Investor‐Lender          $            50,000.00   96‐2001
        4               5450‐52 S Indiana Avenue                118‐132 E Garfield       Estate Property   Aksel Allouch                                                           $                 50,000.00       Investor‐Lender          $            50,000.00   4‐90
       67                   1131‐41 E 79th Place                                         Estate Property   Alan & Sheree Gravely                                                   $                175,000.00       Investor‐Lender          $            75,000.00   67‐298
      902                   SSDF 2 Holdco 3, LLC                                         Fund              Alan & Sheree Gravely                                                   $                 75,000.00        Equity Investor         $            75,000.00   902‐298
    13 to 15                        CCF2                                                 Fund              Alan & Sheree Gravely                                                   $                100,000.00        Equity Investor         $           100,000.00   13‐298
       62                  7834‐44 S Ellis Avenue                                        Estate Property   Alan Rubin                                                              $                 50,000.00       Investor‐Lender          $            50,000.00   62‐118
        1               1700‐08 Juneway Terrace                                          Estate Property   Alcalli Sabat                                                           $                109,396.68       Investor‐Lender                                   1‐786
        4               5450‐52 S Indiana Avenue                118‐132 E Garfield       Estate Property   Alcalli Sabat                                                           $                109,396.68       Investor‐Lender                                   4‐786
        5               7749‐59 S Yates Boulevard                                        Estate Property   Alcalli Sabat                                                           $                109,396.68       Investor‐Lender                                   5‐786
       58              5955 S Sacramento Avenue               2948‐56 W 60th Street      Estate Property   Alcalli Sabat                                                           $                109,396.68       Investor‐Lender                                   58‐786
       59            6001‐05 S Sacramento Avenue              2945‐51 W 60th Street      Estate Property   Alcalli Sabat                                                           $                109,396.68       Investor‐Lender                                   59‐786
       75              7625‐33 S East End Avenue                                         Estate Property   Alcalli Sabat                                                           $                109,396.68       Investor‐Lender          $            22,993.00   75‐786
       79         6160‐6212 S Martin Luther King Drive                                   Estate Property   Alcalli Sabat                                                           $                109,396.68       Investor‐Lender                                   79‐786
       90              7656‐58 S Kingston Avenue            2514‐2520 East 77th Street   Estate Property   Alcalli Sabat                                                           $                109,396.68       Investor‐Lender                                   90‐786
        9                   8100 S Essex Avenue              2449‐57 East 81st Street    Estate Property   Alex Breslav                                                            $                247,000.00       Investor‐Lender          $            50,000.00   9‐262
       60               7026‐42 S Cornell Avenue                                         Estate Property   Alex Breslav                                                            $                247,000.00       Investor‐Lender          $            50,000.00   60‐262
       71                   701‐13 S 5th Avenue                    414 Walnut            Estate Property   Alex Breslav                                                            $                247,000.00       Investor‐Lender          $            40,000.00   71‐262
       86              7442‐48 S Calumet Avenue                                          Estate Property   Alex Breslav                                                            $                247,000.00       Investor‐Lender          $            50,000.00   86‐262
       87                   7508 S Essex Avenue               2453‐59 E 75th Street      Estate Property   Alex Breslav                                                            $                247,000.00       Investor‐Lender          $            57,000.00   87‐262
       82               6355‐59 S Talman Avenue               2616‐22 W 64th Street      Estate Property   ALICE HAN                                                               $                 51,498.62       Investor‐Lender          $            50,000.00   82‐1353
      115                  109 N Laramie Avenue                                          Former Property   Alison Schankman                                                        $                 99,365.61       Investor‐Lender                                   115‐2051
      117                 3915 N Kimball Avenue                                          Former Property   Alison Schankman                                                        $                 99,365.61       Investor‐Lender          $            25,000.00   117‐2051
      142                5209 W Warwick Avenue                                           Former Property   Alison Schankman                                                        $                 99,365.61       Investor‐Lender          $            74,000.00   142‐2051
      116          1102 Bingham St, Houston TX 77007                                     Estate Property   Alton Motes                                                             $                245,841.62       Investor‐Lender          $            20,000.00   116‐2042
      140                     4528 S Michigan                                            Former Property   Alton Motes                                                             $                245,841.62       Investor‐Lender          $            14,583.00   140‐2042
       64              4611‐17 S Drexel Boulevard                                        Estate Property   Alton Motes (Alton P. Motes Revocable Trust Agreement dated 12‐15‐11)   $                245,841.62       Investor‐Lender          $            15,417.00   64‐2042
       77             7750‐58 S Muskegon Avenue               2818‐36 E 78th Street      Estate Property   Alton Motes (Alton P. Motes Trust UTA 12‐15‐11)                         $                245,841.62       Investor‐Lender          $            43,000.00   77‐2042
       61               7237‐43 S Bennett Avenue                                         Estate Property   Alton Motes and Vicki Elaine Washburn JTWROS                            $                245,841.62       Investor‐Lender          $            35,000.00   61‐2042
       73                7255‐57 S Euclid Avenue              1940‐44 E 73rd Street      Estate Property   Alton Motes and Vicki Elaine Washburn JTWROS                            $                245,841.62       Investor‐Lender          $            60,000.00   73‐2042
       74                 3074 Cheltenham Place                7836 S Shore Drive        Estate Property   Alton Motes and Vicki Elaine Washburn JTWROS                            $                245,841.62       Investor‐Lender          $            80,000.00   74‐2042




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                                                   Case: 1:18-cv-05587 Document #: 1280     Filed:
                                                                                     Receiver's           08/01/22
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                                                                                                                     Case No. 18‐cv‐5587




Property Number            Property Address                   Alternative Address               Type                                      Claimant Name                   Claimed Amount (Total     Claim Category as Identified   Amount Claimed to be       Claim Number
                                                                                                                                                                         Claimed Amount in Claim           on Claim Form            Invested in Property
                                                                                                                                                                         Category as Identified on
                                                                                                                                                                               Claim Form)
        1               1700‐08 Juneway Terrace                                        Estate Property   Aluvelu Homes LLC                                              $                169,271.00       Investor‐Lender          $            20,000.00   1‐879
        4               5450‐52 S Indiana Avenue               118‐132 E Garfield      Estate Property   Aluvelu Homes LLC                                              $                169,271.00       Investor‐Lender          $            20,000.00   4‐879
        9                  8100 S Essex Avenue              2449‐57 East 81st Street   Estate Property   Aluvelu Homes LLC                                              $                169,271.00       Investor‐Lender          $            50,000.00   9‐879
       59            6001‐05 S Sacramento Avenue             2945‐51 W 60th Street     Estate Property   Aluvelu Homes LLC                                              $                169,271.00       Investor‐Lender          $            54,271.00   59‐879
       71                  701‐13 S 5th Avenue                    414 Walnut           Estate Property   Aluvelu Homes LLC                                              $                169,271.00       Investor‐Lender          $            20,000.00   71‐879
       85             7201‐07 S Dorchester Avenue              1401 E 72nd Street      Estate Property   Aluvelu Homes LLC                                              $                169,271.00       Investor‐Lender          $             5,000.00   85‐879
      116          1102 Bingham St, Houston TX 77007                                   Estate Property   AMark Investment Trust                                         $                699,490.82       Investor‐Lender          $           125,000.00   116‐710
      126            5201‐5207 W Washington Blvd                                       Former Property   AMark Investment Trust                                         $                699,490.82       Investor‐Lender          $           375,000.00   126‐710
      116          1102 Bingham St, Houston TX 77007                                   Estate Property   American Estate & Trust, LC FBO Bruce Klingman's IRA           $                 72,333.33       Investor‐Lender          $            63,033.00   116‐199
        1               1700‐08 Juneway Terrace                                        Estate Property   American Estate and Trust FBO Layne Jones IRA                  $                 20,699.99       Investor‐Lender          $            20,000.00   1‐707
        5               7749‐59 S Yates Boulevard                                      Estate Property   American Estate and Trust, LC FBO Edward J. Netzel IRA         $                 10,000.00       Investor‐Lender          $            10,000.00   5‐1057
      N/A                          N/A                                                 Other             American Express                                               $                 54,472.25            Other                                        440
        2              4533‐47 S Calumet Avenue                                        Estate Property   Amit Hammer                                                    $                295,980.00       Investor‐Lender          $           100,000.00   2‐225
        5               7749‐59 S Yates Boulevard                                      Estate Property   Amit Hammer                                                    $                295,980.00       Investor‐Lender          $            30,000.00   5‐225
       69                 6250 S Mozart Avenue               2832‐36 W 63rd Street     Estate Property   Amit Hammer                                                    $                295,980.00       Investor‐Lender          $            10,000.00   69‐225
       79         6160‐6212 S Martin Luther King Drive                                 Estate Property   Amit Hammer                                                    $                295,980.00       Investor‐Lender          $            50,000.00   79‐225
       95                8201 S Kingston Avenue                                        Estate Property   Amit Hammer                                                    $                295,980.00       Investor‐Lender          $            50,000.00   95‐225
      124                6801 S East End Avenue                                        Former Property   Anant Topiwala                                                 $                 52,517.48       Investor‐Lender          $            50,000.00   124‐1369
      116          1102 Bingham St, Houston TX 77007                                   Estate Property   Anatoly B. Naritsin                                            $                 55,417.00       Investor‐Lender          $            50,000.00   116‐2077
    13 to 15                       CCF2                                                Fund              Anatoly B. Naritsin                                            $                 56,987.14        Equity Investor         $            55,417.00   13‐2078
       71                  701‐13 S 5th Avenue                   414 Walnut            Estate Property   Andrew Matviishin                                              $                 64,600.00       Investor‐Lender          $            55,000.00   71‐1261
        4               5450‐52 S Indiana Avenue              118‐132 E Garfield       Estate Property   Anjie Comer                                                    $                 25,000.00        Equity Investor                                  4‐612
       87                  7508 S Essex Avenue               2453‐59 E 75th Street     Estate Property   Anjie Comer                                                    $                 25,000.00        Equity Investor                                  87‐612
        2              4533‐47 S Calumet Avenue                                        Estate Property   Annie Chang                                                    $                246,935.34       Investor‐Lender          $            50,000.00   2‐475
        4               5450‐52 S Indiana Avenue               118‐132 E Garfield      Estate Property   Annie Chang                                                    $                246,935.34       Investor‐Lender          $            15,000.00   4‐475
        6              6437‐41 S Kenwood Avenue                                        Estate Property   Annie Chang                                                    $                246,935.34       Investor‐Lender          $            15,500.00   6‐475
       60               7026‐42 S Cornell Avenue                                       Estate Property   Annie Chang                                                    $                246,935.34       Investor‐Lender          $             3,500.00   60‐475
       61               7237‐43 S Bennett Avenue                                       Estate Property   Annie Chang                                                    $                246,935.34       Investor‐Lender          $             7,921.00   61‐475
       64              4611‐17 S Drexel Boulevard                                      Estate Property   Annie Chang                                                    $                246,935.34       Investor‐Lender          $            35,459.00   64‐475
       69                 6250 S Mozart Avenue               2832‐36 W 63rd Street     Estate Property   Annie Chang                                                    $                246,935.34       Investor‐Lender          $            50,000.00   69‐475
       71                  701‐13 S 5th Avenue                    414 Walnut           Estate Property   Annie Chang                                                    $                246,935.34       Investor‐Lender          $            50,000.00   71‐475
       82               6355‐59 S Talman Avenue              2616‐22 W 64th Street     Estate Property   Annie Chang                                                    $                246,935.34       Investor‐Lender          $            16,882.00   82‐475
       84                7051 S Bennett Avenue                                         Estate Property   Annie Chang                                                    $                246,935.34       Investor‐Lender          $             2,618.00   84‐475
       88              7546‐48 S Saginaw Avenue                                        Estate Property   Annie Chang                                                    $                246,935.34       Investor‐Lender          $            63,000.00   88‐475
       89              7600‐10 S Kingston Avenue             2527‐29 E 76th Street     Estate Property   Annie Chang                                                    $                246,935.34       Investor‐Lender          $             5,000.00   89‐475
       92                7748‐52 S Essex Avenue              2450‐52 E 78th Street     Estate Property   Annie Chang                                                    $                246,935.34       Investor‐Lender          $            28,000.00   92‐475
      904              SSDF4 (Legacy Fund SSDF4)                                       Fund              Annie Chang                                                    $                246,935.34 Investor‐Lender and Equity     $            50,000.00   904‐475
                                                                                                                                                                                                              Investor
     96‐99                8326‐58 S Ellis Avenue                                       Estate Property   Annie Chang                                                    $                246,935.34       Investor‐Lender          $             6,620.00   96‐475
       68             6217‐27 S Dorchester Avenue                                      Estate Property   Annmarie Shuster                                               $                 47,000.00       Investor‐Lender          $            47,000.00   68‐387
       80                2736‐44 W 64th Street                                         Estate Property   Applefield Family Trust, Paul and Robin Applefield, Trustees   $                155,000.00       Investor‐Lender          $            20,000.00   80‐2005
       92                7748‐52 S Essex Avenue              2450‐52 E 78th Street     Estate Property   Applefield Family Trust, Paul and Robin Applefield, Trustees   $                155,000.00       Investor‐Lender          $            30,000.00   92‐2005
     96‐99                8326‐58 S Ellis Avenue                                       Estate Property   Applefield Family Trust, Paul and Robin Applefield, Trustees   $                155,000.00       Investor‐Lender          $           105,000.00   96‐2005
       56                  8209 S Ellis Avenue                                         Estate Property   Arbor Ventures Overseas Limited, LLC                           $                176,122.67       Investor‐Lender          $           115,000.00   56‐446
       80                2736‐44 W 64th Street                                         Estate Property   ARBOR VENTURES OVERSEAS LIMITED, LLC                           $                176,122.67       Investor‐Lender          $            10,000.00   80‐446
      116          1102 Bingham St, Houston TX 77007                                   Estate Property   ARBOR VENTURES OVERSEAS LIMITED, LLC                           $                176,122.67       Investor‐Lender          $            50,000.00   116‐446
       68             6217‐27 S Dorchester Avenue                                      Estate Property   Arman Kale Heaton, Natoshia Lamborn Heaton                     $                 52,416.68       Investor‐Lender          $            50,000.00   68‐1171
       79         6160‐6212 S Martin Luther King Drive                                 Estate Property   Armoogam, Clifton                                              $                 29,940.00       Investor‐Lender          $            21,500.00   79‐2006
      904                         SSDF4                                                Fund              Arnold Kunio Kameda (Roth IRA via iPlan Group)                 $                 50,000.00        Equity Investor         $            50,000.00   904‐793
        4               5450‐52 S Indiana Avenue               118‐132 E Garfield      Estate Property   Arthur and Dinah Bertrand                                      $              1,000,000.00       Investor‐Lender          $            50,000.00   4‐890
       59            6001‐05 S Sacramento Avenue             2945‐51 W 60th Street     Estate Property   Arthur and Dinah Bertrand                                      $              1,000,000.00       Investor‐Lender          $             7,552.00   59‐890
       76              7635‐43 S East End Avenue                                       Estate Property   Arthur and Dinah Bertrand                                      $              1,000,000.00       Investor‐Lender          $           217,448.00   76‐890
       77             7750‐58 S Muskegon Avenue              2818‐36 E 78th Street     Estate Property   Arthur and Dinah Bertrand                                      $              1,000,000.00       Investor‐Lender          $           100,000.00   77‐890
       78               7201 S Constance Avenue              1825‐31 E 72nd Street     Estate Property   Arthur and Dinah Bertrand                                      $              1,000,000.00       Investor‐Lender          $           100,000.00   78‐890
       80                2736‐44 W 64th Street                                         Estate Property   Arthur and Dinah Bertrand                                      $              1,000,000.00       Investor‐Lender          $           100,000.00   80‐890
      115                 109 N Laramie Avenue                                         Former Property   Arthur and Dinah Bertrand                                      $              1,000,000.00       Investor‐Lender          $            50,000.00   115‐890
      122              7616‐7624 S Phillips Avenue                                     Former Property   Arthur and Dinah Bertrand                                      $              1,000,000.00       Investor‐Lender          $           150,000.00   122‐890
      126            5201‐5207 W Washington Blvd                                       Former Property   Arthur and Dinah Bertrand                                      $              1,000,000.00       Investor‐Lender          $           225,000.00   126‐890
       58              5955 S Sacramento Avenue              2948‐56 W 60th Street     Estate Property   Arthur Bertrand                                                $                 78,079.82       Investor‐Lender          $             4,825.00   58‐892
       76              7635‐43 S East End Avenue                                       Estate Property   Arthur Bertrand                                                $                 78,079.82       Investor‐Lender          $             2,875.00   76‐892
       86              7442‐48 S Calumet Avenue                                        Estate Property   Arthur Bertrand                                                $                 78,079.82       Investor‐Lender          $            50,000.00   86‐892
       89              7600‐10 S Kingston Avenue             2527‐29 E 76th Street     Estate Property   Arthur Bertrand                                                $                 78,079.82       Investor‐Lender          $            17,300.00   89‐892




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                                                                                                 Master Claims List Page 27 of 68 PageID #:70836
                                                                                                                         Case No. 18‐cv‐5587




Property Number            Property Address                    Alternative Address               Type                                     Claimant Name                                     Claimed Amount (Total     Claim Category as Identified   Amount Claimed to be       Claim Number
                                                                                                                                                                                           Claimed Amount in Claim           on Claim Form            Invested in Property
                                                                                                                                                                                           Category as Identified on
                                                                                                                                                                                                 Claim Form)
      110          5618‐20 S Martin Luther King Drive                                   Estate Property   Arthur Bertrand                                                                 $                 78,079.82       Investor‐Lender          $            50,000.00   110‐892
       79         6160‐6212 S Martin Luther King Drive                                  Estate Property   Arvind Kinjarapu                                                                $                145,500.00       Investor‐Lender          $            35,000.00   79‐1161
       95                8201 S Kingston Avenue                                         Estate Property   Arvind Kinjarapu                                                                $                145,500.00       Investor‐Lender          $           100,000.00   95‐1161
     96‐99                8326‐58 S Ellis Avenue                                        Estate Property   Arvind Kinjarapu                                                                $                145,500.00       Investor‐Lender          $            10,500.00   96‐1161
       89             7600‐10 S Kingston Avenue               2527‐29 E 76th Street     Estate Property   Aryeh (Judah) Smith                                                             $                 50,000.00       Investor‐Lender          $            50,000.00   89‐430
       63             4520‐26 S Drexel Boulevard                                        Estate Property   Asbury R. Lockett                                                               $                100,000.00        Equity Investor         $           100,000.00   63‐210
     96‐99                8326‐58 S Ellis Avenue                                        Estate Property   Asbury R. Lockett                                                                                                 Investor‐Lender          $           100,000.00   96‐210
       56                   8209 S Ellis Avenue                                         Estate Property   Ashwin D Patel                                                                  $                100,000.00       Investor‐Lender          $           100,000.00   56‐1170
        1               1700‐08 Juneway Terrace                                         Estate Property   Asians Investing In Real Estate LLC                                             $              1,278,402.00       Investor‐Lender          $            15,000.00   1‐503
        3               5001 S Drexel Boulevard                 909 E 50th Street       Estate Property   Asians Investing In Real Estate LLC                                             $                415,000.00        Equity Investor         $            95,000.00   3‐503
        6             6437‐41 S Kenwood Avenue                                          Estate Property   Asians Investing In Real Estate LLC                                             $              1,278,402.00       Investor‐Lender          $            70,000.00   6‐503
        9                  8100 S Essex Avenue               2449‐57 East 81st Street   Estate Property   Asians Investing In Real Estate LLC                                             $              1,278,402.00       Investor‐Lender          $            60,000.00   9‐503
       59            6001‐05 S Sacramento Avenue              2945‐51 W 60th Street     Estate Property   Asians Investing In Real Estate LLC                                             $              1,278,402.00       Investor‐Lender          $            60,000.00   59‐503
       60              7026‐42 S Cornell Avenue                                         Estate Property   Asians Investing In Real Estate LLC                                             $              1,278,402.00       Investor‐Lender          $            69,402.00   60‐503
       62                 7834‐44 S Ellis Avenue                                        Estate Property   Asians Investing In Real Estate LLC                                             $              1,278,402.00       Investor‐Lender          $            65,000.00   62‐503
       63             4520‐26 S Drexel Boulevard                                        Estate Property   Asians Investing In Real Estate LLC                                             $                415,000.00        Equity Investor         $           160,000.00   63‐503
       69                 6250 S Mozart Avenue                2832‐36 W 63rd Street     Estate Property   Asians Investing In Real Estate LLC                                             $              1,278,402.00       Investor‐Lender          $            50,000.00   69‐503
       73               7255‐57 S Euclid Avenue               1940‐44 E 73rd Street     Estate Property   Asians Investing In Real Estate LLC                                             $              1,278,402.00       Investor‐Lender          $            60,000.00   73‐503
       75             7625‐33 S East End Avenue                                         Estate Property   Asians Investing In Real Estate LLC                                             $              1,278,402.00       Investor‐Lender          $            50,000.00   75‐503
       79         6160‐6212 S Martin Luther King Drive                                  Estate Property   Asians Investing In Real Estate LLC                                             $              1,278,402.00       Investor‐Lender          $            25,000.00   79‐503
       85            7201‐07 S Dorchester Avenue               1401 E 72nd Street       Estate Property   Asians Investing In Real Estate LLC                                             $              1,278,402.00       Investor‐Lender          $            60,000.00   85‐503
       87                  7508 S Essex Avenue                2453‐59 E 75th Street     Estate Property   Asians Investing In Real Estate LLC                                             $              1,278,402.00       Investor‐Lender          $            55,000.00   87‐503
       88              7546‐48 S Saginaw Avenue                                         Estate Property   Asians Investing In Real Estate LLC                                             $              1,278,402.00       Investor‐Lender          $           115,000.00   88‐503
       89             7600‐10 S Kingston Avenue               2527‐29 E 76th Street     Estate Property   Asians Investing In Real Estate LLC                                             $              1,278,402.00       Investor‐Lender          $            50,000.00   89‐503
       92                7748‐52 S Essex Avenue               2450‐52 E 78th Street     Estate Property   Asians Investing In Real Estate LLC                                             $              1,278,402.00       Investor‐Lender          $           130,000.00   92‐503
      100           11117‐11119 S Longwood Drive                                        Estate Property   Asians Investing In Real Estate LLC                                             $              1,278,402.00       Investor‐Lender          $           150,000.00   100‐503
      122             7616‐7624 S Phillips Avenue                                       Former Property   Asians Investing In Real Estate LLC                                             $              1,278,402.00       Investor‐Lender          $            50,000.00   122‐503
      124                6801 S East End Avenue                                         Former Property   Asians Investing In Real Estate LLC                                             $              1,278,402.00       Investor‐Lender          $            25,000.00   124‐503
    10 to 12                       CCF1                                                 Fund              Asians Investing In Real Estate LLC                                             $                415,000.00        Equity Investor         $           100,000.00   10‐503
    102‐106              7927‐49 S Essex Avenue                                         Estate Property   Asians Investing In Real Estate LLC                                             $              1,278,402.00       Investor‐Lender          $           119,000.00   102‐503
    13 to 15                       CCF2                                                 Fund              Asians Investing In Real Estate LLC                                             $                415,000.00        Equity Investor         $            60,000.00   13‐503
        5              7749‐59 S Yates Boulevard                                        Estate Property   Austin Capital Trust Company on behalf of Summit Trust Company, custodian FBO   $                 77,520.06       Investor‐Lender          $            25,000.00   5‐1178
                                                                                                          David R Theil MD
      81              4317‐19 S Michigan Avenue                                         Estate Property   Austin Capital Trust Company on behalf of Summit Trust Company, custodian FBO   $                 77,520.06       Investor‐Lender          $            19,000.00   81‐1178
                                                                                                          David R Theil MD
      92                7748‐52 S Essex Avenue                2450‐52 E 78th Street     Estate Property   Austin Capital Trust Company on behalf of Summit Trust Company, custodian FBO   $                 77,520.06       Investor‐Lender          $            31,000.00   92‐1178
                                                                                                          David R Theil MD
       7              7109‐19 S Calumet Avenue                                          Estate Property   B & H Creative Investments LLC                                                  $                428,533.00      Investor‐Lender           $           220,000.00   7‐414
      122             7616‐7624 S Phillips Avenue                                       Former Property   B & H Creative Investments LLC                                                  $                428,533.00      Investor‐Lender           $           100,000.00   122‐414
      904                       SSDF4                                                   Fund              B & H Creative Investments LLC                                                  $                428,533.00       Equity Investor                                   904‐414
       4               5450‐52 S Indiana Avenue                 118‐132 E Garfield      Estate Property   Bancroft, Ed                                                                    $                258,060.00 Investor‐Lender and Equity                              4‐2008
                                                                                                                                                                                                                               Investor
       5               7749‐59 S Yates Boulevard                                        Estate Property   Bancroft, Ed                                                                    $                258,060.00 Investor‐Lender and Equity                              5‐2008
                                                                                                                                                                                                                               Investor
       6              6437‐41 S Kenwood Avenue                                          Estate Property   Bancroft, Ed                                                                    $                258,060.00 Investor‐Lender and Equity                              6‐2008
                                                                                                                                                                                                                               Investor
       9                  8100 S Essex Avenue                2449‐57 East 81st Street   Estate Property   Bancroft, Ed                                                                    $                258,060.00 Investor‐Lender and Equity                              9‐2008
                                                                                                                                                                                                                               Investor
      60               7026‐42 S Cornell Avenue                                         Estate Property   Bancroft, Ed                                                                    $                258,060.00 Investor‐Lender and Equity                              60‐2008
                                                                                                                                                                                                                               Investor
      64              4611‐17 S Drexel Boulevard                                        Estate Property   Bancroft, Ed                                                                    $                258,060.00 Investor‐Lender and Equity                              64‐2008
                                                                                                                                                                                                                               Investor
      68             6217‐27 S Dorchester Avenue                                        Estate Property   Bancroft, Ed                                                                    $                258,060.00 Investor‐Lender and Equity                              68‐2008
                                                                                                                                                                                                                               Investor
      94               816‐20 E Marquette Road                                          Estate Property   Bancroft, Ed                                                                    $                258,060.00 Investor‐Lender and Equity                              94‐2008
                                                                                                                                                                                                                               Investor
      904                LEGACY FUND SSDF 4                                             Fund              Bancroft, Ed                                                                    $                258,060.00 Investor‐Lender and Equity                              904‐2008
                                                                                                                                                                                                                               Investor
    13 to 15                     CCF2                                                   Fund              Bancroft, Ed                                                                    $                258,060.00 Investor‐Lender and Equity                              13‐2008
                                                                                                                                                                                                                               Investor
      123              7107‐29 S Bennett Avenue                                         Former Property   Bancroft, Ed                                                                    $                258,060.00      Investor‐Lender           $            10,000.00   123‐2008
      124               6801 S East End Avenue                                          Former Property   Bancroft, Ed (iPLanGroup Agent Ed Bancroft Roth)                                $                 66,007.00      Investor‐Lender           $            20,800.00   124‐2008
      61               7237‐43 S Bennett Avenue                                         Estate Property   Bancroft, Ed (iPlanGroup Agent for Custodian FBO Ed Bancroft Roth)              $                258,060.00 Investor‐Lender and Equity                              61‐2008
                                                                                                                                                                                                                               Investor
      71                  701‐13 S 5th Avenue                      414 Walnut           Estate Property   Bancroft, Ed (iPlanGroup Agent for Custodian FBO Ed Bancroft Roth)              $                258,060.00 Investor‐Lender and Equity                              71‐2008
                                                                                                                                                                                                                               Investor




                                                                                                                                 3
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Property Number            Property Address                   Alternative Address               Type                                     Claimant Name                                    Claimed Amount (Total     Claim Category as Identified   Amount Claimed to be       Claim Number
                                                                                                                                                                                         Claimed Amount in Claim           on Claim Form            Invested in Property
                                                                                                                                                                                         Category as Identified on
                                                                                                                                                                                               Claim Form)
      77              7750‐58 S Muskegon Avenue              2818‐36 E 78th Street     Estate Property   Bancroft, Ed (iPlanGroup Agent for Custodian FBO Ed Bancroft Roth)             $                258,060.00 Investor‐Lender and Equity                              77‐2008
                                                                                                                                                                                                                              Investor
      78               7201 S Constance Avenue               1825‐31 E 72nd Street     Estate Property   Bancroft, Ed (iPlanGroup Agent for Custodian FBO Ed Bancroft Roth)             $                258,060.00 Investor‐Lender and Equity                              78‐2008
                                                                                                                                                                                                                              Investor
      83                6356 S California Avenue              2804 W 64th Street       Estate Property   Bancroft, Ed (iPlanGroup Agent for Custodian FBO Ed Bancroft Roth)             $                258,060.00 Investor‐Lender and Equity                              83‐2008
                                                                                                                                                                                                                              Investor
      86               7442‐48 S Calumet Avenue                                        Estate Property   Bancroft, Ed (iPlanGroup Agent for Custodian FBO Ed Bancroft Roth)             $                258,060.00 Investor‐Lender and Equity                              86‐2008
                                                                                                                                                                                                                              Investor
      120               7823‐27 S Essex Avenue                                         Former Property   Bancroft, Ed A                                                                 $                258,060.00       Investor‐Lender          $            75,000.00   120‐2008
      84                7051 S Bennett Avenue                                          Estate Property   Barbara Burton                                                                 $                 99,000.00       Investor‐Lender          $            99,000.00   84‐2069
       2               4533‐47 S Calumet Avenue                                        Estate Property   Baron Real Estate Holdings, LLC., Ihab Shahawi and Vivian ELShahawi, members   $                406,000.00       Investor‐Lender                                   2‐1347

      69                 6250 S Mozart Avenue                2832‐36 W 63rd Street     Estate Property   Baron Real Estate Holdings, LLC., Ihab Shahawi and Vivian ELShahawi, members   $                406,000.00       Investor‐Lender          $           106,000.00   69‐1347

    10 to 12                     CCF1                                                  Fund              Baron Real Estate Holdings, LLC., Ihab Shahawi and Vivian ELShahawi, members   $                406,000.00        Equity Investor         $           300,000.00   10‐1347

        2              4533‐47 S Calumet Avenue                                        Estate Property   Bauer Latoza Studio, Ltd.                                                      $                 30,525.00        Trade Creditor          $             3,075.00   2‐885
       79         6160‐6212 S Martin Luther King Drive                                 Estate Property   Bauer Latoza Studio, Ltd.                                                      $                 30,525.00        Trade Creditor          $           274,500.00   79‐885
       74               3074 Cheltenham Place                 7836 S Shore Drive       Estate Property   BC57, LLC                                                                      $              6,439,502.67     Institutional Lender                                74‐557
       75             7625‐33 S East End Avenue                                        Estate Property   BC57, LLC                                                                      $              6,439,502.67     Institutional Lender                                75‐557
       76             7635‐43 S East End Avenue                                        Estate Property   BC57, LLC                                                                      $              6,439,502.67     Institutional Lender                                76‐557
       77            7750‐58 S Muskegon Avenue               2818‐36 E 78th Street     Estate Property   BC57, LLC                                                                      $              6,439,502.67     Institutional Lender                                77‐557
       78              7201 S Constance Avenue               1825‐31 E 72nd Street     Estate Property   BC57, LLC                                                                      $              6,439,502.67     Institutional Lender                                78‐557
       61              7237‐43 S Bennett Avenue                                        Estate Property   BCL Associates, LLC                                                            $                 10,266.66       Investor‐Lender          $            50,000.00   61‐477
      120               7823‐27 S Essex Avenue                                         Former Property   Bedford, Bert and Sadie                                                        $                 45,477.28       Investor‐Lender          $            46,131.00   120‐2009
        3               5001 S Drexel Boulevard                909 E 50th Street       Estate Property   Benjamin J Serebin                                                             $                289,736.11        Equity Investor         $           300,000.00   3‐1288
    13 to 15                      CCF2                                                 Fund              Benjamin J Serebin                                                             $                289,736.11        Equity Investor         $           150,000.00   13‐1288
      124               6801 S East End Avenue                                         Former Property   Bernadette Chen (Eleven St Felix St. Realty                                    $              1,000,000.00        Equity Investor         $            31,619.00   124‐2012
        2              4533‐47 S Calumet Avenue                                        Estate Property   Bernadette Chen (Eleven St Felix St. Realty)                                   $              1,000,000.00        Equity Investor         $            50,000.00   2‐2012
        3               5001 S Drexel Boulevard                909 E 50th Street       Estate Property   Bernadette Chen (Eleven St Felix St. Realty)                                   $              1,000,000.00        Equity Investor         $           300,000.00   3‐2012
        4              5450‐52 S Indiana Avenue                118‐132 E Garfield      Estate Property   Bernadette Chen (Eleven St Felix St. Realty)                                   $              1,000,000.00        Equity Investor         $            50,000.00   4‐2012
        8                 1414 East 62nd Place                                         Estate Property   Bernadette Chen (Eleven St Felix St. Realty)                                   $              1,000,000.00        Equity Investor         $            50,000.00   8‐2012
        9                 8100 S Essex Avenue               2449‐57 East 81st Street   Estate Property   Bernadette Chen (Eleven St Felix St. Realty)                                   $              1,000,000.00        Equity Investor         $            31,619.00   9‐2012
       49            7300‐04 St Lawrence Avenue                                        Estate Property   Bernadette Chen (Eleven St Felix St. Realty)                                   $              1,000,000.00        Equity Investor         $            50,000.00   49‐2012
       64             4611‐17 S Drexel Boulevard                                       Estate Property   Bernadette Chen (Eleven St Felix St. Realty)                                   $              1,000,000.00        Equity Investor         $            50,000.00   64‐2012
       69                6250 S Mozart Avenue                2832‐36 W 63rd Street     Estate Property   Bernadette Chen (Eleven St Felix St. Realty)                                   $              1,000,000.00        Equity Investor         $            50,000.00   69‐2012
       70               638‐40 N Avers Avenue                                          Estate Property   Bernadette Chen (Eleven St Felix St. Realty)                                   $              1,000,000.00        Equity Investor         $           100,000.00   70‐2012
       79         6160‐6212 S Martin Luther King Drive                                 Estate Property   Bernadette Chen (Eleven St Felix St. Realty)                                   $              1,000,000.00        Equity Investor         $           100,000.00   79‐2012
       87                 7508 S Essex Avenue                2453‐59 E 75th Street     Estate Property   Bernadette Chen (Eleven St Felix St. Realty)                                   $              1,000,000.00        Equity Investor         $            50,000.00   87‐2012
       88              7546‐48 S Saginaw Avenue                                        Estate Property   Bernadette Chen (Eleven St Felix St. Realty)                                   $              1,000,000.00        Equity Investor         $            50,000.00   88‐2012
       89             7600‐10 S Kingston Avenue              2527‐29 E 76th Street     Estate Property   Bernadette Chen (Eleven St Felix St. Realty)                                   $              1,000,000.00        Equity Investor         $            68,381.00   89‐2012
      122             7616‐7624 S Phillips Avenue                                      Former Property   Bernadette Chen (Eleven St Felix St. Realty)                                   $              1,000,000.00        Equity Investor         $            50,000.00   122‐2012
      123              7107‐29 S Bennett Avenue                                        Former Property   Bernadette Chen (Eleven St Felix St. Realty)                                   $              1,000,000.00        Equity Investor         $            50,000.00   123‐2012
      904                        SSDF4                                                 Fund              Bernadette Chen (Eleven St Felix St. Realty)                                   $              1,000,000.00        Equity Investor         $            50,000.00   904‐2012
    10 to 12                      CCF1                                                 Fund              Bernadette Chen (Eleven St Felix St. Realty)                                   $              1,000,000.00        Equity Investor         $            50,000.00   10‐2012
    102‐106             7927‐49 S Essex Avenue                                         Estate Property   Bernadette Chen (Eleven St Felix St. Realty)                                   $              1,000,000.00        Equity Investor         $            50,000.00   102‐‐2012
    13 to 15                      CCF2                                                 Fund              Bernadette Chen (Eleven St Felix St. Realty)                                   $              1,000,000.00        Equity Investor         $            50,000.00   13‐2012
     96‐99               8326‐58 S Ellis Avenue                                        Estate Property   Bernadette Chen (Eleven St Felix St. Realty)                                   $              1,000,000.00        Equity Investor         $            50,000.00   96‐2012
       84               7051 S Bennett Avenue                                          Estate Property   Best Capital Funding Inc                                                       $                 28,000.00       Investor‐Lender          $            25,000.00   84‐1257
       87                 7508 S Essex Avenue                2453‐59 E 75th Street     Estate Property   BETH DENTON (Elisabeth Denton)                                                 $                 51,751.49       Investor‐Lender          $            50,000.00   87‐614
       87                 7508 S Essex Avenue                2453‐59 E 75th Street     Estate Property   BETH DENTON (IRA Services Trust Company CFBO Beth Denton)                      $                 20,699.99       Investor‐Lender          $            20,000.00   87‐650
       94              816‐20 E Marquette Road                                         Estate Property   Betty Mize (iPlanGroup Agent for Custodian FBO Betty Beal Mize IRA             $                 38,000.00       Investor‐Lender          $            38,000.00   94‐615
       40              7953 S Woodlawn Avenue                                          Estate Property   Blessing Strategies, LLC                                                       $                 29,784.00       Investor‐Lender          $            12,500.00   40‐353
       92               7748‐52 S Essex Avenue               2450‐52 E 78th Street     Estate Property   Blessing Strategies, LLC                                                       $                 29,784.00       Investor‐Lender          $             7,000.00   92‐353
      123              7107‐29 S Bennett Avenue                                        Former Property   Blessing Strategies, LLC                                                       $                 29,784.00       Investor‐Lender          $            22,282.00   123‐353
      904                        SSDF4                                                 Fund              Blessing Strategies, LLC                                                       $                 29,784.00        Equity Investor         $             7,000.00   904‐353
    13 to 15                      CCF2                                                 Fund              BLT Florida, LLC                                                               $                100,000.00       Investor‐Lender          $           100,000.00   13‐1384
        4              5450‐52 S Indiana Avenue                118‐132 E Garfield      Estate Property   BLUE MOUNTAIN VENTURES PSP 401K, GEORGE SAMUEL                                 $                463,999.95       Investor‐Lender          $           150,000.00   4‐491
       68            6217‐27 S Dorchester Avenue                                       Estate Property   BLUE MOUNTAIN VENTURES PSP 401K, GEORGE SAMUEL                                 $                463,999.95       Investor‐Lender          $            84,255.00   68‐491
      100           11117‐11119 S Longwood Drive                                       Estate Property   BLUE MOUNTAIN VENTURES PSP 401K, GEORGE SAMUEL                                 $                463,999.95       Investor‐Lender          $           100,000.00   100‐491
     96‐99               8326‐58 S Ellis Avenue                                        Estate Property   BLUE MOUNTAIN VENTURES PSP 401K, GEORGE SAMUEL                                 $                463,999.95       Investor‐Lender          $            65,745.00   96‐491
        2              4533‐47 S Calumet Avenue                                        Estate Property   Bluebridge Partners Limited                                                    $                791,620.17       Investor‐Lender          $           100,000.00   2‐727
        4              5450‐52 S Indiana Avenue                118‐132 E Garfield      Estate Property   Bluebridge Partners Limited                                                    $                791,620.17       Investor‐Lender          $           100,000.00   4‐727
       64             4611‐17 S Drexel Boulevard                                       Estate Property   Bluebridge Partners Limited                                                    $                791,620.17       Investor‐Lender          $           150,000.00   64‐727




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Property Number            Property Address                   Alternative Address               Type                                    Claimant Name                         Claimed Amount (Total     Claim Category as Identified   Amount Claimed to be       Claim Number
                                                                                                                                                                             Claimed Amount in Claim           on Claim Form            Invested in Property
                                                                                                                                                                             Category as Identified on
                                                                                                                                                                                   Claim Form)
       71                  701‐13 S 5th Avenue                    414 Walnut           Estate Property   Bluebridge Partners Limited                                        $                791,620.17       Investor‐Lender          $            77,177.00   71‐727
       86              7442‐48 S Calumet Avenue                                        Estate Property   Bluebridge Partners Limited                                        $                791,620.17       Investor‐Lender          $           290,000.00   86‐727
      124                6801 S East End Avenue                                        Former Property   Bluebridge Partners Limited                                        $                791,620.17       Investor‐Lender          $           100,000.00   124‐727
     96‐99                8326‐50 S Ellis Avenue                                       Estate Property   Bluebridge Partners Limited                                        $                791,620.17       Investor‐Lender          $            73,971.00   96‐727
        2              4533‐47 S Calumet Avenue                                        Estate Property   BMO Harris Bank N.A.                                               $              1,719,582.97     Institutional Lender                                2‐1063
       73               7255‐57 S Euclid Avenue              1940‐44 E 73rd Street     Estate Property   Bolanle Addo (Madison Trust Company Custodian FBO Bolanle Addo)    $                 50,000.00       Investor‐Lender          $            50,000.00   73‐181
       86              7442‐48 S Calumet Avenue                                        Estate Property   Bonaparte Properties LLC                                           $                 25,000.00       Investor‐Lender          $            25,000.00   86‐1148
        4              5450‐52 S Indiana Avenue                118‐132 E Garfield      Estate Property   Bonnie Young                                                       $                 65,333.41       Investor‐Lender          $            50,000.00   4‐1223
       59            6001‐05 S Sacramento Avenue             2945‐51 W 60th Street     Estate Property   Brad and Linda Lutz                                                $                813,582.00       Investor‐Lender          $            67,876.00   59‐962
       75              7625‐33 S East End Avenue                                       Estate Property   Brad and Linda Lutz                                                $                813,582.00       Investor‐Lender          $           325,962.00   75‐962
      115                 109 N Laramie Avenue                                         Former Property   Brad and Linda Lutz                                                $                813,582.00       Investor‐Lender          $            39,663.00   115‐962
      123              7107‐29 S Bennett Avenue                                        Former Property   Brad and Linda Lutz                                                $                813,582.00       Investor‐Lender          $           339,414.00   123‐962
     96‐99                8326‐58 S Ellis Avenue                                       Estate Property   Brad and Linda Lutz                                                $                813,582.00       Investor‐Lender          $             5,000.00   96‐962
       62                 7834‐44 S Ellis Avenue                                       Estate Property   Braden Galloway                                                    $                227,800.02       Investor‐Lender                                   62‐1463
       64             4611‐17 S Drexel Boulevard                                       Estate Property   Braden Galloway                                                    $                227,800.02       Investor‐Lender                                   64‐1463
      100           11117‐11119 S Longwood Drive                                       Estate Property   Braden Galloway                                                    $                227,800.02       Investor‐Lender                                   100‐1463
       79         6160‐6212 S Martin Luther King Drive                                 Estate Property   Brett Burnham (Burnham 401k Trust)                                 $                215,335.54       Investor‐Lender          $             8,000.00   79‐314
      112                  7450 S Luella Avenue              2220 East 75th Street     Estate Property   Brett Burnham (Burnham 401k Trust)                                 $                215,335.54       Investor‐Lender          $             5,000.00   112‐314
      904                          SSDF4                                               Fund              Brett Burnham (iPlanGroup Agent for Custodian FBO Brett Burnham)   $                215,334.00       Investor‐Lender                                   904‐314
        2              4533‐47 S Calumet Avenue                                        Estate Property   Brett Burnham (iPlanGroup Agent for Custodian FBO Brett Burnham)   $                215,335.54       Investor‐Lender          $            80,000.00   2‐314
       60               7026‐42 S Cornell Avenue                                       Estate Property   Brett Burnham (iPlanGroup Agent for Custodian FBO Brett Burnham)   $                215,335.54       Investor‐Lender          $            30,000.00   60‐314
       82              6355‐59 S Talman Avenue               2616‐22 W 64th Street     Estate Property   Brett Burnham (iPlanGroup Agent for Custodian FBO Brett Burnham)   $                215,335.54       Investor‐Lender          $            25,000.00   82‐314
       93              7953‐59 S Marquette Road              2708‐10 E 80th Street     Estate Property   Brett Burnham (iPlanGroup Agent for Custodian FBO Brett Burnham)   $                215,335.54       Investor‐Lender          $            25,000.00   93‐314
      115                 109 N Laramie Avenue                                         Former Property   Brett Burnham (iPlanGroup Agent for Custodian FBO Brett Burnham)   $                215,335.54       Investor‐Lender                                   115‐314
      124                6801 S East End Avenue                                        Former Property   Brett Burnham (iPlanGroup Agent for Custodian FBO Brett Burnham)   $                215,335.54       Investor‐Lender          $             5,000.00   124‐314
      133                4109 N Kimball Avenue                                         Former Property   Brett Burnham (iPlanGroup Agent for Custodian FBO Brett Burnham)   $                215,335.54       Investor‐Lender                                   133‐314
      904                          SSDF4                                               Fund              Brian and Kim Mouty                                                $                 50,000.00        Equity Investor         $            50,000.00   904‐299
      110          5618‐20 S Martin Luther King Drive                                  Estate Property   Brian Shea                                                         $                122,256.00       Investor‐Lender          $            26,500.00   110‐1264
      118                 400 S Kilbourn Avenue                                        Former Property   Brian Shea                                                         $                122,256.00       Investor‐Lender          $            63,000.00   118‐1264
        9                  8100 S Essex Avenue              2449‐57 East 81st Street   Estate Property   Brian Whalley                                                      $                 25,000.00       Investor‐Lender          $            25,000.00   9‐256
        3                5001 S Drexel Boulevard               909 E 50th Street       Estate Property   Bright Venture, LLC                                                $                231,142.74        Equity Investor         $            50,000.00   3‐84
        4              5450‐52 S Indiana Avenue               118‐132 E Garfield       Estate Property   Bright Venture, LLC                                                $                 41,928.77       Investor‐Lender          $            40,000.00   4‐84
       72               7024‐32 S Paxton Avenue                                        Estate Property   Bright Venture, LLC                                                $                 41,928.77       Investor‐Lender          $            25,000.00   72‐84
    10 to 12           7301‐09 S Stewart Avenue                                        Fund              Bright Venture, LLC                                                $                231,142.74        Equity Investor         $            52,500.00   10‐84
                      7500‐06 S Eggleston Avenue
                          3030‐32 E 79th Street
    102‐106              7927‐49 S Essex Avenue                                        Estate Property   Bright Venture, LLC                                                $                231,142.74        Equity Investor         $            70,000.00   102‐84
     13‐15                2909‐19 E 78th Street                                        Fund              Bright Venture, LLC                                                $                231,142.74        Equity Investor         $            50,000.00   13‐84
                         7549‐59 S Essex Avenue
                      8047‐55 S Manistee Avenue
      123              7107‐29 S Bennett Avenue                                        Former Property   Brion Conklin                                                      $                 65,421.00       Investor‐Lender          $           116,531.00   123‐601
      100           11117‐11119 S Longwood Drive                                       Estate Property   Brook & Sarah Swientisky; J&S Investment, LLC                      $                134,400.01        Equity Investor         $            50,000.00   100‐568
      904                          SSDF4                                               Fund              Brook & Sarah Swientisky; J&S Investment, LLC                      $                134,400.01        Equity Investor         $            80,000.00   904‐568
      100           11117‐11119 S Longwood Drive                                       Estate Property   Bruce A Walter (Equity Trust Corp FBO Bruce Walter IRA)            $                115,000.00       Investor‐Lender          $            50,000.00   100‐137
    10 to 12                        CCF1                                               Fund              Bruce A Walter (Equity Trust Corp FBO Bruce Walter IRA)            $                115,000.00       Investor‐Lender          $            25,000.00   10‐137
    13 to 15                        CCF2                                               Fund              Bruce A Walter (Equity Trust Corp FBO Bruce Walter IRA)            $                115,000.00       Investor‐Lender          $            40,000.00   13‐137
        3               5001 S Drexel Boulevard                909 E 50th Street       Estate Property   Bryan Corey Purkis , Trustee Vivant Ventures Trust                 $                179,250.00        Equity Investor         $           150,000.00   3‐1413
       61              7237‐43 S Bennett Avenue                                        Estate Property   BTRUE LLC Barry J. Oates                                           $                 93,600.00        Equity Investor         $             5,200.00   61‐669
       74                3074 Cheltenham Place                7836 S Shore Drive       Estate Property   BTRUE LLC Barry J. Oates                                           $                 93,600.00        Equity Investor         $            38,400.00   74‐669
      100           11117‐11119 S Longwood Drive                                       Estate Property   BTRUE LLC Barry J. Oates                                           $                 93,600.00        Equity Investor         $            50,000.00   100‐669
      N/A                           N/A                                                Other             Buildout Inc.                                                      $                  1,200.00   Independent Contractor                                240
      901                          SSDF1                                               Fund              Cadaval Investment Trust FBO Dana Cadaval Solo 401k                $                 50,000.00        Equity Investor         $            50,000.00   901‐1242
      901                          SSDF1                                               Fund              Cadaval Investment Trust FBO Manuel Cadaval Solo 401k              $                100,000.00        Equity Investor         $           100,000.00   901‐1236
      N/A                           N/A                                                Other             Cagan Management Group, Inc.                                       $              1,000,000.00            Other                                        856
       70                638‐40 N Avers Avenue                                         Estate Property   CAMA SDIRA LLC FBO Robert Guiney IRA                               $                104,314.46       Investor‐Lender          $            40,579.00   70‐1116
      123              7107‐29 S Bennett Avenue                                        Former Property   CAMA SDIRA LLC FBO Robert Guiney IRA                               $                104,314.46       Investor‐Lender          $            51,913.00   123‐1116
        5              7749‐59 S Yates Boulevard                                       Estate Property   Camano Equities, LLC (Markley, Charles)                            $                 46,254.22       Investor‐Lender          $            50,000.00   5‐2038
        1               1700‐08 Juneway Terrace                                        Estate Property   Capital Investors, LLC                                             $                930,376.31       Investor‐Lender          $           250,000.00   1‐1490
        3                5001 S Drexel Boulevard               909 E 50th Street       Estate Property   Capital Investors, LLC                                             $              1,856,942.46        Equity Investor         $           295,000.00   3‐1490
       58             5955 S Sacramento Avenue               2948‐56 W 60th Street     Estate Property   Capital Investors, LLC                                             $                930,376.31       Investor‐Lender          $            50,000.00   58‐1490
       60               7026‐42 S Cornell Avenue                                       Estate Property   Capital Investors, LLC                                             $                930,376.31       Investor‐Lender          $           379,479.00   60‐1490
       75              7625‐33 S East End Avenue                                       Estate Property   Capital Investors, LLC                                             $                930,376.31       Investor‐Lender          $            36,207.00   75‐1490
       81             4317‐19 S Michigan Avenue                                        Estate Property   Capital Investors, LLC                                             $                930,376.31       Investor‐Lender          $           113,793.00   81‐1490




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Property Number            Property Address                   Alternative Address               Type                                      Claimant Name                                        Claimed Amount (Total     Claim Category as Identified Amount Claimed to be          Claim Number
                                                                                                                                                                                              Claimed Amount in Claim           on Claim Form           Invested in Property
                                                                                                                                                                                              Category as Identified on
                                                                                                                                                                                                    Claim Form)
       83              6356 S California Avenue               2804 W 64th Street       Estate Property   Capital Investors, LLC                                                              $                930,376.31       Investor‐Lender        $             250,021.00    83‐1490
       93             7953‐59 S Marquette Road               2708‐10 E 80th Street     Estate Property   Capital Investors, LLC                                                              $                930,376.31       Investor‐Lender        $               50,000.00   93‐1490
      101              6949‐59 S Merrill Avenue                                        Estate Property   Capital Investors, LLC (6951 S. Merrill Fund I LLC)                                 $              1,856,942.46        Equity Investor       $           1,550,000.00    101‐1490
      87                 7508 S Essex Avenue                 2453‐59 E 75th Street     Estate Property   Capital Liability Investments, LLC                                                  $                 55,025.00       Investor‐Lender        $               55,000.00   87‐186
      901                       SSDF1                                                  Fund              Capital Liability Investments, LLC                                                  $                 55,025.00        Equity Investor       $               55,000.00   901‐186
       6              6437‐31 S Kenwood Avenue                                         Estate Property   Captain Jack, LLC c/o John McDevitt                                                 $                 95,000.00        Equity Investor       $               75,000.00   6‐2091
    10 to 12                        CCF1                                               Fund              Captain Jack, LLC c/o John McDevitt                                                 $                 95,000.00        Equity Investor       $               20,000.00   10‐2091
       76              7635‐43 S East End Avenue                                       Estate Property   Carolyn B Ucker                                                                     $                 50,000.00        Equity Investor       $               25,000.00   76‐1099
      118                 400 S Kilbourn Avenue                                        Former Property   Carolyn B Ucker                                                                     $                 50,000.00        Equity Investor       $               25,000.00   118‐1099
        2              4533‐47 S Calumet Avenue                                        Estate Property   Cecilia Wolff                                                                       $                 73,887.50       Investor‐Lender                                    2‐1204
       76              7635‐43 S East End Avenue                                       Estate Property   Cecilia Wolff                                                                       $                 73,887.50       Investor‐Lender        $               25,000.00   76‐1204
       88              7546‐48 S Saginaw Avenue                                        Estate Property   Cecilia Wolff                                                                       $                 73,887.50       Investor‐Lender                                    88‐1204
       92                7748‐52 S Essex Avenue              2450‐52 E 78th Street     Estate Property   Cecilia Wolff                                                                       $                 73,887.50       Investor‐Lender                                    92‐1204
       78               7201 S Constance Avenue              1825‐31 E 72nd Street     Estate Property   Cecilia Wolff (iPlan Group Agent for Custodian FBO Cecilia Wolff)                   $                 73,887.50       Investor‐Lender                                    78‐1204
      118                 400 S Kilbourn Avenue                                        Former Property   Cecilia Wolff (iPlan Group Agent for Custodian FBO Cecilia Wolff)                   $                 73,887.50       Investor‐Lender                                    118‐1204
       22                7933 S Kingston Avenue                                        Estate Property   Celia Tong Revocable Living Trust Dated December 22, 2011                           $                 27,565.00        Equity Investor       $               20,000.00   22‐287
       40              7953 S Woodlawn Avenue                                          Estate Property   Celia Tong Revocable Living Trust Dated December 22, 2011                           $                 28,741.00       Investor‐Lender        $                2,770.00   40‐287
       77             7750‐58 S Muskegon Avenue              2818‐36 E 78th Street     Estate Property   Celia Tong Revocable Living Trust Dated December 22, 2011                                                             Investor‐Lender        $               25,000.00   77‐287
      115                 109 N Laramie Avenue                                         Former Property   Celia Tong Revocable Living Trust Dated December 22, 2011                                                             Investor‐Lender        $                2,065.00   115‐287
      904                          SSDF4                                               Fund              Celia Tong Revocable Living Trust Dated December 22, 2011                           $                 27,565.00        Equity Investor       $               27,565.00   904‐287
      111                 6558 S Vernon Avenue                416‐24 E 66th Street     Estate Property   Chad R Brown                                                                        $                 42,051.58       Investor‐Lender        $             170,000.00    111‐294
     96‐99                8326‐58 S Ellis Avenue                                       Estate Property   Charles Michael Edward Fowler (iPlanGroup Agent for Custodian FBO C Michael E       $                 63,007.00       Investor‐Lender        $               63,007.00   96‐69
                                                                                                         Fowler IRA)
        5              7749‐59 S Yates Boulevard                                       Estate Property   Charles P McEvoy                                                                    $                438,733.33       Investor‐Lender         $            100,000.00    5‐232
        6             6437‐41 S Kenwood Avenue                                         Estate Property   Charles P McEvoy                                                                    $                438,733.33       Investor‐Lender         $            112,000.00    6‐232
       68            6217‐27 S Dorchester Avenue                                       Estate Property   Charles P McEvoy                                                                    $                438,733.33       Investor‐Lender         $            150,000.00    68‐232
       71                 701‐13 S 5th Avenue                     414 Walnut           Estate Property   Charles P McEvoy                                                                    $                438,733.33       Investor‐Lender         $             20,000.00    71‐232
       82               6355‐59 S Talman Avenue              2616‐22 W 64th Street     Estate Property   Charles P McEvoy                                                                    $                438,733.33       Investor‐Lender         $             30,000.00    82‐232
        2              4533‐47 S Calumet Avenue                                        Estate Property   Charles Savona                                                                      $                 37,145.83       Investor‐Lender         $             50,000.00    2‐2050
       79         6160‐6212 S Martin Luther King Drive                                 Estate Property   Charles Smith                                                                       $                350,000.00       Investor‐Lender         $            350,000.00    79‐1186
        6             6437‐41 S Kenwood Avenue                                         Estate Property   Charlotte A Hofer                                                                   $                370,000.00       Investor‐Lender         $             35,000.00    6‐603
        9                 8100 S Essex Avenue               2449‐57 East 81st Street   Estate Property   Charlotte A Hofer                                                                   $                370,000.00       Investor‐Lender         $            110,000.00    9‐603
       71                 701‐13 S 5th Avenue                     414 Walnut           Estate Property   Charlotte A Hofer                                                                   $                370,000.00       Investor‐Lender         $            110,000.00    71‐603
       87                 7508 S Essex Avenue                2453‐59 E 75th Street     Estate Property   Charlotte A Hofer                                                                   $                370,000.00       Investor‐Lender         $             50,000.00    87‐603
      904              SSDF4 (Legacy Fund SSDF4)                                       Fund              Charlotte A Hofer                                                                   $                370,000.00        Equity Investor                                   904‐603
      100           11117‐11119 S Longwood Drive                                       Estate Property   Chestnut Capital LLC                                                                $                138,047.00       Investor‐Lender         $             50,000.00    100‐1460
      123              7107‐29 S Bennett Avenue                                        Former Property   Chestnut Capital LLC                                                                $                138,047.00       Investor‐Lender         $            219,465.00    123‐1460
    13 to 15                      CCF2                                                 Fund              Chestnut Capital LLC                                                                $                 60,000.00        Equity Investor        $             60,000.00    13‐1460
       69                6250 S Mozart Avenue                2832‐36 W 63rd Street     Estate Property   Chetram Jodha FBO Ravin Jodha                                                       $                 40,000.00       Investor‐Lender         $             20,000.00    69‐2094
       83               6356 S California Avenue              2804 W 64th Street       Estate Property   Chetram Jodha FBO Ravin Jodha                                                       $                 40,000.00       Investor‐Lender         $             20,000.00    83‐2094
      N/A                          N/A                                                 Other             Chicago Real Estate Resources                                                       $                  5,950.00   Independent Contractor                                 1449
        9                 8100 S Essex Avenue               2449‐57 East 81st Street   Estate Property   Chittima Cook and Pinsurang Tinakorn                                                $                 51,874.56       Investor‐Lender         $             50,000.00    9‐493
      123              7107‐29 S Bennett Avenue                                        Former Property   Christine A. Styczynski                                                             $                 42,033.00       Investor‐Lender         $             42,033.00    123‐373
       60               7026‐42 S Cornell Avenue                                       Estate Property   Christine Hethcock                                                                  $                 41,500.00       Investor‐Lender         $             40,000.00    60‐1300
        9                 8100 S Essex Avenue               2449‐57 East 81st Street   Estate Property   Christopher Bridges                                                                 $                 42,403.13       Investor‐Lender         $             25,000.00    9‐1129
       93              7953‐59 S Marquette Road              2708‐10 E 80th Street     Estate Property   Christopher Maher Beneficiary IRA                                                   $                 16,500.00       Investor‐Lender         $             16,500.00    93‐2079
       67                 1131‐41 E 79th Place                                         Estate Property   Christopher Pong                                                                    $                 17,287.05        Equity Investor        $             17,251.00    67‐760
       74                3074 Cheltenham Place                7836 S Shore Drive       Estate Property   Christopher Pong                                                                    $                 30,140.90       Investor‐Lender         $             29,280.00    74‐760
       77             7750‐58 S Muskegon Avenue              2818‐36 E 78th Street     Estate Property   Christopher Wilson and Brittny Wilson (Niosi)                                       $                 52,000.00       Investor‐Lender         $             50,000.00    77‐807
        9                 8100 S Essex Avenue               2449‐57 East 81st Street   Estate Property   Chronicles Point LLC/Gustavo J Garcia                                               $                 50,000.00       Investor‐Lender         $             50,000.00    9‐159
        1               1700‐08 Juneway Terrace                                        Estate Property   Chuck Denton | Denton Real Estate Company Inc. 401k                                 $                200,000.00       Investor‐Lender         $             25,000.00    1‐379
        2              4533‐47 S Calumet Avenue                                        Estate Property   Chuck Denton | Denton Real Estate Company Inc. 401k                                 $                200,000.00       Investor‐Lender         $            100,000.00    2‐379
       59            6001‐05 S Sacramento Avenue             2945‐51 W 60th Street     Estate Property   Chuck Denton | Denton Real Estate Company Inc. 401k                                 $                200,000.00       Investor‐Lender         $             25,000.00    59‐379
       60               7026‐42 S Cornell Avenue                                       Estate Property   Chuck Denton | Denton Real Estate Company Inc. 401k                                 $                200,000.00       Investor‐Lender         $             50,000.00    60‐379
      118                400 S Kilbourn Avenue                                         Former Property   Chukwuemeka Ezeume                                                                  $                178,625.00       Investor‐Lender         $            150,000.00    118‐211
       63              4520‐26 S Drexel Boulevard                                      Estate Property   Cindy L. Chambers                                                                   $                 33,337.00       Investor‐Lender         $             33,337.00    63‐85
       64              4611‐17 S Drexel Boulevard                                      Estate Property   Citibank, N.A., as Trustee for the registered Holders of Wells Fargo Commercial     $              3,697,340.98     Institutional Lender                                 64‐1325
                                                                                                         Mortgage Securities, Inc., Multifamily Mortgage Pass‐Through Certificates, Series
                                                                                                         2018‐SB48
      68             6217‐27 S Dorchester Avenue                                       Estate Property   Citibank, N.A., as Trustee for the registered Holders of Wells Fargo Commercial     $              1,954,113.57     Institutional Lender                                 68‐1278
                                                                                                         Mortgage Securities, Inc., Multifamily Mortgage Pass‐Through Certificates, Series
                                                                                                         2018‐SB48




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                                                                                                                             Exhibit 5
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                                                                                                                      Case No. 18‐cv‐5587




Property Number           Property Address                    Alternative Address                Type                                      Claimant Name                                        Claimed Amount (Total     Claim Category as Identified   Amount Claimed to be       Claim Number
                                                                                                                                                                                              Claimed Amount in Claim            on Claim Form            Invested in Property
                                                                                                                                                                                               Category as Identified on
                                                                                                                                                                                                     Claim Form)
      69                6250 S Mozart Avenue                 2832‐36 W 63rd Street      Estate Property   Citibank, N.A., as Trustee for the registered Holders of Wells Fargo Commercial     $              1,461,176.83     Institutional Lender                                69‐1324
                                                                                                          Mortgage Securities, Inc., Multifamily Mortgage Pass‐Through Certificates, Series
                                                                                                          2018‐SB48*
      73               7255‐57 S Euclid Avenue               1940‐44 E 73rd Street      Estate Property   Citibank, N.A., as Trustee for the registered Holders of Wells Fargo Commercial     $              1,151,462.06     Institutional Lender                                73‐1326
                                                                                                          Mortgage Securities, Inc., Multifamily Mortgage Pass‐Through Certificates, Series
                                                                                                          2018‐SB48*
        6            6437‐41 S Kenwood Avenue                                           Estate Property   City of Chicago                                                                     $                78,479.20             Other               $             5,247.91   6‐693
        7             7109‐19 S Calumet Avenue                                          Estate Property   City of Chicago                                                                     $                78,479.20             Other               $            13,153.44   7‐693
       26             8405 S Marquette Avenue                                           Estate Property   City of Chicago                                                                     $                78,479.20             Other               $               413.84   26‐693
       44                8517 S Vernon Avenue                                           Estate Property   City of Chicago                                                                     $                78,479.20             Other               $               841.94   44‐693
       46             9610 S Woodlawn Avenue                                            Estate Property   City of Chicago                                                                     $                78,479.20             Other               $               431.13   46‐693
       49           7300‐04 St Lawrence Avenue                                          Estate Property   City of Chicago                                                                     $                78,479.20             Other               $             1,182.83   49‐693
       50                 7760 S Coles Avenue                                           Estate Property   City of Chicago                                                                     $                78,479.20             Other               $               815.33   50‐693
       54               8000‐02 S Justine Street               1541 E 80th Street       Estate Property   City of Chicago                                                                     $                78,479.20             Other               $             2,783.04   54‐693
       61             7237‐43 S Bennett Avenue                                          Estate Property   City of Chicago                                                                     $                78,479.20             Other               $             5,906.05   61‐693
       73               7255‐57 S Euclid Avenue              1940‐44 E 73rd Street      Estate Property   City of Chicago                                                                     $                78,479.20             Other               $             1,647.65   73‐693
       74               3074 Cheltenham Place                 7836 S Shore Drive        Estate Property   City of Chicago                                                                     $                78,479.20             Other               $            10,812.42   74‐693
       75             7625‐33 S East End Avenue                                         Estate Property   City of Chicago                                                                     $                78,479.20             Other               $             1,895.90   75‐693
       76             7635‐43 S East End Avenue                                         Estate Property   City of Chicago                                                                     $                78,479.20             Other               $               610.08   76‐693
       78              7201 S Constance Avenue               1825‐31 E 72nd Street      Estate Property   City of Chicago                                                                     $                78,479.20             Other               $             8,124.80   78‐693
       89            7600‐10 S Kingston Avenue               2527‐29 E 76th Street      Estate Property   City of Chicago                                                                     $                78,479.20             Other               $             1,542.97   89‐693
       90            7656‐58 S Kingston Avenue             2514‐2520 East 77th Street   Estate Property   City of Chicago                                                                     $                78,479.20             Other               $             2,000.32   90‐693
       92               7748‐52 S Essex Avenue               2450‐52 E 78th Street      Estate Property   City of Chicago                                                                     $                78,479.20             Other               $             2,097.70   92‐693
      110         5618‐20 S Martin Luther King Drive                                    Estate Property   City of Chicago                                                                     $                78,479.20             Other               $             4,527.80   110‐693
      115                109 N Laramie Avenue                                           Former Property   City of Chicago                                                                     $                78,479.20             Other               $             1,715.34   115‐693
    13 to 15             2909‐19 E 78th Street                                          Estate Property   City of Chicago                                                                     $                78,479.20             Other               $             5,485.37   13‐693
     96‐99               8326‐58 S Ellis Avenue                                         Estate Property   City of Chicago                                                                     $                78,479.20             Other               $             3,063.68   96‐693
        5             7749‐59 S Yates Boulevard                                         Estate Property   Clarice Recamara                                                                    $                25,000.00        Investor‐Lender          $            25,000.00   5‐640
       64            4611‐17 S Drexel Boulevard                                         Estate Property   Clarice Recamara                                                                    $                20,000.00        Investor‐Lender          $            20,000.00   64‐643
       61             7237‐43 S Bennett Avenue                                          Estate Property   Clark, Wilma                                                                        $                20,266.67        Investor‐Lender          $            20,000.00   61‐2013
       56                  8209 S Ellis Avenue                                          Estate Property   Claude M West , Linda S Gray, Desert Storm Properties Group, LLC                    $               100,000.00        Investor‐Lender          $           100,000.00   56‐1281
      904            SSDF4 (Legacy Fund SSDF4)                                          Fund              Claude M West , Linda S Gray, Desert Storm Properties Group, LLC                    $               100,000.00         Equity Investor         $           100,000.00   904‐1281
        1              1700‐08 Juneway Terrace                                          Estate Property   CLC Electric, Inc. (Costel Dumitrescu)                                              $               108,000.00    Independent Contractor       $            36,000.00   1‐1477
        9                 8100 S Essex Avenue               2449‐57 East 81st Street    Estate Property   CLC Electric, Inc. (Costel Dumitrescu)                                              $               108,000.00    Independent Contractor       $            15,000.00   9‐1477
      101              6949‐59 S Merrill Avenue                                         Estate Property   CLC Electric, Inc. (Costel Dumitrescu)                                              $               108,000.00    Independent Contractor       $            57,000.00   101‐1477
        1              1700‐08 Juneway Terrace                                          Estate Property   CLD Construction, Inc. (Doru Unchias)                                               $               434,935.00    Independent Contractor       $            70,000.00   1‐1454
        2             4533‐47 S Calumet Avenue                                          Estate Property   CLD Construction, Inc. (Doru Unchias)                                               $               434,935.00    Independent Contractor       $            26,335.00   2‐1454
        4             5450‐52 S Indiana Avenue                 118‐132 E Garfield       Estate Property   CLD Construction, Inc. (Doru Unchias)                                               $               434,935.00    Independent Contractor       $             2,500.00   4‐1454
       55                8107‐09 S Ellis Avenue                                         Estate Property   CLD Construction, Inc. (Doru Unchias)                                               $               434,935.00    Independent Contractor       $            52,300.00   55‐1454
       77           7750‐58 S Muskegon Avenue                2818‐36 E 78th Street      Estate Property   CLD Construction, Inc. (Doru Unchias)                                               $               434,935.00    Independent Contractor       $            49,000.00   77‐1454
       78             7201 S Constance Avenue                1825‐31 E 72nd Street      Estate Property   CLD Construction, Inc. (Doru Unchias)                                               $               434,935.00    Independent Contractor       $           131,000.00   78‐1454
       93             7953‐59 S Marquette Road                                          Estate Property   CLD Construction, Inc. (Doru Unchias)                                               $               434,935.00    Independent Contractor       $             2,800.00   93‐1454
      101              6949‐59 S Merrill Avenue                                         Estate Property   CLD Construction, Inc. (Doru Unchias)                                               $               434,935.00    Independent Contractor       $            91,000.00   101‐1454
      123             7107‐29 S Bennett Avenue                                          Former Property   CLD Construction, Inc. (Doru Unchias)                                               $               434,935.00    Independent Contractor       $            10,000.00   123‐1454
        1              1700‐08 Juneway Terrace                                          Estate Property   Clearwood Funding, LLC                                                              $               150,000.00        Investor‐Lender          $            50,000.00   1‐1276
        5             7749‐59 S Yates Boulevard                                         Estate Property   Clearwood Funding, LLC                                                              $               150,000.00        Investor‐Lender          $            50,000.00   5‐1276
       85           7201‐07 S Dorchester Avenue               1401 E 72nd Street        Estate Property   Clearwood Funding, LLC                                                              $               150,000.00        Investor‐Lender          $            50,000.00   85‐1276
        1              1700‐08 Juneway Terrace                                          Estate Property   CLOVE, LLC                                                                          $                21,750.74        Investor‐Lender          $             5,000.00   1‐723
       71                 701‐13 S 5th Avenue                     414 Walnut            Estate Property   CLOVE, LLC                                                                          $                21,750.74        Investor‐Lender          $            15,900.00   71‐723
    10 to 12          7301‐09 S Stewart Avenue                                          Fund              CLOVE, LLC                                                                          $                23,920.01         Equity Investor         $            23,000.00   10‐723
                     7500‐06 S Eggleston Avenue
                         3030‐32 E 79th Street
      904            SSDF4 (Legacy Fund SSDF4)                                          Fund              CM Group, LLC Keith Cooper                                                          $                75,000.00        Investor‐Lender          $            75,000.00   904‐1184
      68            6217‐27 S Dorchester Avenue                                         Estate Property   Conor Benson King                                                                   $                15,000.00        Investor‐Lender          $            15,000.00   68‐1392
      73                7255‐57 S Euclid Avenue              1940‐44 E 73rd Street      Estate Property   Conrad Hanns                                                                        $                50,000.00        Investor‐Lender          $            50,000.00   73‐504
      N/A                         N/A                                                   Other             Consilio, LLC                                                                       $                65,929.74             Other                                        841
       3                5001 S Drexel Boulevard                909 E 50th Street        Estate Property   Consuelo V Needs‐Medical Dictation Services, Inc.                                   $                50,000.00        Investor‐Lender          $            50,000.00   3‐541
       1               1700‐08 Juneway Terrace                                          Estate Property   Coppy Properties, LLC                                                               $                50,000.00        Investor‐Lender          $            50,000.00   1‐1381
      N/A                         N/A                                                   Other             Corporate Creations International, Inc.                                             $                13,018.40             Other                                        886
       6             6437‐41 S Kenwood Avenue                                           Estate Property   Cosmopolitan Properties LLC, Valentina Salge, President                             $               177,300.00        Investor‐Lender          $           150,000.00   6‐940
      87                  7508 S Essex Avenue                2453‐59 E 75th Street      Estate Property   Cosmos Building Maintenance Solo 401K Trust Rolando Lopez                           $                50,000.00        Investor‐Lender          $            50,000.00   87‐185
      91                7701‐03 S Essex Avenue                                          Estate Property   Covenant Funding LLC                                                                $               386,250.00        Investor‐Lender          $           300,000.00   91‐364
       1               1700‐08 Juneway Terrace                                          Estate Property   Cross 5774 Holdings LLC ‐ Cross Global Funding Group                                $                75,000.00        Investor‐Lender          $            50,000.00   1‐860




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                                                                                                                           Exhibit 5
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                                                                                                Master Claims List Page 32 of 68 PageID #:70841
                                                                                                                     Case No. 18‐cv‐5587




Property Number            Property Address                   Alternative Address               Type                                     Claimant Name                                  Claimed Amount (Total     Claim Category as Identified   Amount Claimed to be       Claim Number
                                                                                                                                                                                       Claimed Amount in Claim           on Claim Form            Invested in Property
                                                                                                                                                                                       Category as Identified on
                                                                                                                                                                                             Claim Form)
      83                6356 S California Avenue              2804 W 64th Street       Estate Property   Cross 5774 Holdings LLC ‐ Cross Global Funding Group                         $                 75,000.00       Investor‐Lender          $            25,000.00   83‐860
     13‐15                2909‐19 E 78th Street                                        Fund              Cynthia Love                                                                 $                104,250.01        Equity Investor         $           100,000.00   13‐132
                         7549‐59 S Essex Avenue
                      8047‐55 S Manistee Avenue
       59            6001‐05 S Sacramento Avenue             2945‐51 W 60th Street     Estate Property   CZE Holdings LLC (Carl Johnson IRA)                                          $                299,700.00       Investor‐Lender          $            50,000.00   59‐1117
       60               7026‐42 S Cornell Avenue                                       Estate Property   CZE Holdings LLC (Carl Johnson IRA)                                          $                299,700.00       Investor‐Lender          $            55,000.00   60‐1117
      904                         SSDF4                                                Fund              CZE Holdings LLC (Carl Johnson IRA)                                          $                299,700.00       Investor‐Lender          $           194,700.00   904‐1117
      107               1422‐24 East 68th Street                                       Estate Property   Dan Behm                                                                     $                 96,373.45       Investor‐Lender                                   107‐816
      123              7107‐29 S Bennett Avenue                                        Former Property   Dan Behm                                                                     $                 96,373.45       Investor‐Lender                                   123‐816
        1               1700‐08 Juneway Terrace                                        Estate Property   Dana Speed                                                                   $                249,710.00       Investor‐Lender          $            40,000.00   1‐684
        5              7749‐59 S Yates Boulevard                                       Estate Property   Dana Speed                                                                   $                249,710.00       Investor‐Lender          $           169,000.00   5‐684
       60               7026‐42 S Cornell Avenue                                       Estate Property   Dana Speed                                                                   $                249,710.00       Investor‐Lender          $            31,000.00   60‐684
      906                         SSDF6                                                Fund              Dana Speed                                                                   $                240,000.00        Equity Investor         $           240,000.00   906‐684
       9                   8100 S Essex Avenue              2449‐57 East 81st Street   Estate Property   Daniel J Martineau                                                           $                321,016.60       Investor‐Lender          $           125,750.00   9‐1299
      77              7750‐58 S Muskegon Avenue              2818‐36 E 78th Street     Estate Property   Daniel J Martineau                                                           $                321,016.60       Investor‐Lender          $           100,000.00   77‐1299
       80                2736‐44 W 64th Street                                         Estate Property   Daniel J Martineau                                                           $                321,016.60       Investor‐Lender          $            50,000.00   80‐1299
       82              6355‐59 S Talman Avenue               2616‐22 W 64th Street     Estate Property   Daniel J Martineau                                                           $                321,016.60       Investor‐Lender          $            25,250.00   82‐1299
       87                  7508 S Essex Avenue               2453‐59 E 75th Street     Estate Property   Daniel J Martineau                                                           $                321,016.60       Investor‐Lender          $           110,000.00   87‐1299
       62                 7834‐44 S Ellis Avenue                                       Estate Property   Daniel Lewis & Deborah Lewis                                                 $                 50,000.00       Investor‐Lender          $            50,000.00   62‐257
       60               7026‐42 S Cornell Avenue                                       Estate Property   Daniel Matthews, Leah Matthews                                               $                185,922.54       Investor‐Lender          $            22,812.00   60‐117
       74                3074 Cheltenham Place                7836 S Shore Drive       Estate Property   Daniel Matthews, Leah Matthews                                               $                185,922.54       Investor‐Lender          $            20,000.00   74‐117
       76              7635‐43 S East End Avenue                                       Estate Property   Daniel Matthews, Leah Matthews                                               $                185,922.54       Investor‐Lender          $            72,029.00   76‐117
       79         6160‐6212 S Martin Luther King Drive                                 Estate Property   Daniel Matthews, Leah Matthews                                               $                185,922.54       Investor‐Lender          $            40,000.00   79‐117
       88              7546‐48 S Saginaw Avenue                                        Estate Property   Daniel Matthews, Leah Matthews                                               $                185,922.54       Investor‐Lender          $            29,000.00   88‐117
       92                7748‐52 S Essex Avenue              2450‐52 E 78th Street     Estate Property   Daniel Matthews, Leah Matthews                                               $                185,922.54       Investor‐Lender          $            20,000.00   92‐117
      93               7953‐59 S Marquette Road              2708‐10 E 80th Street     Estate Property   Daniel Matthews, Leah Matthews                                               $                185,922.54       Investor‐Lender          $            32,322.32   93‐117
      117                3915 N Kimball Avenue                                         Former Property   Daniel Matthews, Leah Matthews                                               $                185,922.54       Investor‐Lender          $            47,184.00   117‐117
      158                  5104 W Dakin Street                                         Former Property   Daniel Matthews, Leah Matthews                                               $                185,922.54       Investor‐Lender          $             7,635.77   158‐117
        1               1700‐08 Juneway Terrace                                        Estate Property   Danielle DeVarne                                                             $                150,000.00       Investor‐Lender          $            50,000.00   1‐679
       77             7750‐58 S Muskegon Avenue              2818‐36 E 78th Street     Estate Property   Danielle DeVarne                                                             $                150,000.00       Investor‐Lender          $            50,000.00   77‐679
     96‐99                8326‐58 S Ellis Avenue                                       Estate Property   Danielle DeVarne                                                             $                150,000.00       Investor‐Lender          $            50,000.00   96‐679
      67                   1131‐41 E 79th Place                                        Estate Property   Danyel Tiefenbacher and Jamie Lai                                            $                103,875.01        Equity Investor         $            50,000.00   67‐646
       74                3074 Cheltenham Place                7836 S Shore Drive       Estate Property   Danyel Tiefenbacher and Jamie Lai                                            $                 51,750.99       Investor‐Lender          $            50,000.00   74‐510
      100           11117‐11119 S Longwood Drive                                       Estate Property   Danyel Tiefenbacher and Jamie Lai                                            $                103,875.01        Equity Investor         $            50,000.00   100‐646
    102‐106              7927‐49 S Essex Avenue                                        Estate Property   David & Florybeth Stratton                                                   $                150,000.00       Investor‐Lender          $           150,000.00   102‐588
       60               7026‐42 S Cornell Avenue                                       Estate Property   David Ashley Lawrence Johnson investing under Endurance Capital Management   $                 50,000.00       Investor‐Lender          $            50,000.00   60‐170
                                                                                                         LLC
      64              4611‐17 S Drexel Boulevard                                       Estate Property   David Ashley Lawrence Johnson investing under Endurance Capital Management   $                172,583.29       Investor‐Lender          $            50,000.00   64‐170
                                                                                                         LLC
    102‐106             7927‐49 S Essex Avenue                                         Estate Property   David Ashley Lawrence Johnson investing under Endurance Capital Management   $                172,583.29       Investor‐Lender          $           100,000.00   102‐170
                                                                                                         LLC
    13 to 15                     CCF2                                                  Fund              David Ashley Lawrence Johnson investing under Endurance Capital Management   $                117,000.04        Equity Investor         $           100,000.00   13‐170
                                                                                                         LLC
      902                   SSDF2 Holdco 3 LLC                                         Fund              David E. Chambers                                                            $                 30,000.00       Investor‐Lender          $            30,000.00   902‐555
    10 to 12                       CCF1                                                Fund              David E. Chambers                                                            $                 50,000.00       Investor‐Lender          $            50,000.00   10‐553
     96‐99                8326‐58 S Ellis Avenue                                       Estate Property   DAVID G & LEANNE D RUESCH                                                    $                 52,666.68       Investor‐Lender          $            50,000.00   96‐384
        5              7749‐59 S Yates Boulevard                                       Estate Property   David M Harris                                                               $                831,700.00       Investor‐Lender          $           100,000.00   5‐267
        6             6437‐41 S Kenwood Avenue                                         Estate Property   David M Harris                                                               $                534,555.00        Equity Investor         $           200,000.00   6‐267
       64             4611‐17 S Drexel Boulevard                                       Estate Property   David M Harris                                                               $                831,700.00       Investor‐Lender          $           100,000.00   64‐267
       68            6217‐27 S Dorchester Avenue                                       Estate Property   David M Harris                                                               $                831,700.00       Investor‐Lender          $            48,145.00   68‐267
       72               7024‐32 S Paxton Avenue                                        Estate Property   David M Harris                                                               $                831,700.00       Investor‐Lender          $           100,000.00   72‐267
       79         6160‐6212 S Martin Luther King Drive                                 Estate Property   David M Harris                                                               $                831,700.00       Investor‐Lender          $            96,000.00   79‐267
       87                  7508 S Essex Avenue               2453‐59 E 75th Street     Estate Property   David M Harris                                                               $                831,700.00       Investor‐Lender          $            53,000.00   87‐267
      100           11117‐11119 S Longwood Drive                                       Estate Property   David M Harris                                                               $                534,555.00        Equity Investor         $            32,700.00   100‐267
    102‐106              7927‐49 S Essex Avenue                                        Estate Property   David M Harris                                                               $                534,555.00        Equity Investor         $           100,000.00   102‐267
    102‐106              7927‐49 S Essex Avenue                                        Estate Property   David M Harris                                                               $                831,700.00       Investor‐Lender          $            51,855.00   102‐267
    13 to 15                       CCF2                                                Fund              David M Harris                                                               $                534,555.00        Equity Investor         $           150,000.00   13‐267
        6             6437‐41 S Kenwood Avenue                                         Estate Property   David M Williams                                                             $                 44,313.83       Investor‐Lender          $            24,274.00   6‐415
       86              7442‐48 S Calumet Avenue                                        Estate Property   David Marcus                                                                 $              1,370,484.00       Investor‐Lender          $           105,000.00   86‐801
       89             7600‐10 S Kingston Avenue              2527‐29 E 76th Street     Estate Property   David Marcus                                                                 $              1,370,484.00       Investor‐Lender          $           895,484.00   89‐801
    13 to 15                       CCF2                                                Fund              David Marcus                                                                 $              1,370,484.00       Investor‐Lender          $           250,000.00   13‐801
     96‐99                8326‐58 S Ellis Avenue                                       Estate Property   David Marcus                                                                 $              1,370,484.00       Investor‐Lender          $           120,000.00   96‐801
        1               1700‐08 Juneway Terrace                                        Estate Property   David R. Trengove                                                            $                705,123.88       Investor‐Lender          $            35,000.00   1‐481




                                                                                                                               8
                                                                                                                         Exhibit 5
                                                   Case: 1:18-cv-05587 Document #: 1280     Filed:
                                                                                     Receiver's           08/01/22
                                                                                                Master Claims List Page 33 of 68 PageID #:70842
                                                                                                                   Case No. 18‐cv‐5587




Property Number            Property Address                   Alternative Address             Type                                    Claimant Name                                      Claimed Amount (Total     Claim Category as Identified Amount Claimed to be          Claim Number
                                                                                                                                                                                        Claimed Amount in Claim           on Claim Form           Invested in Property
                                                                                                                                                                                        Category as Identified on
                                                                                                                                                                                              Claim Form)
        2              4533‐47 S Calumet Avenue                                      Estate Property   David R. Trengove                                                               $                705,123.88       Investor‐Lender        $             200,000.00    2‐481
        4               5450‐52 S Indiana Avenue               118‐132 E Garfield    Estate Property   David R. Trengove                                                               $                705,123.88       Investor‐Lender        $               44,266.00   4‐481
       61               7237‐43 S Bennett Avenue                                     Estate Property   David R. Trengove                                                               $                705,123.88       Investor‐Lender        $               43,784.00   61‐481
       62                 7834‐44 S Ellis Avenue                                     Estate Property   David R. Trengove                                                               $                705,123.88       Investor‐Lender        $             300,000.00    62‐481
       64              4611‐17 S Drexel Boulevard                                    Estate Property   David R. Trengove                                                               $                705,123.88       Investor‐Lender        $             150,000.00    64‐481
       70                638‐40 N Avers Avenue                                       Estate Property   David R. Trengove                                                               $                705,123.88       Investor‐Lender        $             103,098.00    70‐481
       79         6160‐6212 S Martin Luther King Drive                               Estate Property   David R. Trengove                                                               $                705,123.88       Investor‐Lender        $             150,000.00    79‐481
      100            11117‐11119 S Longwood Drive                                    Estate Property   David R. Trengove                                                               $                705,123.88       Investor‐Lender        $               46,000.00   100‐481
       61               7237‐43 S Bennett Avenue                                     Estate Property   DAVID WEEKS                                                                     $                 53,750.00       Investor‐Lender        $               50,000.00   61‐127
       70                638‐40 N Avers Avenue                                       Estate Property   Dean & Mare Atanasoski                                                          $                100,000.00       Investor‐Lender        $             100,000.00    70‐394
       80                 2736‐44 W 64th Street                                      Estate Property   Debbie Lasley                                                                   $                104,550.09       Investor‐Lender        $               50,000.00   80‐456
      116          1102 Bingham St, Houston TX 77007                                 Estate Property   Debbie Lasley                                                                   $                104,550.09       Investor‐Lender        $               55,000.00   116‐456
       71                  701‐13 S 5th Avenue                    414 Walnut         Estate Property   Deborah Buffamanti                                                              $                 34,723.00        Equity Investor                                   71‐1349
       81              4317‐19 S Michigan Avenue                                     Estate Property   Deborah Buffamanti                                                              $                 34,723.00        Equity Investor       $               50,000.00   81‐1351
        1               1700‐08 Juneway Terrace                                      Estate Property   Dee Ann Nason                                                                   $                303,965.00       Investor‐Lender        $               50,000.00   1‐453
        2              4533‐47 S Calumet Avenue                                      Estate Property   Dee Ann Nason                                                                   $                303,965.00       Investor‐Lender        $               50,000.00   2‐453
       64              4611‐17 S Drexel Boulevard                                    Estate Property   Dee Ann Nason                                                                   $                303,965.00       Investor‐Lender        $                3,965.00   64‐453
      100            11117‐11119 S Longwood Drive                                    Estate Property   Dee Ann Nason                                                                   $                303,965.00       Investor‐Lender        $               50,000.00   100‐453
    13 to 15                      CCF2                                               Fund              Dee Ann Nason                                                                   $                303,965.00       Investor‐Lender        $               50,000.00   13‐453
     96‐99                8326‐58 S Ellis Avenue                                     Estate Property   Dee Ann Nason                                                                   $                303,965.00       Investor‐Lender        $               50,000.00   96‐453
        5               7749‐59 S Yates Boulevard                                    Estate Property   Degenhardt, Duane A                                                             $                645,000.00       Investor‐Lender        $               13,385.00   5‐2015
        6              6437‐41 S Kenwood Avenue                                      Estate Property   Degenhardt, Duane A                                                             $                645,000.00       Investor‐Lender        $             150,000.00    6‐2015
       61               7237‐43 S Bennett Avenue                                     Estate Property   Degenhardt, Duane A                                                             $                645,000.00       Investor‐Lender        $                9,139.00   61‐2015
       68             6217‐27 S Dorchester Avenue                                    Estate Property   Degenhardt, Duane A                                                             $                645,000.00       Investor‐Lender        $               20,792.29   68‐2015
       74                3074 Cheltenham Place                7836 S Shore Drive     Estate Property   Degenhardt, Duane A                                                             $                645,000.00       Investor‐Lender        $               66,684.00   74‐2015
    10 to 12                      CCF1                                               Fund              Degenhardt, Duane A                                                             $                645,000.00       Investor‐Lender        $               50,000.00   10‐2015
    102‐106              7927‐49 S Essex Avenue                                      Estate Property   Degenhardt, Duane A                                                             $                645,000.00       Investor‐Lender        $             100,000.00    102‐2015
    13 to 15                      CCF2                                               Fund              Degenhardt, Duane A                                                             $                645,000.00       Investor‐Lender        $             150,000.00    13‐2015
       86              7442‐48 S Calumet Avenue                                      Estate Property   Demetres Velendzas                                                              $                 51,500.00       Investor‐Lender        $               50,000.00   86‐776
        4               5450‐52 S Indiana Avenue               118‐132 E Garfield    Estate Property   Denise Renee Wilson                                                             $                 77,704.42       Investor‐Lender        $               90,000.00   4‐1492
        1               1700‐08 Juneway Terrace                                      Estate Property   Dennis & Mary Ann Hennefer                                                      $                679,378.00       Investor‐Lender        $               50,000.00   1‐355
        2              4533‐47 S Calumet Avenue                                      Estate Property   Dennis & Mary Ann Hennefer                                                      $                679,378.00       Investor‐Lender        $               52,956.00   2‐355
       58              5955 S Sacramento Avenue              2948‐56 W 60th Street   Estate Property   Dennis & Mary Ann Hennefer                                                      $                679,378.00       Investor‐Lender        $             332,334.00    58‐355
       60               7026‐42 S Cornell Avenue                                     Estate Property   Dennis & Mary Ann Hennefer                                                      $                679,378.00       Investor‐Lender        $             110,000.00    60‐355
       62                 7834‐44 S Ellis Avenue                                     Estate Property   Dennis & Mary Ann Hennefer                                                      $                679,378.00       Investor‐Lender        $               55,098.00   62‐355
       72               7024‐32 S Paxton Avenue                                      Estate Property   Dennis & Mary Ann Hennefer                                                      $                679,378.00       Investor‐Lender        $             350,000.00    72‐355
       76              7635‐43 S East End Avenue                                     Estate Property   Dennis & Mary Ann Hennefer                                                      $                679,378.00       Investor‐Lender        $               25,000.00   76‐355
       79         6160‐6212 S Martin Luther King Drive                               Estate Property   Dennis & Mary Ann Hennefer                                                      $                679,378.00       Investor‐Lender        $               23,768.00   79‐355
       89              7600‐10 S Kingston Avenue             2527‐29 E 76th Street   Estate Property   Dennis & Mary Ann Hennefer                                                      $                679,378.00       Investor‐Lender        $               47,044.00   89‐355
       91                7701‐03 S Essex Avenue                                      Estate Property   Dennis & Mary Ann Hennefer                                                      $                679,378.00       Investor‐Lender        $               36,134.00   91‐355
       28                   8800 S Ada Street                                        Estate Property   Dennis K McCoy                                                                  $                312,238.67       Investor‐Lender        $               60,000.00   28‐569
       33                   3723 W 68th Place                                        Estate Property   Dennis K McCoy                                                                  $                312,238.67       Investor‐Lender        $               40,000.00   33‐569
       91                7701‐03 S Essex Avenue                                      Estate Property   Dennis K McCoy                                                                  $                312,238.67       Investor‐Lender        $             100,000.00    91‐569
      115                 109 N Laramie Avenue                                       Former Property   Dennis K McCoy                                                                  $                312,238.67       Investor‐Lender        $               30,155.00   115‐569
      116          1102 Bingham St, Houston TX 77007                                 Estate Property   Dennis K McCoy                                                                  $                312,238.67       Investor‐Lender        $               50,000.00   116‐569
      126            5201‐5207 W Washington Blvd                                     Former Property   Dennis K McCoy                                                                  $                312,238.67       Investor‐Lender        $               76,667.00   126‐569
      124                6801 S East End Avenue                                      Former Property   Dennis Ray Hennefer                                                             $                 34,840.00       Investor‐Lender        $               34,840.00   124‐1265
     96‐99                8326‐58 S Ellis Avenue                                     Estate Property   Denny Kon                                                                       $                 52,000.01       Investor‐Lender        $               50,000.00   96‐112
       77             7750‐58 S Muskegon Avenue              2818‐36 E 78th Street   Estate Property   Derrick, Horace                                                                 $                100,000.00       Investor‐Lender        $             100,000.00    77‐2016
       58              5955 S Sacramento Avenue              2948‐56 W 60th Street   Estate Property   Diana Johan                                                                     $                 25,000.00       Investor‐Lender        $               25,000.00   58‐499
       79         6160‐6212 S Martin Luther King Drive                               Estate Property   Direct Lending Partner LLC (successor to Arena DLP Lender LLC and DLP Lending   $              3,118,675.50     Institutional Lender                                 79‐129
                                                                                                       Fund LLC)
        4              5450‐52 S Indiana Avenue                118‐132 E Garfield    Estate Property   Distributive Marketing Inc.                                                     $                100,000.00       Investor‐Lender         $             50,000.00    4‐806
        6             6437‐41 S Kenwood Avenue                                       Estate Property   Distributive Marketing Inc.                                                     $                155,000.00        Equity Investor        $             50,000.00    6‐806
       79         6160‐6212 S Martin Luther King Drive                               Estate Property   Distributive Marketing Inc.                                                     $                100,000.00       Investor‐Lender         $             50,000.00    79‐806
      100           11117‐11119 S Longwood Drive                                     Estate Property   Distributive Marketing Inc.                                                     $                155,000.00        Equity Investor        $             55,000.00    100‐806
    10 to 12           7301‐09 S Stewart Avenue                                      Fund              Distributive Marketing Inc.                                                     $                155,000.00        Equity Investor        $             50,000.00    10‐806
                      7500‐06 S Eggleston Avenue
                         3030‐32 E 79th Street
       69                6250 S Mozart Avenue                2832‐36 W 63rd Street   Estate Property   DK Phenix Investments LLC                                                       $                575,750.00       Investor‐Lender         $            100,000.00    69‐584
      100           11117‐11119 S Longwood Drive                                     Estate Property   DK Phenix Investments LLC                                                       $                575,750.00       Investor‐Lender         $             75,000.00    100‐584
    13 to 15                     CCF2                                                Fund              DK Phenix Investments LLC                                                       $                575,750.00       Investor‐Lender         $            100,000.00    13‐584




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                                                                                                                            Exhibit 5
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                                                                                                                      Case No. 18‐cv‐5587




Property Number            Property Address                    Alternative Address                Type                                   Claimant Name                   Claimed Amount (Total      Claim Category as Identified Amount Claimed to be          Claim Number
                                                                                                                                                                        Claimed Amount in Claim            on Claim Form           Invested in Property
                                                                                                                                                                        Category as Identified on
                                                                                                                                                                              Claim Form)
      904                         SSDF4                                                  Fund              DK Phenix Investments LLC                                   $                575,750.00        Investor‐Lender        $             300,750.00    904‐584
       91                7701‐03 S Essex Avenue                                          Estate Property   Domenic Simone                                              $                153,246.58         Equity Investor       $             100,000.00    91‐883
      107               1422‐24 East 68th Street                                         Estate Property   Domenic Simone                                              $                153,246.58         Equity Investor       $             165,000.00    107‐883
      155               Campo‐Mar, Puerto Rico                                           Former Property   Domenic Simone                                              $                153,246.58         Equity Investor       $             100,000.00    155‐883
        4              5450‐52 S Indiana Avenue                118‐132 E Garfield        Estate Property   Donald Freers aka Meadows Advisors LLC                      $                198,000.00        Investor‐Lender        $               48,000.00   4‐72
        9                  8100 S Essex Avenue               2449‐57 East 81st Street    Estate Property   Donald Freers aka Meadows Advisors LLC                      $                198,000.00        Investor‐Lender        $               95,000.00   9‐72
       67                  1131‐41 E 79th Place                                          Estate Property   Donald Freers aka Meadows Advisors LLC                      $                198,000.00        Investor‐Lender        $               48,000.00   67‐72
       84                7051 S Bennett Avenue                                           Estate Property   Donald Freers aka Meadows Advisors LLC                      $                198,000.00        Investor‐Lender        $                5,000.00   84‐72
        5              7749‐59 S Yates Boulevard                                         Estate Property   Donald Hendrickson                                          $                 10,595.99        Investor‐Lender        $               10,000.00   5‐945
       89             7600‐10 S Kingston Avenue               2527‐29 E 76th Street      Estate Property   Donald Minchow                                              $                225,000.00        Investor‐Lender        $             110,000.00    89‐2041
        5              7749‐59 S Yates Boulevard                                         Estate Property   Doron Kermanian                                             $                 30,000.00        Investor‐Lender        $               25,000.00   5‐380
        3                5001 S Drexel Boulevard                909 E 50th Street        Estate Property   Doron Reichenberg                                           $                179,000.00        Investor‐Lender        $               50,000.00   3‐708
      101               6949‐59 S Merrill Avenue                                         Estate Property   Doron Reichenberg                                           $                179,000.00        Investor‐Lender        $               54,000.00   101‐708
    13 to 15                       CCF2                                                  Fund              Doron Reichenberg                                           $                179,000.00        Investor‐Lender        $               75,000.00   13‐708
        2              4533‐47 S Calumet Avenue                                          Estate Property   Double Portion Foundation                                   $                 40,000.00        Investor‐Lender        $               40,000.00   2‐433
        2              4533‐47 S Calumet Avenue                                          Estate Property   Douglas Nebel and Narine Nebel                              $                155,752.25        Investor‐Lender        $               50,000.00   2‐1080
        4              5450‐52 S Indiana Avenue                 118‐132 E Garfield       Estate Property   Douglas Nebel and Narine Nebel                              $                155,752.25        Investor‐Lender        $               65,000.00   4‐1080
       67                  1131‐41 E 79th Place                                          Estate Property   Douglas Nebel and Narine Nebel                              $                155,752.25        Investor‐Lender        $               50,000.00   67‐1080
      904                         SSDF4                                                  Fund              Douglas Nebel and Narine Nebel                              $                115,000.00        Investor‐Lender        $             115,000.00    904‐1080
    13 to 15                       CCF2                                                  Fund              Douglas Nebel and Narine Nebel                              $                155,752.25        Investor‐Lender        $               15,000.00   13‐1080
        5              7749‐59 S Yates Boulevard                                         Estate Property   Duke E. Heger and Viviana Heger                             $                117,000.00        Investor‐Lender        $               35,000.00   5‐1408
       59            6001‐05 S Sacramento Avenue              2945‐51 W 60th Street      Estate Property   Duke E. Heger and Viviana Heger                             $                117,000.00        Investor‐Lender        $               12,000.00   59‐1408
       68            6217‐27 S Dorchester Avenue                                         Estate Property   Duke E. Heger and Viviana Heger                             $                117,000.00        Investor‐Lender        $               50,000.00   68‐1408
       89             7600‐10 S Kingston Avenue               2527‐29 E 76th Street      Estate Property   Duke E. Heger and Viviana Heger                             $                117,000.00        Investor‐Lender        $               20,000.00   89‐1408
    13 to 15                       CCF2                                                  Fund              Duke E. Heger and Viviana Heger                             $                 60,000.00         Equity Investor       $               60,000.00   13‐1408
      902                   SSDF2 Holdco 3 LLC                                           Fund              Duty, Darrell and Frances                                                                      Investor‐Lender                                    902‐2018
       60               7026‐42 S Cornell Avenue                                         Estate Property   DVH Investment Trust                                        $                 20,000.00        Investor‐Lender        $               80,000.00   60‐1410
      901                         SSDF1                                                  Fund              DVH Investment Trust                                        $                315,000.00         Equity Investor       $             315,000.00    901‐1410
        5              7749‐59 S Yates Boulevard                                         Estate Property   Easley Family Trust c/o Todd Easley                         $                 25,000.00        Investor‐Lender        $               25,000.00   5‐596
       79         6160‐6212 S Martin Luther King Drive                                   Estate Property   EastWest Funding Trust                                      $                 52,000.00        Investor‐Lender        $               50,000.00   79‐258
       73               7255‐57 S Euclid Avenue               1940‐44 E 73rd Street      Estate Property   Eco2 Capital Inc.                                           $                 36,308.25        Investor‐Lender        $               50,000.00   73‐1332
       64             4611‐17 S Drexel Boulevard                                         Estate Property   Eco2 Capital Inc. 401k                                      $                 43,933.81        Investor‐Lender        $               50,000.00   64‐1048
        9                  8100 S Essex Avenue               2449‐57 East 81st Street    Estate Property   Edge Investments, LLC, Janet F. Turco, Owner/Member   IRA   $              1,031,324.00        Investor‐Lender        $             101,000.00    9‐180
       53                 6807 S Indiana Avenue                                          Estate Property   Edge Investments, LLC, Janet F. Turco, Owner/Member   IRA   $              1,031,324.00        Investor‐Lender        $               45,000.00   53‐180
       56                   8209 S Ellis Avenue                                          Estate Property   Edge Investments, LLC, Janet F. Turco, Owner/Member   IRA   $              1,031,324.00        Investor‐Lender        $             100,000.00    56‐180
       75             7625‐33 S East End Avenue                                          Estate Property   Edge Investments, LLC, Janet F. Turco, Owner/Member   IRA   $              1,031,324.00        Investor‐Lender        $             176,226.00    75‐180
       78              7201 S Constance Avenue                1825‐31 E 72nd Street      Estate Property   Edge Investments, LLC, Janet F. Turco, Owner/Member   IRA   $              1,031,324.00        Investor‐Lender        $               17,374.00   78‐180
       80                 2736‐44 W 64th Street                                          Estate Property   Edge Investments, LLC, Janet F. Turco, Owner/Member   IRA   $              1,031,324.00        Investor‐Lender        $               30,000.00   80‐180
       90             7656‐58 S Kingston Avenue             2514‐2520 East 77th Street   Estate Property   Edge Investments, LLC, Janet F. Turco, Owner/Member   IRA   $              1,031,324.00        Investor‐Lender        $             102,149.00    90‐180
       93              7953‐59 S Marquette Road               2708‐10 E 80th Street      Estate Property   Edge Investments, LLC, Janet F. Turco, Owner/Member   IRA   $              1,031,324.00        Investor‐Lender        $               58,000.00   93‐180
      100           11117‐11119 S Longwood Drive                                         Estate Property   Edge Investments, LLC, Janet F. Turco, Owner/Member   IRA   $              1,031,324.00        Investor‐Lender        $             100,000.00    100‐180
      122             7616‐7624 S Phillips Avenue                                        Former Property   Edge Investments, LLC, Janet F. Turco, Owner/Member   IRA   $              1,031,324.00         Equity Investor       $               27,000.00   122‐180
      145             4755 S St Lawrence Avenue                                          Former Property   Edge Investments, LLC, Janet F. Turco, Owner/Member   IRA   $              1,031,324.00         Equity Investor       $               50,000.00   145‐180
    10 to 12                       CCF1                                                  Fund              Edge Investments, LLC, Janet F. Turco, Owner/Member   IRA   $              1,031,324.00        Investor‐Lender        $               70,175.00   10‐180
    102‐106              7927‐49 S Essex Avenue                                          Estate Property   Edge Investments, LLC, Janet F. Turco, Owner/Member   IRA   $              1,031,324.00        Investor‐Lender        $             100,400.00    102‐180
    13 to 15                       CCF2                                                  Fund              Edge Investments, LLC, Janet F. Turco, Owner/Member   IRA   $              1,031,324.00        Investor‐Lender        $             104,000.00    13‐180
       69                 6250 S Mozart Avenue                2832‐36 W 63rd Street      Estate Property   Edward J. Netzel                                            $                 20,000.00        Investor‐Lender        $               20,000.00   69‐1059
      123              7107‐29 S Bennett Avenue                                          Former Property   Edwin BARKER                                                $                 36,773.52        Investor‐Lender        $               50,000.00   123‐1498
        1               1700‐08 Juneway Terrace                                          Estate Property   Elaine Sison Ernst                                          $                 95,000.00        Investor‐Lender        $               30,000.00   1‐1029
        6             6437‐41 S Kenwood Avenue                                           Estate Property   Elaine Sison Ernst                                          $                 95,000.00        Investor‐Lender        $               15,000.00   6‐1029
       79         6160‐6212 S Martin Luther King Drive                                   Estate Property   Elaine Sison Ernst                                          $                 95,000.00        Investor‐Lender        $               50,000.00   79‐1029
        1               1700‐08 Juneway Terrace                                          Estate Property   Elizabeth A. Monnot‐Chase                                   $                107,450.00        Investor‐Lender        $             105,000.00    1‐1252
    13 to 15                       CCF2                                                  Fund              Elizabeth Riley Gerber                                      $                 47,347.23         Equity Investor       $               50,000.00   13‐205
        6             6437‐41 S Kenwood Avenue                                           Estate Property   Elizabeth Zeng                                              $                148,422.77        Investor‐Lender        $               25,000.00   6‐872
       60               7026‐42 S Cornell Avenue                                         Estate Property   Elizabeth Zeng                                              $                148,422.77        Investor‐Lender        $                9,000.00   60‐872
       67                  1131‐41 E 79th Place                                          Estate Property   Elizabeth Zeng                                              $                   8,914.75        Equity Investor       $                8,450.00   67‐872
       68            6217‐27 S Dorchester Avenue                                         Estate Property   Elizabeth Zeng                                              $                148,422.77        Investor‐Lender        $               94,000.00   68‐872
       88              7546‐48 S Saginaw Avenue                                          Estate Property   Elizabeth Zeng                                              $                148,422.77        Investor‐Lender        $               12,000.00   88‐872
      100           11117‐11119 S Longwood Drive                                         Estate Property   Ellen Liu                                                   $                400,000.00         Equity Investor       $             150,000.00    100‐1354
    10 to 12                       CCF1                                                  Fund              Ellen Liu                                                   $                400,000.00         Equity Investor       $             250,000.00    10‐1354
       62                 7834‐44 S Ellis Avenue                                         Estate Property   Emile P. Dufrene, III                                       $                 50,422.00        Investor‐Lender        $               50,000.00   62‐1248
       72               7024‐32 S Paxton Avenue                                          Estate Property   Emile P. Dufrene, III                                       $                 50,422.00        Investor‐Lender        $               50,000.00   72‐1248




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Property Number            Property Address                   Alternative Address               Type                                      Claimant Name                                    Claimed Amount (Total      Claim Category as Identified Amount Claimed to be          Claim Number
                                                                                                                                                                                          Claimed Amount in Claim            on Claim Form           Invested in Property
                                                                                                                                                                                          Category as Identified on
                                                                                                                                                                                                Claim Form)
        6             6437‐41 S Kenwood Avenue                                         Estate Property   Equity Capital Resources, LLC                                                   $                 77,166.66        Investor‐Lender        $               25,000.00   6‐671
       59            6001‐05 S Sacramento Avenue             2945‐51 W 60th Street     Estate Property   Equity Capital Resources, LLC                                                   $                 77,166.66        Investor‐Lender        $               50,000.00   59‐671
       80               2736‐44 W 64th Street                                          Estate Property   EQUITY TRUST COMPANY CUSTODIAN FBO ALBERT RUFFIN IRA                            $                 50,000.00        Investor‐Lender        $               50,000.00   80‐592
      124               6801 S East End Avenue                                         Former Property   EQUITY TRUST COMPANY CUSTODIAN FBO CHRISTOPHER M GUILLEN IRA                    $                   2,951.00       Investor‐Lender        $                2,951.00   124‐460
      124               6801 S East End Avenue                                         Former Property   EQUITY TRUST COMPANY CUSTODIAN FBO JETT C GUILLEN CESA                          $                   2,608.00       Investor‐Lender        $                2,608.00   124‐461
      60               7026‐42 S Cornell Avenue                                        Estate Property   Equity Trust Company Custodian FBO Linda A. Smith IRA                           $                 50,000.00        Investor‐Lender        $               50,000.00   60‐550
       88             7546‐48 S Saginaw Avenue                                         Estate Property   Equity Trust Company Custodian FBO Marvette Cofield Roth IRA; Equity Trust      $                 25,000.00        Investor‐Lender        $               25,000.00   88‐1091
                                                                                                         Company Custodian FBO Marvette Cofield SEP IRA
      124               6801 S East End Avenue                                         Former Property   EQUITY TRUST COMPANY CUSTODIAN FBO PATRICIA F GUILLEN IRA                       $                 14,775.00        Investor‐Lender        $              14,775.00    124‐424
      124               6801 S East End Avenue                                         Former Property   Equity Trust Company Custodian FBO Theodore J. Guillen                          $                 14,775.00        Investor‐Lender        $              14,775.00    124‐423
      124               6801 S East End Avenue                                         Former Property   EQUITY TRUST COMPANY CUSTODIAN FBO THEODORE P GUILLEN JR. IR                    $                  2,391.00        Investor‐Lender        $               2,391.00    124‐457
       76             7635‐43 S East End Avenue                                        Estate Property   Equity Trust Custodian FBO Dorothy Marie Baker IRA                              $                 15,000.00        Investor‐Lender        $              10,000.00    76‐2007
      118               400 S Kilbourn Avenue                                          Former Property   Equity TrustCompany Custodian FBO Karuna Voddi IRA                              $                 12,777.00        Investor‐Lender        $              12,777.00    118‐990
        6             6437‐41 S Kenwood Avenue                                         Estate Property   Eric Schwartz                                                                   $                144,153.72        Investor‐Lender        $              12,000.00    6‐157
       69                6250 S Mozart Avenue                2832‐36 W 63rd Street     Estate Property   Eric Schwartz                                                                   $                144,153.72        Investor‐Lender        $              60,082.00    69‐157
       87                 7508 S Essex Avenue                2453‐59 E 75th Street     Estate Property   Eric Schwartz                                                                   $                144,153.72        Investor‐Lender        $               7,213.00    87‐157
      130              4511 N Merimac Avenue                                           Former Property   Eric Schwartz                                                                   $                144,153.72        Investor‐Lender        $              44,178.86    130‐157
      908                        SSDF8                                                 Fund              Eric Schwartz                                                                   $                  2,787.00         Equity Investor       $               2,787.00    908‐157
       74               3074 Cheltenham Place                 7836 S Shore Drive       Estate Property   Erika Dietz                                                                     $                 20,000.00        Investor‐Lender        $              50,000.00    74‐1283
        4              5450‐52 S Indiana Avenue               118‐132 E Garfield       Estate Property   Erika Dietz IRA account (Madison Trust Company Custodian FBO Erika Dietz Acct   $                102,666.66        Investor‐Lender        $             100,000.00    4‐1301
                                                                                                         #M1612085)
      68             6217‐27 S Dorchester Avenue                                       Estate Property   Erwin J Page Trust, Jeffrey Steybe, Trustee                                     $                 52,666.68        Investor‐Lender         $             50,000.00    68‐1162
       1               1700‐08 Juneway Terrace                                         Estate Property   Evans & Associates LLC (Will Evans)                                             $                 50,000.00        Investor‐Lender         $             50,000.00    1‐410
      69                6250 S Mozart Avenue                 2832‐36 W 63rd Street     Estate Property   Evelyn Stratton (iPlanGroup Agent for Custodial FBO Evelyn Stratton IRA)        $                100,000.00        Investor‐Lender         $            100,000.00    69‐1028

      115                109 N Laramie Avenue                                          Former Property   FDD Properties LLC                                                              $                225,000.00        Equity Investor         $             50,000.00    115‐611
      904                        SSDF4                                                 Fund              FDD Properties LLC                                                              $                225,000.00        Equity Investor         $            225,000.00    904‐608
       70               638‐40 N Avers Avenue                                          Estate Property   Federal Home Loan Mortgage Corporation [Freddie Mac]                            $              1,273,346.96     Institutional Lender                                  70‐2084
       72              7024‐32 S Paxton Avenue                                         Estate Property   Federal Home Loan Mortgage Corporation [Freddie Mac]                            $              1,825,895.85     Institutional Lender                                  72‐2085
       67                 1131‐41 E 79th Place                                         Estate Property   Federal National Mortgage Association                                           $              1,319,255.08     Institutional Lender                                  67‐1333
       92               7748‐52 S Essex Avenue               2450‐52 E 78th Street     Estate Property   Ferrara, Judith (CAMAPlan f.b.o Judith D. Ferrara, Roth IRA)                    $                300,000.00       Investor‐Lender          $            250,000.00    92‐2021
    13 to 15                      CCF2                                                 Fund              Ferrara, Judith (CAMAPlan f.b.o Judith D. Ferrara, Roth IRA)                    $                300,000.00       Investor‐Lender          $             25,000.00    13‐2021
     96‐99               8326‐58 S Ellis Avenue                                        Estate Property   Ferrara, Judith (CAMAPlan f.b.o Judith D. Ferrara, Roth IRA)                    $                300,000.00       Investor‐Lender          $             25,000.00    96‐2021
        9                 8100 S Essex Avenue               2449‐57 East 81st Street   Estate Property   Fields Loss Consultants LLC                                                     $                134,618.00        Trade Creditor          $            143,618.00    9‐1424
      116         1102 Bingham St, Houston TX 77007                                    Estate Property   Fireshark Enterprises, LLC, a Texas Series Limited Liability Company            $                279,898.28       Investor‐Lender          $            313,418.93    116‐1130
      N/A                         N/A                                                  Other             First Western Properties                                                        $                 21,756.00 Independent Contractor                                    891
    10 to 12          7301‐09 S Stewart Avenue                                         Fund              FIVE STAR CAPITAL GROUP, LLC                                                    $                266,666.65 Investor‐Lender and Equity     $            250,000.00    10‐1246
                     7500‐06 S Eggleston Avenue                                                                                                                                                                                Investor
                         3030‐32 E 79th Street
      107              1422‐24 East 68th Street                                        Estate Property   Fixed Slice LLC                                                                 $                 64,775.00        Investor‐Lender        $             250,642.00    107‐176
      901                        SSDF1                                                 Fund              Florybeth & David Stratton                                                      $                200,000.00         Equity Investor       $             200,000.00    901‐604
      124               6801 S East End Avenue                                         Former Property   Focus4 Investments, LLC                                                         $                104,349.99        Investor‐Lender        $             100,000.00    124‐830
      73               7255‐57 S Euclid Avenue               1940‐44 E 73rd Street     Estate Property   Frances D Cook Sunwest Trust Custodian FBO Frances D Cook IRA #1713343          $                  6,000.00        Investor‐Lender        $               6,000.00    73‐539

       79         6160‐6212 S Martin Luther King Drive                                 Estate Property   Francisco Fernandez                                                             $                584,237.50      Investor‐Lender           $             65,000.00    79‐1450
       83               6356 S California Avenue              2804 W 64th Street       Estate Property   Francisco Fernandez                                                             $                584,237.50      Investor‐Lender           $             41,604.00    83‐1450
       85            7201‐07 S Dorchester Avenue              1401 E 72nd Street       Estate Property   Francisco Fernandez                                                             $                584,237.50      Investor‐Lender           $             23,396.00    85‐1450
       92               7748‐52 S Essex Avenue               2450‐52 E 78th Street     Estate Property   Francisco Fernandez                                                             $                584,237.50      Investor‐Lender           $             50,000.00    92‐1450
      122             7616‐7624 S Phillips Avenue                                      Former Property   Francisco Fernandez                                                             $                584,237.50      Investor‐Lender           $            175,000.00    122‐1450
    10 to 12                     CCF1                                                  Fund              Francisco Fernandez                                                             $                312,124.98       Equity Investor          $            250,000.00    10‐1450
    102‐106             7927‐49 S Essex Avenue                                         Estate Property   Francisco Fernandez                                                             $                584,237.50      Investor‐Lender           $            165,000.00    102‐1450
    13 to 15                     CCF2                                                  Fund              Francisco Fernandez                                                             $                312,124.98       Equity Investor          $             50,000.00    13‐1450
     96‐99               8326‐58 S Ellis Avenue                                        Estate Property   Francisco Fernandez                                                             $                584,237.50      Investor‐Lender           $             45,000.00    96‐1450
       63             4520‐26 S Drexel Boulevard                                       Estate Property   Frank and Laura Sohm                                                            $                167,893.65       Equity Investor          $             65,000.00    63‐906
       73               7255‐57 S Euclid Avenue              1940‐44 E 73rd Street     Estate Property   Frank and Laura Sohm                                                            $                167,893.65      Investor‐Lender           $             35,300.00    73‐906
       85            7201‐07 S Dorchester Avenue              1401 E 72nd Street       Estate Property   Frank and Laura Sohm                                                            $                167,893.65      Investor‐Lender           $             14,700.00    85‐906
       94              816‐20 E Marquette Road                                         Estate Property   Frank and Laura Sohm                                                            $                167,893.65      Investor‐Lender           $             50,000.00    94‐906
      120               7823‐27 S Essex Avenue                                         Former Property   Frank and Laura Sohm                                                            $                167,893.65       Equity Investor          $             26,000.00    120‐906
      135               4930 W Cornelia Avenue                                         Former Property   Frank and Laura Sohm                                                            $                167,893.65       Equity Investor                                     135‐906
    10 to 12           7301‐09 S Stewart Avenue                                        Fund              Frank and Laura Sohm                                                            $                167,893.65 Investor‐Lender and Equity     $             26,000.00    10‐906
                      7500‐06 S Eggleston Avenue                                                                                                                                                                              Investor
                         3030‐32 E 79th Street




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Property Number         Property Address                      Alternative Address               Type                                    Claimant Name                                 Claimed Amount (Total    Claim Category as Identified   Amount Claimed to be       Claim Number
                                                                                                                                                                                    Claimed Amount in Claim           on Claim Form            Invested in Property
                                                                                                                                                                                    Category as Identified on
                                                                                                                                                                                           Claim Form)
     13‐15            2909‐19 E 78th Street                                            Fund              Frank and Laura Sohm                                                       $               167,893.65       Equity Investor          $            10,000.00   13‐906
                     7549‐59 S Essex Avenue
                   8047‐55 S Manistee Avenue
       71              701‐13 S 5th Avenue                       414 Walnut            Estate Property   Frank Sohm IRA                                                             $               148,604.93      Investor‐Lender           $            40,000.00   71‐558
       89          7600‐10 S Kingston Avenue                 2527‐29 E 76th Street     Estate Property   Frank Sohm IRA                                                             $               148,604.93      Investor‐Lender           $            15,796.00   89‐558
      120            7823‐27 S Essex Avenue                                            Former Property   Frank Sohm IRA                                                             $               148,604.93      Investor‐Lender           $            40,000.00   120‐558
      135            4930 W Cornelia Avenue                                            Former Property   Frank Sohm IRA                                                             $               148,604.93      Investor‐Lender           $            25,000.00   135‐558
    10 to 12        7301‐09 S Stewart Avenue                                           Fund              Frank Sohm IRA                                                             $               148,664.93 Investor‐Lender and Equity     $            10,000.00   10‐558
                   7500‐06 S Eggleston Avenue                                                                                                                                                                           Investor
                      3030‐32 E 79th Street
     13‐15            2909‐19 E 78th Street                                            Fund              Frank Sohm IRA                                                             $               148,664.93        Equity Investor         $            40,000.00   13‐558
                     7549‐59 S Essex Avenue
                   8047‐55 S Manistee Avenue
      N/A                      N/A                                                     UPN               Frank Sohm IRA                                                             $               148,604.93       Investor‐Lender          $            10,992.19   558
      76            7635‐43 S East End Avenue                                          Estate Property   Frank Starosciak                                                           $                47,407.14       Investor‐Lender          $            17,125.00   76‐1239
      89           7600‐10 S Kingston Avenue                 2527‐29 E 76th Street     Estate Property   Frank Starosciak                                                           $                47,407.14       Investor‐Lender          $            20,000.00   89‐1239
     96‐99            8326‐58 S Ellis Avenue                                           Estate Property   Frank Starosciak                                                           $                47,407.14       Investor‐Lender          $             5,000.00   96‐1239
      89           7600‐10 S Kingston Avenue                 2527‐29 E 76th Street     Estate Property   Fraser Realty Capital, LLC                                                 $                20,038.00       Investor‐Lender          $            20,038.00   89‐1313
      77          7750‐58 S Muskegon Avenue                  2818‐36 E 78th Street     Estate Property   Fraser Realty Investments, LLC                                             $               120,000.00       Investor‐Lender          $           100,000.00   77‐1079
      95             8201 S Kingston Avenue                                            Estate Property   Fraser Realty Investments, LLC                                             $               120,000.00       Investor‐Lender          $            20,000.00   95‐1079
      85          7201‐07 S Dorchester Avenue                 1401 E 72nd Street       Estate Property   Freda R. Smith (QUEST IRA Inc. FBO Freda R. Smith IRA Account # 16816‐11   $                25,141.58       Investor‐Lender          $            20,000.00   85‐1356
                                                                                                         (Traditional IRA))
       58           5955 S Sacramento Avenue                 2948‐56 W 60th Street     Estate Property   Fredric R. Gottlieb                                                        $               212,481.00       Investor‐Lender          $            37,481.00   58‐1177
       62              7834‐44 S Ellis Avenue                                          Estate Property   Fredric R. Gottlieb                                                        $               391,776.10       Investor‐Lender          $            58,617.00   62‐1212
       68          6217‐27 S Dorchester Avenue                                         Estate Property   Fredric R. Gottlieb                                                        $               391,776.10       Investor‐Lender          $            15,740.00   68‐1212
       73            7255‐57 S Euclid Avenue                 1940‐44 E 73rd Street     Estate Property   Fredric R. Gottlieb                                                        $               391,776.10       Investor‐Lender          $            60,000.00   73‐1212
    13 to 15                    CCF2                                                   Fund              Fredric R. Gottlieb                                                        $               212,481.00       Investor‐Lender          $           100,000.00   13‐1177
     96‐99             8326‐58 S Ellis Avenue                                          Estate Property   Fredric R. Gottlieb                                                        $               212,481.00       Investor‐Lender          $            75,000.00   96‐1177
     96‐99             8326‐58 S Ellis Avenue                                          Estate Property   Fredric R. Gottlieb                                                        $               391,776.10       Investor‐Lender          $           184,259.00   96‐1212
       60            7026‐42 S Cornell Avenue                                          Estate Property   Fredric R. Gottlieb (South Florida Realty Management & Investments)        $               433,306.00       Investor‐Lender          $            58,306.00   60‐1215
    10 to 12                    CCF1                                                   Fund              Fredric R. Gottlieb (South Florida Realty Management & Investments)        $               433,306.00       Investor‐Lender          $           100,000.00   10‐1215
    102‐106           7927‐49 S Essex Avenue                                           Estate Property   Fredric R. Gottlieb (South Florida Realty Management & Investments)        $               433,306.00       Investor‐Lender          $           100,000.00   102‐1215
    13 to 15                    CCF2                                                   Fund              Fredric R. Gottlieb (South Florida Realty Management & Investments)        $               433,306.00       Investor‐Lender          $           175,000.00   13‐1215
        6           6437‐41 S Kenwood Avenue                                           Estate Property   Freyja Partners, a California Limited Partnership                          $               179,625.00       Investor‐Lender          $            50,000.00   6‐1141
    13 to 15                    CCF2                                                   Fund              Freyja Partners, a California Limited Partnership                          $               179,625.00       Investor‐Lender          $            50,000.00   13‐1141
     96‐99             8326‐58 S Ellis Avenue                                          Estate Property   Freyja Partners, a California Limited Partnership                          $               179,625.00       Investor‐Lender          $            50,000.00   96‐1141
       74             3074 Cheltenham Place                   7836 S Shore Drive       Estate Property   G&M You‐Nique Properties, LLC                                              $                62,325.00       Investor‐Lender          $            60,000.00   74‐722
        2           4533‐47 S Calumet Avenue                                           Estate Property   Gallowglass LLC c/o Patrick Bournes                                        $               100,000.00       Investor‐Lender                                   2‐316
       60            7026‐42 S Cornell Avenue                                          Estate Property   Gallowglass LLC c/o Patrick Bournes                                        $               100,000.00       Investor‐Lender                                   60‐316
       83            6356 S California Avenue                 2804 W 64th Street       Estate Property   Gallowglass LLC c/o Patrick Bournes                                        $               100,000.00       Investor‐Lender                                   83‐316
       85          7201‐07 S Dorchester Avenue                1401 E 72nd Street       Estate Property   Gallowglass LLC c/o Patrick Bournes                                        $               100,000.00       Investor‐Lender                                   85‐316
      100         11117‐11119 S Longwood Drive                                         Estate Property   Gallowglass LLC c/o Patrick Bournes                                        $               100,000.00       Investor‐Lender                                   100‐316
       93           7953‐59 S Marquette Road                 2708‐10 E 80th Street     Estate Property   Gallucci, Henry                                                            $                77,000.00       Investor‐Lender          $            17,000.00   93‐2059
        9               8100 S Essex Avenue                 2449‐57 East 81st Street   Estate Property   Ganpat and FEREEDA Seunath                                                 $               216,194.22       Investor‐Lender          $             2,372.00   9‐77
       59         6001‐05 S Sacramento Avenue                2945‐51 W 60th Street     Estate Property   Ganpat and FEREEDA Seunath                                                 $               216,194.22       Investor‐Lender          $           109,844.00   59‐77
       67               1131‐41 E 79th Place                                           Estate Property   Ganpat and FEREEDA Seunath                                                 $               216,194.22       Investor‐Lender          $            19,714.00   67‐77
      124             6801 S East End Avenue                                           Former Property   Ganpat and FEREEDA Seunath                                                 $               216,194.22       Investor‐Lender          $            19,000.00   124‐77
     96‐99             8326‐58 S Ellis Avenue                                          Estate Property   Ganpat and FEREEDA Seunath                                                 $               216,194.22       Investor‐Lender          $            51,585.00   96‐77
      N/A           Roth IRA and Traditional IRA                                       Fund              Ganpat and FEREEDA Seunath                                                 $               202,515.02        Equity Investor         $           202,515.02   77
        6           6437‐41 S Kenwood Avenue                                           Estate Property   Garwood Weatherhead                                                        $               184,941.00       Investor‐Lender          $           150,000.00   6‐1096
    13 to 15                    CCF2                                                   Fund              Gary Kucera                                                                $               204,357.34        Equity Investor         $           200,000.00   13‐98
        1            1700‐08 Juneway Terrace                                           Estate Property   Gary R Burnham FBO Raegan D Burnham Roth IRA (custodian IPLAN Group LLC)   $                 9,523.00       Investor‐Lender          $             1,000.00   1‐1065

       9               8100 S Essex Avenue                  2449‐57 East 81st Street   Estate Property   Gary R Burnham FBO Raegan D Burnham Roth IRA (custodian IPLAN Group LLC)   $                 9,523.00       Investor‐Lender          $             2,990.00   9‐1065

      126         5201‐5207 W Washington Blvd                                          Former Property   Gary R Burnham FBO Raegan D Burnham Roth IRA (custodian IPLAN Group LLC)   $                 9,523.00       Investor‐Lender          $             3,171.00   126‐1065

      129            4494 West Roscoe Street                                           Former Property   Gary R Burnham FBO Raegan D Burnham Roth IRA (custodian IPLAN Group LLC)   $                 9,523.00       Investor‐Lender          $             2,362.00   129‐1065

      901                     SSDF1                                                    Fund              Gary R Burnham FBO Raegan D Burnham Roth IRA (custodian IPLAN Group LLC)   $                 9,523.00        Equity Investor         $             7,161.00   901‐1065

      76            7635‐43 S East End Avenue                                          Estate Property   Gary R Burnham Jr Solo401K Trust                                           $                42,029.00       Investor‐Lender          $            42,029.00   76‐1067
      904                     SSDF4                                                    Fund              Gary R Burnham Jr Solo401K Trust                                           $                60,000.00        Equity Investor         $            60,000.00   904‐1067
       1             1700‐08 Juneway Terrace                                           Estate Property   Gary R Burnham Jr. Family HSA (custodian IPLAN Group LLC)                  $                30,718.00       Investor‐Lender          $             9,000.00   1‐1066
       9               8100 S Essex Avenue                  2449‐57 East 81st Street   Estate Property   Gary R Burnham Jr. Family HSA (custodian IPLAN Group LLC)                  $                30,718.00       Investor‐Lender          $             7,465.00   9‐1066




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Property Number            Property Address                   Alternative Address               Type                                 Claimant Name                          Claimed Amount (Total      Claim Category as Identified Amount Claimed to be          Claim Number
                                                                                                                                                                           Claimed Amount in Claim            on Claim Form           Invested in Property
                                                                                                                                                                           Category as Identified on
                                                                                                                                                                                 Claim Form)
      126            5201‐5207 W Washington Blvd                                       Former Property   Gary R Burnham Jr. Family HSA (custodian IPLAN Group LLC)        $                 30,718.00         Equity Investor       $               14,253.00   126‐1066
      901                          SSDF1                                               Fund              Gary R Burnham Jr. Family HSA (custodian IPLAN Group LLC)        $                 30,718.00         Equity Investor       $               30,718.00   901‐1066
        9                  8100 S Essex Avenue              2449‐57 East 81st Street   Estate Property   Gary R. Burnham Jr. Solo 401K Trust                              $                205,608.00        Investor‐Lender        $               36,000.00   9‐1174
       59            6001‐05 S Sacramento Avenue             2945‐51 W 60th Street     Estate Property   Gary R. Burnham Jr. Solo 401K Trust                              $                205,608.00        Investor‐Lender        $                7,971.00   59‐1174
       72               7024‐32 S Paxton Avenue                                        Estate Property   Gary R. Burnham Jr. Solo 401K Trust                              $                205,608.00        Investor‐Lender        $             106,000.00    72‐1174
       79         6160‐6212 S Martin Luther King Drive                                 Estate Property   Gary R. Burnham Jr. Solo 401K Trust                              $                205,608.00        Investor‐Lender        $               10,000.00   79‐1174
       88              7546‐48 S Saginaw Avenue                                        Estate Property   Gary R. Burnham Jr. Solo 401K Trust                              $                205,608.00        Investor‐Lender        $               10,000.00   88‐1174
      126            5201‐5207 W Washington Blvd                                       Former Property   Gary R. Burnham Jr. Solo 401K Trust                              $                205,608.00        Investor‐Lender        $               30,000.00   126‐1174
      129               4494 West Roscoe Street                                        Former Property   Gary R. Burnham Jr. Solo 401K Trust                              $                205,608.00        Investor‐Lender        $                5,637.00   129‐1174
      901                          SSDF1                                               Fund              Gary R. Burnham Jr. Solo 401K Trust                              $                204,026.00         Equity Investor       $             204,026.00    901‐1174
    10 to 12                        CCF1                                               Fund              GEGO NADLAN REALTY LLC                                           $                 50,000.00        Investor‐Lender        $               50,000.00   10‐104
        9                  8100 S Essex Avenue              2449‐57 East 81st Street   Estate Property   Gene X Erquiaga                                                  $                 51,749.99        Investor‐Lender                                    9‐721
       64              4611‐17 S Drexel Boulevard                                      Estate Property   Genevieve Giuliana Heger                                         $                 20,058.00        Investor‐Lender        $               10,000.00   64‐1403
       89              7600‐10 S Kingston Avenue             2527‐29 E 76th Street     Estate Property   Genevieve Giuliana Heger                                         $                 20,058.00        Investor‐Lender        $               10,000.00   89‐1403
      908                          SSDF8                                               Fund              Genevieve Heger and Duke Heger, JTWROS                           $                 10,000.00         Equity Investor       $               10,000.00   908‐1414
       85             7201‐07 S Dorchester Avenue             1401 E 72nd Street       Estate Property   George S Black                                                   $                 95,000.00        Investor‐Lender        $               27,000.00   85‐572
     96‐99                8326‐58 S Ellis Avenue                                       Estate Property   George S Black                                                   $                 95,000.00        Investor‐Lender        $               68,000.00   96‐572
       75              7625‐33 S East End Avenue                                       Estate Property   Geronimo Usuga Carmona                                           $                   8,937.50       Investor‐Lender        $               35,667.00   75‐543
       89              7600‐10 S Kingston Avenue             2527‐29 E 76th Street     Estate Property   Geronimo Usuga Carmona                                           $                   8,937.50       Investor‐Lender        $               39,333.00   89‐543
       92                7748‐52 S Essex Avenue              2450‐52 E 78th Street     Estate Property   Gerry Recamara                                                   $                 55,000.00        Investor‐Lender        $               55,000.00   92‐624
       81              4317‐19 S Michigan Avenue                                       Estate Property   Gerry / Clarice Recamara                                         $                   2,227.80       Investor‐Lender                                    81‐618
      112                  7450 S Luella Avenue              2220 East 75th Street     Estate Property   Gerry / Clarice Recamara                                         $                   2,227.80       Investor‐Lender                                    112‐618
      118                 400 S Kilbourn Avenue                                        Former Property   Gerry / Clarice Recamara                                         $                   2,227.80       Investor‐Lender                                    118‐618
        1               1700‐08 Juneway Terrace                                        Estate Property   Gilbert D Sherman Declaration of Trust 7/30/2013                 $                 60,500.00        Investor‐Lender        $               50,000.00   1‐92
       71                  701‐13 S 5th Avenue                    414 Walnut           Estate Property   GIRISH JUNEJA SELF DIRECTED ROTH IRA, CUSTODIAN: KINGDOM TRUST   $                 57,800.00         Equity Investor       $               50,000.00   71‐1341
                                                                                                         ACCOUNT# 3567954194
        4              5450‐52 S Indiana Avenue               118‐132 E Garfield       Estate Property   Girl Cat Capital West LLC, Valentina Salge, President            $                212,145.00        Investor‐Lender        $              50,000.00    4‐350
        9                  8100 S Essex Avenue              2449‐57 East 81st Street   Estate Property   Girl Cat Capital West LLC, Valentina Salge, President            $                212,145.00        Investor‐Lender        $               8,426.00    9‐350
       68            6217‐27 S Dorchester Avenue                                       Estate Property   Girl Cat Capital West LLC, Valentina Salge, President            $                212,145.00        Investor‐Lender        $              12,145.00    68‐350
       72               7024‐32 S Paxton Avenue                                        Estate Property   Girl Cat Capital West LLC, Valentina Salge, President            $                212,145.00        Investor‐Lender        $              50,000.00    72‐350
       77            7750‐58 S Muskegon Avenue               2818‐36 E 78th Street     Estate Property   Girl Cat Capital West LLC, Valentina Salge, President            $                212,145.00        Investor‐Lender        $              25,000.00    77‐350
       78              7201 S Constance Avenue               1825‐31 E 72nd Street     Estate Property   Girl Cat Capital West LLC, Valentina Salge, President            $                212,145.00        Investor‐Lender        $              16,574.00    78‐350
     96‐99                8326‐58 S Ellis Avenue                                       Estate Property   Girl Cat Capital West LLC, Valentina Salge, President            $                212,145.00        Investor‐Lender        $             100,000.00    96‐350
      N/A                          N/A                                                 Other             Gomberg Sharfman, PC                                             $                    748.00    Independent Contractor                                 2083
       79         6160‐6212 S Martin Luther King Drive                                 Estate Property   Gowrisankar Challagundla                                         $                 59,750.00        Investor‐Lender        $              50,000.00    79‐815
        1               1700‐08 Juneway Terrace                                        Estate Property   Grace Ndungu                                                     $                 45,169.81        Investor‐Lender        $              50,000.00    1‐609
        5              7749‐59 S Yates Boulevard                                       Estate Property   Grathia Corp                                                     $              1,184,081.00        Investor‐Lender        $             149,081.00    5‐1445
        6             6437‐41 S Kenwood Avenue                                         Estate Property   Grathia Corp                                                     $              1,184,081.00        Investor‐Lender        $              57,000.00    6‐1445
       63             4520‐26 S Drexel Boulevard                                       Estate Property   Grathia Corp                                                     $              1,184,081.00        Investor‐Lender        $             100,000.00    63‐1445
       64             4611‐17 S Drexel Boulevard                                       Estate Property   Grathia Corp                                                     $              1,184,081.00        Investor‐Lender        $             150,000.00    64‐1445
       74                3074 Cheltenham Place                7836 S Shore Drive       Estate Property   Grathia Corp                                                     $              1,184,081.00        Investor‐Lender        $             100,000.00    74‐1445
       79         6160‐6212 S Martin Luther King Drive                                 Estate Property   Grathia Corp                                                     $              1,184,081.00        Investor‐Lender        $              50,000.00    79‐1445
       94              816‐20 E Marquette Road                                         Estate Property   Grathia Corp                                                     $              1,184,081.00        Investor‐Lender        $              35,000.00    94‐1445
      100           11117‐11119 S Longwood Drive                                       Estate Property   Grathia Corp                                                     $              1,184,081.00        Investor‐Lender        $              53,000.00    100‐1445
      904                         SSDF4                                                Fund              Grathia Corp                                                     $              1,184,081.00        Investor‐Lender        $              50,000.00    904‐1445
      908                         SSDF8                                                Fund              Grathia Corp                                                     $              1,184,081.00        Investor‐Lender        $              50,000.00    908‐1445
    10 to 12                       CCF1                                                Fund              Grathia Corp                                                     $              1,184,081.00        Investor‐Lender        $             100,000.00    10‐1445
    102‐106              7927‐49 S Essex Avenue                                        Estate Property   Grathia Corp                                                     $              1,184,081.00        Investor‐Lender        $              50,000.00    102‐1445
        4              5450‐52 S Indiana Avenue                118‐132 E Garfield      Estate Property   Graystone Realty, LLC                                            $                 52,000.01        Investor‐Lender        $              50,000.00    4‐1210
       79         6160‐6212 S Martin Luther King Drive                                 Estate Property   Green Light Investments, LLC                                     $                 90,000.00        Investor‐Lender        $              50,000.00    79‐1440
       84                7051 S Bennett Avenue                                         Estate Property   Green Light Investments, LLC                                     $                 90,000.00                               $              40,000.00    84‐1440
      904                         SSDF4                                                Fund              Greg Oja                                                         $                 15,000.00         Equity Investor       $              15,000.00    904‐518
       63             4520‐26 S Drexel Boulevard                                       Estate Property   Greg S. Wirth                                                    $                  7,300.00         Equity Investor       $               7,300.00    63‐593
       63             4520‐26 S Drexel Boulevard                                       Estate Property   Greg S. Wirth                                                    $                 12,600.00         Equity Investor       $              12,600.00    63‐563
       64             4611‐17 S Drexel Boulevard                                       Estate Property   Greg S. Wirth                                                    $                  7,300.00        Investor‐Lender        $               7,300.00    64‐593
       64             4611‐17 S Drexel Boulevard                                       Estate Property   Greg S. Wirth                                                    $                 12,600.00        Investor‐Lender        $              12,600.00    64‐563
       62                 7834‐44 S Ellis Avenue                                       Estate Property   Gregory C. Snyder                                                $                 50,000.00        Investor‐Lender        $              50,000.00    62‐998
       88              7546‐48 S Saginaw Avenue                                        Estate Property   Gregory M. Wetz                                                  $                 50,000.00        Investor‐Lender        $              50,000.00    88‐818
        1               1700‐08 Juneway Terrace                                        Estate Property   Gregory R Scott and Gene X Erquiaga                              $                 52,333.32        Investor‐Lender        $              50,000.00    1‐697
       79         6160‐6212 S Martin Luther King Drive                                 Estate Property   Guenter Scheel and Karen Scheel                                  $                 25,000.00        Investor‐Lender        $              25,000.00    79‐2072
    13 to 15                       CCF2                                                Fund              Gurinder Singh Dhillon                                           $                 50,000.00         Equity Investor       $              50,000.00    13‐66
       82              6355‐59 S Talman Avenue               2616‐22 W 64th Street     Estate Property   H&W Management Company, Inc.                                     $                200,000.00        Investor‐Lender        $             200,000.00    82‐946




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                                                                                   Receiver's           08/01/22
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                                                                                                                     Case No. 18‐cv‐5587




Property Number         Property Address                     Alternative Address                Type                                    Claimant Name                    Claimed Amount (Total    Claim Category as Identified   Amount Claimed to be       Claim Number
                                                                                                                                                                       Claimed Amount in Claim           on Claim Form            Invested in Property
                                                                                                                                                                       Category as Identified on
                                                                                                                                                                              Claim Form)
    10 to 12         7301‐09 S Stewart Avenue                                          Fund              H&W Management Company, Inc.                                  $               327,616.00       Equity Investor          $           327,616.00   10‐1053
                    7500‐06 S Eggleston Avenue
                        3030‐32 E 79th Street
       93            7953‐59 S Marquette Road               2708‐10 E 80th Street      Estate Property   Halbur, William and Janice                                    $                20,000.00       Investor‐Lender          $             8,763.00   93‐2025
      111               6558 S Vernon Avenue                416‐24 E 66th Street       Estate Property   Halbur, William and Janice                                    $                20,000.00       Investor‐Lender          $            20,000.00   111‐2025
     96‐99              8326‐58 S Ellis Avenue                                         Estate Property   Halbur, William and Janice                                    $                20,000.00       Investor‐Lender          $            20,000.00   96‐2025
       61            7237‐43 S Bennett Avenue                                          Estate Property   Hang Zhou and Lu Dong                                         $               157,821.57       Investor‐Lender          $            50,000.00   61‐1335
       81           4317‐19 S Michigan Avenue                                          Estate Property   Hang Zhou and Lu Dong                                         $               157,821.57       Investor‐Lender          $            50,000.00   81‐1335
      126         5201‐5207 W Washington Blvd                                          Former Property   Hang Zhou and Lu Dong                                         $               157,821.57       Investor‐Lender          $            50,000.00   126‐1335
      906                        SSDF6                                                 Fund              Hang Zhou and Lu Dong                                                                           Equity Investor                                  906‐1335
       4             5450‐52 S Indiana Avenue                 118‐132 E Garfield       Estate Property   Harendra Pal                                                  $                11,165.00       Investor‐Lender          $             8,932.00   4‐1125
       62               7834‐44 S Ellis Avenue                                         Estate Property   Harendra Pal                                                  $               125,000.00       Investor‐Lender          $           100,000.00   62‐1126
       94            816‐20 E Marquette Road                                           Estate Property   Harendra Pal                                                  $               105,400.00       Investor‐Lender          $           100,000.00   94‐1123
       95              8201 S Kingston Avenue                                          Estate Property   Harendra Pal                                                  $               125,000.00       Investor‐Lender          $           100,000.00   95‐1127
     96‐99              8326‐58 S Ellis Avenue                                         Estate Property   Harendra Pal                                                  $                51,335.00       Investor‐Lender          $            41,068.00   96‐1124
       2             4533‐47 S Calumet Avenue                                          Estate Property   Harvey Singer                                                 $               854,387.63       Investor‐Lender          $           100,000.00   2‐2054
      58            5955 S Sacramento Avenue                2948‐56 W 60th Street      Estate Property   Harvey Singer                                                 $               854,387.63       Investor‐Lender          $           198,500.00   58‐2054
       60             7026‐42 S Cornell Avenue                                         Estate Property   Harvey Singer                                                 $               854,387.63       Investor‐Lender          $            51,500.00   60‐2054
       81           4317‐19 S Michigan Avenue                                          Estate Property   Harvey Singer                                                 $               854,387.63       Investor‐Lender          $           210,000.00   81‐2054
       86            7442‐48 S Calumet Avenue                                          Estate Property   Harvey Singer                                                 $               854,387.63       Investor‐Lender          $            37,500.00   86‐2054
       90           7656‐58 S Kingston Avenue             2514‐2520 East 77th Street   Estate Property   Harvey Singer                                                 $               854,387.63       Investor‐Lender          $           100,000.00   90‐2054
     96‐99              8326‐58 S Ellis Avenue                                         Estate Property   Harvey Singer                                                 $               854,387.63       Investor‐Lender          $            65,000.00   96‐2054
       92              7748‐52 S Essex Avenue               2450‐52 E 78th Street      Estate Property   Heidi H. Liu                                                  $                76,079.07        Equity Investor         $            50,000.00   92‐930
       49          7300‐04 St Lawrence Avenue                                          Estate Property   Helen Boyd                                                    $               105,000.00       Investor‐Lender          $            50,000.00   49‐2010
       50                7760 S Coles Avenue                                           Estate Property   Helen Boyd                                                    $               105,000.00       Investor‐Lender          $            55,000.00   50‐2010
    102‐106            7927‐49 S Essex Avenue                                          Estate Property   Helen Boyd                                                    $               105,000.00       Investor‐Lender          $           105,000.00   102‐2010
        1             1700‐08 Juneway Terrace                                          Estate Property   Helene D Kapsky                                               $               100,000.00       Investor‐Lender          $           100,000.00   1‐1149
        9                8100 S Essex Avenue               2449‐57 East 81st Street    Estate Property   Henry C. Scheuller                                            $               246,440.00       Investor‐Lender                                   9‐868
      61             7237‐43 S Bennett Avenue                                          Estate Property   Henry C. Scheuller                                            $               246,440.00       Investor‐Lender                                   61‐868
      87                 7508 S Essex Avenue                2453‐59 E 75th Street      Estate Property   Henry C. Scheuller                                            $               246,440.00       Investor‐Lender                                   87‐868
     96‐99              8326‐58 S Ellis Avenue                                         Estate Property   Henry C. Scheuller                                            $               246,440.00       Investor‐Lender                                   96‐868
       77          7750‐58 S Muskegon Avenue                2818‐36 E 78th Street      Estate Property   Henry D. Gallucci                                             $                77,000.00       Investor‐Lender          $            60,000.00   77‐2059
       63           4520‐26 S Drexel Boulevard                                         Estate Property   Henry S. Scheuller                                            $                85,400.00        Equity Investor         $            85,000.00   63‐357
       55               8107‐09 S Ellis Avenue                                         Estate Property   Hillside Fund, LLC ‐ Janet F. Turco, Owner/ Managing Member   $               505,000.00       Investor‐Lender          $            50,000.00   55‐101
       68          6217‐27 S Dorchester Avenue                                         Estate Property   Hillside Fund, LLC ‐ Janet F. Turco, Owner/ Managing Member   $               505,000.00       Investor‐Lender          $            65,000.00   68‐101
       77          7750‐58 S Muskegon Avenue                2818‐36 E 78th Street      Estate Property   Hillside Fund, LLC ‐ Janet F. Turco, Owner/ Managing Member   $               505,000.00       Investor‐Lender          $           125,000.00   77‐101
       81           4317‐19 S Michigan Avenue                                          Estate Property   Hillside Fund, LLC ‐ Janet F. Turco, Owner/ Managing Member   $               505,000.00       Investor‐Lender          $            75,000.00   81‐101
      85           7201‐07 S Dorchester Avenue               1401 E 72nd Street        Estate Property   Hillside Fund, LLC ‐ Janet F. Turco, Owner/ Managing Member   $               505,000.00       Investor‐Lender          $            50,000.00   85‐101
       94            816‐20 E Marquette Road                                           Estate Property   Hillside Fund, LLC ‐ Janet F. Turco, Owner/ Managing Member   $               505,000.00       Investor‐Lender          $            65,000.00   94‐101
      100         11117‐11119 S Longwood Drive                                         Estate Property   Hillside Fund, LLC ‐ Janet F. Turco, Owner/ Managing Member   $               505,000.00       Investor‐Lender          $            75,000.00   100‐101
      118               400 S Kilbourn Avenue                                          Former Property   Hillside Fund, LLC ‐ Janet F. Turco, Owner/ Managing Member   $               505,000.00       Investor‐Lender          $            50,000.00   118‐101
       1              1700‐08 Juneway Terrace                                          Estate Property   HIROYUKI ROY CHIN & LILLIAN S CHIN JTWROS                     $                26,260.28       Investor‐Lender          $            24,000.00   1‐1274
       4             5450‐52 S Indiana Avenue                 118‐132 E Garfield       Estate Property   HIROYUKI ROY CHIN & LILLIAN S CHIN JTWROS                     $                26,260.28       Investor‐Lender          $            26,000.00   4‐1274
       88            7546‐48 S Saginaw Avenue                                          Estate Property   HIROYUKI ROY CHIN & LILLIAN S CHIN JTWROS                     $                26,260.28       Investor‐Lender          $            50,000.00   88‐1274
       51                1401 W 109th Place                                            Estate Property   Hiu Tung Carol                                                $                62,000.00       Investor‐Lender          $           115,487.00   51‐1101
        6           6437‐41 S Kenwood Avenue                                           Estate Property   Hoang Small Trust c/o Dalano Hoang                            $               300,000.00       Investor‐Lender                                   6‐161
        9                8100 S Essex Avenue               2449‐57 East 81st Street    Estate Property   Hoang Small Trust c/o Dalano Hoang                            $               300,000.00       Investor‐Lender                                   9‐161
       93            7953‐59 S Marquette Road               2708‐10 E 80th Street      Estate Property   Hoang Small Trust c/o Dalano Hoang                            $               300,000.00       Investor‐Lender          $            50,000.00   93‐161
     96‐99              8326‐58 S Ellis Avenue                                         Estate Property   Hoang Small Trust c/o Dalano Hoang                            $               300,000.00       Investor‐Lender                                   96‐161
       80              2736‐44 W 64th Street                                           Estate Property   Hongjun Li and Sheyu Zhou                                     $                95,370.00       Investor‐Lender          $            93,000.00   80‐432
      82             6355‐59 S Talman Avenue                2616‐22 W 64th Street      Estate Property   Hopson & Associates LLC                                       $                75,000.00       Investor‐Lender          $            75,000.00   82‐204
      937                  Mezzazine Fund                                              Fund              Hopson & Associates LLC                                       $                75,000.00       Investor‐Lender                                   937‐204
        3             5001 S Drexel Boulevard                 909 E 50th Street        Estate Property   Horst Siegrfied Filtzer Jr.                                   $                90,983.33       Investor‐Lender          $           100,000.00   3‐1085
       4             5450‐52 S Indiana Avenue                 118‐132 E Garfield       Estate Property   Howard and Doris Bybee                                        $                65,000.00       Investor‐Lender          $            15,000.00   4‐1039
       93            7953‐59 S Marquette Road               2708‐10 E 80th Street      Estate Property   Howard and Doris Bybee                                        $                65,000.00       Investor‐Lender          $            50,000.00   93‐1039
       82            6355‐59 S Talman Avenue                2616‐22 W 64th Street      Estate Property   Huiyi Yang                                                    $                37,000.00       Investor‐Lender          $            37,000.00   82‐253
      87                 7508 S Essex Avenue                2453‐59 E 75th Street      Estate Property   Huiyi Yang                                                    $                21,935.00       Investor‐Lender          $            21,935.00   87‐255
       50                7760 S Coles Avenue                                           Estate Property   Huiyi Yang and Hui Wang                                       $                43,150.22       Investor‐Lender          $            20,166.67   50‐122
       88            7546‐48 S Saginaw Avenue                                          Estate Property   Huiyi Yang and Hui Wang                                       $                43,150.22       Investor‐Lender          $            16,374.00   88‐122
       94            816‐20 E Marquette Road                                           Estate Property   Huiyi Yang and Hui Wang                                       $                43,150.22       Investor‐Lender          $            13,847.00   94‐122
       62               7834‐44 S Ellis Avenue                                         Estate Property   Hutchings, Matt                                               $               362,766.68       Investor‐Lender          $           150,000.00   62‐2030
       68          6217‐27 S Dorchester Avenue                                         Estate Property   Hutchings, Matt                                               $               362,766.68       Investor‐Lender          $            50,000.00   68‐2030




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                                                                                                                             Exhibit 5
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                                                                                                                       Case No. 18‐cv‐5587




Property Number            Property Address                    Alternative Address                Type                                    Claimant Name                                  Claimed Amount (Total     Claim Category as Identified Amount Claimed to be         Claim Number
                                                                                                                                                                                        Claimed Amount in Claim           on Claim Form          Invested in Property
                                                                                                                                                                                        Category as Identified on
                                                                                                                                                                                              Claim Form)
       95                8201 S Kingston Avenue                                          Estate Property   Hutchings, Matt                                                             $                362,766.68       Investor‐Lender        $            150,000.00    95‐2030
       55                 8107‐09 S Ellis Avenue                                         Estate Property   Hyman J. Small                                                              $                 75,000.00       Investor‐Lender                                   55‐573
       56                  8209 S Ellis Avenue                                           Estate Property   Hyman J. Small                                                              $                 75,000.00       Investor‐Lender                                   56‐573
        4              5450‐52 S Indiana Avenue                 118‐132 E Garfield       Estate Property   IG Investment Trust                                                         $                 27,213.71       Investor‐Lender        $              25,000.00   4‐1061
      904                         SSDF4                                                  Fund              Indranie Jodha/Chetram Jodha                                                $                 32,000.00        Equity Investor       $              32,000.00   904‐116
        4              5450‐52 S Indiana Avenue                 118‐132 E Garfield       Estate Property   Influx Investments LLC                                                      $                100,000.00       Investor‐Lender        $              25,000.00   4‐744
       61              7237‐43 S Bennett Avenue                                          Estate Property   Influx Investments LLC                                                      $                100,000.00       Investor‐Lender        $              50,000.00   61‐744
    10 to 12                       CCF1                                                  Fund              Influx Investments LLC                                                      $                100,000.00        Equity Investor       $              25,000.00   10‐744
       79         6160‐6212 S Martin Luther King Drive                                   Estate Property   Ingrid Beyer and Joel Beyer                                                 $                 10,346.02       Investor‐Lender        $              10,000.00   79‐985
       78              7201 S Constance Avenue                1825‐31 E 72nd Street      Estate Property   Initium LLC/Harry Saint‐Preux                                               $                150,000.00       Investor‐Lender        $              50,000.00   78‐968
      126            5201‐5207 W Washington Blvd                                         Former Property   Initium LLC/Harry Saint‐Preux                                               $                150,000.00       Investor‐Lender        $            100,000.00    126‐968
    13 to 15                       CCF2                                                  Fund              IP Holdings, LLC                                                            $                 50,000.00       Investor‐Lender        $              50,000.00   13‐1132
       93              7953‐59 S Marquette Road               2708‐10 E 80th Street      Estate Property   iPlan Group Agent for Custodian FBO Daniel O'Hare IRA                       $                 50,000.00       Investor‐Lender        $              50,000.00   93‐838
      902                         SSDF2                                                  Fund              IPlan Group Agent for Custodian FBO David Stratton IRA                      $                 55,700.00        Equity Investor       $              44,000.00   902‐607
      904                         SSDF4                                                  Fund              IPlan Group Agent for Custodian FBO David Stratton IRA                      $                 55,700.00        Equity Investor       $              11,700.00   904‐607
      906                         SSDF6                                                  Fund              iPlan Group Agent for Custodian FBO James B Ploeger IRA                     $                 72,000.00       Investor‐Lender        $              55,000.00   906‐520
     96‐99                8326‐58 S Ellis Avenue                                         Estate Property   iPlan Group Agent for Custodian FBO James B Ploeger IRA                     $                 72,000.00       Investor‐Lender        $              17,000.00   96‐520
       64             4611‐17 S Drexel Boulevard                                         Estate Property   iPlan Group Agent for Custodian FBO Jyotsna Sharma                          $                 50,000.00       Investor‐Lender        $              25,000.00   63‐341
       74                3074 Cheltenham Place                 7836 S Shore Drive        Estate Property   iPlan Group Agent for Custodian FBO Jyotsna Sharma IRA                      $                 50,000.00       Investor‐Lender        $              25,000.00   74‐341
     96‐99                8326‐58 S Ellis Avenue                                         Estate Property   iPlan Group Agent for Custodian FBO Marvette Cofield IRA 3321057            $                 10,000.00       Investor‐Lender        $              10,000.00   96‐1441
       89             7600‐10 S Kingston Avenue               2527‐29 E 76th Street      Estate Property   iPlan Group Agent for Custodian FBO Paula Levand Roth                       $                 34,819.65       Investor‐Lender        $              18,497.00   89‐1334
      135               4930 W Cornelia Avenue                                           Former Property   iPlan Group Agent for Custodian FBO Paula Levand Roth                       $                 34,819.65       Investor‐Lender        $              16,322.65   135‐1334
        5              7749‐59 S Yates Boulevard                                         Estate Property   iPlan Group Agent for Custodian FBO Rama Voddi Roth IRA                     $                 33,000.00       Investor‐Lender        $              33,000.00   5‐799
       89             7600‐10 S Kingston Avenue               2527‐29 E 76th Street      Estate Property   iPlan Group Agent for Custodian FBO Stephen B Apple ROTH IRA                $                 43,705.00       Investor‐Lender        $              43,705.00   89‐559
        5              7749‐59 S Yates Boulevard                                         Estate Property   iPlan Group FBO Garwood Weatherhead IRA Account # 3320844                   $                184,941.00       Investor‐Lender        $              13,096.00   5‐1096
        5              7749‐59 S Yates Boulevard                                         Estate Property   iPlan Group FBO Garwood Weatherhead IRA Account # 3421004                   $                184,941.00       Investor‐Lender        $              16,152.00   5‐1096
       72               7024‐32 S Paxton Avenue                                          Estate Property   iPlan Group FBO Randall Pong IRA                                            $                 60,568.03 Investor‐Lender and Equity                              72‐728
                                                                                                                                                                                                                             Investor
      77              7750‐58 S Muskegon Avenue               2818‐36 E 78th Street      Estate Property   iPlan Group FBO Randall Pong IRA                                            $                 60,568.03 Investor‐Lender and Equity                              77‐728
                                                                                                                                                                                                                             Investor
      85             7201‐07 S Dorchester Avenue               1401 E 72nd Street        Estate Property   iPlan Group FBO Randall Pong IRA                                            $                 60,568.03 Investor‐Lender and Equity                              85‐728
                                                                                                                                                                                                                             Investor
      87                  7508 S Essex Avenue                 2453‐59 E 75th Street      Estate Property   iPlan Group FBO Randall Pong IRA                                            $                 60,568.03 Investor‐Lender and Equity                              87‐728
                                                                                                                                                                                                                             Investor
    13 to 15                     CCF2                                                    Fund              iPlan Group FBO Randall Pong IRA                                            $                 60,568.03 Investor‐Lender and Equity $                 7,000.00   13‐728
                                                                                                                                                                                                                             Investor
       1               1700‐08 Juneway Terrace                                           Estate Property   iPlanGroup Agent for Custodian FBO Andrew Brooks IRA Account 3301018        $                 46,000.00       Investor‐Lender        $              20,000.00   1‐203

       5               7749‐59 S Yates Boulevard                                         Estate Property   iPlanGroup Agent for Custodian FBO Andrew Brooks IRA Account 3301018        $                 46,000.00       Investor‐Lender        $              6,000.00    5‐203

      79          6160‐6212 S Martin Luther King Drive                                   Estate Property   iPlanGroup Agent for Custodian FBO Andrew Brooks IRA Account 3301018        $                 46,000.00       Investor‐Lender        $             20,000.00    79‐203

       4                5450‐52 S Indiana Avenue                118‐132 E Garfield       Estate Property   iPlanGroup Agent for Custodian FBO Charles Michael Anglin                   $               238,889.23      Investor‐Lender          $             15,000.00    4‐331
       5               7749‐59 S Yates Boulevard                                         Estate Property   iPlanGroup Agent for Custodian FBO Charles Michael Anglin                   $               238,889.23      Investor‐Lender          $             50,000.00    5‐331
      77              7750‐58 S Muskegon Avenue               2818‐36 E 78th Street      Estate Property   iPlanGroup Agent for Custodian FBO Charles Michael Anglin                   $               238,889.23      Investor‐Lender          $             10,633.00    77‐331
      90               7656‐58 S Kingston Avenue            2514‐2520 East 77th Street   Estate Property   iPlanGroup Agent for Custodian FBO Charles Michael Anglin                   $               238,889.23 Investor‐Lender and Equity    $             50,000.00    90‐331
                                                                                                                                                                                                                           Investor
      116         1102 Bingham St, Houston TX 77007                                      Estate Property   iPlanGroup Agent for Custodian FBO Charles Michael Anglin                   $               238,889.23 Investor‐Lender and Equity    $             52,474.56    116‐331
                                                                                                                                                                                                                           Investor
      906                        SSDF6                                                   Fund              iPlanGroup Agent for Custodian FBO Charles Michael Anglin                   $               238,889.23      Investor‐Lender          $             52,474.56    906‐331
       1                1700‐08 Juneway Terrace                                          Estate Property   iPlanGroup Agent for Custodian FBO Charles Powell IRA                       $               260,000.00      Investor‐Lender                                     1‐413
       2               4533‐47 S Calumet Avenue                                          Estate Property   iPlanGroup Agent for Custodian FBO Charles Powell IRA                       $               260,000.00      Investor‐Lender                                     2‐413
       4               5450‐52 S Indiana Avenue                 118‐132 E Garfield       Estate Property   iPlanGroup Agent for Custodian FBO Charles Powell IRA                       $               260,000.00      Investor‐Lender                                     4‐413
       9                  8100 S Essex Avenue                2449‐57 East 81st Street    Estate Property   iPlanGroup Agent for Custodian FBO Charles Powell IRA                       $               260,000.00      Investor‐Lender                                     9‐413
      59             6001‐05 S Sacramento Avenue              2945‐51 W 60th Street      Estate Property   iPlanGroup Agent for Custodian FBO Charles Powell IRA                       $               260,000.00      Investor‐Lender                                     59‐413
      62                 7834‐44 S Ellis Avenue                                          Estate Property   iPlanGroup Agent for Custodian FBO Charles Powell IRA                       $               260,000.00      Investor‐Lender                                     62‐413
      79          6160‐6212 S Martin Luther King Drive                                   Estate Property   iPlanGroup Agent for Custodian FBO Charles Powell IRA                       $               260,000.00      Investor‐Lender                                     79‐413
      88               7546‐48 S Saginaw Avenue                                          Estate Property   iPlanGroup Agent for Custodian FBO Charles Powell IRA                       $               260,000.00      Investor‐Lender                                     88‐413
     96‐99               8326‐58 S Ellis Avenue                                          Estate Property   iPlanGroup Agent for Custodian FBO Charles Powell IRA                       $               260,000.00      Investor‐Lender                                     96‐413
       2               4533‐47 S Calumet Avenue                                          Estate Property   iPlanGroup Agent for Custodian FBO Christopher Mora IRA Account # 3320826   $                67,000.00      Investor‐Lender          $             67,000.00    2‐1137

       2               4533‐47 S Calumet Avenue                                          Estate Property   iPlanGroup Agent for Custodian FBO Joshua Mora IRA Account # 3300975        $                 57,000.00       Investor‐Lender        $             57,000.00    2‐1176

       2               4533‐47 S Calumet Avenue                                          Estate Property   iPlanGroup Agent for Custodian FBO Laura Dirnberger Roth IRA                $                 71,321.00       Investor‐Lender        $                971.00    2‐448
       9                 8100 S Essex Avenue                 2449‐57 East 81st Street    Estate Property   iPlanGroup Agent for Custodian FBO Laura Dirnberger Roth IRA                $                 71,321.00       Investor‐Lender        $                714.00    9‐448




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                                                                                                                             Exhibit 5
                                                   Case: 1:18-cv-05587 Document #: 1280     Filed:
                                                                                     Receiver's           08/01/22
                                                                                                Master Claims List Page 40 of 68 PageID #:70849
                                                                                                                       Case No. 18‐cv‐5587




Property Number            Property Address                    Alternative Address                Type                                    Claimant Name                        Claimed Amount (Total      Claim Category as Identified   Amount Claimed to be       Claim Number
                                                                                                                                                                              Claimed Amount in Claim            on Claim Form            Invested in Property
                                                                                                                                                                              Category as Identified on
                                                                                                                                                                                    Claim Form)
       68            6217‐27 S Dorchester Avenue                                         Estate Property   iPlanGroup Agent for Custodian FBO Laura Dirnberger Roth IRA      $                 71,321.00        Investor‐Lender          $             7,800.00   68‐448
       76             7635‐43 S East End Avenue                                          Estate Property   iPlanGroup Agent for Custodian FBO Laura Dirnberger Roth IRA      $                 71,321.00        Investor‐Lender          $            10,000.00   76‐448
       83              6356 S California Avenue                2804 W 64th Street        Estate Property   iPlanGroup Agent for Custodian FBO Laura Dirnberger Roth IRA      $                 71,321.00        Investor‐Lender          $             9,321.00   83‐448
       85            7201‐07 S Dorchester Avenue               1401 E 72nd Street        Estate Property   iPlanGroup Agent for Custodian FBO Laura Dirnberger Roth IRA      $                 71,321.00        Investor‐Lender          $             7,800.00   85‐448
       89             7600‐10 S Kingston Avenue               2527‐29 E 76th Street      Estate Property   iPlanGroup Agent for Custodian FBO Laura Dirnberger Roth IRA      $                 71,321.00        Investor‐Lender          $             3,715.00   89‐448
      120               7823‐27 S Essex Avenue                                           Former Property   iPlanGroup Agent for Custodian FBO Laura Dirnberger Roth IRA      $                 71,321.00        Investor‐Lender          $            31,000.00   120‐448
       68            6217‐27 S Dorchester Avenue                                         Estate Property   iPlanGroup Agent for Custodian FBO Lyle J Swiney IRA              $                100,000.00        Investor‐Lender          $           100,000.00   68‐366
        2             4533‐47 S Calumet Avenue                                           Estate Property   IPlanGroup Agent for Custodian FBO Mark Young                     $                380,000.00        Investor‐Lender          $            50,000.00   2‐1446
       69                6250 S Mozart Avenue                 2832‐36 W 63rd Street      Estate Property   IPlanGroup Agent for Custodian FBO Mark Young                     $                380,000.00        Investor‐Lender          $            55,000.00   69‐1446
       74               3074 Cheltenham Place                   7836 S Shore Drive       Estate Property   IPlanGroup Agent for Custodian FBO Mark Young                     $                380,000.00        Investor‐Lender          $           100,000.00   74‐1446
       85            7201‐07 S Dorchester Avenue                1401 E 72nd Street       Estate Property   IPlanGroup Agent for Custodian FBO Mark Young                     $                380,000.00        Investor‐Lender          $            20,000.00   85‐1446
       94              816‐20 E Marquette Road                                           Estate Property   IPlanGroup Agent for Custodian FBO Mark Young                     $                380,000.00        Investor‐Lender          $            50,000.00   94‐1446
       95               8201 S Kingston Avenue                                           Estate Property   IPlanGroup Agent for Custodian FBO Mark Young                     $                380,000.00        Investor‐Lender          $            60,000.00   95‐1446
    10 to 12                      CCF1                                                   Fund              IPlanGroup Agent for Custodian FBO Mark Young                     $                380,000.00        Investor‐Lender          $            50,000.00   10‐1446
     96‐99               8326‐58 S Ellis Avenue                                          Estate Property   IPlanGroup Agent for Custodian FBO Mark Young                     $                380,000.00        Investor‐Lender          $            45,000.00   96‐1446
       86             7442‐48 S Calumet Avenue                                           Estate Property   iPlanGroup Agent for Custodian FBO Mary Lohrman IRA               $                 51,783.33        Investor‐Lender          $            50,000.00   86‐935
       60              7026‐42 S Cornell Avenue                                          Estate Property   iPlanGroup Agent for Custodian FBO Michael Dirnberger ROTH IRA    $                 44,433.00        Investor‐Lender          $               817.00   60‐445
       68            6217‐27 S Dorchester Avenue                                         Estate Property   iPlanGroup Agent for Custodian FBO Michael Dirnberger ROTH IRA    $                 44,433.00        Investor‐Lender          $             7,200.00   68‐445
       83              6356 S California Avenue                2804 W 64th Street        Estate Property   iPlanGroup Agent for Custodian FBO Michael Dirnberger ROTH IRA    $                 44,433.00        Investor‐Lender          $             7,152.00   83‐445
       89             7600‐10 S Kingston Avenue               2527‐29 E 76th Street      Estate Property   iPlanGroup Agent for Custodian FBO Michael Dirnberger ROTH IRA    $                 44,433.00        Investor‐Lender          $            14,264.00   89‐445
      141                   431 E 42nd Place                                             Estate Property   iPlanGroup Agent for Custodian FBO Michael Dirnberger ROTH IRA    $                 44,433.00        Investor‐Lender          $            22,944.44   141‐445
     96‐99               8326‐58 S Ellis Avenue                                          Estate Property   iPlanGroup Agent for Custodian FBO Michael Dirnberger ROTH IRA    $                 44,433.00        Investor‐Lender          $             5,000.00   96‐445
       68            6217‐27 S Dorchester Avenue                                         Estate Property   iPlanGroup Agent for Custodian FBO Michelle Grimes IRA #3301097   $                 56,636.17        Investor‐Lender          $            50,000.00   68‐884
        4              5450‐52 S Indiana Avenue                118‐132 E Garfield        Estate Property   iPlanGroup Agent for Custodian FBO Rajanikanth Tanikella IRA      $                110,000.00        Investor‐Lender          $            10,000.00   4‐829
        9                 8100 S Essex Avenue                2449‐57 East 81st Street    Estate Property   iPlanGroup Agent for Custodian FBO Rajanikanth Tanikella IRA      $                110,000.00        Investor‐Lender          $            50,000.00   9‐829
       85            7201‐07 S Dorchester Avenue               1401 E 72nd Street        Estate Property   iPlanGroup Agent for Custodian FBO Rajanikanth Tanikella IRA      $                110,000.00        Investor‐Lender          $            50,000.00   85‐829
       86             7442‐48 S Calumet Avenue                                           Estate Property   Iplangroup agent for custodian FBO Richard Lohrman IRA            $                129,701.60        Investor‐Lender          $            35,000.00   86‐1363
       88             7546‐48 S Saginaw Avenue                                           Estate Property   Iplangroup agent for custodian FBO Richard Lohrman IRA            $                129,701.60        Investor‐Lender          $           185,000.00   88‐1363
     96‐99               8326‐58 S Ellis Avenue                                          Estate Property   iPlanGroup Agent for Custodian FBO Swetha Voddi IRA               $                 14,000.00        Investor‐Lender          $            14,000.00   96‐1013
       80               2736‐44 W 64th Street                                            Estate Property   iPlanGroup Agent for Custodian Leah Kalish IRA                    $                119,000.00        Investor‐Lender          $            70,000.00   80‐265
       90             7656‐58 S Kingston Avenue             2514‐2520 East 77th Street   Estate Property   iPlanGroup Agent for Custodian Leah Kalish IRA                    $                119,000.00        Investor‐Lender          $            49,000.00   90‐265
       74               3074 Cheltenham Place                  7836 S Shore Drive        Estate Property   Ira J. Fields Living Trust, Glynis Sheppard, Trustee              $                 65,750.00 Investor‐Lender and Equity      $            50,000.00   74‐1240
                                                                                                                                                                                                                    Investor
      904                         SSDF4                                                  Fund              IRA Resources, Inc., FBO Edward Joseph Day, Account # 35‐36374    $                 55,555.73         Equity Investor         $            48,553.00   904‐1486
       1                1700‐08 Juneway Terrace                                          Estate Property   IRA Services Trust Company CFBO Melbourne Kimsey II               $                150,000.00         Equity Investor         $            50,000.00   1‐661
      100           11117‐11119 S Longwood Drive                                         Estate Property   IRA Services Trust Company CFBO Melbourne Kimsey II               $                150,000.00         Equity Investor         $            50,000.00   100‐661
      901                         SSDF1                                                  Fund              IRA Services Trust Company CFBO Melbourne Kimsey II               $                150,000.00         Equity Investor         $            50,000.00   901‐661
      901                         SSDF1                                                  Fund              IRA Services Trust Company IRA220656 for Jean‐Marc Cabrol         $                381,650.00         Equity Investor         $           381,650.00   901‐120
        4              5450‐52 S Indiana Avenue                 118‐132 E Garfield       Estate Property   IRA Services Trust Custodian FBO Ronald Stephen Klein             $                114,666.74        Investor‐Lender          $            50,000.00   4‐301
     96‐99                8326‐58 S Ellis Avenue                                         Estate Property   IRA Services Trust Custodian FBO Ronald Stephen Klein             $                114,666.74        Investor‐Lender          $            50,000.00   96‐301
      79          6160‐6212 S Martin Luther King Drive                                   Estate Property   Irene Gacad                                                       $                 26,103.82        Investor‐Lender          $            25,000.00   79‐647
      60               7026‐42 S Cornell Avenue                                          Estate Property   Ivan A. Campbell                                                  $                 52,000.00        Investor‐Lender                                   60‐466
       88              7546‐48 S Saginaw Avenue                                          Estate Property   Ivan A. Campbell                                                  $                 52,000.00        Investor‐Lender                                   88‐466
       9                   8100 S Essex Avenue               2449‐57 East 81st Street    Estate Property   James & Suzanne Mandeville                                        $                113,918.75         Equity Investor         $           110,000.00   9‐785
       4               5450‐52 S Indiana Avenue                118‐132 E Garfield        Estate Property   James Anthony Ande                                                $                 75,000.00        Investor‐Lender          $            25,000.00   4‐591
      63              4520‐26 S Drexel Boulevard                                         Estate Property   James Anthony Ande                                                $                 75,000.00         Equity Investor         $            75,000.00   63‐591
      64              4611‐17 S Drexel Boulevard                                         Estate Property   James Anthony Ande                                                $                 75,000.00        Investor‐Lender          $            50,000.00   64‐591
       9                   8100 S Essex Avenue               2449‐57 East 81st Street    Estate Property   James Clements                                                    $                185,910.00        Investor‐Lender          $            50,000.00   9‐1402
      59             6001‐05 S Sacramento Avenue              2945‐51 W 60th Street      Estate Property   James Clements                                                    $                185,910.00        Investor‐Lender          $            70,000.00   59‐1402
      76              7635‐43 S East End Avenue                                          Estate Property   James Clements                                                    $                185,910.00        Investor‐Lender          $            20,000.00   76‐1402
      92                 7748‐52 S Essex Avenue               2450‐52 E 78th Street      Estate Property   James Clements                                                    $                185,910.00        Investor‐Lender          $            50,000.00   92‐1402
      124                6801 S East End Avenue                                          Former Property   James Clements                                                    $                185,910.00        Investor‐Lender                                   124‐1402
      904                         SSDF4                                                  Fund              James Henderson                                                   $                 49,200.00 Investor‐Lender and Equity      $            49,200.00   904‐931
                                                                                                                                                                                                                    Investor
      74                3074 Cheltenham Place                  7836 S Shore Drive        Estate Property   James Hoven                                                       $                 50,000.00        Investor‐Lender          $            50,000.00   74‐2029
       9                 8100 S Essex Avenue                 2449‐57 East 81st Street    Estate Property   James M McKnight and Silma L McKnight                             $                   5,546.87       Investor‐Lender          $             6,000.00   9‐779
       9                 8100 S Essex Avenue                 2449‐57 East 81st Street    Estate Property   James M McKnight and Silma L McKnight                             $                140,325.13        Investor‐Lender          $            85,000.00   9‐582
      67                 1131‐41 E 79th Place                                            Estate Property   James M McKnight and Silma L McKnight                             $                140,325.13        Investor‐Lender          $            11,000.00   67‐582
      87                 7508 S Essex Avenue                  2453‐59 E 75th Street      Estate Property   James M McKnight and Silma L McKnight                             $                140,325.13        Investor‐Lender          $            11,000.00   87‐582
      904                        SSDF4                                                   Fund              James M McKnight and Silma L McKnight                             $                   5,546.87        Equity Investor         $             6,000.00   904‐779
      904                        SSDF4                                                   Fund              James M McKnight and Silma L McKnight                             $                140,325.13        Investor‐Lender          $            48,000.00   904‐582
      61               7237‐43 S Bennett Avenue                                          Estate Property   James Patrick Sullivan                                            $                 20,000.00        Investor‐Lender          $            20,000.00   61‐627




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                                                                                                                            Exhibit 5
                                                   Case: 1:18-cv-05587 Document #: 1280     Filed:
                                                                                     Receiver's           08/01/22
                                                                                                Master Claims List Page 41 of 68 PageID #:70850
                                                                                                                     Case No. 18‐cv‐5587




Property Number            Property Address                   Alternative Address               Type                                      Claimant Name                                 Claimed Amount (Total     Claim Category as Identified   Amount Claimed to be       Claim Number
                                                                                                                                                                                       Claimed Amount in Claim           on Claim Form            Invested in Property
                                                                                                                                                                                       Category as Identified on
                                                                                                                                                                                             Claim Form)
       61              7237‐43 S Bennett Avenue                                        Estate Property   James Patrick Sullivan                                                       $                 80,750.00       Investor‐Lender          $            30,000.00   61‐125
       71                 701‐13 S 5th Avenue                    414 Walnut            Estate Property   James Patrick Sullivan                                                       $                 80,750.00       Investor‐Lender          $            50,000.00   71‐125
       87                 7508 S Essex Avenue                2453‐59 E 75th Street     Estate Property   James Taber                                                                  $                125,000.00       Investor‐Lender          $            50,000.00   87‐780
      115                109 N Laramie Avenue                                          Former Property   James Taber                                                                  $                125,000.00       Investor‐Lender          $            50,000.00   115‐780
        9                 8100 S Essex Avenue               2449‐57 East 81st Street   Estate Property   James Tutsock                                                                $                900,000.00       Investor‐Lender          $            47,286.00   9‐2057
       57             8214‐16 S Ingleside Avenue                                       Estate Property   James Tutsock                                                                $                900,000.00       Investor‐Lender                                   57‐2057
       63             4520‐26 S Drexel Boulevard                                       Estate Property   James Tutsock                                                                $                169,483.00        Equity Investor         $           319,483.00   63‐2057
       78              7201 S Constance Avenue               1825‐31 E 72nd Street     Estate Property   James Tutsock                                                                $                900,000.00       Investor‐Lender                                   78‐2057
      100           11117‐11119 S Longwood Drive                                       Estate Property   James Tutsock                                                                $                169,483.00        Equity Investor         $           250,000.00   100‐2057
      112                 7450 S Luella Avenue               2220 East 75th Street     Estate Property   James Tutsock                                                                $                900,000.00       Investor‐Lender          $           180,517.00   112‐2057
     13‐15               2909‐19 E 78th Street                                         Fund              James Tutsock                                                                $                169,483.00        Equity Investor         $           100,000.00   13‐2057
                        7549‐59 S Essex Avenue
                      8047‐55 S Manistee Avenue
       64             4611‐17 S Drexel Boulevard                                       Estate Property   James Walsh                                                                  $                200,000.00       Investor‐Lender          $            50,000.00   64‐2058
       79         6160‐6212 S Martin Luther King Drive                                 Estate Property   James Walsh                                                                  $                200,000.00       Investor‐Lender          $            50,000.00   79‐2058
       92               7748‐52 S Essex Avenue               2450‐52 E 78th Street     Estate Property   James Walsh                                                                  $                200,000.00       Investor‐Lender          $           100,000.00   92‐2058
       82              6355‐59 S Talman Avenue               2616‐22 W 64th Street     Estate Property   Jane Shafrin                                                                 $                110,000.00       Investor‐Lender          $            50,000.00   82‐188
    13 to 15                      CCF2                                                 Fund              Jane Shafrin                                                                 $                110,000.00       Investor‐Lender          $            60,000.00   13‐188
        1              1700‐08 Juneway Terrace                                         Estate Property   Janice Burrell (iPlanGroup Agent for Custodian FBO Janice G. Burrell IRA )   $                160,543.38       Investor‐Lender          $            87,000.00   1‐689

       5               7749‐59 S Yates Boulevard                                       Estate Property   Janice Burrell (iPlanGroup Agent for Custodian FBO Janice G. Burrell IRA )   $                160,543.38       Investor‐Lender          $            50,000.00   5‐689

      145             4755 S St Lawrence Avenue                                        Former Property   Jannapureddy Brothers                                                        $                 19,251.27        Equity Investor         $           140,000.00   145‐1491
       62                7834‐44 S Ellis Avenue                                        Estate Property   Jason Park                                                                   $                 38,000.00       Investor‐Lender          $            25,000.00   62‐814
       69                6250 S Mozart Avenue                2832‐36 W 63rd Street     Estate Property   Jason Park                                                                   $                 38,000.00       Investor‐Lender          $            10,000.00   69‐814
        1              1700‐08 Juneway Terrace                                         Estate Property   Jason Ragan ‐ TSA                                                            $                128,050.00        Equity Investor         $            10,000.00   1‐1133
        1              1700‐08 Juneway Terrace                                         Estate Property   Jason Ragan ‐ TSA                                                            $                473,079.71        Equity Investor         $            20,000.00   1‐796
        5              7749‐59 S Yates Boulevard                                       Estate Property   Jason Ragan ‐ TSA                                                            $                327,324.29        Equity Investor         $             3,451.00   5‐797
        9                 8100 S Essex Avenue               2449‐57 East 81st Street   Estate Property   Jason Ragan ‐ TSA                                                            $                327,324.29        Equity Investor         $             1,547.00   9‐797
       60              7026‐42 S Cornell Avenue                                        Estate Property   Jason Ragan ‐ TSA                                                            $                327,324.29        Equity Investor         $             1,241.00   60‐797
       61              7237‐43 S Bennett Avenue                                        Estate Property   Jason Ragan ‐ TSA                                                            $                473,079.71        Equity Investor         $            25,500.00   61‐796
       77            7750‐58 S Muskegon Avenue               2818‐36 E 78th Street     Estate Property   Jason Ragan ‐ TSA                                                            $                327,324.29        Equity Investor         $             2,022.00   77‐797
       78              7201 S Constance Avenue               1825‐31 E 72nd Street     Estate Property   Jason Ragan ‐ TSA                                                            $                327,324.29        Equity Investor         $             4,747.00   78‐797
       79         6160‐6212 S Martin Luther King Drive                                 Estate Property   Jason Ragan ‐ TSA                                                            $                327,324.29        Equity Investor         $           110,000.00   79‐797
       87                 7508 S Essex Avenue                2453‐59 E 75th Street     Estate Property   Jason Ragan ‐ TSA                                                            $                473,079.71        Equity Investor         $            16,100.00   87‐796
       87                 7508 S Essex Avenue                2453‐59 E 75th Street     Estate Property   Jason Ragan ‐ TSA                                                            $                128,050.00        Equity Investor         $            20,600.00   87‐1133
       89             7600‐10 S Kingston Avenue              2527‐29 E 76th Street     Estate Property   Jason Ragan ‐ TSA                                                            $                473,079.71        Equity Investor         $            29,562.00   89‐796
      109              4750‐52 S Indiana Avenue                                        Estate Property   Jason Ragan ‐ TSA                                                            $                128,050.00        Equity Investor         $            80,000.00   109‐1133
      130               4511 N Merimac Avenue                                          Former Property   Jason Ragan ‐ TSA                                                            $                473,079.71        Equity Investor         $            21,522.04   130‐796
      135               4930 W Cornelia Avenue                                         Former Property   Jason Ragan ‐ TSA                                                            $                473,079.71        Equity Investor         $             5,525.25   135‐796
      904                        SSDF4                                                 Fund              Jason Ragan ‐ TSA                                                            $                327,324.29        Equity Investor         $            50,000.00   904‐797
      906                        SSDF6                                                 Fund              Jason Ragan ‐ TSA                                                            $                327,324.29        Equity Investor         $            60,000.00   906‐797
      908                        SSDF8                                                 Fund              Jason Ragan ‐ TSA                                                            $                128,050.00        Equity Investor         $            17,450.00   908‐1133
      908                        SSDF8                                                 Fund              Jason Ragan ‐ TSA                                                            $                327,324.29        Equity Investor         $            54,289.29   908‐797
      911                 Hybrid Capital Fund                                          Fund              Jason Ragan ‐ TSA                                                            $                473,079.71        Equity Investor         $            24,300.00   911‐796
    13 to 15                      CCF2                                                 Fund              Jason Ragan ‐ TSA                                                            $                327,324.29        Equity Investor         $           100,000.00   13‐797
     13‐15               2909‐19 E 78th Street                                         Fund              Jason Ragan ‐ TSA                                                            $                473,079.71        Equity Investor         $            54,500.00   13‐796
                        7549‐59 S Essex Avenue
                      8047‐55 S Manistee Avenue
     96‐99               8326‐50 S Ellis Avenue                                        Estate Property   Jason Ragan ‐ TSA                                                            $                473,079.71        Equity Investor         $           276,489.58   96‐796
       82              6355‐59 S Talman Avenue               2616‐22 W 64th Street     Estate Property   Jay Sutherland                                                               $                 51,749.99       Investor‐Lender          $            50,000.00   82‐619
       92               7748‐52 S Essex Avenue               2450‐52 E 78th Street     Estate Property   JBMacy Solo 401K Trust                                                       $                 61,950.00       Investor‐Lender          $            60,000.00   92‐1193
       61              7237‐43 S Bennett Avenue                                        Estate Property   JDSKPS LLC, Jeffrey Steybe Mgr                                               $                156,000.00       Investor‐Lender          $           150,000.00   61‐826
       79         6160‐6212 S Martin Luther King Drive                                 Estate Property   Jeffery B McMeans                                                            $                 53,333.35       Investor‐Lender          $            50,000.00   79‐279
    13 to 15                      CCF2                                                 Fund              Jeffery B McMeans                                                            $                 53,203.10        Equity Investor         $            50,000.00   13‐279
       40              7953 S Woodlawn Avenue                                          Estate Property   Jeffrey Lee Blankenship                                                      $                 89,822.12       Investor‐Lender          $            30,629.18   40‐1241
       63             4520‐26 S Drexel Boulevard                                       Estate Property   Jeffrey Lee Blankenship                                                      $                103,698.00        Equity Investor                                  63‐1241
       64             4611‐17 S Drexel Boulevard                                       Estate Property   Jeffrey Lee Blankenship                                                      $                103,698.00        Equity Investor                                  64‐1241
       68            6217‐27 S Dorchester Avenue                                       Estate Property   Jeffrey Lee Blankenship                                                      $                 89,822.12       Investor‐Lender          $            75,855.00   68‐1241
       71                 701‐13 S 5th Avenue                     414 Walnut           Estate Property   Jeffrey Lee Blankenship                                                      $                 89,822.12       Investor‐Lender          $            93,698.00   71‐1241
      131              4108 N Monticello Avenue                                        Former Property   Jeffrey Lee Blankenship                                                      $                 89,822.12       Investor‐Lender          $            48,890.12   131‐1241
       76             7635‐43 S East End Avenue                                        Estate Property   Jeffry M. Edwards                                                            $                 50,000.00       Investor‐Lender          $            50,000.00   76‐666
      901                        SSDF1                                                 Fund              Jeremy Hemphill                                                              $                 54,000.00        Equity Investor         $            50,000.00   901‐290




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Property Number            Property Address                  Alternative Address                Type                                         Claimant Name     Claimed Amount (Total      Claim Category as Identified   Amount Claimed to be       Claim Number
                                                                                                                                                              Claimed Amount in Claim            on Claim Form            Invested in Property
                                                                                                                                                              Category as Identified on
                                                                                                                                                                    Claim Form)
      901                         SSDF1                                                Fund              Jeremy Hemphill for REAP, LLC                       $                108,000.00         Equity Investor         $           100,000.00   63‐1371
       62                 7834‐44 S Ellis Avenue                                       Estate Property   Jerome B. Shaffer                                   $                250,000.00        Investor‐Lender          $            14,736.00   62‐992
       71                  701‐13 S 5th Avenue                    414 Walnut           Estate Property   Jerome B. Shaffer                                   $                250,000.00        Investor‐Lender          $            85,264.00   71‐992
       86              7442‐48 S Calumet Avenue                                        Estate Property   Jerome B. Shaffer                                   $                250,000.00        Investor‐Lender          $           150,000.00   86‐992
        9                  8100 S Essex Avenue              2449‐57 East 81st Street   Estate Property   Jerome B. Shaffer and Sharon Shaffer                $                150,000.00        Investor‐Lender          $           150,000.00   9‐993
       68            6217‐27 S Dorchester Avenue                                       Estate Property   Jerome B. Shaffer, Trustee                          $                100,000.00        Investor‐Lender          $           100,000.00   68‐538
       84                7051 S Bennett Avenue                                         Estate Property   Jerry Adamsky                                       $                 84,000.00        Investor‐Lender          $            50,000.00   84‐888
    13 to 15                       CCF2                                                Fund              Jerry Adamsky                                       $                 84,000.00        Investor‐Lender          $            50,000.00   13‐888
      N/A                          N/A                                                 Other             Jessica Baier                                       $                   1,982.05 Independent Contractor                                  933
        1               1700‐08 Juneway Terrace                                        Estate Property   Jill Meekcoms (Halverson)                           $                113,999.92        Investor‐Lender          $            50,000.00   1‐548
       74                3074 Cheltenham Place                7836 S Shore Drive       Estate Property   Jill Meekcoms (Halverson)                           $                113,999.92        Investor‐Lender          $            50,000.00   74‐548
       76              7635‐43 S East End Avenue                                       Estate Property   JK Electron, Inc., Jan Kobylarczyk                  $                 13,250.00         Trade Creditor          $            13,250.00   76‐1297
       56                   8209 S Ellis Avenue                                        Estate Property   JKG Investments, LLC                                $                 25,000.00        Investor‐Lender          $            25,000.00   56‐1181
      109              4750‐52 S Indiana Avenue                                        Estate Property   JLE Investments, LLC c/o James Eng                  $                   8,330.19       Investor‐Lender          $            13,204.91   109‐501
        1               1700‐08 Juneway Terrace                                        Estate Property   JLO Enterprises LLC                                 $                 54,714.37        Investor‐Lender          $            37,000.00   1‐726
       71                  701‐13 S 5th Avenue                    414 Walnut           Estate Property   JLO Enterprises LLC                                 $                 54,714.37        Investor‐Lender          $            15,750.00   71‐726
      904                         SSDF4                                                Fund              JLO Enterprises LLC                                 $                315,002.49         Equity Investor         $            20,000.00   904‐726
    10 to 12           7301‐09 S Stewart Avenue                                        Fund              JLO Enterprises LLC                                 $                315,002.49         Equity Investor         $           250,000.00   10‐726
                      7500‐06 S Eggleston Avenue
                          3030‐32 E 79th Street
     13‐15                2909‐19 E 78th Street                                        Fund              JLO Enterprises LLC                                 $                315,002.49        Equity Investor          $            33,000.00   13‐726
                         7549‐59 S Essex Avenue
                      8047‐55 S Manistee Avenue
        1               1700‐08 Juneway Terrace                                        Estate Property   JML Roth LLC                                        $                  4,140.01        Investor‐Lender          $             4,000.00   1‐725
    10 to 12           7301‐09 S Stewart Avenue                                        Fund              JML Roth LLC                                        $                 31,200.00         Equity Investor         $            30,000.00   10‐725
                      7500‐06 S Eggleston Avenue
                          3030‐32 E 79th Street
      68             6217‐27 S Dorchester Avenue                                       Estate Property   JN Investment Trust, Trustee Janice Nelson          $                160,000.00      Investor‐Lender            $            50,000.00   68‐556
       85            7201‐07 S Dorchester Avenue              1401 E 72nd Street       Estate Property   JN Investment Trust, Trustee Janice Nelson          $                160,000.00      Investor‐Lender            $            60,000.00   85‐556
      124                6801 S East End Avenue                                        Former Property   JN Investment Trust, Trustee Janice Nelson          $                160,000.00      Investor‐Lender            $            50,000.00   124‐556
      68             6217‐27 S Dorchester Avenue                                       Estate Property   Joe F Siracusa                                      $                 60,000.00      Investor‐Lender            $            60,000.00   68‐177
       62                 7834‐44 S Ellis Avenue                                       Estate Property   Joel Feingold JFKN Investment Trust                 $                 95,000.00      Investor‐Lender            $            30,000.00   62‐527
       87                  7508 S Essex Avenue               2453‐59 E 75th Street     Estate Property   Joel Feingold JFKN Investment Trust                 $                 95,000.00      Investor‐Lender            $            40,000.00   87‐527
      100           11117‐11119 S Longwood Drive                                       Estate Property   Joel Feingold JFKN Investment Trust                 $                 95,000.00      Investor‐Lender            $            25,000.00   100‐527
       1                1700‐08 Juneway Terrace                                        Estate Property   John A Martino                                      $                100,000.00      Investor‐Lender            $           100,000.00   1‐1494
      79          6160‐6212 S Martin Luther King Drive                                 Estate Property   John A Martino & Carole J Wysocki                   $                 12,171.78      Investor‐Lender            $            50,000.00   79‐1493
      100           11117‐11119 S Longwood Drive                                       Estate Property   John and Cynthia Braden                             $                 43,888.41      Investor‐Lender            $            50,000.00   100‐1047
      904                         SSDF4                                                Fund              John and Cynthia Love                               $                 84,506.24 Investor‐Lender and Equity      $            75,000.00   904‐699
                                                                                                                                                                                                  Investor
     13‐15                       CCF2                                                  Fund              John Asciutto                                       $                 50,000.00       Equity Investor           $            50,000.00   13‐1209
       6              6437‐41 S Kenwood Avenue                                         Estate Property   John B. Allred & Glenda K. Allred                   $              1,421,646.52 Investor‐Lender and Equity                               6‐2004
                                                                                                                                                                                                  Investor
      54                8000‐02 S Justine Street              1541 E 80th Street       Estate Property   John B. Allred & Glenda K. Allred                   $              1,421,646.52 Investor‐Lender and Equity                               54‐2004
                                                                                                                                                                                                  Investor
      55                 8107‐09 S Ellis Avenue                                        Estate Property   John B. Allred & Glenda K. Allred                   $              1,421,646.52 Investor‐Lender and Equity                               55‐2004
                                                                                                                                                                                                  Investor
      60               7026‐42 S Cornell Avenue                                        Estate Property   John B. Allred & Glenda K. Allred                   $              1,421,646.52 Investor‐Lender and Equity                               60‐2004
                                                                                                                                                                                                  Investor
      79          6160‐6212 S Martin Luther King Drive                                 Estate Property   John B. Allred & Glenda K. Allred                   $              1,421,646.52 Investor‐Lender and Equity                               79‐2004
                                                                                                                                                                                                  Investor
      89              7600‐10 S Kingston Avenue              2527‐29 E 76th Street     Estate Property   John B. Allred & Glenda K. Allred                   $              1,421,646.52 Investor‐Lender and Equity                               89‐2004
                                                                                                                                                                                                  Investor
      100           11117‐11119 S Longwood Drive                                       Estate Property   John B. Allred & Glenda K. Allred                   $              1,421,646.52 Investor‐Lender and Equity                               100‐2004
                                                                                                                                                                                                  Investor
      115                109 N Laramie Avenue                                          Former Property   John B. Allred & Glenda K. Allred                   $              1,421,646.52 Investor‐Lender and Equity                               115‐2004
                                                                                                                                                                                                  Investor
      118                400 S Kilbourn Avenue                                         Former Property   John B. Allred & Glenda K. Allred                   $              1,421,646.52 Investor‐Lender and Equity                               118‐2004
                                                                                                                                                                                                  Investor
      123              7107‐29 S Bennett Avenue                                        Former Property   John B. Allred & Glenda K. Allred                   $              1,421,646.52 Investor‐Lender and Equity                               123‐2004
                                                                                                                                                                                                  Investor
      135               4930 W Cornelia Avenue                                         Former Property   John B. Allred & Glenda K. Allred                   $              1,421,646.52 Investor‐Lender and Equity                               135‐2004
                                                                                                                                                                                                  Investor
      904                        SSDF4                                                 Fund              John B. Allred & Glenda K. Allred                   $              1,421,646.52 Investor‐Lender and Equity      $           443,010.24   904‐2004
                                                                                                                                                                                                  Investor
     13‐15                       CCF2                                                  Fund              John B. Allred & Glenda K. Allred                   $              1,421,646.52 Investor‐Lender and Equity      $            50,000.00   13‐2004
                                                                                                                                                                                                  Investor
       5               7749‐59 S Yates Boulevard                                       Estate Property   John Bloxham                                        $                 36,374.24      Investor‐Lender            $            35,000.00   5‐1015




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Property Number            Property Address                    Alternative Address                Type                                   Claimant Name     Claimed Amount (Total     Claim Category as Identified Amount Claimed to be          Claim Number
                                                                                                                                                          Claimed Amount in Claim           on Claim Form           Invested in Property
                                                                                                                                                          Category as Identified on
                                                                                                                                                                Claim Form)
       6              6437‐41 S Kenwood Avenue                                           Estate Property   John Bloxham                                  $                 52,000.01       Investor‐Lender        $               50,000.00   6‐1018
      61               7237‐43 S Bennett Avenue                                          Estate Property   John Bloxham                                  $                103,375.00       Investor‐Lender        $             100,000.00    61‐1014
      62                 7834‐44 S Ellis Avenue                                          Estate Property   John Bloxham                                  $                 51,762.92       Investor‐Lender        $               50,396.00   62‐1016
     64               4611‐17 S Drexel Boulevard                                         Estate Property   John Bloxham                                  $                 51,762.92       Investor‐Lender        $               50,000.00   64‐1016
      69                 6250 S Mozart Avenue                 2832‐36 W 63rd Street      Estate Property   John Bloxham                                  $                110,000.00       Investor‐Lender        $                7,009.00   69‐1196
     70                  638‐40 N Avers Avenue                                           Estate Property   John Bloxham                                  $                 63,999.92       Investor‐Lender        $               50,000.00   70‐1017
     76               7635‐43 S East End Avenue                                          Estate Property   John Bloxham                                  $                 51,500.00       Investor‐Lender        $               50,000.00   76‐1012
      88               7546‐48 S Saginaw Avenue                                          Estate Property   John Bloxham                                  $                 25,123.83       Investor‐Lender        $               24,333.00   88‐1019
     88                7546‐48 S Saginaw Avenue                                          Estate Property   John Bloxham                                  $                110,000.00       Investor‐Lender        $               52,991.00   88‐1196
     89               7600‐10 S Kingston Avenue               2527‐29 E 76th Street      Estate Property   John Bloxham                                  $                 36,826.17       Investor‐Lender        $               35,667.00   89‐1211
     93                7953‐59 S Marquette Road               2708‐10 E 80th Street      Estate Property   John Bloxham                                  $                110,000.00       Investor‐Lender        $             110,000.00    93‐1196
     904                         SSDF4                                                   Fund              John Bloxham                                  $                 51,500.00        Equity Investor       $               50,000.00   904‐1012
     908                         SSDF8                                                   Fund              John Bloxham                                  $                 25,123.83        Equity Investor       $               24,333.00   908‐1019
                            Mezzazine Fund
     908                         SSDF8                                                   Fund              John Bloxham                                  $                 35,667.00        Equity Investor        $             35,667.00    908‐1211
                            Mezzazine Fund
     908                         SSDF8                                                   Fund              John Bloxham                                  $                102,991.00        Equity Investor        $            162,991.00    908‐1196
                            Mezzazine Fund
      92                7748‐52 S Essex Avenue                2450‐52 E 78th Street      Estate Property   John Bloxham for JBMacy Solo 401K Trust       $                 61,950.00       Investor‐Lender         $             60,000.00    92‐1011
      61               7237‐43 S Bennett Avenue                                          Estate Property   John Braden and Cynthia Braden                $                 42,000.64       Investor‐Lender         $             50,000.00    61‐1051
      69                 6250 S Mozart Avenue                 2832‐36 W 63rd Street      Estate Property   John Braden and Cynthia Braden                $                  6,716.67       Investor‐Lender         $             10,000.00    69‐1050
      82               6355‐59 S Talman Avenue                2616‐22 W 64th Street      Estate Property   John Braden and Cynthia Braden                $                 37,691.67       Investor‐Lender         $             50,000.00    82‐1049
      902                        SSDF2                                                   Fund              John Braden and Cynthia Braden                $                 50,000.00       Investor‐Lender         $             50,000.00    902‐1054
      904                        SSDF4                                                   Fund              John Braden and Cynthia Braden                $                 46,508.23       Investor‐Lender         $             50,000.00    904‐1055
      79          6160‐6212 S Martin Luther King Drive                                   Estate Property   John E Mize                                   $                 50,000.00       Investor‐Lender         $             50,000.00    79‐649
      77             7750‐58 S Muskegon Avenue                2818‐36 E 78th Street      Estate Property   John E. Wysocki                               $                117,000.00        Equity Investor                                   77‐740
      83                6356 S California Avenue               2804 W 64th Street        Estate Property   John E. Wysocki                               $                117,000.00        Equity Investor                                   83‐740
      88               7546‐48 S Saginaw Avenue                                          Estate Property   John E. Wysocki                               $                117,000.00        Equity Investor                                   88‐740
      90              7656‐58 S Kingston Avenue             2514‐2520 East 77th Street   Estate Property   John E. Wysocki                               $                117,000.00        Equity Investor                                   90‐740
     96‐99               8326‐58 S Ellis Avenue                                          Estate Property   John E. Wysocki                               $                117,000.00        Equity Investor                                   96‐740
      907                        SSDF7                                                   Fund              John Gorske                                   $                 53,087.30        Equity Investor        $             53,087.00    907‐1208
     13‐15                2909‐19 E 78th Street                                          Fund              John Hutchison                                $                 50,000.00       Investor‐Lender         $             50,000.00    13‐1376
                        7549‐59 S Essex Avenue
                      8047‐55 S Manistee Avenue
     67                   1131‐41 E 79th Place                                           Estate Property   John Love                                     $                207,500.00        Equity Investor        $            200,000.00    67‐698
     71                   701‐13 S 5th Avenue                      414 Walnut            Estate Property   John Love                                     $                 31,275.00       Investor‐Lender         $             30,000.00    71‐719
     904                         SSDF4                                                   Fund              John Love                                     $                 46,350.00        Equity Investor        $             45,000.00    904‐719
     58               5955 S Sacramento Avenue                2948‐56 W 60th Street      Estate Property   John McDevitt                                 $                220,000.00        Equity Investor        $             20,000.00    58‐2090
      67                  1131‐41 E 79th Place                                           Estate Property   John McDevitt                                 $                220,000.00        Equity Investor        $             50,000.00    67‐2090
     100            11117‐11119 S Longwood Drive                                         Estate Property   John McDevitt                                 $                220,000.00        Equity Investor        $            100,000.00    100‐2090
     904                   Legacy Fund SSDF 4                                            Fund              John McDevitt                                 $                220,000.00        Equity Investor        $             50,000.00    904‐2090
      78               7201 S Constance Avenue                1825‐31 E 72nd Street      Estate Property   John P. Sullivan                              $                107,000.00       Investor‐Lender         $             50,000.00    78‐660
      80                 2736‐44 W 64th Street                                           Estate Property   John P. Sullivan                              $                107,000.00       Investor‐Lender         $             57,000.00    80‐660
      94               816‐20 E Marquette Road                                           Estate Property   John R Taxeras                                $                105,686.72       Investor‐Lender         $             50,000.00    94‐994
      68             6217‐27 S Dorchester Avenue                                         Estate Property   John Taxeras                                  $                105,686.72       Investor‐Lender         $              1,830.00    68‐994
      74                3074 Cheltenham Place                  7836 S Shore Drive        Estate Property   John Taxeras                                  $                105,686.72       Investor‐Lender         $             18,552.85    74‐994
      77             7750‐58 S Muskegon Avenue                2818‐36 E 78th Street      Estate Property   John Taxeras                                  $                105,686.72        Equity Investor        $             21,400.00    77‐994
     130               4511 N Merimac Avenue                                             Former Property   John Taxeras                                  $                105,686.72       Investor‐Lender         $             25,000.00    130‐994
       5              7749‐59 S Yates Boulevard                                          Estate Property   John Witzigreuter                             $                200,000.00       Investor‐Lender         $             50,000.00    5‐729
      64              4611‐17 S Drexel Boulevard                                         Estate Property   John Witzigreuter                             $                200,000.00       Investor‐Lender         $             50,000.00    64‐729
      73                7255‐57 S Euclid Avenue               1940‐44 E 73rd Street      Estate Property   John Witzigreuter                             $                200,000.00       Investor‐Lender         $             50,000.00    73‐729
      92                7748‐52 S Essex Avenue                2450‐52 E 78th Street      Estate Property   John Witzigreuter                             $                200,000.00       Investor‐Lender         $             50,000.00    92‐729
     901                         SSDF1                                                   Fund              John Witzigreuter                             $                250,000.00        Equity Investor        $            200,000.00    901‐729
     73                 7255‐57 S Euclid Avenue               1940‐44 E 73rd Street      Estate Property   Johnny Colson                                 $                 35,952.85       Investor‐Lender         $             50,000.00    73‐108
     903                         SSDF3                                                   Fund              Johnstun, Chad                                $                190,729.17        Equity Investor        $            190,729.17    903‐2071
      57              8214‐16 S Ingleside Avenue                                         Estate Property   Joral Schmalle                                $              1,735,782.00       Investor‐Lender         $            759,000.00    57‐730
     123              7107‐29 S Bennett Avenue                                           Former Property   Joral Schmalle                                $              1,735,782.00       Investor‐Lender         $            630,000.00    123‐730
     90               7656‐58 S Kingston Avenue             2514‐2520 East 77th Street   Estate Property   Jose Galarza                                  $                 20,107.00       Investor‐Lender         $             35,107.00    90‐1405
       9                  8100 S Essex Avenue                2449‐57 East 81st Street    Estate Property   Joseph and Linda Martinez                     $                360,000.00       Investor‐Lender         $            260,000.00    9‐2095
      74                3074 Cheltenham Place                  7836 S Shore Drive        Estate Property   Joseph and Linda Martinez                     $                360,000.00       Investor‐Lender         $             50,000.00    74‐2095
      77             7750‐58 S Muskegon Avenue                2818‐36 E 78th Street      Estate Property   Joseph and Linda Martinez                     $                360,000.00       Investor‐Lender         $             50,000.00    77‐2095
      60               7026‐42 S Cornell Avenue                                          Estate Property   Joseph E. Kennedy                             $                 60,412.54       Investor‐Lender         $             45,141.00    60‐435
      60               7026‐42 S Cornell Avenue                                          Estate Property   Joseph E. Kennedy                             $                298,138.29       Investor‐Lender         $             40,979.00    60‐106




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Property Number            Property Address                  Alternative Address              Type                                   Claimant Name                            Claimed Amount (Total     Claim Category as Identified   Amount Claimed to be       Claim Number
                                                                                                                                                                             Claimed Amount in Claim           on Claim Form            Invested in Property
                                                                                                                                                                             Category as Identified on
                                                                                                                                                                                   Claim Form)
      100           11117‐11119 S Longwood Drive                                     Estate Property   Joseph E. Kennedy                                                    $                298,138.29       Investor‐Lender          $            50,000.00   100‐106
      115                109 N Laramie Avenue                                        Former Property   Joseph E. Kennedy                                                    $                298,138.29       Investor‐Lender          $           181,311.00   115‐106
        5             7749‐59 S Yates Boulevard                                      Estate Property   Joseph P. McCarthy                                                   $                277,847.33       Investor‐Lender          $            10,000.00   5‐1367
       62                7834‐44 S Ellis Avenue                                      Estate Property   Joseph P. McCarthy                                                   $                277,847.33       Investor‐Lender          $            27,884.00   62‐1367
       63             4520‐26 S Drexel Boulevard                                     Estate Property   Joseph P. McCarthy                                                   $                277,847.33       Investor‐Lender          $            45,000.00   63‐1367
       73               7255‐57 S Euclid Avenue              1940‐44 E 73rd Street   Estate Property   Joseph P. McCarthy                                                   $                277,847.33       Investor‐Lender          $            40,000.00   73‐1367
      124               6801 S East End Avenue                                       Former Property   Joseph P. McCarthy                                                   $                277,847.33       Investor‐Lender          $            25,000.00   124‐1367
      901                        SSDF1                                               Fund              Joseph P. McCarthy                                                   $                277,847.33       Investor‐Lender          $            45,000.00   901‐1367
      904                        SSDF4                                               Fund              Joseph P. McCarthy                                                   $                277,847.33       Investor‐Lender          $            90,000.00   904‐1367
    13 to 15                      CCF2                                               Fund              Joseph P. McCarthy                                                   $                277,847.33       Investor‐Lender          $            50,000.00   13‐1367
     96‐99               8326‐58 S Ellis Avenue                                      Estate Property   Joseph P. McCarthy                                                   $                277,847.33       Investor‐Lender          $            15,000.00   96‐1367
       63             4520‐26 S Drexel Boulevard                                     Estate Property   Joshua Lapin                                                         $                 25,000.00        Equity Investor         $            25,000.00   63‐1243
       74               3074 Cheltenham Place                 7836 S Shore Drive     Estate Property   Joshua Morrow                                                        $                 51,749.99       Investor‐Lender          $            50,000.00   74‐734
        2             4533‐47 S Calumet Avenue                                       Estate Property   Joshua Paul Mora                                                     $                 57,000.00       Investor‐Lender                                   2‐1113
     13‐15               2909‐19 E 78th Street                                       Fund              Jossie Romero                                                        $                 53,541.66        Equity Investor         $            50,000.00   13‐86
                        7549‐59 S Essex Avenue
                     8047‐55 S Manistee Avenue
      67                  1131‐41 E 79th Place                                       Estate Property   Julia Pong                                                           $                 18,418.05        Equity Investor         $            18,382.00   67‐1022
      74                3074 Cheltenham Place                 7836 S Shore Drive     Estate Property   Julia Pong                                                           $                 34,947.00       Investor‐Lender          $            34,572.00   74‐1022
      92                7748‐52 S Essex Avenue               2450‐52 E 78th Street   Estate Property   Julie Elaine Fogle                                                   $                 50,000.00       Investor‐Lender          $            50,000.00   92‐235
       4               5450‐52 S Indiana Avenue               118‐132 E Garfield     Estate Property   Julie Patel                                                          $                 97,038.00       Investor‐Lender          $            10,000.00   4‐409
      5               7749‐59 S Yates Boulevard                                      Estate Property   Julie Patel                                                          $                 97,038.00       Investor‐Lender          $            35,291.00   5‐409
       6             6437‐41 S Kenwood Avenue                                        Estate Property   Julie Patel                                                          $                 97,038.00       Investor‐Lender          $            40,000.00   6‐409
      84                7051 S Bennett Avenue                                        Estate Property   Julie Patel                                                          $                 97,038.00       Investor‐Lender          $             1,409.00   84‐409
      89              7600‐10 S Kingston Avenue              2527‐29 E 76th Street   Estate Property   Julie Patel                                                          $                 97,038.00       Investor‐Lender          $            10,338.00   89‐409
       1               1700‐08 Juneway Terrace                                       Estate Property   Juliette Farr‐Barksdale & Thomas Farr                                $                323,900.00        Equity Investor         $           300,000.00   1‐2074
      72               7024‐32 S Paxton Avenue                                       Estate Property   Juliette Farr‐Barksdale & Thomas Farr                                $                323,900.00        Equity Investor         $            23,900.00   72‐2074
      67                  1131‐41 E 79th Place                                       Estate Property   Justin Tubbs                                                         $                 15,000.00       Investor‐Lender          $            15,000.00   67‐242
       1               1700‐08 Juneway Terrace                                       Estate Property   KAMEDA INVESTMENTS, LLC (Sole Owner/Manager ‐ Arnold Kunio Kameda)   $                220,000.00       Investor‐Lender          $           100,000.00   1‐121

      60               7026‐42 S Cornell Avenue                                      Estate Property   KAMEDA INVESTMENTS, LLC (Sole Owner/Manager ‐ Arnold Kunio Kameda)   $                220,000.00       Investor‐Lender          $            40,000.00   60‐121

      63              4520‐26 S Drexel Boulevard                                     Estate Property   Kameda Investments, LLC (Sole Owner/Manager ‐ Arnold Kunio Kameda)   $                185,000.00        Equity Investor         $           125,000.00   63‐121
      89              7600‐10 S Kingston Avenue              2527‐29 E 76th Street   Estate Property   KAMEDA INVESTMENTS, LLC (Sole Owner/Manager ‐ Arnold Kunio Kameda)   $                220,000.00       Investor‐Lender          $            80,000.00   89‐121

      904                        SSDF4                                               Fund              KAMEDA INVESTMENTS, LLC (Sole Owner/Manager ‐ Arnold Kunio Kameda)   $                185,000.00        Equity Investor         $            60,000.00   904‐121

      89              7600‐10 S Kingston Avenue              2527‐29 E 76th Street   Estate Property   Karen Droste                                                         $                 74,000.00      Investor‐Lender           $            74,000.00   89‐605
       5               7749‐59 S Yates Boulevard                                     Estate Property   Karen L Hendrickson                                                  $                 10,597.66      Investor‐Lender           $            10,000.00   5‐948
       4               5450‐52 S Indiana Avenue               118‐132 E Garfield     Estate Property   Karl R. DeKlotz                                                      $              1,586,165.90      Investor‐Lender           $           150,000.00   4‐1179
      64              4611‐17 S Drexel Boulevard                                     Estate Property   Karl R. DeKlotz                                                      $              1,586,165.90      Investor‐Lender           $           300,000.00   64‐1179
      68             6217‐27 S Dorchester Avenue                                     Estate Property   Karl R. DeKlotz                                                      $              1,586,165.90      Investor‐Lender           $           150,000.00   68‐1179
      71                  701‐13 S 5th Avenue                    414 Walnut          Estate Property   Karl R. DeKlotz                                                      $              1,586,165.90      Investor‐Lender           $           300,000.00   71‐1179
      72               7024‐32 S Paxton Avenue                                       Estate Property   Karl R. DeKlotz                                                      $              1,586,165.90      Investor‐Lender           $           150,000.00   72‐1179
      79          6160‐6212 S Martin Luther King Drive                               Estate Property   Karl R. DeKlotz                                                      $              1,586,165.90      Investor‐Lender           $           100,000.00   79‐1179
     13‐15               2909‐19 E 78th Street                                       Fund              Karl R. DeKlotz                                                      $              1,586,165.90 Investor‐Lender and Equity     $           200,000.00   13‐1179
                        7549‐59 S Essex Avenue                                                                                                                                                                   Investor
                      8047‐55 S Manistee Avenue
      33                   3723 W 68th Place                                         Estate Property   Kathleen Martin                                                      $                304,605.24        Equity Investor         $           172,423.00   33‐246
      83                6356 S California Avenue              2804 W 64th Street     Estate Property   Kathleen Martin                                                      $                304,605.24        Equity Investor         $            50,095.00   83‐246
      109              4750‐52 S Indiana Avenue                                      Estate Property   Kathleen Martin                                                      $                304,605.24        Equity Investor         $            50,000.00   109‐246

      129              4494 West Roscoe Street                                       Former Property   Kathleen Martin                                                      $                304,605.24        Equity Investor         $            35,367.00   129‐246
       73              7255‐57 S Euclid Avenue                                       Estate Property   Katie Whitlock                                                       $                 61,651.00        Equity Investor                                  73‐942
      88              7546‐48 S Saginaw Avenue                                       Estate Property   Katie Whitlock                                                       $                 61,651.00        Equity Investor                                  88‐942
      129              4494 West Roscoe Street                                       Former Property   Katie Whitlock                                                       $                 61,651.00        Equity Investor                                  129‐942
      904                 SSDF4 Legacy Fund                                          Fund              Keith Cooper ‐ Concorde Management, LLC                              $                335,000.00       Investor‐Lender          $           335,000.00   904‐1183
       5              7749‐59 S Yates Boulevard                                      Estate Property   Keith P Rowland and Jane E Rowland                                   $                 52,583.32       Investor‐Lender          $            50,000.00   5‐89
       5              7749‐59 S Yates Boulevard                                      Estate Property   Keith Randall                                                        $                250,000.00       Investor‐Lender          $            70,000.00   5‐1086
       63             4520‐26 S Drexel Boulevard                                     Estate Property   Keith Randall                                                        $                370,000.00        Equity Investor         $           100,000.00   63‐1086
      124               6801 S East End Avenue                                       Former Property   Keith Randall                                                        $                250,000.00       Investor‐Lender          $            80,000.00   124‐1086
      901                       SSDF1                                                Fund              Keith Randall                                                        $                370,000.00        Equity Investor         $           170,000.00   901‐1086
      904                       SSDF4                                                Fund              Keith Randall                                                        $                370,000.00        Equity Investor         $           200,700.00   904‐1086
     96‐99               8326‐58 S Ellis Avenue                                      Estate Property   Keith Randall                                                        $                250,000.00       Investor‐Lender          $           100,000.00   96‐1086




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                                                                                                                            Exhibit 5
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                                                                                    Receiver's           08/01/22
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                                                                                                                      Case No. 18‐cv‐5587




Property Number           Property Address                    Alternative Address                Type                                     Claimant Name                                 Claimed Amount (Total     Claim Category as Identified Amount Claimed to be          Claim Number
                                                                                                                                                                                       Claimed Amount in Claim           on Claim Form           Invested in Property
                                                                                                                                                                                       Category as Identified on
                                                                                                                                                                                             Claim Form)
      73               7255‐57 S Euclid Avenue               1940‐44 E 73rd Street      Estate Property   Kelly E Welton (Equity Trust Company for Custodian FBO Kelly Welton, IRA)   $                 83,813.00       Investor‐Lender        $                8,400.00   73‐310

      82              6355‐59 S Talman Avenue                2616‐22 W 64th Street      Estate Property   Kelly E Welton (Equity Trust Company for Custodian FBO Kelly Welton, IRA)   $                 83,813.00       Investor‐Lender         $              3,000.00    82‐310

       55               8107‐09 S Ellis Avenue                                          Estate Property   Kelly E Welton (iPlanGroup Agent for Custodian FBO Kelly Welton, IRA)       $                 83,813.00       Investor‐Lender         $             26,200.00    55‐310
       78             7201 S Constance Avenue                1825‐31 E 72nd Street      Estate Property   Kelly E Welton (iPlanGroup Agent for Custodian FBO Kelly Welton, IRA)       $                 83,813.00       Investor‐Lender         $             31,233.00    78‐310
       89            7600‐10 S Kingston Avenue               2527‐29 E 76th Street      Estate Property   Kelly E Welton (iPlanGroup Agent for Custodian FBO Kelly Welton, IRA)       $                 83,813.00       Investor‐Lender         $              8,000.00    89‐310
      115               109 N Laramie Avenue                                            Former Property   Kelly E Welton (iPlanGroup Agent for Custodian FBO Kelly Welton, IRA)       $                 83,813.00       Investor‐Lender         $             31,213.00    115‐310
      N/A                        SSDF                                                   Fund              Kelly E Welton (iPlanGroup Agent for Custodian FBO Kelly Welton, IRA)       $                 83,813.00        Equity Investor                                   310
       62               7834‐44 S Ellis Avenue                                          Estate Property   Kelly E Welton, and Mary M Andrews, deceased                                $                 83,813.00       Investor‐Lender         $              7,000.00    62‐310
    10 to 12                     CCF1                                                   Fund              Kelvin Kon                                                                  $                 95,000.00        Equity Investor        $             50,000.00    10‐492
    13 to 15                     CCF2                                                   Fund              Kelvin Kon                                                                  $                 95,000.00        Equity Investor        $             45,000.00    13‐492
      108                2800‐06 E 81st Street                                          Estate Property   Kendall Chenier                                                             $                667,084.15            Other                                         108‐1144
      113              7840‐42 S Yates Avenue                                           Estate Property   Kendall Chenier                                                             $                667,084.15            Other                                         113‐1144
      145            4755 S St Lawrence Avenue                                          Former Property   Kendall Chenier                                                             $                  9,858.12       Investor‐Lender         $              9,858.12    145‐1144
       55               8107‐09 S Ellis Avenue                                          Estate Property   Kenneth (Ken) and Maria (Tina) Jorgensen                                    $                453,233.25       Investor‐Lender         $             31,000.00    55‐194
       62               7834‐44 S Ellis Avenue                                          Estate Property   Kenneth (Ken) and Maria (Tina) Jorgensen                                    $                453,233.25       Investor‐Lender         $              4,246.00    62‐194
       64            4611‐17 S Drexel Boulevard                                         Estate Property   Kenneth (Ken) and Maria (Tina) Jorgensen                                    $                453,233.25       Investor‐Lender         $            150,000.00    64‐194
       70               638‐40 N Avers Avenue                                           Estate Property   Kenneth (Ken) and Maria (Tina) Jorgensen                                    $                453,233.25       Investor‐Lender         $            146,902.00    70‐194
       73              7255‐57 S Euclid Avenue               1940‐44 E 73rd Street      Estate Property   Kenneth (Ken) and Maria (Tina) Jorgensen                                    $                453,233.25       Investor‐Lender         $             51,544.00    73‐194
       74              3074 Cheltenham Place                  7836 S Shore Drive        Estate Property   Kenneth (Ken) and Maria (Tina) Jorgensen                                    $                453,233.25       Investor‐Lender         $             42,000.00    74‐194
       92              7748‐52 S Essex Avenue                2450‐52 E 78th Street      Estate Property   Kenneth (Ken) and Maria (Tina) Jorgensen                                    $                453,233.25       Investor‐Lender         $            121,506.00    92‐194
      130              4511 N Merimac Avenue                                            Former Property   Kenneth (Ken) and Maria (Tina) Jorgensen                                    $                453,233.25       Investor‐Lender         $             60,000.00    130‐194
      N/A                        N/A                                                    UPN               Kenneth (Ken) and Maria (Tina) Jorgensen                                    $                453,233.25       Investor‐Lender         $             37,956.48    194
    10 to 12                     CCF1                                                   Fund              Kennett, Victor S ‐ Kennett Family Trust                                    $                200,000.00        Equity Investor        $            200,000.00    10‐2033
       71                701‐13 S 5th Avenue                      414 Walnut            Estate Property   Kester Brothers Farm, LLC, C/O James R. Kester                              $                152,911.82       Investor‐Lender         $             68,000.00    71‐944
       74              3074 Cheltenham Place                   7836 S Shore Drive       Estate Property   Kester Brothers Farm, LLC, C/O James R. Kester                              $                152,911.82       Investor‐Lender         $             50,000.00    74‐944
       82             6355‐59 S Talman Avenue                2616‐22 W 64th Street      Estate Property   Kester Brothers Farm, LLC, C/O James R. Kester                              $                152,911.82       Investor‐Lender         $             30,000.00    82‐944
        5             7749‐59 S Yates Boulevard                                         Estate Property   Kevin & Laura Allred                                                        $                 61,000.00       Investor‐Lender         $             50,000.00    5‐452
       67                1131‐41 E 79th Place                                           Estate Property   Kevin & Laura Allred                                                        $                 61,000.00       Investor‐Lender         $             11,000.00    67‐452
       50                7760 S Coles Avenue                                            Estate Property   Kevin Bybee, iPlanGroup Agent for Custodian FBO Kevin Bybee IRA             $                102,367.34       Investor‐Lender         $             76,000.00    50‐497
       62               7834‐44 S Ellis Avenue                                          Estate Property   Kevin Bybee, iPlanGroup Agent for Custodian FBO Kevin Bybee IRA             $                102,367.34       Investor‐Lender         $             48,000.00    62‐497
      110         5618‐20 S Martin Luther King Drive                                    Estate Property   Kevin Bybee, iPlanGroup Agent for Custodian FBO Kevin Bybee IRA             $                102,367.34       Investor‐Lender         $            200,000.00    110‐497
      112                7450 S Luella Avenue                2220 East 75th Street      Estate Property   Kevin Bybee, iPlanGroup Agent for Custodian FBO Kevin Bybee IRA             $                102,367.34       Investor‐Lender         $             50,000.00    112‐497
       62               7834‐44 S Ellis Avenue                                          Estate Property   Kevin Chang                                                                 $                 65,000.00       Investor‐Lender         $             65,000.00    62‐305
       69               6250 S Mozart Avenue                 2832‐36 W 63rd Street      Estate Property   Kevin Lyons                                                                 $                 98,899.84        Equity Investor        $             25,000.00    69‐610
      111               6558 S Vernon Avenue                  416‐24 E 66th Street      Estate Property   Kevin Lyons                                                                 $                 98,899.84        Equity Investor        $             25,000.00    111‐610
      126           5201‐5207 W Washington Blvd                                         Former Property   Kevin Lyons                                                                 $                 98,899.84        Equity Investor        $             50,000.00    126‐610
       68           6217‐27 S Dorchester Avenue                                         Estate Property   Kevin Randall                                                               $                200,000.00       Investor‐Lender         $             70,000.00    68‐811
       74              3074 Cheltenham Place                  7836 S Shore Drive        Estate Property   Kevin Randall                                                               $                200,000.00       Investor‐Lender         $             50,000.00    74‐811
      904                       SSDF4                                                   Fund              Kevin Randall                                                               $                200,000.00        Equity Investor        $            200,000.00    904‐811
     96‐99              8326‐58 S Ellis Avenue                                          Estate Property   Kevin Randall                                                               $                200,000.00       Investor‐Lender         $             70,000.00    96‐811
       84               7051 S Bennett Avenue                                           Estate Property   Kimberly W Robinson                                                         $                 98,000.00       Investor‐Lender         $             50,000.00    84‐1245
      123             7107‐29 S Bennett Avenue                                          Former Property   Kimberly W Robinson                                                         $                 98,000.00       Investor‐Lender         $             30,000.00    123‐1245
      123             7107‐29 S Bennett Avenue                                          Former Property   Kingdom Trust Company custodian, FBO Louis Duane Velez SEP IRA Acc.         $                 43,046.58       Investor‐Lender         $             50,000.00    123‐1221
                                                                                                          #7422686172
      90             7656‐58 S Kingston Avenue             2514‐2520 East 77th Street   Estate Property   Kingdom Trust Company, Custodian, FBO Louis Duane Velez SEP IRA Acc.        $                100,000.00       Investor‐Lender         $            100,000.00    90‐1476
                                                                                                          #7422686172
      77            7750‐58 S Muskegon Avenue                2818‐36 E 78th Street      Estate Property   Kingdom Trust Company, Custodian, FBO Louis Duane Velez SEP IRA acct #      $                100,000.00       Investor‐Lender         $            100,000.00    77‐1475
                                                                                                          7422686172
        4             5450‐52 S Indiana Avenue                 118‐132 E Garfield       Estate Property   Kirk Road Investments, LLC                                                  $                434,195.69       Investor‐Lender         $            121,855.00    4‐755
       52                 310 E 50th Street                                             Estate Property   Kirk Road Investments, LLC                                                  $                434,195.69       Investor‐Lender         $            193,750.00    52‐755
       64            4611‐17 S Drexel Boulevard                                         Estate Property   Kirk Road Investments, LLC                                                  $                434,195.69       Investor‐Lender         $            121,855.00    64‐755
       78             7201 S Constance Avenue                1825‐31 E 72nd Street      Estate Property   Kirk Road Investments, LLC                                                  $                434,195.69       Investor‐Lender         $             63,000.00    78‐755
      151                8107 S Coles Avenue                                            Former Property   Kirk Road Investments, LLC                                                  $                434,195.69       Investor‐Lender         $             87,500.00    151‐755
    13 to 15                     CCF2                                                   Fund              Kirk Road Investments, LLC                                                  $                318,867.20        Equity Investor        $            235,000.00    13‐755
        5             7749‐59 S Yates Boulevard                                         Estate Property   KKW Investments, LLC                                                        $                100,033.40       Investor‐Lender         $              3,000.00    5‐336
        6            6437‐41 S Kenwood Avenue                                           Estate Property   KKW Investments, LLC                                                        $                100,033.40       Investor‐Lender         $              2,000.00    6‐336
        9                8100 S Essex Avenue                2449‐57 East 81st Street    Estate Property   KKW Investments, LLC                                                        $                100,033.40       Investor‐Lender         $              5,000.00    9‐336
       68           6217‐27 S Dorchester Avenue                                         Estate Property   KKW Investments, LLC                                                        $                100,033.40       Investor‐Lender         $              2,627.40    68‐336
       69               6250 S Mozart Avenue                 2832‐36 W 63rd Street      Estate Property   KKW Investments, LLC                                                        $                100,033.40       Investor‐Lender         $              3,500.00    69‐336
       72             7024‐32 S Paxton Avenue                                           Estate Property   KKW Investments, LLC                                                        $                100,033.40       Investor‐Lender         $              3,900.00    72‐336
       74              3074 Cheltenham Place                  7836 S Shore Drive        Estate Property   KKW Investments, LLC                                                        $                100,033.40       Investor‐Lender         $              1,600.00    74‐336




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                                                                                                                              Exhibit 5
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                                                                                                                       Case No. 18‐cv‐5587




Property Number            Property Address                    Alternative Address                Type                                      Claimant Name                                     Claimed Amount (Total     Claim Category as Identified Amount Claimed to be          Claim Number
                                                                                                                                                                                             Claimed Amount in Claim           on Claim Form           Invested in Property
                                                                                                                                                                                             Category as Identified on
                                                                                                                                                                                                   Claim Form)
       75              7625‐33 S East End Avenue                                         Estate Property   KKW Investments, LLC                                                             $                100,033.40       Investor‐Lender        $               75,000.00   75‐336
    10 to 12                      CCF1                                                   Fund              KKW Investments, LLC                                                             $                100,033.40       Investor‐Lender        $                2,000.00   10‐336
     96‐99               8326‐58 S Ellis Avenue                                          Estate Property   KKW Investments, LLC                                                             $                100,033.40       Investor‐Lender        $                7,306.00   96‐336
       75              7625‐33 S East End Avenue                                         Estate Property   Knickerbocker LLC                                                                $                102,505.16       Investor‐Lender        $               39,664.00   75‐2035
       79         6160‐6212 S Martin Luther King Drive                                   Estate Property   Knickerbocker LLC                                                                $                102,505.16       Investor‐Lender        $               50,000.00   79‐2035
      116          1102 Bingham St, Houston TX 77007                                     Estate Property   Knickerbocker LLC                                                                $                102,505.16       Investor‐Lender        $               50,000.00   116‐2035
      131              4108 N Monticello Avenue                                          Former Property   Knickerbocker LLC                                                                $                102,505.16       Investor‐Lender        $               50,000.00   131‐2035
      908                        SSDF8                                                   Fund              Knickerbocker LLC                                                                $                105,387.00        Equity Investor       $               50,000.00   908‐2035
    10 to 12                      CCF1                                                   Fund              Knickerbocker LLC                                                                $                105,387.00        Equity Investor       $               55,387.00   10‐2035
        2              4533‐47 S Calumet Avenue                                          Estate Property   Koates LLC                                                                       $                 85,000.00        Equity Investor       $               12,000.00   2‐228
        5              7749‐59 S Yates Boulevard                                         Estate Property   Koates LLC                                                                       $                 85,000.00        Equity Investor       $                3,200.00   5‐228
        7              7109‐19 S Calumet Avenue                                          Estate Property   Koates LLC                                                                       $                 85,000.00        Equity Investor       $               12,000.00   7‐228
       61              7237‐43 S Bennett Avenue                                          Estate Property   Koates LLC                                                                       $                 85,000.00        Equity Investor       $               19,800.00   61‐228
      100            11117‐11119 S Longwood Drive                                        Estate Property   Koates LLC                                                                       $                 85,000.00        Equity Investor       $               50,000.00   100‐228
      100            11117‐11119 S Longwood Drive                                        Estate Property   Kristien Van Hecke as trustee of DK Phenix Investments LLC 401(k) FBO Kristien   $                 22,434.28       Investor‐Lender        $               25,000.00   100‐840
                                                                                                           Van Hecke
    13 to 15                     CCF2                                                    Fund              Kristien Van Hecke as trustee of DK Phenix Investments LLC 401(k) FBO Kristien   $                 23,661.80        Equity Investor        $             25,000.00    13‐844
                                                                                                           Van Hecke
       88              7546‐48 S Saginaw Avenue                                          Estate Property   Krushna Dundigalla                                                               $                 60,000.00       Investor‐Lender         $             60,000.00    88‐656
    13 to 15                       CCF2                                                  Fund              Krushna M Dundigalla Revocable Living Trust                                      $                100,000.00        Equity Investor        $            100,000.00    13‐657
       68            6217‐27 S Dorchester Avenue                                         Estate Property   Kuldeep Jain                                                                     $                156,000.00       Investor‐Lender         $            100,000.00    68‐652
       69                 6250 S Mozart Avenue                2832‐36 W 63rd Street      Estate Property   Kuldeep Jain                                                                     $                156,000.00       Investor‐Lender         $             50,000.00    69‐652
       79         6160‐6212 S Martin Luther King Drive                                   Estate Property   Kyle Jacobs                                                                      $                 95,000.00       Investor‐Lender         $             30,000.00    79‐1345
       92                7748‐52 S Essex Avenue               2450‐52 E 78th Street      Estate Property   Kyle Jacobs                                                                      $                 95,000.00       Investor‐Lender         $             95,000.00    92‐1345
       87                  7508 S Essex Avenue                2453‐59 E 75th Street      Estate Property   LA DONNA WRIGHT ACKLEN                                                           $                268,666.74       Investor‐Lender         $             50,000.00    87‐244
       94               816‐20 E Marquette Road                                          Estate Property   LA DONNA WRIGHT ACKLEN                                                           $                268,666.74       Investor‐Lender         $             40,000.00    94‐244
      130                4511 N Merimac Avenue                                           Former Property   LA DONNA WRIGHT ACKLEN                                                           $                268,666.74       Investor‐Lender         $            120,000.00    130‐244
       49             7300‐04 St Lawrence Avenue                                         Estate Property   LaDawn K. Westbrook ‐ Miss Property LLC                                          $                 71,546.64       Investor‐Lender                                    49‐271
      123               7107‐29 S Bennett Avenue                                         Former Property   LaDawn K. Westbrook ‐ Miss Property LLC                                          $                 71,546.64       Investor‐Lender         $             50,000.00    123‐271
      130                4511 N Merimac Avenue                                           Former Property   LaDawn K. Westbrook ‐ Miss Property LLC                                          $                 71,546.64       Investor‐Lender         $              6,978.00    130‐271
      123              7107‐29 S Bennett Avenue                                          Former Property   Lake Erie LLC (Douglas Lichtinger)                                               $                 21,683.17       Investor‐Lender         $             26,948.71    123‐629
    10 to 12            7301‐09 S Stewart Avenue                                         Fund              LaMore, LLC (George Elmore & Marti LaTour)                                       $                309,999.94       Investor‐Lender         $            250,000.00    10‐765
                      7500‐06 S Eggleston Avenue
                           3030‐32 E 79th Street
       61              7237‐43 S Bennett Avenue                                          Estate Property   Larry James Eggenberger                                                          $                 50,000.00      Investor‐Lender          $             50,000.00    61‐402
       79         6160‐6212 S Martin Luther King Drive                                   Estate Property   Larry White                                                                      $                 53,900.00      Investor‐Lender          $             52,500.00    79‐794
       92                7748‐52 S Essex Avenue               2450‐52 E 78th Street      Estate Property   Larry White                                                                      $                 50,800.00      Investor‐Lender          $             50,000.00    92‐983
       62                 7834‐44 S Ellis Avenue                                         Estate Property   Laura J. Sohm IRA                                                                $                104,593.29      Investor‐Lender          $             15,000.00    62‐970
       69                 6250 S Mozart Avenue                2832‐36 W 63rd Street      Estate Property   Laura J. Sohm IRA                                                                $                104,593.29      Investor‐Lender          $             63,315.00    69‐970
       79         6160‐6212 S Martin Luther King Drive                                   Estate Property   Laura J. Sohm IRA                                                                $                104,593.29      Investor‐Lender          $             63,000.00    79‐970
    10 to 12            7301‐09 S Stewart Avenue                                         Fund              Laura J. Sohm IRA                                                                $                104,593.29 Investor‐Lender and Equity    $             14,000.00    10‐970
                      7500‐06 S Eggleston Avenue                                                                                                                                                                                 Investor
                           3030‐32 E 79th Street
      64               4611‐17 S Drexel Boulevard                                        Estate Property   Law Office of V.L. Heger, A Professional Corporation                             $                 50,369.00       Investor‐Lender         $             50,000.00    64‐1409
      89               7600‐10 S Kingston Avenue              2527‐29 E 76th Street      Estate Property   Law Office of V.L. Heger, A Professional Corporation                             $                 50,369.00       Investor‐Lender         $             50,000.00    89‐1409
       2               4533‐47 S Calumet Avenue                                          Estate Property   Layne A. Hermansen                                                               $                 51,000.00       Investor‐Lender         $             51,000.00    2‐1072
       5                7749‐59 S Yates Boulevard                                        Estate Property   Legacy Trading LLC                                                               $                257,000.00       Investor‐Lender         $            237,000.00    5‐508
      90               7656‐58 S Kingston Avenue            2514‐2520 East 77th Street   Estate Property   Legacy Trading LLC                                                               $                257,000.00       Investor‐Lender         $             20,000.00    90‐508
      59             6001‐05 S Sacramento Avenue              2945‐51 W 60th Street      Estate Property   Leonard Grosso                                                                   $                177,499.95       Investor‐Lender         $             50,000.00    59‐2024
      62                  7834‐44 S Ellis Avenue                                         Estate Property   Leonard Grosso                                                                   $                177,499.95       Investor‐Lender         $             50,000.00    62‐2024
     96‐99                8326‐58 S Ellis Avenue                                         Estate Property   Leonard Grosso                                                                   $                177,499.95       Investor‐Lender         $             50,000.00    96‐2024
      53                  6807 S Indiana Avenue                                          Estate Property   Leroy & Martha Johnson                                                           $                 81,066.85       Investor‐Lender         $            100,000.00    53‐1350
       3                 5001 S Drexel Boulevard                909 E 50th Street        Estate Property   LEVENT KESEN                                                                     $                150,000.00       Investor‐Lender         $             50,000.00    3‐1078
      71                   701‐13 S 5th Avenue                    414 Walnut             Estate Property   LEVENT KESEN                                                                     $                150,000.00       Investor‐Lender         $             50,000.00    71‐1078
      79          6160‐6212 S Martin Luther King Drive                                   Estate Property   LEVENT KESEN                                                                     $                150,000.00       Investor‐Lender         $             50,000.00    79‐1078
      67                   1131‐41 E 79th Place                                          Estate Property   Lewis Thomas                                                                     $                 25,000.00       Investor‐Lender         $             25,000.00    67‐321
      80                  2736‐44 W 64th Street                                          Estate Property   Liberty EBCP, LLC                                                                $             10,638,796.40     Institutional Lender                                 80‐898
      81               4317‐19 S Michigan Avenue                                         Estate Property   Liberty EBCP, LLC                                                                $             10,638,796.40     Institutional Lender                                 81‐898
      82                6355‐59 S Talman Avenue               2616‐22 W 64th Street      Estate Property   Liberty EBCP, LLC                                                                $             10,638,796.40     Institutional Lender                                 82‐898
      83                 6356 S California Avenue              2804 W 64th Street        Estate Property   Liberty EBCP, LLC                                                                $             10,638,796.40     Institutional Lender                                 83‐898
      84                  7051 S Bennett Avenue                                          Estate Property   Liberty EBCP, LLC                                                                $             10,638,796.40     Institutional Lender                                 84‐898
      85             7201‐07 S Dorchester Avenue               1401 E 72nd Street        Estate Property   Liberty EBCP, LLC                                                                $             10,638,796.40     Institutional Lender                                 85‐898
      86               7442‐48 S Calumet Avenue                                          Estate Property   Liberty EBCP, LLC                                                                $             10,638,796.40     Institutional Lender                                 86‐898




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Property Number            Property Address                    Alternative Address                Type                                    Claimant Name                                   Claimed Amount (Total     Claim Category as Identified Amount Claimed to be          Claim Number
                                                                                                                                                                                         Claimed Amount in Claim           on Claim Form           Invested in Property
                                                                                                                                                                                         Category as Identified on
                                                                                                                                                                                               Claim Form)
       87                  7508 S Essex Avenue                2453‐59 E 75th Street      Estate Property   Liberty EBCP, LLC                                                            $             10,638,796.40     Institutional Lender                                 87‐898
       88              7546‐48 S Saginaw Avenue                                          Estate Property   Liberty EBCP, LLC                                                            $             10,638,796.40     Institutional Lender                                 88‐898
       89              7600‐10 S Kingston Avenue              2527‐29 E 76th Street      Estate Property   Liberty EBCP, LLC                                                            $             10,638,796.40     Institutional Lender                                 89‐898
       90              7656‐58 S Kingston Avenue            2514‐2520 East 77th Street   Estate Property   Liberty EBCP, LLC                                                            $             10,638,796.40     Institutional Lender                                 90‐898
       91                7701‐03 S Essex Avenue                                          Estate Property   Liberty EBCP, LLC                                                            $             10,638,796.40     Institutional Lender                                 91‐898
       92                7748‐52 S Essex Avenue               2450‐52 E 78th Street      Estate Property   Liberty EBCP, LLC                                                            $             10,638,796.40     Institutional Lender                                 92‐898
       93              7953‐59 S Marquette Road               2708‐10 E 80th Street      Estate Property   Liberty EBCP, LLC                                                            $             10,638,796.40     Institutional Lender                                 93‐898
       94               816‐20 E Marquette Road                                          Estate Property   Liberty EBCP, LLC                                                            $             10,638,796.40     Institutional Lender                                 94‐898
       95                8201 S Kingston Avenue                                          Estate Property   Liberty EBCP, LLC                                                            $             10,638,796.40     Institutional Lender                                 95‐898
     96‐99                8326‐58 S Ellis Avenue                                         Estate Property   Liberty EBCP, LLC                                                            $             10,638,796.40     Institutional Lender                                 96‐898
       58              5955 S Sacramento Avenue               2948‐56 W 60th Street      Estate Property   Liberty Quest Investment Group LLC                                           $                210,000.00        Equity Investor       $             210,000.00    58‐587
       60               7026‐42 S Cornell Avenue                                         Estate Property   Linda Lipschultz                                                             $                 53,405.00       Investor‐Lender        $               22,477.00   60‐1374
       68             6217‐27 S Dorchester Avenue                                        Estate Property   Linda Lipschultz                                                             $                 53,405.00       Investor‐Lender        $               18,500.00   68‐1374
      125               6548 N Campbell Avenue                                           Former Property   Linda Lipschultz                                                             $                 53,405.00       Investor‐Lender        $               27,000.00   125‐1374
      904                         SSDF4                                                  Fund              Linda Lipschultz                                                             $                 53,405.00        Equity Investor       $               53,405.00   904‐1374
     96‐99                8326‐58 S Ellis Avenue                                         Estate Property   LISA MARIE KENNEDY / BRANDELLA CONSULTING, LLC.                              $                 50,000.00       Investor‐Lender        $               50,000.00   96‐586
       92                7748‐52 S Essex Avenue               2450‐52 E 78th Street      Estate Property   Liwen Zhao                                                                   $                 98,000.00       Investor‐Lender        $             156,000.00    92‐426
        4               5450‐52 S Indiana Avenue               118‐132 E Garfield        Estate Property   LMJ Sales, Inc.                                                              $                559,807.34       Investor‐Lender        $             100,000.00    4‐1346
        9                  8100 S Essex Avenue               2449‐57 East 81st Street    Estate Property   LMJ Sales, Inc.                                                              $                559,807.34       Investor‐Lender        $             215,127.00    9‐1346
       50                  7760 S Coles Avenue                                           Estate Property   LMJ Sales, Inc.                                                              $                559,807.34       Investor‐Lender        $             100,000.00    50‐1346
       59            6001‐05 S Sacramento Avenue              2945‐51 W 60th Street      Estate Property   LMJ Sales, Inc.                                                              $                559,807.34       Investor‐Lender        $               50,000.00   59‐1346
       92                7748‐52 S Essex Avenue               2450‐52 E 78th Street      Estate Property   LMJ Sales, Inc.                                                              $                559,807.34       Investor‐Lender        $               45,000.00   92‐1346
      159                    7420 S Colfax Ave                                           Former Property   LMJ Sales, Inc.                                                              $                559,807.34       Investor‐Lender        $             123,100.00    159‐1346
    10 to 12                       CCF1                                                  Fund              LMJ Sales, Inc.                                                              $                270,066.18        Equity Investor       $             100,000.00    10‐1346
    102‐106              7927‐49 S Essex Avenue                                          Estate Property   LMJ Sales, Inc.                                                              $                270,066.18        Equity Investor       $             115,937.00    102‐1346
      904                   SSDF4 Legacy Fund                                            Fund              Lola S. Cooper                                                               $                210,000.00       Investor‐Lender        $             210,000.00    904‐1185
       35                    61 E 92nd Street                                            Estate Property   Lorenzo J Jaquias                                                            $                 71,635.00       Investor‐Lender        $               86,600.00   35‐184
       64              4611‐17 S Drexel Boulevard                                        Estate Property   Lorenzo Jaquias                                                              $                 71,635.00       Investor‐Lender        $               21,635.00   64‐184
       75              7625‐33 S East End Avenue                                         Estate Property   Lorenzo Jaquias                                                              $                 71,635.00       Investor‐Lender        $               50,000.00   75‐184
       76              7635‐43 S East End Avenue                                         Estate Property   Lorenzo Jaquias                                                              $                 71,635.00       Investor‐Lender        $               50,000.00   76‐184
      140                4528 S Michigan Avenue                                          Former Property   Lorenzo Jaquias                                                              $                 71,635.00       Investor‐Lender        $               42,100.00   140‐184
       64              4611‐17 S Drexel Boulevard                                        Estate Property   Lori Moreland                                                                $                 21,574.00       Investor‐Lender        $               10,000.00   64‐805
       64              4611‐17 S Drexel Boulevard                                        Estate Property   Lori Moreland                                                                $                 52,233.00       Investor‐Lender        $               47,000.00   64‐822
       64              4611‐17 S Drexel Boulevard                                        Estate Property   Lori Moreland                                                                $                 52,233.00       Investor‐Lender        $               45,000.00   64‐823
       78               7201 S Constance Avenue               1825‐31 E 72nd Street      Estate Property   Lori Moreland                                                                $                 21,574.00       Investor‐Lender        $               10,074.00   78‐805
       78               7201 S Constance Avenue               1825‐31 E 72nd Street      Estate Property   Lori Moreland                                                                $                 52,233.00       Investor‐Lender        $               48,087.00   78‐823
       78               7201 S Constance Avenue               1825‐31 E 72nd Street      Estate Property   Lori Moreland                                                                $                102,348.00       Investor‐Lender        $               52,348.00   78‐822
       87                  7508 S Essex Avenue                2453‐59 E 75th Street      Estate Property   Lori Moreland                                                                $                102,348.00       Investor‐Lender        $               50,000.00   87‐822
      124                6801 S East End Avenue                                          Former Property   Lori Moreland                                                                $                102,348.00       Investor‐Lender        $               11,500.00   124‐805
      124                6801 S East End Avenue                                          Former Property   Lori Moreland                                                                $                102,348.00       Investor‐Lender        $                4,246.00   124‐823
       85             7201‐07 S Dorchester Avenue              1401 E 72nd Street        Estate Property   Lori Waring                                                                  $                 65,063.99       Investor‐Lender        $               50,000.00   85‐675
        2              4533‐47 S Calumet Avenue                                          Estate Property   Lorraine K Mcclane                                                           $                 36,896.00       Investor‐Lender                                    2‐1190
       79         6160‐6212 S Martin Luther King Drive                                   Estate Property   Louis Barrows                                                                $                 25,000.00        Equity Investor       $               25,000.00   79‐494
       88              7546‐48 S Saginaw Avenue                                          Estate Property   Louis Duane Velez, LLC (Louis Duane Velez as manager)                        $                 50,000.00       Investor‐Lender        $               50,000.00   88‐901
       91                7701‐03 S Essex Avenue                                          Estate Property   Louis Duane Velez, LLC (Louis Duane Velez as the manager)                    $                150,000.00       Investor‐Lender        $             150,000.00    91‐1228
      126            5201‐5207 W Washington Blvd                                         Former Property   Louis Duane Velez, LLV (Louis Duane Velez as manager)                        $                 46,131.09       Investor‐Lender        $               50,000.00   126‐902
        2              4533‐47 S Calumet Avenue                                          Estate Property   Louis Liu                                                                    $                 37,908.57        Equity Investor       $               50,000.00   2‐929
      123              7107‐29 S Bennett Avenue                                          Former Property   Low Altitude, LLC                                                            $                100,000.00       Investor‐Lender        $             100,000.00    123‐273
    10 to 12                       CCF1                                                  Fund              Low Altitude, LLC                                                            $                100,000.00        Equity Investor       $             100,000.00    10‐273
        4               5450‐52 S Indiana Avenue                118‐132 E Garfield       Estate Property   Luna and Jerry Ellis                                                         $                 41,066.65       Investor‐Lender        $               40,000.00   4‐2020
    13 to 15                       CCF2                                                  Fund              Lynn Kupfer                                                                  $                 99,426.00 Investor‐Lender and Equity $                 75,000.00   13‐1321
                                                                                                                                                                                                                              Investor
        5             7749‐59 S Yates Boulevard                                          Estate Property   Lynn Marie Kupfer                                                            $                114,201.00       Investor‐Lender        $             100,000.00    5‐1319
      100           11117‐11119 S Longwood Drive                                         Estate Property   Madison Trust Acc Nr M1707067 fbo Harry L Shaffer                            $                200,000.00       Investor‐Lender        $             100,000.00    100‐2053
    10 to 12                    CCF1                                                     Fund              Madison Trust Acc Nr M1707067 fbo Harry L Shaffer                            $                200,000.00 Investor‐Lender and Equity $               100,000.00    10‐2053
                                                                                                                                                                                                                              Investor
     96‐99              8326‐58 S Ellis Avenue                                           Estate Property   Madison Trust Co, Custodian FBO Sonia Silver IRA #M1612049                   $                 50,000.00       Investor‐Lender        $               50,000.00   96‐963
       6              6437‐41 S Kenwood Avenue                                           Estate Property   Madison Trust Company Agent for Custodian FBO The Jacqueline C Rowe Living   $                623,489.57        Equity Investor                                   6‐163
                                                                                                           Trust IRA
       9                  8100 S Essex Avenue                2449‐57 East 81st Street    Estate Property   Madison Trust Company Agent for Custodian FBO The Jacqueline C Rowe Living   $                623,489.57        Equity Investor                                   9‐163
                                                                                                           Trust IRA
      58              5955 S Sacramento Avenue                2948‐56 W 60th Street      Estate Property   Madison Trust Company Agent for Custodian FBO The Jacqueline C Rowe Living   $                623,489.57        Equity Investor                                   58‐163
                                                                                                           Trust IRA




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Property Number            Property Address                   Alternative Address               Type                                   Claimant Name                                    Claimed Amount (Total    Claim Category as Identified   Amount Claimed to be       Claim Number
                                                                                                                                                                                      Claimed Amount in Claim           on Claim Form            Invested in Property
                                                                                                                                                                                      Category as Identified on
                                                                                                                                                                                             Claim Form)
      61               7237‐43 S Bennett Avenue                                        Estate Property   Madison Trust Company Agent for Custodian FBO The Jacqueline C Rowe Living   $               623,489.57       Equity Investor                                   61‐163
                                                                                                         Trust IRA
      74                3074 Cheltenham Place                 7836 S Shore Drive       Estate Property   Madison Trust Company Agent for Custodian FBO The Jacqueline C Rowe Living   $               623,489.57        Equity Investor                                  74‐163
                                                                                                         Trust IRA
      75               7625‐33 S East End Avenue                                       Estate Property   Madison Trust Company Agent for Custodian FBO The Jacqueline C Rowe Living   $               623,489.57        Equity Investor                                  75‐163
                                                                                                         Trust IRA
      88               7546‐48 S Saginaw Avenue                                        Estate Property   Madison Trust Company Agent for Custodian FBO The Jacqueline C Rowe Living   $               623,489.57        Equity Investor                                  88‐163
                                                                                                         Trust IRA
      904                        SSDF4                                                 Fund              Madison Trust Company Agent for Custodian FBO The Jacqueline C Rowe Living   $               623,489.57        Equity Investor         $           610,998.00   904‐163
                                                                                                         Trust IRA
      62                 7834‐44 S Ellis Avenue                                        Estate Property   Madison Trust Company Custodian FBO Brent Jacobs                             $                12,119.00       Investor‐Lender          $            12,119.00   62‐431
                                                                                                         M1609105
       1               1700‐08 Juneway Terrace                                         Estate Property   Madison Trust Company Custodian FBO Brian Shaffer IRA Account# M1608073      $               155,625.00       Investor‐Lender                                   1‐411
                                                                                                         and M1703059
      71                  701‐13 S 5th Avenue                     414 Walnut           Estate Property   Madison Trust Company Custodian FBO Brian Shaffer IRA Account# M1608073      $               155,625.00       Investor‐Lender                                   71‐411
                                                                                                         and M1703059
    10 to 12           7301‐09 S Stewart Avenue                                        Fund              Madison Trust Company Custodian FBO Cynthia B. Jennings IRA #M1710119        $               101,400.00       Investor‐Lender          $           100,000.00   10‐269
                      7500‐06 S Eggleston Avenue
                         3030‐32 E 79th Street
      87                 7508 S Essex Avenue                 2453‐59 E 75th Street     Estate Property   Madison Trust Company Custodian FBO David Harris                             $                53,487.09       Investor‐Lender          $            53,000.00   87‐160
       5               7749‐59 S Yates Boulevard                                       Estate Property   Madison Trust Company custodian FBO Guenter Scheel IRA M1702087              $                25,000.00       Investor‐Lender          $            25,000.00   5‐2073
      904                        SSDF4                                                 Fund              Madison Trust Company custodian FBO Guenter Scheel IRA M1702087              $                25,000.00        Equity Investor         $            25,000.00   904‐2073
      67                 1131‐41 E 79th Place                                          Estate Property   MADISON TRUST COMPANY CUSTODIAN FBO JAMES R ROBINSON SELF‐DIRECTED           $                21,833.00        Equity Investor         $            21,092.00   67‐1417
                                                                                                         ROTH IRA 1704092
      85             7201‐07 S Dorchester Avenue              1401 E 72nd Street       Estate Property   MADISON TRUST COMPANY CUSTODIAN FBO JAMES R ROBINSON SELF‐DIRECTED           $                51,749.00       Investor‐Lender          $            50,000.00   85‐1417
                                                                                                         ROTH IRA 1704092
       6              6437‐41 S Kenwood Avenue                                         Estate Property   Madison Trust Company Custodian FBO James R Robinson Traditional IRA Acct#   $                88,099.00       Investor‐Lender          $            25,000.00   6‐1406
                                                                                                         1705044
      73                7255‐57 S Euclid Avenue              1940‐44 E 73rd Street     Estate Property   Madison Trust Company Custodian FBO James R Robinson Traditional IRA Acct#   $                88,099.00       Investor‐Lender          $            60,000.00   73‐1406
                                                                                                         1705044
      89              7600‐10 S Kingston Avenue              2527‐29 E 76th Street     Estate Property   Madison Trust Company Custodian FBO James R. Talman IRA                      $                20,000.00       Investor‐Lender          $            20,000.00   89‐702
      64              4611‐17 S Drexel Boulevard                                       Estate Property   Madison Trust Company Custodian FBO Janet Eileen Taylor M1608009             $               107,946.27       Investor‐Lender          $            30,225.00   64‐2056
      70                638‐40 N Avers Avenue                                          Estate Property   MADISON TRUST COMPANY CUSTODIAN FBO JANET EILEEN TAYLOR M1608009             $               107,946.27       Investor‐Lender          $            30,775.00   70‐2056

      904                 SSDF4 Legacy Fund                                            Fund              MADISON TRUST COMPANY CUSTODIAN FBO JANET EILEEN TAYLOR M1608009             $               107,946.27       Investor‐Lender          $           130,000.00   904‐2056

       71                701‐13 S 5th Avenue                      414 Walnut           Estate Property   Madison Trust Company Custodian FBO Kathy B. Talman IRA                      $                75,000.00       Investor‐Lender          $            50,000.00   71‐1109
      79          6160‐6212 S Martin Luther King Drive                                 Estate Property   Madison Trust Company Custodian FBO Kathy B. Talman IRA                      $                75,000.00       Investor‐Lender          $            25,000.00   19‐1109
      100           11117‐11119 S Longwood Drive                                       Estate Property   Madison Trust Company Custodian FBO Patrick Coppinger M1708149, Patrick      $                60,000.00       Investor‐Lender          $            60,000.00   100‐1430
                                                                                                         Coppinger
      69                 6250 S Mozart Avenue                2832‐36 W 63rd Street     Estate Property   Madison Trust Company Custodian FBO Robert W. Jennings Account# M1605053     $               309,318.75       Investor‐Lender          $           225,461.00   69‐241

      74                3074 Cheltenham Place                 7836 S Shore Drive       Estate Property   Madison Trust Company Custodian FBO Robert W. Jennings Account# M1605053     $               309,318.75       Investor‐Lender          $            74,539.00   74‐241

       9                  8100 S Essex Avenue               2449‐57 East 81st Street   Estate Property   Madison Trust Company Custodian FBO Stuart Edelman                           $               255,332.70       Investor‐Lender          $           106,000.00   9‐103
      87                  7508 S Essex Avenue                2453‐59 E 75th Street     Estate Property   Madison Trust Company Custodian FBO Stuart Edelman                           $               255,332.70       Investor‐Lender          $            50,000.00   87‐103
      95                8201 S Kingston Avenue                                         Estate Property   Madison Trust Company Custodian FBO Stuart Edelman                           $               255,332.70       Investor‐Lender          $            50,000.00   95‐103
    102‐106             7927‐49 S Essex Avenue                                         Estate Property   Madison Trust Company Custodian FBO Stuart Edelman                           $               255,332.70       Investor‐Lender          $            35,000.00   102‐103
       3               5001 S Drexel Boulevard                 909 E 50th Street       Estate Property   Madison Trust Company FBO Judy Newton IRA                                    $               102,235.61       Investor‐Lender          $            50,000.00   3‐533
     96‐99               8326‐58 S Ellis Avenue                                        Estate Property   Madison Trust Company FBO Judy Newton IRA                                    $               102,235.61       Investor‐Lender          $            50,000.00   96‐533
       6              6437‐41 S Kenwood Avenue                                         Estate Property   Madison Trust Company FBO Laurie Connely, IRA (Madison Trust Company Cust.   $               140,592.00        Equity Investor         $            20,000.00   6‐900
                                                                                                         Laurie Connely M1711182)
      901                        SSDF1                                                 Fund              Madison Trust Company FBO Laurie Connely, IRA (Madison Trust Company Cust.   $               140,592.00        Equity Investor         $            20,000.00   901‐900
                                                                                                         Laurie Connely M1711182)
      904                        SSDF4                                                 Fund              Madison Trust Company FBO Laurie Connely, IRA (Madison Trust Company Cust.   $               140,592.00        Equity Investor         $           100,592.00   904‐900
                                                                                                         Laurie Connely M1711182)
       67                 1131‐41 E 79th Place                                         Estate Property   Madison Trust Company FBO Rick Newton SEP IRA                                $                50,000.00       Investor‐Lender          $            50,000.00   67‐532
    10 to 12                     CCF1                                                  Fund              Madison Trust Company FBO. Mehernosh Pithawalla (M1704056)                   $                30,999.94       Investor‐Lender          $            25,000.00   10‐1087
       79         6160‐6212 S Martin Luther King Drive                                 Estate Property   Madison Trust Custodian FBO Brent Jacobs                                     $                37,881.00       Investor‐Lender          $            37,881.00   79‐854
       77            7750‐58 S Muskegon Avenue               2818‐36 E 78th Street     Estate Property   Maher, Avery (Christopher Maher CESA)                                        $                11,000.00       Investor‐Lender          $            11,000.00   77‐2080
       77            7750‐58 S Muskegon Avenue               2818‐36 E 78th Street     Estate Property   Maher, Christopher                                                           $                30,500.00       Investor‐Lender          $            14,000.00   77‐2036
       93              7953‐59 S Marquette Road              2708‐10 E 80th Street     Estate Property   Maher, Christopher                                                           $                30,500.00       Investor‐Lender          $            16,500.00   93‐2036
       77            7750‐58 S Muskegon Avenue               2818‐36 E 78th Street     Estate Property   Maher, Gavin (Christopher Maher, CESA)                                       $                15,000.00       Investor‐Lender          $            15,000.00   77‐2081
       77            7750‐58 S Muskegon Avenue               2818‐36 E 78th Street     Estate Property   Maher, Travis (Christopher Maher, CESA)                                      $                10,000.00       Investor‐Lender          $            10,000.00   77‐2082
       69                6250 S Mozart Avenue                2832‐36 W 63rd Street     Estate Property   Mahesh Koli                                                                  $                25,125.00       Investor‐Lender          $            25,125.00   69‐68
       26              8405 S Marquette Avenue                                         Estate Property   Manoj Donthineni                                                             $                71,544.30       Investor‐Lender          $           141,340.00   26‐1357
       76             7635‐43 S East End Avenue                                        Estate Property   Manoj Donthineni                                                             $                71,544.30       Investor‐Lender          $            41,007.00   76‐1357
      129               4494 West Roscoe Street                                        Former Property   Manoj Donthineni                                                             $                71,544.30       Investor‐Lender          $            12,198.90   129‐1357




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Property Number            Property Address                    Alternative Address                Type                                    Claimant Name                                       Claimed Amount (Total      Claim Category as Identified Amount Claimed to be          Claim Number
                                                                                                                                                                                             Claimed Amount in Claim            on Claim Form           Invested in Property
                                                                                                                                                                                             Category as Identified on
                                                                                                                                                                                                   Claim Form)
      901                         SSDF1                                                  Fund              Manuel Cadaval                                                                   $                 25,000.00         Equity Investor       $               25,000.00   901‐1084
      901                         SSDF1                                                  Fund              Manuel Cadaval custodian for Jacob Cadaval                                       $                 25,000.00         Equity Investor       $               25,000.00   901‐1244
        5               7749‐59 S Yates Boulevard                                        Estate Property   Manuel Camacho                                                                   $                104,434.59        Investor‐Lender        $               25,000.00   5‐748
        9                  8100 S Essex Avenue               2449‐57 East 81st Street    Estate Property   Manuel Camacho                                                                   $                104,434.59        Investor‐Lender        $               25,000.00   9‐748
       69                 6250 S Mozart Avenue                2832‐36 W 63rd Street      Estate Property   Manuel Camacho                                                                   $                104,434.59        Investor‐Lender        $               33,250.00   69‐748
       68            6217‐27 S Dorchester Avenue                                         Estate Property   Marcus, Ernest                                                                   $                 50,000.00        Investor‐Lender        $               50,000.00   68‐2037
      126            5201‐5207 W Washington Blvd                                         Former Property   Margaret M Morgan                                                                $                 50,000.00        Investor‐Lender        $               50,000.00   126‐197
       72               7024‐32 S Paxton Avenue                                          Estate Property   Maricris M. Lee                                                                  $                   8,426.68       Investor‐Lender                                    72‐320
       79         6160‐6212 S Martin Luther King Drive                                   Estate Property   Maricris M. Lee                                                                  $                   8,426.68       Investor‐Lender                                    79‐320
       56                   8209 S Ellis Avenue                                          Estate Property   Marilyn B. Ackerman                                                              $                165,913.00         Equity Investor       $             200,000.00    56‐395
      133                4109 N Kimball Avenue                                           Former Property   Mario Flores                                                                     $                 40,697.50        Investor‐Lender        $             133,456.15    133‐198
        9                  8100 S Essex Avenue               2449‐57 East 81st Street    Estate Property   Marjorie Jean Sexton                                                             $                200,000.00        Investor‐Lender        $             100,000.00    9‐2065
       50                  7760 S Coles Avenue                                           Estate Property   Marjorie Jean Sexton                                                             $                200,000.00        Investor‐Lender        $               50,000.00   50‐2065
       59            6001‐05 S Sacramento Avenue              2945‐51 W 60th Street      Estate Property   Marjorie Jean Sexton                                                             $                200,000.00        Investor‐Lender        $               40,564.00   59‐2065
       81              4317‐19 S Michigan Avenue                                         Estate Property   Marjorie Jean Sexton                                                             $                200,000.00        Investor‐Lender        $                9,436.00   81‐2065
       92                7748‐52 S Essex Avenue               2450‐52 E 78th Street      Estate Property   Marjorie Jean Sexton                                                             $                200,000.00        Investor‐Lender        $                3,000.00   92‐2065
        1               1700‐08 Juneway Terrace                                          Estate Property   Mark A Miller ATF Domaskin Revocable Trust Aug. 8, 2006                          $                150,000.00        Investor‐Lender        $             100,000.00    1‐2040
    10 to 12                       CCF1                                                  Fund              Mark A Miller ATF Domaskin Revocable Trust Aug. 8, 2006                          $                150,000.00        Investor‐Lender        $               50,000.00   10‐2040
    10 to 12                       CCF1                                                  Fund              Mark and Julie Akita                                                             $                100,000.00         Equity Investor       $             100,000.00    10‐1364
        4               5450‐52 S Indiana Avenue               118‐132 E Garfield        Estate Property   Mark DeLuca                                                                      $                110,000.00        Investor‐Lender        $             110,000.00    4‐485
        4               5450‐52 S Indiana Avenue               118‐132 E Garfield        Estate Property   Mark P. Mouty                                                                    $                180,702.77        Investor‐Lender        $               20,000.00   4‐165
        9                  8100 S Essex Avenue               2449‐57 East 81st Street    Estate Property   Mark P. Mouty                                                                    $                180,702.77        Investor‐Lender        $               25,000.00   9‐165
       63              4520‐26 S Drexel Boulevard                                        Estate Property   Mark P. Mouty                                                                    $                130,703.00         Equity Investor       $               10,000.00   63‐165
       70                638‐40 N Avers Avenue                                           Estate Property   Mark P. Mouty                                                                    $                180,702.77        Investor‐Lender        $               25,000.00   70‐165
       77             7750‐58 S Muskegon Avenue               2818‐36 E 78th Street      Estate Property   Mark P. Mouty                                                                    $                180,702.77        Investor‐Lender        $               50,000.00   77‐165
      119                 4019 S Indiana Avenue                                          Former Property   Mark P. Mouty                                                                    $                130,703.00         Equity Investor       $             120,703.00    119‐165
      906                         SSDF6                                                  Fund              Mark P. Mouty                                                                    $                130,703.00         Equity Investor       $             120,703.00    906‐165
    10 to 12                       CCF1                                                  Fund              Mark P. Mouty                                                                    $                180,702.77        Investor‐Lender        $               25,000.00   10‐165
    13 to 15                       CCF2                                                  Fund              Mark P. Mouty                                                                    $                180,702.77        Investor‐Lender        $               25,000.00   13‐165
       73                7255‐57 S Euclid Avenue              1940‐44 E 73rd Street      Estate Property   Mark Young                                                                       $                366,131.08        Investor‐Lender        $               40,000.00   73‐1154
       77             7750‐58 S Muskegon Avenue               2818‐36 E 78th Street      Estate Property   Mark Young                                                                       $                366,131.08        Investor‐Lender        $             100,000.00    77‐1154
       80                 2736‐44 W 64th Street                                          Estate Property   Mark Young                                                                       $                366,131.08        Investor‐Lender        $               50,000.00   80‐1154
       90              7656‐58 S Kingston Avenue            2514‐2520 East 77th Street   Estate Property   Mark Young                                                                       $                366,131.08        Investor‐Lender        $               50,000.00   90‐1154
       92                7748‐52 S Essex Avenue               2450‐52 E 78th Street      Estate Property   Mark Young                                                                       $                366,131.08        Investor‐Lender        $               30,000.00   92‐1154
       95                8201 S Kingston Avenue                                          Estate Property   Mark Young                                                                       $                366,131.08        Investor‐Lender        $               50,000.00   95‐1154
      126            5201‐5207 W Washington Blvd                                         Former Property   Mark Young                                                                       $                366,131.08        Investor‐Lender        $               50,000.00   126‐1154
    13 to 15                       CCF2                                                  Fund              MarTech, Inc.                                                                    $                600,000.00         Equity Investor       $             600,000.00    13‐1056
       71                  701‐13 S 5th Avenue                     414 Walnut            Estate Property   Mary Alexander‐Brum                                                              $                 52,124.99        Investor‐Lender        $               50,000.00   71‐227
      124                6801 S East End Avenue                                          Former Property   Mary Ann Hennefer                                                                $                 15,160.00        Investor‐Lender        $               15,160.00   124‐1277
       60               7026‐42 S Cornell Avenue                                         Estate Property   MaryAnn Zimmerman                                                                $                 50,000.00        Investor‐Lender        $               18,104.00   60‐937
       88              7546‐48 S Saginaw Avenue                                          Estate Property   MaryAnn Zimmerman                                                                $                 50,000.00        Investor‐Lender        $               31,716.00   88‐937
       49             7300‐04 St Lawrence Avenue                                         Estate Property   Matthew Boyd                                                                     $                405,000.00        Investor‐Lender        $             259,302.00    49‐2060
       50                  7760 S Coles Avenue                                           Estate Property   Matthew Boyd                                                                     $                405,000.00        Investor‐Lender        $               55,000.00   50‐2060
       58              5955 S Sacramento Avenue               2948‐56 W 60th Street      Estate Property   Matthew Boyd                                                                     $                405,000.00        Investor‐Lender        $               40,698.00   58‐2060
       77             7750‐58 S Muskegon Avenue               2818‐36 E 78th Street      Estate Property   Matthew Boyd                                                                     $                405,000.00        Investor‐Lender        $               50,000.00   77‐2060
    102‐106              7927‐49 S Essex Avenue                                          Estate Property   Matthew Boyd                                                                     $                405,000.00        Investor‐Lender        $             314,302.00    102‐2060
        1               1700‐08 Juneway Terrace                                          Estate Property   May M. Akamine for Aurora Investments, LLC (assets formerly under MayREI, LLC    $                631,739.82        Investor‐Lender        $             110,000.00    1‐1412

      67                 1131‐41 E 79th Place                                            Estate Property   May M. Akamine for Aurora Investments, LLC (assets formerly under MayREI, LLC)   $                631,739.82 Investor‐Lender and Equity     $             50,000.00    67‐1412
                                                                                                                                                                                                                                 Investor
      74                3074 Cheltenham Place                  7836 S Shore Drive        Estate Property   May M. Akamine for Aurora Investments, LLC (assets formerly under MayREI, LLC)   $                631,739.82      Investor‐Lender           $             86,515.00    74‐1412

      77              7750‐58 S Muskegon Avenue               2818‐36 E 78th Street      Estate Property   May M. Akamine for Aurora Investments, LLC (assets formerly under MayREI, LLC)   $                631,739.82        Investor‐Lender         $             25,000.00    77‐1412

      77              7750‐58 S Muskegon Avenue               2818‐36 E 78th Street      Estate Property   May M. Akamine for Aurora Investments, LLC (assets formerly under MayREI, LLC)   $                631,739.82        Investor‐Lender        $               2,005.00    77‐1412

      79          6160‐6212 S Martin Luther King Drive                                   Estate Property   May M. Akamine for Aurora Investments, LLC (assets formerly under MayREI, LLC)   $                631,739.82        Investor‐Lender         $             60,000.00    79‐1412

      95                8201 S Kingston Avenue                                           Estate Property   May M. Akamine for Aurora Investments, LLC (assets formerly under MayREI, LLC)   $                631,739.82        Investor‐Lender         $             25,000.00    95‐1412

      124               6801 S East End Avenue                                           Former Property   May M. Akamine for Aurora Investments, LLC (assets formerly under MayREI, LLC)   $                631,739.82             Other              $             84,500.00    124‐1412

      126            5201‐5207 W Washington Blvd                                         Former Property   May M. Akamine for Aurora Investments, LLC (assets formerly under MayREI, LLC)   $                631,739.82        Investor‐Lender         $             25,000.00    126‐1412




                                                                                                                                25
                                                                                                                               Exhibit 5
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                                                                                                                        Case No. 18‐cv‐5587




Property Number            Property Address                     Alternative Address                Type                                     Claimant Name                                    Claimed Amount (Total     Claim Category as Identified   Amount Claimed to be       Claim Number
                                                                                                                                                                                            Claimed Amount in Claim           on Claim Form            Invested in Property
                                                                                                                                                                                            Category as Identified on
                                                                                                                                                                                                  Claim Form)
      145             4755 S St Lawrence Avenue                                           Former Property   May M. Akamine for Aurora Investments, LLC (assets formerly under MayREI, LLC) $                 88,868.41            Other               $            68,360.31   145‐1412

     96‐99               8326‐58 S Ellis Avenue                                           Estate Property   May M. Akamine for Aurora Investments, LLC (assets formerly under MayREI, LLC)   $              631,739.82       Investor‐Lender          $            50,000.00   96‐1412

       79         6160‐6212 S Martin Luther King Drive                                    Estate Property   Meadows Enterprises Inc, Kenyon Meadows, president                               $               75,000.00       Investor‐Lender          $            25,000.00   79‐429
    13 to 15                      CCF2                                                    Fund              Meadows Enterprises Inc, Kenyon Meadows, president                               $               75,000.00       Investor‐Lender          $            50,000.00   13‐429
        1              1700‐08 Juneway Terrace                                            Estate Property   Melanie T. or Gary M. Gonzales                                                   $              525,525.01       Investor‐Lender          $           250,000.00   1‐207
       84               7051 S Bennett Avenue                                             Estate Property   Melanie T. or Gary M. Gonzales                                                   $              525,525.01       Investor‐Lender          $           155,000.00   84‐207
     96‐99               8326‐58 S Ellis Avenue                                           Estate Property   Melanie T. or Gary M. Gonzales                                                   $              525,525.01       Investor‐Lender          $           100,000.00   96‐207
      115               109 N Laramie Avenue                                              Former Property   Melvin Shurtz                                                                      $                     ‐       Investor‐Lender          $            25,000.00   115‐362
      904                  SSDF4 Legacy Fund                                              Fund              Melvin Shurtz                                                                    $               25,000.00        Equity Investor         $            25,000.00   904‐362
       50                 7760 S Coles Avenue                                             Estate Property   Metro Rural Real Estate Solutions (Tamara Molenaar‐Angelier)                     $               18,253.51       Investor‐Lender          $            70,000.00   50‐743
       51                 1401 W 109th Place                                              Estate Property   Michael and Lyanne Terada                                                        $               73,336.53       Investor‐Lender          $            33,847.00   51‐551
      940                 Colony 4 Investment                                             Fund              Michael and Lyanne Terada                                                        $               66,815.34        Equity Investor         $            60,194.00   54‐551
       64             4611‐17 S Drexel Boulevard                                          Estate Property   Michael Arthur Goldman (also know as Mike Goldman, Michael A. Goldman,           $               80,377.98       Investor‐Lender          $             7,728.00   64‐775
                                                                                                            Michael Goldman)
      79          6160‐6212 S Martin Luther King Drive                                    Estate Property   Michael Arthur Goldman (also know as Mike Goldman, Michael A. Goldman,           $               80,377.98       Investor‐Lender          $            61,860.75   79‐775
                                                                                                            Michael Goldman)
      132               9531 S Fairfield Avenue                                           Former Property   Michael Arthur Goldman (also know as Mike Goldman, Michael A. Goldman,           $               80,377.98       Investor‐Lender          $             5,405.73   132‐775
                                                                                                            Michael Goldman)
      156               4351 S Calumet Avenue                                             Former Property   Michael Arthur Goldman (also know as Mike Goldman, Michael A. Goldman,           $               80,377.98       Investor‐Lender          $            20,239.25   156‐775
                                                                                                            Michael Goldman)
       47                   5437 S Laflin Street                                          Estate Property   Michael Borgia                                                                   $            1,253,784.00       Investor‐Lender          $           250,000.00   47‐231
       78              7201 S Constance Avenue                 1825‐31 E 72nd Street      Estate Property   Michael Borgia                                                                   $            1,253,784.00       Investor‐Lender          $           669,327.00   78‐231
      115                109 N Laramie Avenue                                             Former Property   Michael Borgia                                                                   $            1,253,784.00       Investor‐Lender          $           455,673.00   115‐231
        1               1700‐08 Juneway Terrace                                           Estate Property   Michael Borgia IRA                                                               $              975,416.00       Investor‐Lender          $           125,000.00   1‐705
       73               7255‐57 S Euclid Avenue                1940‐44 E 73rd Street      Estate Property   Michael Borgia IRA                                                               $              975,416.00       Investor‐Lender          $           125,000.00   73‐705
      122             7616‐7624 S Phillips Avenue                                         Former Property   Michael Borgia IRA                                                               $              975,416.00       Investor‐Lender          $           325,000.00   122‐705
      126            5201‐5207 W Washington Blvd                                          Former Property   Michael Borgia IRA                                                               $              975,416.00       Investor‐Lender          $           400,416.00   126‐705
     96‐99                8326‐58 S Ellis Avenue                                          Estate Property   Michael Burns                                                                    $               50,000.00       Investor‐Lender          $            50,000.00   96‐1219
       2               4533‐47 S Calumet Avenue                                           Estate Property   Michael C. Jacobs                                                                $              178,833.00        Equity Investor         $            50,000.00   2‐2031
      67                   1131‐41 E 79th Place                                           Estate Property   Michael C. Jacobs                                                                $              178,833.00        Equity Investor         $            70,000.00   67‐2031
       73               7255‐57 S Euclid Avenue                1940‐44 E 73rd Street      Estate Property   Michael C. Jacobs                                                                $              178,833.00        Equity Investor         $            25,000.00   73‐2031
       78              7201 S Constance Avenue                 1825‐31 E 72nd Street      Estate Property   Michael C. Jacobs                                                                $              178,833.00        Equity Investor         $            25,000.00   78‐2031
      124                6801 S East End Avenue                                           Former Property   Michael C. Jacobs                                                                $              103,666.68       Investor‐Lender          $           100,000.00   124‐2031
        1               1700‐08 Juneway Terrace                                           Estate Property   Michael C. McClane                                                               $               82,277.75       Investor‐Lender                                   1‐941
       90             7656‐58 S Kingston Avenue              2514‐2520 East 77th Street   Estate Property   Michael D More                                                                   $              100,000.00       Investor‐Lender          $           100,000.00   90‐682
      901                         SSDF1                                                   Fund              Michael D More                                                                   $              100,000.00        Equity Investor         $           100,000.00   901‐682
       60               7026‐42 S Cornell Avenue                                          Estate Property   Michael E. Thomas                                                                $               19,000.00       Investor‐Lender          $            50,000.00   60‐2092
        5              7749‐59 S Yates Boulevard                                          Estate Property   Michael F Grant & L. Gretchen Grant (Michael F. Grant & L. Gretchen Grant        $              695,000.00       Investor‐Lender          $            50,000.00   5‐393
                                                                                                            Revocable Trust dated March 16th 2012)
      62                 7834‐44 S Ellis Avenue                                           Estate Property   Michael F Grant & L. Gretchen Grant (Michael F. Grant & L. Gretchen Grant        $              695,000.00       Investor‐Lender          $            50,000.00   62‐393
                                                                                                            Revocable Trust dated March 16th 2012)
      72               7024‐32 S Paxton Avenue                                            Estate Property   Michael F Grant & L. Gretchen Grant (Michael F. Grant & L. Gretchen Grant        $              695,000.00       Investor‐Lender          $            40,000.00   72‐393
                                                                                                            Revocable Trust dated March 16th 2012)
      74                3074 Cheltenham Place                   7836 S Shore Drive        Estate Property   Michael F Grant & L. Gretchen Grant (Michael F. Grant & L. Gretchen Grant        $              695,000.00       Investor‐Lender          $            50,000.00   74‐393
                                                                                                            Revocable Trust dated March 16th 2012)
      81              4317‐19 S Michigan Avenue                                           Estate Property   Michael F Grant & L. Gretchen Grant (Michael F. Grant & L. Gretchen Grant        $              695,000.00       Investor‐Lender          $            50,000.00   81‐393
                                                                                                            Revocable Trust dated March 16th 2012)
      88               7546‐48 S Saginaw Avenue                                           Estate Property   Michael F Grant & L. Gretchen Grant (Michael F. Grant & L. Gretchen Grant        $              695,000.00       Investor‐Lender          $           110,000.00   88‐393
                                                                                                            Revocable Trust dated March 16th 2012)
      89              7600‐10 S Kingston Avenue                2527‐29 E 76th Street      Estate Property   Michael F Grant & L. Gretchen Grant (Michael F. Grant & L. Gretchen Grant        $              695,000.00       Investor‐Lender          $            50,000.00   89‐393
                                                                                                            Revocable Trust dated March 16th 2012)
      92                7748‐52 S Essex Avenue                 2450‐52 E 78th Street      Estate Property   Michael F Grant & L. Gretchen Grant (Michael F. Grant & L. Gretchen Grant        $              695,000.00       Investor‐Lender          $           270,000.00   92‐393
                                                                                                            Revocable Trust dated March 16th 2012)
    13 to 15                     CCF2                                                     Fund              Michael F Grant & L. Gretchen Grant (Michael F. Grant & L. Gretchen Grant        $              695,000.00 Investor‐Lender and Equity     $            50,000.00   13‐393
                                                                                                            Revocable Trust dated March 16th 2012)                                                                              Investor
     96‐99               8326‐58 S Ellis Avenue                                           Estate Property   Michael F Grant & L. Gretchen Grant (Michael F. Grant & L. Gretchen Grant        $              695,000.00      Investor‐Lender           $            35,000.00   96‐393
                                                                                                            Revocable Trust dated March 16th 2012)
       5               7749‐59 S Yates Boulevard                                          Estate Property   Michael Grow                                                                     $              223,996.00 Investor‐Lender and Equity                              5‐375
                                                                                                                                                                                                                                Investor
      67                 1131‐41 E 79th Place                                             Estate Property   Michael Grow                                                                     $              223,996.00 Investor‐Lender and Equity                              67‐375
                                                                                                                                                                                                                                Investor
      124              6801 S East End Avenue                                             Former Property   Michael Hill                                                                     $               85,000.00      Investor‐Lender           $            50,000.00   124‐179
      85             7201‐07 S Dorchester Avenue                1401 E 72nd Street        Estate Property   Michael Hill (Remoni Global Holdings LLC)                                        $               85,000.00      Investor‐Lender           $            35,000.00   85‐179
      54               8000‐02 S Justine Street                 1541 E 80th Street        Estate Property   Michael James Guilford and Nancy Richard‐Guilford, Jointly with Right of         $              310,000.00      Investor‐Lender           $           110,000.00   54‐516
                                                                                                            Survivorship




                                                                                                                                  26
                                                                                                                           Exhibit 5
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                                                                                                                    Case No. 18‐cv‐5587




Property Number            Property Address                    Alternative Address             Type                                      Claimant Name                                  Claimed Amount (Total    Claim Category as Identified   Amount Claimed to be       Claim Number
                                                                                                                                                                                      Claimed Amount in Claim           on Claim Form            Invested in Property
                                                                                                                                                                                      Category as Identified on
                                                                                                                                                                                             Claim Form)
      69                 6250 S Mozart Avenue                 2832‐36 W 63rd Street   Estate Property   Michael James Guilford and Nancy Richard‐Guilford, Jointly with Right of      $               310,000.00       Investor‐Lender          $            50,000.00   69‐516
                                                                                                        Survivorship
      75               7625‐33 S East End Avenue                                      Estate Property   Michael James Guilford and Nancy Richard‐Guilford, Jointly with Right of      $               310,000.00       Investor‐Lender          $            92,561.00   75‐516
                                                                                                        Survivorship
      76               7635‐43 S East End Avenue                                      Estate Property   Michael James Guilford and Nancy Richard‐Guilford, Jointly with Right of      $               310,000.00       Investor‐Lender          $            57,439.00   76‐516
                                                                                                        Survivorship
      64              4611‐17 S Drexel Boulevard                                      Estate Property   Michael Kessock                                                               $                 3,333.33       Investor‐Lender          $           100,000.00   64‐977
      904                        SSDF4                                                Fund              Michael Kessock                                                               $               103,000.00        Equity Investor         $           100,000.00   904‐977
    102‐106              7927‐49 S Essex Avenue                                       Estate Property   Michael Prokop                                                                $                   197.01        Equity Investor         $           150,000.00   102‐787
     96‐99                8326‐58 S Ellis Avenue                                      Estate Property   Michael Prokop                                                                $                   197.01        Equity Investor         $            50,000.00   96‐787
      904                        SSDF4                                                Fund              Michael Schankman                                                             $               112,557.00        Equity Investor         $            50,000.00   904‐2052
       5               7749‐59 S Yates Boulevard                                      Estate Property   Michael Warner, Trustee of Warner Chiropractic Care Center, PC PSP            $               203,254.00       Investor‐Lender          $            24,000.00   5‐78
      79          6160‐6212 S Martin Luther King Drive                                Estate Property   Michael Warner, Trustee of Warner Chiropractic Care Center, PC PSP            $               203,254.00        Equity Investor         $            90,000.00   79‐78
      116          1102 Bingham St, Houston TX 77007                                  Estate Property   Michael Warner, Trustee of Warner Chiropractic Care Center, PC PSP            $               203,254.00       Investor‐Lender          $            54,254.00   116‐78
      904                  SSDF4 Legacy Fund                                          Fund              Michael Warner, Trustee of Warner Chiropractic Care Center, PC PSP            $               203,254.00        Equity Investor         $            54,524.00   904‐78

    13 to 15                     CCF2                                                 Fund              Michael Warner, Trustee of Warner Chiropractic Care Center, PC PSP            $               203,254.00        Equity Investor         $            35,000.00   13‐78
      122             7616‐7624 S Phillips Avenue                                     Former Property   Michigan Shore Apartments, LLC                                                $               435,350.00            Other                                        122‐1485
        4              5450‐52 S Indiana Avenue                 118‐132 E Garfield    Estate Property   MID LLC by Carolyn Mize                                                       $                53,061.25        Equity Investor         $            50,000.00   4‐524
      109              4750‐52 S Indiana Avenue                                       Estate Property   MID LLC by Carolyn Mize                                                       $                53,061.25       Investor‐Lender          $             5,000.00   109‐524
       89             7600‐10 S Kingston Avenue               2527‐29 E 76th Street   Estate Property   Midland IRA, Inc. LLC Custodian FBO, Terry L Merrill, IRA Account # 6820601   $                60,000.00       Investor‐Lender          $            60,000.00   89‐1134

      16                 1017 W 102nd Street                                          Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony    $             1,605,189.95      Institutional Lender                               16‐972
                                                                                                        American Finance 2015‐1, Ltd.
      17                   1516 E 85th Place                                          Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony    $             1,605,189.95      Institutional Lender                               17‐972
                                                                                                        American Finance 2015‐1, Ltd.
      18                  2136 W 83rd Street                                          Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony    $             1,605,189.95      Institutional Lender                               18‐972
                                                                                                        American Finance 2015‐1, Ltd.
      19                  417 Oglesby Avenue                                          Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony    $             1,605,189.95      Institutional Lender                               19‐972
                                                                                                        American Finance 2015‐1, Ltd.
      20                 7922 S Luella Avenue                                         Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony    $             1,605,189.95      Institutional Lender                               20‐972
                                                                                                        American Finance 2015‐1, Ltd.
      21                7925 S Kingston Avenue                                        Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony    $             1,605,189.95      Institutional Lender                               21‐972
                                                                                                        American Finance 2015‐1, Ltd.
      22                7933 S Kingston Avenue                                        Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony    $             1,605,189.95      Institutional Lender                               22‐972
                                                                                                        American Finance 2015‐1, Ltd.
      23               8030 S Marquette Avenue                                        Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony    $             1,605,189.95      Institutional Lender                               23‐972
                                                                                                        American Finance 2015‐1, Ltd.
      24                8104 S Kingston Avenue                                        Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony    $             1,605,189.95      Institutional Lender                               24‐972
                                                                                                        American Finance 2015‐1, Ltd.
      25                8403 S Aberdeen Street                                        Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony    $             1,605,189.95      Institutional Lender                               25‐972
                                                                                                        American Finance 2015‐1, Ltd.
      26               8405 S Marquette Avenue                                        Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony    $             1,605,189.95      Institutional Lender                               26‐972
                                                                                                        American Finance 2015‐1, Ltd.
      27                 8529 S Rhodes Avenue                                         Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony    $             1,605,189.95      Institutional Lender                               27‐972
                                                                                                        American Finance 2015‐1, Ltd.
      28                   8800 S Ada Street                                          Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony    $             1,605,189.95      Institutional Lender                               28‐972
                                                                                                        American Finance 2015‐1, Ltd.
      29                 9212 S Parnell Avenue                                        Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony    $             1,605,189.95      Institutional Lender                               29‐972
                                                                                                        American Finance 2015‐1, Ltd.
      30                10012 S LaSalle Avenue                                        Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony    $             1,924,211.14      Institutional Lender                               30‐1455
                                                                                                        American Finance 2015‐1, Ltd.
      31                 11318 S Church Street                                        Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony    $             1,924,211.14      Institutional Lender                               31‐1455
                                                                                                        American Finance 2015‐1, Ltd.
      32                 3213 S Throop Street                                         Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony    $             1,924,211.14      Institutional Lender                               32‐1455
                                                                                                        American Finance 2015‐1, Ltd.
      33                   3723 W 68th Place                                          Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony    $             1,924,211.14      Institutional Lender                               33‐1455
                                                                                                        American Finance 2015‐1, Ltd.
      34                    406 E 87th Place                                          Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony    $             1,924,211.14      Institutional Lender                               34‐1455
                                                                                                        American Finance 2015‐1, Ltd.
      35                    61 E 92nd Street                                          Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony    $             1,924,211.14      Institutional Lender                               35‐1455
                                                                                                        American Finance 2015‐1, Ltd.
      36                 6554 S Rhodes Avenue                                         Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony    $             1,924,211.14      Institutional Lender                               36‐1455
                                                                                                        American Finance 2015‐1, Ltd.
      37                 6825 S Indiana Avenue                                        Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony    $             1,924,211.14      Institutional Lender                               37‐1455
                                                                                                        American Finance 2015‐1, Ltd.
      38                 7210 S Vernon Avenue                                         Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony    $             1,924,211.14      Institutional Lender                               38‐1455
                                                                                                        American Finance 2015‐1, Ltd.
      39                 7712 S Euclid Avenue                                         Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony    $             1,924,211.14      Institutional Lender                               39‐1455
                                                                                                        American Finance 2015‐1, Ltd.




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                                                                                                                      Exhibit 5
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Property Number         Property Address                   Alternative Address            Type                                      Claimant Name                                        Claimed Amount (Total     Claim Category as Identified   Amount Claimed to be       Claim Number
                                                                                                                                                                                       Claimed Amount in Claim            on Claim Form            Invested in Property
                                                                                                                                                                                        Category as Identified on
                                                                                                                                                                                              Claim Form)
      40            7953 S Woodlawn Avenue                                       Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony          $              1,924,211.14     Institutional Lender                                40‐1455
                                                                                                   American Finance 2015‐1, Ltd.
      41             8107 S Kingston Avenue                                      Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony          $              1,924,211.14     Institutional Lender                                41‐1455
                                                                                                   American Finance 2015‐1, Ltd.
      42            8346 S Constance Avenue                                      Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony          $              1,924,211.14     Institutional Lender                                42‐1455
                                                                                                   American Finance 2015‐1, Ltd.
      43              8432 S Essex Avenue                                        Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony          $              1,924,211.14     Institutional Lender                                43‐1455
                                                                                                   American Finance 2015‐1, Ltd.
      44             8517 S Vernon Avenue                                        Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony          $              1,924,211.14     Institutional Lender                                44‐1455
                                                                                                   American Finance 2015‐1, Ltd.
      45               2129 W 71st Street                                        Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Wilmington      $              1,973,393.52     Institutional Lender                                45‐1464
                                                                                                   Trust, N.A., as Trustee for the Benefit of Corevest American Finance 2017‐1 Trust
                                                                                                   Mortgage Pass‐Through Certificates
      46            9610 S Woodlawn Avenue                                       Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Wilmington      $              1,973,393.52     Institutional Lender                                46‐1464
                                                                                                   Trust, N.A., as Trustee for the Benefit of Corevest American Finance 2017‐1 Trust
                                                                                                   Mortgage Pass‐Through Certificates
      47               5437 S Laflin Street                                      Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Wilmington      $              1,973,393.52     Institutional Lender                                47‐1464
                                                                                                   Trust, N.A., as Trustee for the Benefit of Corevest American Finance 2017‐1 Trust
                                                                                                   Mortgage Pass‐Through Certificates
      48             6759 S Indiana Avenue                                       Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Wilmington      $              1,973,393.52     Institutional Lender                                48‐1464
                                                                                                   Trust, N.A., as Trustee for the Benefit of Corevest American Finance 2017‐1 Trust
                                                                                                   Mortgage Pass‐Through Certificates
      49           7300‐04 St Lawrence Avenue                                    Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Wilmington      $              1,973,393.52     Institutional Lender                                49‐1464
                                                                                                   Trust, N.A., as Trustee for the Benefit of Corevest American Finance 2017‐1 Trust
                                                                                                   Mortgage Pass‐Through Certificates
      50              7760 S Coles Avenue                                        Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Wilmington      $              1,973,393.52     Institutional Lender                                50‐1464
                                                                                                   Trust, N.A., as Trustee for the Benefit of Corevest American Finance 2017‐1 Trust
                                                                                                   Mortgage Pass‐Through Certificates
      51               1401 W 109th Place                                        Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Wilmington      $              3,003,129.41     Institutional Lender                                51‐1466
                                                                                                   Trust, N.A., as Trustee for the Registered Holders of Corevest American Finance
                                                                                                   2017‐2 Trust, Mortgage Pass‐Through Certificates, Series 2017‐2

      52                310 E 50th Street                                        Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Wilmington      $              3,003,129.41     Institutional Lender                                52‐1466
                                                                                                   Trust, N.A., as Trustee for the Registered Holders of Corevest American Finance
                                                                                                   2017‐2 Trust, Mortgage Pass‐Through Certificates, Series 2017‐2

      53             6807 S Indiana Avenue                                       Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Wilmington      $              3,003,129.41     Institutional Lender                                53‐1466
                                                                                                   Trust, N.A., as Trustee for the Registered Holders of Corevest American Finance
                                                                                                   2017‐2 Trust, Mortgage Pass‐Through Certificates, Series 2017‐2

      54             8000‐02 S Justine Street              1541 E 80th Street    Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Wilmington      $              3,003,129.41     Institutional Lender                                54‐1466
                                                                                                   Trust, N.A., as Trustee for the Registered Holders of Corevest American Finance
                                                                                                   2017‐2 Trust, Mortgage Pass‐Through Certificates, Series 2017‐2

      55              8107‐09 S Ellis Avenue                                     Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Wilmington      $              3,003,129.41     Institutional Lender                                55‐1466
                                                                                                   Trust, N.A., as Trustee for the Registered Holders of Corevest American Finance
                                                                                                   2017‐2 Trust, Mortgage Pass‐Through Certificates, Series 2017‐2

      56               8209 S Ellis Avenue                                       Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Wilmington      $              3,003,129.41     Institutional Lender                                56‐1466
                                                                                                   Trust, N.A., as Trustee for the Registered Holders of Corevest American Finance
                                                                                                   2017‐2 Trust, Mortgage Pass‐Through Certificates, Series 2017‐2

      57           8214‐16 S Ingleside Avenue                                    Estate Property   Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Wilmington      $              3,003,129.41     Institutional Lender                                57‐1466
                                                                                                   Trust, N.A., as Trustee for the Registered Holders of Corevest American Finance
                                                                                                   2017‐2 Trust, Mortgage Pass‐Through Certificates, Series 2017‐2

        4            5450‐52 S Indiana Avenue               118‐132 E Garfield   Estate Property   Mike Dirnberger                                                                     $                15,000.00        Investor‐Lender                                   4‐443
       88           7546‐48 S Saginaw Avenue                                     Estate Property   Mike Dirnberger                                                                     $                15,000.00        Investor‐Lender                                   88‐443
      100         11117‐11119 S Longwood Drive                                   Estate Property   Mike M. Cocos                                                                       $               150,000.00         Equity Investor         $            50,000.00   100‐82
      911               Hybrid Capital Fund                                      Fund              Mike M. Cocos                                                                       $               150,000.00         Equity Investor         $            50,000.00   911‐82
    13 to 15                   CCF2                                              Fund              Mike M. Cocos                                                                       $               150,000.00         Equity Investor         $            50,000.00   13‐82
       64           4611‐17 S Drexel Boulevard                                   Estate Property   Minchow, Donald                                                                     $               225,000.00        Investor‐Lender          $            40,000.00   64‐2041
    13 to 15                   CCF2                                              Fund              Minchow, Donald                                                                     $               225,000.00        Investor‐Lender          $            75,000.00   13‐2041
       70             638‐40 N Avers Avenue                                      Estate Property   Minchow, Rochelle                                                                   $               190,000.00        Investor‐Lender          $            30,000.00   70‐2061
    10 to 12                   CCF1                                              Fund              Mitchell Young Trust                                                                $                30,000.00        Investor‐Lender          $            30,000.00   10‐1456
        1            1700‐08 Juneway Terrace                                     Estate Property   Mona M. Leonard SD ROTH ‐ 2692021                                                   $               190,609.00         Equity Investor         $            50,000.00   1‐123
       61           7237‐43 S Bennett Avenue                                     Estate Property   Mona M. Leonard SD ROTH ‐ 2692021                                                   $               190,609.00         Equity Investor         $           200,000.00   61‐123
        8              1414 East 62nd Place                                      Estate Property   Moran Blueshtein and Upender Subramanian                                            $               146,857.18        Investor‐Lender          $            30,188.00   8‐95
        4            5450‐52 S Indiana Avenue               118‐132 E Garfield   Estate Property   Moran Blueshtein and Upender Subramanian                                            $               146,857.18        Investor‐Lender          $            20,000.00   4‐95
       68          6217‐27 S Dorchester Avenue                                   Estate Property   Moran Blueshtein and Upender Subramanian                                            $               146,857.18        Investor‐Lender          $            30,188.00   68‐95




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                                                                                                                            Exhibit 5
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Property Number            Property Address                   Alternative Address               Type                                     Claimant Name                                Claimed Amount (Total     Claim Category as Identified Amount Claimed to be          Claim Number
                                                                                                                                                                                     Claimed Amount in Claim           on Claim Form           Invested in Property
                                                                                                                                                                                     Category as Identified on
                                                                                                                                                                                           Claim Form)
       79         6160‐6212 S Martin Luther King Drive                                 Estate Property   Moran Blueshtein and Upender Subramanian                                   $                146,857.18       Investor‐Lender        $               46,000.00   79‐95
      904                       SSDF4                                                  Fund              Moran Blueshtein and Upender Subramanian                                   $                100,000.00        Equity Investor       $             100,000.00    904‐95
    13 to 15                     CCF2                                                  Fund              Moran Blueshtein and Upender Subramanian                                   $                146,857.18       Investor‐Lender        $               50,000.00   13‐95
        4              5450‐52 S Indiana Avenue                118‐132 E Garfield      Estate Property   Mountain West LLC IRA FBO Rachael B. Curcio Acct# 50679‐01                 $                159,000.00       Investor‐Lender        $               10,000.00   4‐315
       79         6160‐6212 S Martin Luther King Drive                                 Estate Property   Mountain West LLC IRA FBO Rachael B. Curcio Acct# 50679‐01                 $                159,000.00       Investor‐Lender        $                7,000.00   79‐315
       82              6355‐59 S Talman Avenue               2616‐22 W 64th Street     Estate Property   Mountain West LLC IRA FBO Rachael B. Curcio Acct# 50679‐01                 $                159,000.00       Investor‐Lender        $               50,000.00   82‐315
      100           11117‐11119 S Longwood Drive                                       Estate Property   Mountain West LLC IRA FBO Rachael B. Curcio Acct# 50679‐01                 $                159,000.00       Investor‐Lender        $               92,000.00   100‐315
      904                       SSDF4                                                  Fund              MTASS Realty LLC                                                           $                349,521.00        Equity Investor       $             349,521.00    904‐363
      124               6801 S East End Avenue                                         Former Property   Mudlic Properties LLC                                                      $                207,194.24 Other (property owner;       $             674,377.90    124‐2076
                                                                                                                                                                                                                         mortgagor)
      904                        SSDF4                                                 Fund              Nancy A Markwalter                                                         $                 25,000.00        Equity Investor       $               25,000.00   904‐1143
        3               5001 S Drexel Boulevard                909 E 50th Street       Estate Property   Nancy Cree (Cree Capital Ventures)                                         $                300,000.00        Equity Investor       $             300,000.00    3‐2014
        6             6437‐41 S Kenwood Avenue                                         Estate Property   Nancy Cree (Cree Capital Ventures)                                         $                725,000.00       Investor‐Lender        $             250,000.00    6‐2014
       68            6217‐27 S Dorchester Avenue                                       Estate Property   Nancy Cree (Cree Capital Ventures)                                         $                725,000.00       Investor‐Lender        $             225,000.00    68‐2014
      100           11117‐11119 S Longwood Drive                                       Estate Property   Nancy Cree (Cree Capital Ventures)                                         $                725,000.00       Investor‐Lender        $             250,000.00    100‐2014
       67                 1131‐41 E 79th Place                                         Estate Property   Nancy Fillmore                                                             $                 90,974.27       Investor‐Lender                                    67‐2022
      100           11117‐11119 S Longwood Drive                                       Estate Property   Nancy Fillmore                                                             $                 90,974.27       Investor‐Lender                                    100‐2022
    13 to 15                      CCF2                                                 Fund              Nancy Fillmore                                                             $                 90,974.27       Investor‐Lender        $               25,000.00   13‐2022
       79         6160‐6212 S Martin Luther King Drive                                 Estate Property   Nandini S Chennappan                                                       $                 10,000.00       Investor‐Lender        $               10,000.00   79‐1270
       67                 1131‐41 E 79th Place                                         Estate Property   Narine Nebel                                                               $                 62,256.25       Investor‐Lender        $               50,000.00   67‐351
    13 to 15                      CCF2                                                 Fund              Narine Nebel                                                               $                 62,256.25       Investor‐Lender        $               15,000.00   13‐351
       63             4520‐26 S Drexel Boulevard                                       Estate Property   Natalie T. Scheuller                                                       $                 85,400.00        Equity Investor       $               85,000.00   63‐358
       68            6217‐27 S Dorchester Avenue                                       Estate Property   Nathan and Brandi Hennefer                                                 $                 25,000.00       Investor‐Lender        $               25,000.00   68‐742
     96‐99               8326‐58 S Ellis Avenue                                        Estate Property   Nathan Hennefer                                                            $                 44,000.00       Investor‐Lender        $               44,000.00   96‐754
        5              7749‐59 S Yates Boulevard                                       Estate Property   Naveen Kwatra                                                              $                 75,000.00       Investor‐Lender        $               25,000.00   5‐356
       71                 701‐13 S 5th Avenue                     414 Walnut           Estate Property   Naveen Kwatra                                                              $                 75,000.00       Investor‐Lender        $               50,000.00   71‐356
        4              5450‐52 S Indiana Avenue                118‐132 E Garfield      Estate Property   Nehasri Ltd ( investment under Nehasri Ltd by Manoj Donthineni)            $                252,907.00       Investor‐Lender        $               25,000.00   4‐1365
       71                 701‐13 S 5th Avenue                     414 Walnut           Estate Property   Nehasri Ltd ( investment under Nehasri Ltd by Manoj Donthineni)            $                252,907.00       Investor‐Lender        $               50,000.00   71‐1365
       79         6160‐6212 S Martin Luther King Drive                                 Estate Property   Nehasri Ltd ( investment under Nehasri Ltd by Manoj Donthineni)            $                252,907.00       Investor‐Lender        $               50,000.00   79‐1365
       89             7600‐10 S Kingston Avenue              2527‐29 E 76th Street     Estate Property   Nehasri Ltd ( investment under Nehasri Ltd by Manoj Donthineni)            $                252,907.00       Investor‐Lender        $               52,907.00   89‐1365
       92               7748‐52 S Essex Avenue               2450‐52 E 78th Street     Estate Property   Nehasri Ltd ( investment under Nehasri Ltd by Manoj Donthineni)            $                252,907.00       Investor‐Lender        $               25,000.00   92‐1365
    13 to 15                      CCF2                                                 Fund              Nehasri Ltd ( investment under Nehasri Ltd by Manoj Donthineni)            $                252,907.00 Investor‐Lender and Equity $                 50,000.00   13‐1365
                                                                                                                                                                                                                          Investor
       2               4533‐47 S Calumet Avenue                                        Estate Property   Neil R Martin                                                              $                 20,991.00        Equity Investor       $               20,000.00   2‐1253
       9                  8100 S Essex Avenue               2449‐57 East 81st Street   Estate Property   Neil R Martin                                                              $                 20,991.00        Equity Investor                                   9‐1253
      904                  SSDF4 Legacy Fund                                           Fund              Nerses Abramyan                                                            $                 25,000.00        Equity Investor       $               25,000.00   904‐114
      79          6160‐6212 S Martin Luther King Drive                                 Estate Property   New Direction IRA, Inc. FBO Ingrid Beyer, Roth IRA                         $                 25,865.84       Investor‐Lender        $               25,000.00   79‐437
      59             6001‐05 S Sacramento Avenue             2945‐51 W 60th Street     Estate Property   New Direction IRA, Inc. FBO Joel Beyer, Roth IRA                           $                103,990.94       Investor‐Lender        $               16,000.00   59‐969
      70                 638‐40 N Avers Avenue                                         Estate Property   New Direction IRA, Inc. FBO Joel Beyer, Roth IRA                           $                103,990.94       Investor‐Lender        $               85,000.00   70‐969
       2               4533‐47 S Calumet Avenue                                        Estate Property   New Move Ventures Inc. (Steven Fecko)                                      $                120,000.00       Investor‐Lender        $               70,000.00   2‐115
      74                 3074 Cheltenham Place                7836 S Shore Drive       Estate Property   New Move Ventures Inc. (Steven Fecko)                                      $                120,000.00       Investor‐Lender        $               50,000.00   74‐115
      60                7026‐42 S Cornell Avenue                                       Estate Property   Next Generation Trust Company FBO Irene B. Kapsky FFBO Mark S Kapsky IRA   $                 23,000.00       Investor‐Lender        $               13,000.00   60‐1166
                                                                                                         3207
      68             6217‐27 S Dorchester Avenue                                       Estate Property   Next Generation Trust Company FBO Irene B. Kapsky FFBO Mark S Kapsky IRA   $                 23,000.00       Investor‐Lender         $             10,000.00    68‐1166
                                                                                                         3207
      60               7026‐42 S Cornell Avenue                                        Estate Property   Next Generation Trust Company FBO Mark Kapsky IRA 2396                     $                 42,000.00       Investor‐Lender         $              2,000.00    60‐1157
      68             6217‐27 S Dorchester Avenue                                       Estate Property   Next Generation Trust Company FBO Mark Kapsky IRA 2396                     $                 42,000.00       Investor‐Lender                                    68‐1157
      60               7026‐42 S Cornell Avenue                                        Estate Property   Next Generation Trust Company FBO Mark Steven Kapsky Roth IRA 2702         $                 35,000.00       Investor‐Lender         $             25,000.00    60‐1169
      901                       SSDF1                                                  Fund              NEXT GENERATION TS FBO ELAINE SISON ERNST IRA 2410                         $                335,000.00        Equity Investor        $            100,000.00    901‐1030
      904                 SSDF4 Legacy Fund                                            Fund              NEXT GENERATION TS FBO ELAINE SISON ERNST IRA 2410                         $                335,000.00        Equity Investor        $            235,000.00    904‐1030

       70               638‐40 N Avers Avenue                                          Estate Property   Nicolas and Joyce Jenks                                                    $                155,249.47       Investor‐Lender         $             50,000.00    70‐2032
       83              6356 S California Avenue               2804 W 64th Street       Estate Property   Nicolas and Joyce Jenks                                                    $                155,249.47       Investor‐Lender         $             25,000.00    83‐2032
       85            7201‐07 S Dorchester Avenue              1401 E 72nd Street       Estate Property   Nicolas and Joyce Jenks                                                    $                155,249.47       Investor‐Lender         $             50,000.00    85‐2032
     96‐99              8326‐58 S Ellis Avenue                                         Estate Property   Nicolas and Joyce Jenks                                                    $                155,249.47       Investor‐Lender         $             25,000.00    96‐2032
    10 to 12                    CCF1                                                   Fund              Nisha Gupta 401(K) Profit Sharing Plan & Trust                             $                 92,000.00       Investor‐Lender         $             75,000.00    10‐1312
    13 to 15                    CCF2                                                   Fund              Nisha Gupta 401(K) Profit Sharing Plan & Trust                             $                 36,604.64       Investor‐Lender         $             29,500.00    13‐1317
    10 to 12                    CCF1                                                   Fund              Nisha Gupta Defined Benefit Plan and Trust                                 $                214,666.61       Investor‐Lender         $            175,000.00    10‐1311
    13 to 15                    CCF2                                                   Fund              Nisha Gupta Defined Benefit Plan and Trust                                 $                 99,887.14       Investor‐Lender         $             80,500.00    13‐1307
       83              6356 S California Avenue               2804 W 64th Street       Estate Property   OAK BARREL ONE, LLC (TED GUILLEN)                                          $                 20,038.00       Investor‐Lender         $             20,038.00    83‐488
    102‐106            7927‐49 S Essex Avenue                                          Estate Property   OE Holdings LLC                                                            $                 30,000.00       Investor‐Lender         $             30,000.00    102‐852
        2             4533‐47 S Calumet Avenue                                         Estate Property   Optima Property Solutions, LLC                                             $                487,209.71       Investor‐Lender         $             70,000.00    2‐1023
        4             5450‐52 S Indiana Avenue                 118‐132 E Garfield      Estate Property   Optima Property Solutions, LLC                                             $                487,209.71       Investor‐Lender         $            170,000.00    4‐1023




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                                                                                                                         Exhibit 5
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Property Number            Property Address                   Alternative Address             Type                                    Claimant Name             Claimed Amount (Total     Claim Category as Identified Amount Claimed to be          Claim Number
                                                                                                                                                               Claimed Amount in Claim           on Claim Form           Invested in Property
                                                                                                                                                               Category as Identified on
                                                                                                                                                                     Claim Form)
        5              7749‐59 S Yates Boulevard                                     Estate Property   Optima Property Solutions, LLC                         $                487,209.71       Investor‐Lender        $             100,000.00    5‐1023
        6             6437‐41 S Kenwood Avenue                                       Estate Property   Optima Property Solutions, LLC                         $                487,209.71       Investor‐Lender        $               30,000.00   6‐1023
        7              7109‐19 S Calumet Avenue                                      Estate Property   Optima Property Solutions, LLC                         $                487,209.71       Investor‐Lender        $             200,000.00    7‐1023
       60               7026‐42 S Cornell Avenue                                     Estate Property   Optima Property Solutions, LLC                         $                487,209.71       Investor‐Lender        $             165,000.00    60‐1023
       61              7237‐43 S Bennett Avenue                                      Estate Property   Optima Property Solutions, LLC                         $                487,209.71       Investor‐Lender        $               65,000.00   61‐1023
       62                 7834‐44 S Ellis Avenue                                     Estate Property   Optima Property Solutions, LLC                         $                487,209.71       Investor‐Lender        $             250,000.00    62‐1023
       64             4611‐17 S Drexel Boulevard                                     Estate Property   Optima Property Solutions, LLC                         $                487,209.71       Investor‐Lender        $             105,831.00    64‐1023
       68            6217‐27 S Dorchester Avenue                                     Estate Property   Optima Property Solutions, LLC                         $                487,209.71       Investor‐Lender        $               20,000.00   68‐1023
       70                638‐40 N Avers Avenue                                       Estate Property   Optima Property Solutions, LLC                         $                487,209.71       Investor‐Lender        $             250,000.00    70‐1023
       74                3074 Cheltenham Place                7836 S Shore Drive     Estate Property   Optima Property Solutions, LLC                         $                487,209.71       Investor‐Lender        $               60,000.00   74‐1023
       85            7201‐07 S Dorchester Avenue              1401 E 72nd Street     Estate Property   Optima Property Solutions, LLC                         $                487,209.71       Investor‐Lender        $               77,500.00   85‐1023
      901                        SSDF1                                               Fund              Optima Property Solutions, LLC                         $                856,284.00        Equity Investor       $             856,284.00    901‐1023
     96‐99                8326‐58 S Ellis Avenue                                     Estate Property   Optima Property Solutions, LLC                         $                487,209.71       Investor‐Lender        $               50,000.00   96‐1023
    13 to 15                      CCF2                                               Fund              Overhead Solutions Inc (Paul Collins)                  $                 50,000.00        Equity Investor       $               50,000.00   13‐133
       68            6217‐27 S Dorchester Avenue                                     Estate Property   Pacific Ocean Services Inc                             $                175,000.00       Investor‐Lender        $             150,000.00    68‐1256
    102‐106              7927‐49 S Essex Avenue                                      Estate Property   Pacific Ocean Services Inc                             $                175,000.00       Investor‐Lender        $             150,000.00    102‐1256
        7              7109‐19 S Calumet Avenue                                      Estate Property   Pankaj Patel BDA EZ NJ VENTURES, LLC.                  $                223,000.00       Investor‐Lender        $               50,000.00   7‐920
       79         6160‐6212 S Martin Luther King Drive                               Estate Property   Pankaj Patel BDA EZ NJ VENTURES, LLC.                  $                223,000.00       Investor‐Lender        $               50,000.00   79‐920
      111                6558 S Vernon Avenue                 416‐24 E 66th Street   Estate Property   Pankaj Patel BDA EZ NJ VENTURES, LLC.                  $                223,000.00       Investor‐Lender        $               50,000.00   111‐920
      123              7107‐29 S Bennett Avenue                                      Former Property   Pankaj Patel BDA EZ NJ VENTURES, LLC.                  $                223,000.00       Investor‐Lender        $               50,000.00   123‐920
      155               Campo‐Mar, Puerto Rico                                       Former Property   Pankaj Patel BDA EZ NJ VENTURES, LLC.                  $                223,000.00       Investor‐Lender        $               50,000.00   155‐920
      124                6801 S East End Avenue                                      Former Property   Paper Street Realty LLC d/b/a Rent Ready Apartments    $                135,847.03    Other (Mechanics Lien                                 124‐1206
                                                                                                                                                                                                    Claimant
       52                  310 E 50th Street                                         Estate Property   Paper Street Realty LLC DBA Rent Ready Apartments      $                234,139.18        Trade Creditor        $               49,600.68   52‐1206
       56                 8209 S Ellis Avenue                                        Estate Property   Paper Street Realty LLC DBA Rent Ready Apartments      $                234,139.18        Trade Creditor        $                2,740.00   56‐1206
       57             8214‐16 S Ingleside Avenue                                     Estate Property   Paper Street Realty LLC DBA Rent Ready Apartments      $                234,139.18        Trade Creditor        $               18,986.00   57‐1206
       61              7237‐43 S Bennett Avenue                                      Estate Property   Paper Street Realty LLC DBA Rent Ready Apartments      $                234,139.18        Trade Creditor        $             162,812.50    61‐1206
      124               6801 S East End Avenue                                       Former Property   Pat DeSantis                                           $              2,684,539.00       Investor‐Lender        $             328,561.00    124‐397
        5              7749‐59 S Yates Boulevard                                     Estate Property   Pat DeSantis                                           $              2,684,539.00       Investor‐Lender        $             250,000.00    5‐397
       61              7237‐43 S Bennett Avenue                                      Estate Property   Pat DeSantis                                           $              2,684,539.00       Investor‐Lender        $             100,000.00    61‐397
       62                7834‐44 S Ellis Avenue                                      Estate Property   Pat DeSantis                                           $              2,684,539.00       Investor‐Lender        $             250,000.00    62‐397
       64             4611‐17 S Drexel Boulevard                                     Estate Property   Pat DeSantis                                           $              2,684,539.00       Investor‐Lender        $             250,000.00    64‐397
       68            6217‐27 S Dorchester Avenue                                     Estate Property   Pat DeSantis                                           $              2,684,539.00       Investor‐Lender        $             250,000.00    68‐397
       69                6250 S Mozart Avenue                2832‐36 W 63rd Street   Estate Property   Pat DeSantis                                           $              2,684,539.00       Investor‐Lender        $             110,000.00    69‐397
       70               638‐40 N Avers Avenue                                        Estate Property   Pat DeSantis                                           $              2,684,539.00       Investor‐Lender        $             250,000.00    70‐397
       72              7024‐32 S Paxton Avenue                                       Estate Property   Pat DeSantis                                           $              2,684,539.00       Investor‐Lender        $             250,000.00    72‐397
       74               3074 Cheltenham Place                 7836 S Shore Drive     Estate Property   Pat DeSantis                                           $              2,684,539.00       Investor‐Lender        $             110,000.00    74‐397
       78              7201 S Constance Avenue               1825‐31 E 72nd Street   Estate Property   Pat DeSantis                                           $              2,684,539.00       Investor‐Lender        $             171,439.00    78‐397
       79         6160‐6212 S Martin Luther King Drive                               Estate Property   Pat DeSantis                                           $              2,684,539.00       Investor‐Lender        $             250,000.00    79‐397
       82              6355‐59 S Talman Avenue               2616‐22 W 64th Street   Estate Property   Pat DeSantis                                           $              2,684,539.00       Investor‐Lender        $             110,000.00    82‐397
       85            7201‐07 S Dorchester Avenue               1401 E 72nd Street    Estate Property   Pat DeSantis                                           $              2,684,539.00       Investor‐Lender        $             110,000.00    85‐397
       94              816‐20 E Marquette Road                                       Estate Property   Pat DeSantis                                           $              2,684,539.00       Investor‐Lender        $             100,000.00    94‐397
    13 to 15                     CCF2                                                Fund              Pat DeSantis                                           $              2,684,539.00        Equity Investor       $             500,000.00    13‐397
     96‐99               8326‐58 S Ellis Avenue                                      Estate Property   Pat DeSantis                                           $              2,684,539.00       Investor‐Lender        $             250,000.00    96‐397
      123              7107‐29 S Bennett Avenue                                      Former Property   Patricia A Brown                                       $                 84,631.88       Investor‐Lender        $             100,000.00    123‐1237
      100           11117‐11119 S Longwood Drive                                     Estate Property   Patricia E Gomes (Ravin3 LLC / Longwood11117, LLC)     $                405,333.28       Investor‐Lender        $             400,000.00    100‐1400
    102‐106             7927‐49 S Essex Avenue                                       Estate Property   Patricia Guillen                                       $                 50,000.00 Investor‐Lender and Equity $                 50,000.00   102‐463
                                                                                                                                                                                                    Investor
      62                 7834‐44 S Ellis Avenue                                      Estate Property   Patricia J Theil and Samuel D Theil                    $                 26,429.55       Investor‐Lender        $               25,211.00   62‐1045
      62                 7834‐44 S Ellis Avenue                                      Estate Property   Patricia J Theil C/F Jacqueline M Theil                $                 62,062.58       Investor‐Lender        $               49,165.00   62‐923
      79          6160‐6212 S Martin Luther King Drive                               Estate Property   Patricia J Theil C/F Jacqueline M Theil                $                 62,062.58       Investor‐Lender        $               11,257.00   79‐923
      67                  1131‐41 E 79th Place                                       Estate Property   Patricia M. McCorry, Manager McCorry Real Estate LLC   $                 51,250.00        Equity Investor       $               50,000.00   67‐997
     13‐15               2909‐19 E 78th Street                                       Fund              Patricia M. McCorry, Manager McCorry Real Estate LLC   $                 25,708.34       Investor‐Lender        $               25,000.00   13‐997
                        7549‐59 S Essex Avenue
                      8047‐55 S Manistee Avenue
       1               1700‐08 Juneway Terrace                                       Estate Property   Patrick Connely                                        $                 50,000.00       Investor‐Lender         $             50,000.00    1‐939
       5               7749‐59 S Yates Boulevard                                     Estate Property   Patrick Connely                                        $                 20,000.00       Investor‐Lender         $             20,000.00    5‐964
       64             4611‐17 S Drexel Boulevard                                     Estate Property   Patrick Connely                                        $                 30,000.00       Investor‐Lender         $             30,000.00    64‐577
      901                        SSDF1                                               Fund              Patrick Connely                                        $                 50,000.00        Equity Investor        $             50,000.00    901‐939
      904                        SSDF4                                               Fund              Patrick Connely                                        $                 20,000.00        Equity Investor        $             20,000.00    904‐964
      904                        SSDF4                                               Fund              PATRICK SHEEHAN                                        $                 90,125.00        Equity Investor        $             50,000.00    904‐783
      911                  Hybrid Capital Fund                                       Fund              PATRICK SHEEHAN                                        $                 90,125.00        Equity Investor        $             40,125.00    911‐783
      62                 7834‐44 S Ellis Avenue                                      Estate Property   Paul Franklin                                          $                 25,000.00       Investor‐Lender         $             24,420.00    62‐1231




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                                                                                                                         Exhibit 5
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                                                                                                                   Case No. 18‐cv‐5587




Property Number            Property Address                   Alternative Address             Type                                     Claimant Name                              Claimed Amount (Total      Claim Category as Identified   Amount Claimed to be       Claim Number
                                                                                                                                                                                 Claimed Amount in Claim            on Claim Form            Invested in Property
                                                                                                                                                                                 Category as Identified on
                                                                                                                                                                                       Claim Form)
      131               4108 N Monticello Avenue                                     Former Property   Paul Franklin                                                            $                 25,000.00        Investor‐Lender          $            25,000.00   131‐1231
        4               5450‐52 S Indiana Avenue               118‐132 E Garfield    Estate Property   Paul Harrison                                                            $                420,331.59        Investor‐Lender          $            43,098.00   4‐2026
       81              4317‐19 S Michigan Avenue                                     Estate Property   Paul Harrison                                                            $                420,331.59        Investor‐Lender          $           152,771.00   81‐2026
       86              7442‐48 S Calumet Avenue                                      Estate Property   Paul Harrison                                                            $                420,331.59        Investor‐Lender          $           124,329.00   86‐2026
    102‐106              7927‐49 S Essex Avenue                                      Estate Property   Paul Harrison                                                            $                420,331.59        Investor‐Lender          $            63,694.00   102‐2026
     96‐99                8326‐58 S Ellis Avenue                                     Estate Property   Paul Harrison                                                            $                420,331.59        Investor‐Lender          $            25,000.00   96‐2026
        1               1700‐08 Juneway Terrace                                      Estate Property   Paul N. Wilmesmeier                                                      $                790,185.00        Investor‐Lender          $            25,000.00   1‐300
        2              4533‐47 S Calumet Avenue                                      Estate Property   Paul N. Wilmesmeier                                                      $                790,185.00        Investor‐Lender          $            25,000.00   2‐300
        4               5450‐52 S Indiana Avenue               118‐132 E Garfield    Estate Property   Paul N. Wilmesmeier                                                      $                790,185.00        Investor‐Lender          $            25,000.00   4‐300
       49             7300‐04 St Lawrence Avenue                                     Estate Property   Paul N. Wilmesmeier                                                      $                790,185.00        Investor‐Lender          $            25,000.00   49‐300
       60               7026‐42 S Cornell Avenue                                     Estate Property   Paul N. Wilmesmeier                                                      $                790,185.00        Investor‐Lender          $            25,000.00   60‐300
       64              4611‐17 S Drexel Boulevard                                    Estate Property   Paul N. Wilmesmeier                                                      $                790,185.00        Investor‐Lender          $            25,000.00   64‐300
       68            6217‐27 S Dorchester Avenue                                     Estate Property   Paul N. Wilmesmeier                                                      $                790,185.00        Investor‐Lender          $            50,000.00   68‐300
       70                 638‐40 N Avers Avenue                                      Estate Property   Paul N. Wilmesmeier                                                      $                790,185.00        Investor‐Lender          $            50,000.00   70‐300
       73                7255‐57 S Euclid Avenue             1940‐44 E 73rd Street   Estate Property   Paul N. Wilmesmeier                                                      $                790,185.00        Investor‐Lender          $            25,000.00   73‐300
       74                3074 Cheltenham Place                7836 S Shore Drive     Estate Property   Paul N. Wilmesmeier                                                      $                790,185.00        Investor‐Lender          $            25,000.00   74‐300
       76              7635‐43 S East End Avenue                                     Estate Property   Paul N. Wilmesmeier                                                      $                790,185.00        Investor‐Lender          $            50,000.00   76‐300
       77             7750‐58 S Muskegon Avenue              2818‐36 E 78th Street   Estate Property   Paul N. Wilmesmeier                                                      $                790,185.00        Investor‐Lender          $            50,000.00   77‐300
       79         6160‐6212 S Martin Luther King Drive                               Estate Property   Paul N. Wilmesmeier                                                      $                790,185.00        Investor‐Lender          $            25,000.00   79‐300
       81              4317‐19 S Michigan Avenue                                     Estate Property   Paul N. Wilmesmeier                                                      $                790,185.00        Investor‐Lender          $            25,000.00   81‐300
       85            7201‐07 S Dorchester Avenue              1401 E 72nd Street     Estate Property   Paul N. Wilmesmeier                                                      $                790,185.00        Investor‐Lender          $            25,000.00   85‐300
       88              7546‐48 S Saginaw Avenue                                      Estate Property   Paul N. Wilmesmeier                                                      $                790,185.00        Investor‐Lender          $            75,000.00   88‐300
       89              7600‐10 S Kingston Avenue             2527‐29 E 76th Street   Estate Property   Paul N. Wilmesmeier                                                      $                790,185.00        Investor‐Lender          $            25,000.00   89‐300
       92                7748‐52 S Essex Avenue              2450‐52 E 78th Street   Estate Property   Paul N. Wilmesmeier                                                      $                790,185.00        Investor‐Lender          $            75,000.00   92‐300
       94               816‐20 E Marquette Road                                      Estate Property   Paul N. Wilmesmeier                                                      $                790,185.00        Investor‐Lender          $            25,185.00   94‐300
      100           11117‐11119 S Longwood Drive                                     Estate Property   Paul N. Wilmesmeier                                                      $                790,185.00        Investor‐Lender          $            15,000.00   100‐300
      111                 6558 S Vernon Avenue                416‐24 E 66th Street   Estate Property   Paul N. Wilmesmeier                                                      $                790,185.00        Investor‐Lender          $            50,000.00   111‐300
    10 to 12                       CCF1                                              Fund              Paul N. Wilmesmeier                                                      $                790,185.00        Investor‐Lender          $            25,000.00   10‐300
    102‐106              7927‐49 S Essex Avenue                                      Estate Property   Paul N. Wilmesmeier                                                      $                790,185.00        Investor‐Lender          $            75,000.00   102‐300
    13 to 15                       CCF2                                              Fund              Paul N. Wilmesmeier                                                      $                790,185.00        Investor‐Lender          $            25,000.00   13‐300
     96‐99                8326‐58 S Ellis Avenue                                     Estate Property   Paul N. Wilmesmeier                                                      $                790,185.00        Investor‐Lender          $            50,000.00   96‐300
        1               1700‐08 Juneway Terrace                                      Estate Property   Paul S. Applefield, Trustee, Paul S. Applefield, DDS, 401k Plan          $                106,000.00        Investor‐Lender          $            45,000.00   1‐2087
       80                 2736‐44 W 64th Street                                      Estate Property   Paul S. Applefield, Trustee, Paul S. Applefield, DDS, 401k Plan          $                106,000.00        Investor‐Lender          $            30,000.00   80‐2087
       92                7748‐52 S Essex Avenue              2450‐52 E 78th Street   Estate Property   Paul S. Applefield, Trustee, Paul S. Applefield, DDS, 401k Plan          $                106,000.00        Investor‐Lender          $            20,000.00   92‐2087
      100           11117‐11119 S Longwood Drive                                     Estate Property   Paul S. Applefield, Trustee, Paul S. Applefield, DDS, 401k Plan          $                106,000.00        Investor‐Lender          $            11,000.00   100‐2087
        5               7749‐59 S Yates Boulevard                                    Estate Property   Paul Scribner                                                            $                200,000.00        Investor‐Lender          $             5,500.00   5‐1135
        6             6437‐41 S Kenwood Avenue                                       Estate Property   Paul Scribner                                                            $                200,000.00        Investor‐Lender          $            50,000.00   6‐1135
       61              7237‐43 S Bennett Avenue                                      Estate Property   Paul Scribner                                                            $                200,000.00        Investor‐Lender          $            50,000.00   61‐1135
       70                 638‐40 N Avers Avenue                                      Estate Property   Paul Scribner                                                            $                200,000.00        Investor‐Lender          $            16,826.00   70‐1135
       77             7750‐58 S Muskegon Avenue              2818‐36 E 78th Street   Estate Property   Paul Scribner                                                            $                200,000.00        Investor‐Lender          $             6,708.00   77‐1135
       83                6356 S California Avenue             2804 W 64th Street     Estate Property   Paul Scribner                                                            $                200,000.00        Investor‐Lender          $             7,910.00   83‐1135
       84                 7051 S Bennett Avenue                                      Estate Property   Paul Scribner                                                            $                200,000.00        Investor‐Lender          $            50,000.00   84‐1135
       92                7748‐52 S Essex Avenue              2450‐52 E 78th Street   Estate Property   Paul Scribner                                                            $                200,000.00        Investor‐Lender          $             7,000.00   92‐1135
       64              4611‐17 S Drexel Boulevard                                    Estate Property   Paula Tucker                                                             $                 40,000.00        Investor‐Lender          $            40,000.00   64‐1427
      122             7616‐7624 S Phillips Avenue                                    Former Property   Paule M Nagy                                                             $                 50,000.00        Investor‐Lender          $            50,000.00   122‐757
       76              7635‐43 S East End Avenue                                     Estate Property   Penny W Goree                                                            $                 36,000.00         Equity Investor         $            50,000.00   76‐236
     96‐99                8326‐58 S Ellis Avenue                                     Estate Property   Pensco Trust Company Custodian FBO Kathleen A Robinson                   $                 15,405.00        Investor‐Lender          $            12,500.00   96‐1435
        5               7749‐59 S Yates Boulevard                                    Estate Property   Peter Jordan                                                             $                153,456.56        Investor‐Lender          $            76,728.28   5‐282
       68            6217‐27 S Dorchester Avenue                                     Estate Property   Peter Jordan                                                             $                153,456.56        Investor‐Lender          $            76,728.28   68‐282
      140                4528 S Michigan Avenue                                      Former Property   Peter (Pierre) Henri Gelinas                                             $                 26,499.94        Investor‐Lender          $            25,000.00   140‐1385
     96‐99                8326‐58 S Ellis Avenue                                     Estate Property   Peter (Pierre) Henri Gelinas                                             $                 26,499.94        Investor‐Lender          $            12,847.46   96‐1385
      906                       SSDF6, LLC                                           Fund              Peter Flanagan (IRA Services Trust Co. CFBO: Peter Flanagan IRA176308)   $                 50,000.00         Equity Investor         $            50,000.00   906‐1020
    102‐106              7927‐49 S Essex Avenue                                      Estate Property   Peter Schonberger                                                        $                 30,000.00         Equity Investor         $            30,000.00   102‐703
      901                         SSDF1                                              Fund              Peters, David (The Dominquez‐Peters Living Turst)                        $                 50,000.00        Investor‐Lender          $            50,000.00   901‐2045
        4               5450‐52 S Indiana Avenue               118‐132 E Garfield    Estate Property   Petra Zoeller                                                            $                546,619.00        Investor‐Lender          $            50,000.00   4‐594
       68            6217‐27 S Dorchester Avenue                                     Estate Property   Petra Zoeller                                                            $                546,619.00        Investor‐Lender          $           100,000.00   68‐594
       88              7546‐48 S Saginaw Avenue                                      Estate Property   Petra Zoeller                                                            $                546,619.00        Investor‐Lender          $            50,000.00   88‐594
       92                7748‐52 S Essex Avenue              2450‐52 E 78th Street   Estate Property   Petra Zoeller                                                            $                546,619.00        Investor‐Lender          $            70,000.00   92‐594
       94               816‐20 E Marquette Road                                      Estate Property   Petra Zoeller                                                            $                546,619.00        Investor‐Lender          $            30,000.00   94‐594
      100           11117‐11119 S Longwood Drive                                     Estate Property   Petra Zoeller                                                            $                546,619.00        Investor‐Lender          $           199,000.00   100‐594
    13 to 15                       CCF2                                              Fund              Petra Zoeller                                                            $                546,619.00        Investor‐Lender          $            35,000.00   13‐594
       59            6001‐05 S Sacramento Avenue             2945‐51 W 60th Street   Estate Property   PFFR TRUST (Garrett Miller)                                              $                   5,299.00       Investor‐Lender          $             5,299.00   59‐1284




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                                                                                                                           Exhibit 5
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                                                                                                                     Case No. 18‐cv‐5587




Property Number            Property Address                   Alternative Address               Type                                    Claimant Name                                     Claimed Amount (Total     Claim Category as Identified   Amount Claimed to be       Claim Number
                                                                                                                                                                                         Claimed Amount in Claim           on Claim Form            Invested in Property
                                                                                                                                                                                         Category as Identified on
                                                                                                                                                                                               Claim Form)
       79         6160‐6212 S Martin Luther King Drive                                 Estate Property   Philip J Lombardo and Dianne E Lombardo                                        $                 54,666.63       Investor‐Lender          $            50,000.00   79‐561
        5              7749‐59 S Yates Boulevard                                       Estate Property   Phillip G. Vander Kraats                                                       $                 80,186.82       Investor‐Lender          $             1,374.00   5‐628
       59            6001‐05 S Sacramento Avenue             2945‐51 W 60th Street     Estate Property   Phillip G. Vander Kraats                                                       $                 80,186.82       Investor‐Lender          $               312.00   59‐628
       70                638‐40 N Avers Avenue                                         Estate Property   Phillip G. Vander Kraats                                                       $                 80,186.82       Investor‐Lender          $             2,000.00   70‐628
       72               7024‐32 S Paxton Avenue                                        Estate Property   Phillip G. Vander Kraats                                                       $                 80,186.82       Investor‐Lender          $            50,000.00   72‐628
       88              7546‐48 S Saginaw Avenue                                        Estate Property   Phillip G. Vander Kraats                                                       $                 80,186.82       Investor‐Lender          $            28,314.00   88‐628
     96‐99                8326‐58 S Ellis Avenue                                       Estate Property   Phillip Silver Trust dated 12/11/08                                            $                 50,000.00       Investor‐Lender          $            50,000.00   96‐94
       69                 6250 S Mozart Avenue               2832‐36 W 63rd Street     Estate Property   Phyllis Harte                                                                  $                 36,069.53       Investor‐Lender          $             7,330.00   69‐2028
       87                  7508 S Essex Avenue               2453‐59 E 75th Street     Estate Property   Phyllis Harte                                                                  $                 36,069.53       Investor‐Lender          $             9,270.00   87‐2028
       92                7748‐52 S Essex Avenue              2450‐52 E 78th Street     Estate Property   Phyllis Harte                                                                  $                 36,069.53       Investor‐Lender          $            20,000.00   92‐2028
       81             4317‐19 S Michigan Avenue                                        Estate Property   PINELLAS FLORIDA FREEDOM REALTY, LLC (GARRETT MILLER)                          $                 10,000.00       Investor‐Lender          $            10,000.00   81‐1308
       85            7201‐07 S Dorchester Avenue              1401 E 72nd Street       Estate Property   Ping Liu                                                                       $                 58,505.33       Investor‐Lender          $            50,000.00   85‐349
        1               1700‐08 Juneway Terrace                                        Estate Property   Pioneer Valley Properties LLC                                                  $                 50,000.00       Investor‐Lender          $            50,000.00   1‐878
        5              7749‐59 S Yates Boulevard                                       Estate Property   PNW Investments, LLC                                                           $                350,000.00       Investor‐Lender          $            12,000.00   5‐332
        6             6437‐41 S Kenwood Avenue                                         Estate Property   PNW Investments, LLC                                                           $                350,000.00       Investor‐Lender          $            10,000.00   6‐332
        9                  8100 S Essex Avenue              2449‐57 East 81st Street   Estate Property   PNW Investments, LLC                                                           $                350,000.00       Investor‐Lender          $            20,000.00   9‐332
       50                  7760 S Coles Avenue                                         Estate Property   PNW Investments, LLC                                                           $                350,000.00       Investor‐Lender          $            25,000.00   50‐332
       62                 7834‐44 S Ellis Avenue                                       Estate Property   PNW Investments, LLC                                                           $                350,000.00       Investor‐Lender          $           125,000.00   62‐332
       68            6217‐27 S Dorchester Avenue                                       Estate Property   PNW Investments, LLC                                                           $                350,000.00       Investor‐Lender          $             5,000.00   68‐332
       71                  701‐13 S 5th Avenue                   414 Walnut            Estate Property   PNW Investments, LLC                                                           $                350,000.00       Investor‐Lender          $            75,000.00   71‐332
       74                3074 Cheltenham Place                7836 S Shore Drive       Estate Property   PNW Investments, LLC                                                           $                350,000.00       Investor‐Lender          $            10,000.00   74‐332
       78              7201 S Constance Avenue               1825‐31 E 72nd Street     Estate Property   PNW Investments, LLC                                                           $                350,000.00       Investor‐Lender          $            50,000.00   78‐332
      100           11117‐11119 S Longwood Drive                                       Estate Property   PNW Investments, LLC                                                           $                350,000.00       Investor‐Lender          $            18,000.00   100‐332
    10 to 12                       CCF1                                                Fund              PNW Investments, LLC                                                           $                350,000.00       Investor‐Lender          $            10,000.00   10‐332
    102‐106              7927‐49 S Essex Avenue                                        Estate Property   PNW Investments, LLC                                                           $                350,000.00       Investor‐Lender          $            25,000.00   102‐332
    13 to 15                       CCF2                                                Fund              Prakash, Sukumar Samson                                                        $                215,875.00                                                         13‐2047
       67                  1131‐41 E 79th Place                                        Estate Property   Priscilla Wallace                                                              $                 25,000.00        Equity Investor         $            25,000.00   67‐1036
       89             7600‐10 S Kingston Avenue              2527‐29 E 76th Street     Estate Property   Private Finance Solutions, LLC                                                 $                128,406.34       Investor‐Lender          $            23,328.00   89‐1478
      115                 109 N Laramie Avenue                                         Former Property   Private Finance Solutions, LLC                                                 $                128,406.34       Investor‐Lender          $            88,970.00   115‐1478
      117                3915 N Kimball Avenue                                         Former Property   Private Finance Solutions, LLC                                                 $                128,406.34       Investor‐Lender          $            30,311.00   117‐1478
      142               5209 W Warwick Avenue                                          Former Property   Private Finance Solutions, LLC                                                 $                128,406.34       Investor‐Lender          $            88,970.00   142‐1478
      109              4750‐52 S Indiana Avenue                                        Estate Property   Professional Real Estate Solutions, LLC / Edward J. Netzel                     $                 13,204.91        Equity Investor         $            50,000.00   109‐489
       79         6160‐6212 S Martin Luther King Drive                                 Estate Property   PROFESSIONAL RENTAL LP, GEORGE SAMUEL                                          $                 58,000.04       Investor‐Lender          $            50,000.00   79‐482
       78              7201 S Constance Avenue               1825‐31 E 72nd Street     Estate Property   Property Solutions LLC, Kevin Bybee (managing member)                          $                 60,000.00       Investor‐Lender          $            60,000.00   78‐268
      907                         SSDF7                                                Fund              Property Solutions LLC, Kevin Bybee (managing member)                          $                144,161.89        Equity Investor         $           144,161.89   907‐268
        4              5450‐52 S Indiana Avenue                118‐132 E Garfield      Estate Property   Provident Trust Group F.B.O Charles Smith SoloK                                $                 50,000.00       Investor‐Lender          $            50,000.00   4‐1198
        2              4533‐47 S Calumet Avenue                                        Estate Property   Provident Trust Group, LLC FBO Stephan Tang IRA                                $                 71,815.00       Investor‐Lender                                   2‐172
       64             4611‐17 S Drexel Boulevard                                       Estate Property   Provident Trust Group, LLC FBO Stephan Tang IRA                                $                 71,815.00       Investor‐Lender          $            71,815.00   64‐172
       78              7201 S Constance Avenue               1825‐31 E 72nd Street     Estate Property   Provident Trust Group, LLC FBO Stephan Tang IRA                                $                 71,815.00       Investor‐Lender          $            35,345.00   78‐172
       79         6160‐6212 S Martin Luther King Drive                                 Estate Property   Provident Trust Group, LLC FBO Stephan Tang IRA                                $                 71,815.00       Investor‐Lender          $            36,470.00   79‐172
      906                         SSDF6                                                Fund              Provident Trust Group, LLC FBO Stephan Tang IRA                                $                 71,815.00        Equity Investor         $            71,815.00   906‐172
    10 to 12                       CCF1                                                Fund              PSB Investment Trust ‐ Stephen Boynton                                         $                 46,398.10        Equity Investor         $            50,000.00   10‐280
       76             7635‐43 S East End Avenue                                        Estate Property   QCH Investment Trust                                                           $                 50,000.00       Investor‐Lender          $            50,000.00   76‐1436
        5              7749‐59 S Yates Boulevard                                       Estate Property   Quantum Growth Holdings LLC                                                    $                 15,321.00       Investor‐Lender          $             5,500.00   5‐354
       40              7953 S Woodlawn Avenue                                          Estate Property   Quantum Growth Holdings LLC                                                                                      Investor‐Lender          $             8,053.89   40‐354
       62                 7834‐44 S Ellis Avenue                                       Estate Property   Quantum Growth Holdings LLC                                                                                      Investor‐Lender          $             6,056.44   62‐354
      123              7107‐29 S Bennett Avenue                                        Former Property   Quantum Growth Holdings LLC                                                    $                 15,321.00        Equity Investor         $             1,971.00   123‐354
      131              4108 N Monticello Avenue                                        Former Property   Quantum Growth Holdings LLC                                                                                      Investor‐Lender          $             8,434.38   131‐354
      904                         SSDF4                                                Fund              Quantum Growth Holdings LLC                                                    $                 15,321.00        Equity Investor         $            15,321.00   904‐354
       61              7237‐43 S Bennett Avenue                                        Estate Property   Quest IRA FBO Francis D Webb 1437711                                           $                185,819.00       Investor‐Lender          $            12,064.00   61‐218
     13‐15                2909‐19 E 78th Street                                        Fund              Quest IRA Inc FBO Larry J Eggenberger IRA                                      $                 50,000.00       Investor‐Lender          $            50,000.00   13‐713
                         7549‐59 S Essex Avenue
                      8047‐55 S Manistee Avenue
       5               7749‐59 S Yates Boulevard                                       Estate Property   QUEST IRA Inc. FBO Francisco A. Romero Sr. Acct# 25282‐11 and Acct# 25282‐21   $                 89,482.53       Investor‐Lender          $            12,100.00   5‐1352

      74                3074 Cheltenham Place                 7836 S Shore Drive       Estate Property   QUEST IRA Inc. FBO Francisco A. Romero Sr. Acct# 25282‐11 and Acct# 25282‐21   $                 89,482.53       Investor‐Lender          $            56,000.00   74‐1352

      88               7546‐48 S Saginaw Avenue                                        Estate Property   QUEST IRA Inc. FBO Francisco A. Romero Sr. Acct# 25282‐11 and Acct# 25282‐21   $                 89,482.53       Investor‐Lender          $             5,000.00   88‐1352

      92                7748‐52 S Essex Avenue               2450‐52 E 78th Street     Estate Property   QUEST IRA Inc. FBO Francisco A. Romero Sr. Acct# 25282‐11 and Acct# 25282‐21   $                 89,482.53       Investor‐Lender          $            10,000.00   92‐1352

       1               1700‐08 Juneway Terrace                                         Estate Property   Quest IRA Inc. FBO Rebeca E. Savory‐Romero IRA Account #15528‐11 and #15528‐   $                184,785.31       Investor‐Lender          $            10,500.00   1‐804
                                                                                                         21




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                                                                                     Receiver's           08/01/22
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Property Number           Property Address                    Alternative Address             Type                                     Claimant Name                                    Claimed Amount (Total    Claim Category as Identified   Amount Claimed to be       Claim Number
                                                                                                                                                                                      Claimed Amount in Claim           on Claim Form            Invested in Property
                                                                                                                                                                                      Category as Identified on
                                                                                                                                                                                             Claim Form)
      64             4611‐17 S Drexel Boulevard                                      Estate Property   Quest IRA Inc. FBO Rebeca E. Savory‐Romero IRA Account #15528‐11 and #15528‐   $               184,785.31       Investor‐Lender          $            50,000.00   64‐804
                                                                                                       21
      68             6217‐27 S Dorchester Avenue                                     Estate Property   Quest IRA Inc. FBO Rebeca E. Savory‐Romero IRA Account #15528‐11 and #15528‐   $               184,785.31       Investor‐Lender          $            19,500.00   68‐804
                                                                                                       21
      82              6355‐59 S Talman Avenue                2616‐22 W 64th Street   Estate Property   Quest IRA Inc. FBO Rebeca E. Savory‐Romero IRA Account #15528‐11 and #15528‐   $               184,785.31       Investor‐Lender          $            45,000.00   82‐804
                                                                                                       21
      88              7546‐48 S Saginaw Avenue                                       Estate Property   Quest IRA Inc. FBO Rebeca E. Savory‐Romero IRA Account #15528‐11 and #15528‐   $               184,785.31       Investor‐Lender          $             9,000.00   88‐804
                                                                                                       21
      89              7600‐10 S Kingston Avenue              2527‐29 E 76th Street   Estate Property   Quest IRA Inc. FBO Rebeca E. Savory‐Romero IRA Account #15528‐11 and #15528‐   $               184,785.31       Investor‐Lender          $            39,953.00   89‐804
                                                                                                       21
      135              4930 W Cornelia Avenue                                        Former Property   QUEST IRA INC. FBO REBECA E. SAVORY‐ROMERO IRA ACCOUNT #15528‐11 AND           $               184,785.31       Investor‐Lender          $            35,256.92   135‐804
                                                                                                       #15528‐21
       91               7701‐03 S Essex Avenue                                       Estate Property   Quest IRA, Inc. FBO Nandini S. Chennappan IRA # 1847611                        $                55,500.00       Investor‐Lender          $            50,000.00   91‐1269
       92               7748‐52 S Essex Avenue               2450‐52 E 78th Street   Estate Property   Quest IRA, Inc. FBO Nandini S. Chennappan IRA # 1847611                        $                55,500.00       Investor‐Lender          $             5,500.00   92‐1269
        1              1700‐08 Juneway Terrace                                       Estate Property   Quest Trust Company FBO Paul Applefield Roth IRA#16413‐21                      $                13,500.00       Investor‐Lender          $             6,500.00   1‐2088
      100           11117‐11119 S Longwood Drive                                     Estate Property   Quest Trust Company FBO Paul Applefield Roth IRA#16413‐21                      $                13,500.00       Investor‐Lender          $             7,000.00   100‐2088
        1              1700‐08 Juneway Terrace                                       Estate Property   Quest Trust Company FBO Robin Applefield Roth IRA#25164‐21                     $                13,500.00       Investor‐Lender          $             6,500.00   1‐2089
      100           11117‐11119 S Longwood Drive                                     Estate Property   Quest Trust Company FBO Robin Applefield Roth IRA#25164‐21                     $                13,500.00       Investor‐Lender          $             7,000.00   100‐2089
       74               3074 Cheltenham Place                 7836 S Shore Drive     Estate Property   QuestIRAFBOFrancisDWebb1437711                                                 $               185,819.00       Investor‐Lender          $            22,035.00   74‐218
       77            7750‐58 S Muskegon Avenue               2818‐36 E 78th Street   Estate Property   QuestIRAFBOFrancisDWebb1437711                                                 $               185,819.00       Investor‐Lender          $            50,000.00   77‐218
      126           5201‐5207 W Washington Blvd                                      Former Property   QuestIRAFBOFrancisDWebb1437711                                                 $               185,819.00       Investor‐Lender          $            50,000.00   126‐218
    10 to 12                       CCF1                                              Fund              QuestIRAFBOFrancisDWebb1437711                                                 $               185,819.00       Investor‐Lender          $            36,222.00   10‐218
        1              1700‐08 Juneway Terrace                                       Estate Property   R D Meredith General Contractors LLC                                           $               100,000.00       Investor‐Lender          $           100,000.00   1‐1138
        1              1700‐08 Juneway Terrace                                       Estate Property   R.D.Meredith General Contractors LLC 401K                                      $               373,617.16       Investor‐Lender          $            40,000.00   1‐528
       55                8107‐09 S Ellis Avenue                                      Estate Property   R.D.Meredith General Contractors LLC 401K                                      $               373,617.16       Investor‐Lender          $            91,672.00   55‐528
       68            6217‐27 S Dorchester Avenue                                     Estate Property   R.D.Meredith General Contractors LLC 401K                                      $               373,617.16       Investor‐Lender          $           150,750.00   68‐528
      118                400 S Kilbourn Avenue                                       Former Property   R.D.Meredith General Contractors LLC 401K                                      $               373,617.16       Investor‐Lender          $             5,875.00   118‐528
      123              7107‐29 S Bennett Avenue                                      Former Property   R.D.Meredith General Contractors LLC 401K                                      $               373,617.16       Investor‐Lender          $           103,000.00   123‐528
        4              5450‐52 S Indiana Avenue                118‐132 E Garfield    Estate Property   R2V2 Investments LLC                                                           $                88,590.47       Investor‐Lender          $            20,000.00   4‐842
       68            6217‐27 S Dorchester Avenue                                     Estate Property   R2V2 Investments LLC                                                           $                88,590.47       Investor‐Lender          $            30,188.00   68‐842
      123              7107‐29 S Bennett Avenue                                      Former Property   R2V2 Investments LLC                                                           $                88,590.47       Investor‐Lender          $            47,004.00   123‐842
      904                         SSDF4                                              Fund              Race Mouty                                                                     $                20,000.00        Equity Investor         $            20,000.00   904‐326
        3               5001 S Drexel Boulevard                909 E 50th Street     Estate Property   Rachael B Curcio                                                               $               121,092.00       Investor‐Lender          $            50,000.00   3‐292
       67                 1131‐41 E 79th Place                                       Estate Property   Rachael B Curcio                                                               $               121,092.00       Investor‐Lender          $            71,092.00   67‐292
       85            7201‐07 S Dorchester Avenue              1401 E 72nd Street     Estate Property   Rachel Beck                                                                    $                64,480.66       Investor‐Lender          $            50,000.00   85‐813
      157                1655 N Humboldt Blvd                                        Former Property   Raghu Pulluru, FBO 1634276 Midland IRA                                         $               246,000.00       Investor‐Lender          $           153,000.00   157‐1214
      100           11117‐11119 S Longwood Drive                                     Estate Property   Rajesh Gupta Roth IRA                                                          $               318,674.45       Investor‐Lender          $           265,562.00   100‐1280
    13 to 15                       CCF2                                              Fund              Rajesh Gupta Roth IRA                                                          $                35,984.11       Investor‐Lender          $            29,000.00   13‐1282
        2             4533‐47 S Calumet Avenue                                       Estate Property   Rajitha Dundigalla                                                             $                50,000.00       Investor‐Lender          $            50,000.00   2‐651
      100           11117‐11119 S Longwood Drive                                     Estate Property   Rajitha Dundigalla                                                             $                50,000.00       Investor‐Lender          $            50,000.00   100‐655
    10 to 12                       CCF1                                              Fund              Rajitha Dundigalla                                                             $                50,000.00        Equity Investor         $            50,000.00   10‐653
    13 to 15                       CCF2                                              Fund              Rajitha Dundigalla                                                             $                50,000.00        Equity Investor         $            50,000.00   13‐654
      116         1102 Bingham St, Houston TX 77007                                  Estate Property   RAMANAN RAMADOSS                                                               $                   204.96        Equity Investor         $            15,000.00   116‐71
        6             6437‐41 S Kenwood Avenue                                       Estate Property   Ramsey Stephan                                                                 $                50,000.00       Investor‐Lender          $             9,481.00   6‐162
       71                 701‐13 S 5th Avenue                     414 Walnut         Estate Property   Ramsey Stephan                                                                 $                50,000.00       Investor‐Lender          $            20,519.00   71‐162
       81             4317‐19 S Michigan Avenue                                      Estate Property   Ramsey Stephan                                                                 $                50,000.00       Investor‐Lender          $            20,000.00   81‐162
      912                   SSPH Portfolio 1                                         Fund              Ran Barth                                                                      $               326,358.35        Equity Investor         $           331,000.00   912‐65
        2             4533‐47 S Calumet Avenue                                       Estate Property   Randall Sotka                                                                  $               255,000.00       Investor‐Lender          $           100,000.00   2‐1207
       60              7026‐42 S Cornell Avenue                                      Estate Property   Randall Sotka                                                                  $               255,000.00       Investor‐Lender          $             4,225.00   60‐1207
       70               638‐40 N Avers Avenue                                        Estate Property   Randall Sotka                                                                  $               255,000.00       Investor‐Lender          $            11,949.00   70‐1207
       72              7024‐32 S Paxton Avenue                                       Estate Property   Randall Sotka                                                                  $               255,000.00       Investor‐Lender          $            55,000.00   72‐1207
       75             7625‐33 S East End Avenue                                      Estate Property   Randall Sotka                                                                  $               255,000.00       Investor‐Lender          $            38,826.00   75‐1207
    10 to 12                       CCF1                                              Fund              Randall Sotka                                                                  $               255,000.00       Investor‐Lender          $           100,000.00   10‐1207
      904                  SSDF4 Legacy Fund                                         Fund              Randeep S Kapoor                                                               $                50,000.00        Equity Investor         $            50,000.00   904‐597

      92               7748‐52 S Essex Avenue                2450‐52 E 78th Street   Estate Property   Ranell Durgan                                                                  $                50,000.00       Investor‐Lender          $            50,000.00   92‐454
      92               7748‐52 S Essex Avenue                2450‐52 E 78th Street   Estate Property   Ranell Durgan                                                                  $                50,000.00       Investor‐Lender          $            50,000.00   92‐514
    102‐106            7927‐49 S Essex Avenue                                        Estate Property   Ranell Durgan                                                                  $               200,000.00       Investor‐Lender          $           200,000.00   102‐515
    102‐106            7927‐49 S Essex Avenue                                        Estate Property   Ranell Durgan (Polycomp Trust Company_CFBO)                                    $               200,000.00       Investor‐Lender          $           200,000.00   102‐762
      71                701‐13 S 5th Avenue                       414 Walnut         Estate Property   Rashmi Juneja Self Directed Roth IRA, Custodian: Kingdom Trust, account #      $                57,800.00        Equity Investor         $            50,000.00   71‐1342
                                                                                                       907667763
       5              7749‐59 S Yates Boulevard                                      Estate Property   Raymond Thompson Investment Trust LLC                                          $                80,000.00       Investor‐Lender          $            30,000.00   5‐251
     96‐99              8326‐58 S Ellis Avenue                                       Estate Property   Raymond Thompson Investment Trust LLC                                          $                80,000.00       Investor‐Lender          $            50,000.00   96‐251
      118               400 S Kilbourn Avenue                                        Former Property   RE Solutions MD, LLC Employee Profit Sharing/401K by Mary E. Doerr, an         $                50,000.00       Investor‐Lender          $            50,000.00   118‐245
                                                                                                       unaccredited investor




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                                                                                                                            Exhibit 5
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                                                                                                                     Case No. 18‐cv‐5587




Property Number            Property Address                   Alternative Address               Type                                     Claimant Name                                 Claimed Amount (Total      Claim Category as Identified Amount Claimed to be          Claim Number
                                                                                                                                                                                      Claimed Amount in Claim            on Claim Form           Invested in Property
                                                                                                                                                                                      Category as Identified on
                                                                                                                                                                                            Claim Form)
       79         6160‐6212 S Martin Luther King Drive                                 Estate Property   Real Envisions LLC                                                          $                 53,000.00        Investor‐Lender        $               50,000.00   79‐1021
       62                7834‐44 S Ellis Avenue                                        Estate Property   Rebecca D. Blust                                                            $                 10,000.00         Equity Investor       $               10,000.00   62‐1189
       79         6160‐6212 S Martin Luther King Drive                                 Estate Property   Receivables to Cash, LLC d/b/a Berenger Capital (c/o Kyle Davison)          $                150,000.00        Investor‐Lender        $               50,000.00   79‐302
       87                 7508 S Essex Avenue                2453‐59 E 75th Street     Estate Property   Receivables to Cash, LLC d/b/a Berenger Capital (c/o Kyle Davison)          $                150,000.00        Investor‐Lender        $               50,000.00   87‐302
      124               6801 S East End Avenue                                         Former Property   Receivables to Cash, LLC d/b/a Berenger Capital (c/o Kyle Davison)          $                150,000.00        Investor‐Lender        $               50,000.00   124‐302
      108                2800‐06 E 81st Street                                         Estate Property   Rende, Nicolas                                                              $                830,000.00        Investor‐Lender        $             430,000.00    108‐2048
      113               7840‐42 S Yates Avenue                                         Estate Property   Rende, Nicolas                                                              $                830,000.00        Investor‐Lender        $             400,000.00    113‐2048
       54               8000‐02 S Justine Street               1541 E 80th Street      Estate Property   Rene Hribal                                                                 $              1,525,473.04        Investor‐Lender        $             729,000.00    54‐768
       64             4611‐17 S Drexel Boulevard                                       Estate Property   Rene Hribal                                                                 $              1,525,473.04        Investor‐Lender        $             300,000.00    64‐768
       78              7201 S Constance Avenue               1825‐31 E 72nd Street     Estate Property   Rene Hribal                                                                 $              1,525,473.04        Investor‐Lender        $             439,517.00    78‐768
      79          6160‐6212 S Martin Luther King Drive                                 Estate Property   Rene Hribal                                                                 $              1,525,473.04        Investor‐Lender        $             100,000.00    79‐768
      92                7748‐52 S Essex Avenue               2450‐52 E 78th Street     Estate Property   Rene Hribal                                                                 $              1,525,473.04        Investor‐Lender        $             180,000.00    92‐768
      126            5201‐5207 W Washington Blvd                                       Former Property   Rene Hribal                                                                 $              1,525,473.04        Investor‐Lender        $               95,000.00   126‐768
      N/A                         N/A                                                  Other             Return Path                                                                 $                 22,750.00         Trade Creditor                                    1471
       68            6217‐27 S Dorchester Avenue                                       Estate Property   Reymone Randall                                                             $                 64,076.00        Investor‐Lender        $               50,500.00   68‐1258
       78              7201 S Constance Avenue               1825‐31 E 72nd Street     Estate Property   Reynald Lalonde & Chantal Lemaire                                           $                 51,000.00        Investor‐Lender        $               50,000.00   78‐327
       1               1700‐08 Juneway Terrace                                         Estate Property   Ricardo Acevedo Lopez                                                       $                 15,000.00        Investor‐Lender        $               15,000.00   1‐746
      94               816‐20 E Marquette Road                                         Estate Property   Ricardo Acevedo Lopez                                                       $                 35,000.00        Investor‐Lender        $               35,000.00   94‐1267
        9                 8100 S Essex Avenue               2449‐57 East 81st Street   Estate Property   Richard L. Braddock                                                         $                   9,526.99       Investor‐Lender        $                9,250.00   9‐512
       9                  8100 S Essex Avenue               2449‐57 East 81st Street   Estate Property   Richard L. Braddock                                                         $                 92,375.45        Investor‐Lender        $               40,000.00   9‐396
      62                 7834‐44 S Ellis Avenue                                        Estate Property   Richard L. Braddock                                                         $                104,161.08        Investor‐Lender        $               50,000.00   62‐509
       70               638‐40 N Avers Avenue                                          Estate Property   Richard L. Braddock                                                         $                104,161.08        Investor‐Lender        $               50,000.00   70‐509
       92               7748‐52 S Essex Avenue               2450‐52 E 78th Street     Estate Property   Richard L. Braddock                                                         $                 92,375.45        Investor‐Lender        $               50,000.00   92‐396
      100           11117‐11119 S Longwood Drive                                       Estate Property   Rinku Uberoi                                                                $                250,000.00        Investor‐Lender        $             250,000.00    100‐1373
        1              1700‐08 Juneway Terrace                                         Estate Property   Rise Up Real Estate Group, LLC                                              $                352,258.39        Investor‐Lender        $             144,046.00    1‐1484
      100           11117‐11119 S Longwood Drive                                       Estate Property   Rise Up Real Estate Group, LLC                                              $                352,258.39        Investor‐Lender        $             125,000.00    100‐1484
      60               7026‐42 S Cornell Avenue                                        Estate Property   Rita Aken                                                                   $                 75,000.00        Investor‐Lender                                    60‐770
      61               7237‐43 S Bennett Avenue                                        Estate Property   Rita Aken                                                                   $                 75,000.00        Investor‐Lender                                    61‐770
       89             7600‐10 S Kingston Avenue              2527‐29 E 76th Street     Estate Property   Rita Aken                                                                   $                 75,000.00        Investor‐Lender                                    89‐770
       73               7255‐57 S Euclid Avenue              1940‐44 E 73rd Street     Estate Property   Rita Deierlein                                                              $                 32,000.00         Equity Investor       $               32,000.00   73‐260
        1              1700‐08 Juneway Terrace                                         Estate Property   RLD Denouement Holding Company, LLC                                         $                 20,000.00        Investor‐Lender        $               20,000.00   1‐483
      904                        SSDF4                                                 Fund              RLD Denouement Holding Company, LLC                                         $                150,000.00         Equity Investor       $               50,000.00   904‐483

    10 to 12          7301‐09 S Stewart Avenue                                         Fund              RLD Denouement Holding Company, LLC                                         $                150,000.00        Equity Investor         $            100,000.00    10‐483
                     7500‐06 S Eggleston Avenue
                         3030‐32 E 79th Street
       6             6437‐41 S Kenwood Avenue                                          Estate Property   Robert A Demick DDS PA 401K                                                 $                177,678.65        Investor‐Lender         $             50,000.00    6‐680
      58              5955 S Sacramento Avenue               2948‐56 W 60th Street     Estate Property   Robert A Demick DDS PA 401K                                                 $                177,678.65        Investor‐Lender         $             29,000.00    58‐680
      71                  701‐13 S 5th Avenue                     414 Walnut           Estate Property   Robert A Demick DDS PA 401K                                                 $                177,678.65        Investor‐Lender         $             50,000.00    71‐680
       72              7024‐32 S Paxton Avenue                                         Estate Property   Robert A Demick DDS PA 401K                                                 $                177,678.65        Investor‐Lender         $             50,000.00    72‐680
      115                109 N Laramie Avenue                                          Former Property   Robert A Demick DDS PA 401K                                                 $                177,678.65        Investor‐Lender         $             30,000.00    115‐680
      904                        SSDF4                                                 Fund              Robert A Demick DDS PA 401K                                                 $                 50,422.00         Equity Investor        $             50,422.00    904‐680
    102‐106             7927‐49 S Essex Avenue                                         Estate Property   ROBERT A LAPORTE                                                            $                100,000.00        Investor‐Lender         $             50,000.00    102‐1038
     13‐15               2909‐19 E 78th Street                                         Fund              ROBERT A LAPORTE                                                            $                100,000.00        Investor‐Lender         $             50,000.00    13‐1038
                        7549‐59 S Essex Avenue
                     8047‐55 S Manistee Avenue
        2             4533‐47 S Calumet Avenue                                         Estate Property   Robert Conley III                                                           $                  3,187.50        Investor‐Lender         $             75,000.00    2‐789
        9                 8100 S Essex Avenue               2449‐57 East 81st Street   Estate Property   Robert Conley III                                                                                              Investor‐Lender         $            325,000.00    9‐277
      904                        SSDF4                                                 Fund              Robert Conley III                                                           $                  9,750.00         Equity Investor        $            325,000.00    904‐277
      126           5201‐5207 W Washington Blvd                                        Former Property   Robert Demick                                                               $                 46,131.88        Investor‐Lender         $             49,000.00    126‐782
    10 to 12                      CCF1                                                 Fund              Robert E. Jeter                                                             $                300,000.00        Investor‐Lender                                    10‐1230
    13 to 15                      CCF2                                                 Fund              Robert E. Jeter                                                             $                300,000.00        Investor‐Lender                                    13‐1230
       76             7635‐43 S East End Avenue                                        Estate Property   Robert Guiney                                                               $                112,260.00        Investor‐Lender         $             18,250.00    76‐798
       80               2736‐44 W 64th Street                                          Estate Property   Robert Guiney                                                               $                112,260.00        Investor‐Lender         $             50,000.00    80‐798
       86             7442‐48 S Calumet Avenue                                         Estate Property   Robert Guiney                                                               $                112,260.00        Investor‐Lender         $             25,000.00    86‐798
      111                6558 S Vernon Avenue                 416‐24 E 66th Street     Estate Property   Robert Guiney                                                               $                112,260.00        Investor‐Lender         $             14,058.22    111‐798
      117               3915 N Kimball Avenue                                          Former Property   Robert Guiney                                                               $                112,260.00        Investor‐Lender         $             11,097.00    117‐798
       73              7255‐57 S Euclid Avenue               1940‐44 E 73rd Street     Estate Property   Robert Houston                                                              $                 51,749.99        Investor‐Lender         $             50,000.00    73‐213
      116         1102 Bingham St, Houston TX 77007                                    Estate Property   Robert Karlsson for MiLLCreek Holdings LLC                                  $                255,035.70        Investor‐Lender         $            200,000.00    116‐166
       89             7600‐10 S Kingston Avenue              2527‐29 E 76th Street     Estate Property   Robert Maione                                                               $                110,000.00        Investor‐Lender         $            110,000.00    89‐254
       69                6250 S Mozart Avenue                2832‐36 W 63rd Street     Estate Property   Robert Mennella (Madison Trust Company Custodian FBO Robert Mennella Roth   $                 18,150.00        Investor‐Lender         $             18,150.00    69‐1302
                                                                                                         IRA M1604064)
       1               1700‐08 Juneway Terrace                                         Estate Property   Robert Potter                                                               $                282,999.00        Investor‐Lender         $             79,274.00    1‐1389




                                                                                                                               34
                                                                                                                           Exhibit 5
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                                                                                     Receiver's           08/01/22
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                                                                                                                     Case No. 18‐cv‐5587




Property Number            Property Address                   Alternative Address               Type                                     Claimant Name                                       Claimed Amount (Total     Claim Category as Identified   Amount Claimed to be       Claim Number
                                                                                                                                                                                            Claimed Amount in Claim           on Claim Form            Invested in Property
                                                                                                                                                                                            Category as Identified on
                                                                                                                                                                                                  Claim Form)
        2              4533‐47 S Calumet Avenue                                        Estate Property   Robert Potter                                                                     $                282,999.00       Investor‐Lender          $             6,634.00   2‐1389
        5              7749‐59 S Yates Boulevard                                       Estate Property   Robert Potter                                                                     $                282,999.00       Investor‐Lender          $            15,000.00   5‐1389
        6             6437‐41 S Kenwood Avenue                                         Estate Property   Robert Potter                                                                     $                282,999.00       Investor‐Lender          $            47,786.00   6‐1389
       9                  8100 S Essex Avenue               2449‐57 East 81st Street   Estate Property   Robert Potter                                                                     $                282,999.00       Investor‐Lender          $            11,412.00   9‐1389
       60               7026‐42 S Cornell Avenue                                       Estate Property   Robert Potter                                                                     $                282,999.00       Investor‐Lender          $            12,549.00   60‐1389
       75             7625‐33 S East End Avenue                                        Estate Property   Robert Potter                                                                     $                282,999.00       Investor‐Lender          $               786.00   75‐1389
       78              7201 S Constance Avenue               1825‐31 E 72nd Street     Estate Property   Robert Potter                                                                     $                282,999.00       Investor‐Lender          $             2,796.00   78‐1389
       79         6160‐6212 S Martin Luther King Drive                                 Estate Property   Robert Potter                                                                     $                282,999.00       Investor‐Lender          $            23,000.00   79‐1389
       82              6355‐59 S Talman Avenue               2616‐22 W 64th Street     Estate Property   Robert Potter                                                                     $                282,999.00       Investor‐Lender          $             4,858.00   82‐1389
      85             7201‐07 S Dorchester Avenue               1401 E 72nd Street      Estate Property   Robert Potter                                                                     $                282,999.00       Investor‐Lender          $            11,868.00   85‐1389
       88              7546‐48 S Saginaw Avenue                                        Estate Property   Robert Potter                                                                     $                282,999.00       Investor‐Lender          $            15,500.00   88‐1389
       93              7953‐59 S Marquette Road              2708‐10 E 80th Street     Estate Property   Robert Potter                                                                     $                282,999.00       Investor‐Lender          $            34,716.00   93‐1389
      124                6801 S East End Avenue                                        Former Property   Robert Potter                                                                     $                282,999.00       Investor‐Lender          $            13,454.00   124‐1389
      904                  SSDF4 Legacy Fund                                           Fund              Robert Potter                                                                     $                 15,000.00        Equity Investor         $            15,000.00   904‐1389

       73               7255‐57 S Euclid Avenue              1940‐44 E 73rd Street     Estate Property   Robert R. Cook      Principle Assets LLC                                          $                  9,000.00       Investor‐Lender          $             9,000.00   73‐659
       87                 7508 S Essex Avenue                2453‐59 E 75th Street     Estate Property   Robert R. Cook      Principle Assets LLC                                          $                  9,000.00       Investor‐Lender                                   87‐659
      125              6548 N Campbell Avenue                                          Former Property   Robert Thaete                                                                     $                 75,358.42       Investor‐Lender          $            74,067.00   125‐1232
      155               Campo‐Mar, Puerto Rico                                         Former Property   Robert Thaete                                                                     $                 75,358.42       Investor‐Lender          $            26,000.00   155‐1232
        4              5450‐52 S Indiana Avenue                118‐132 E Garfield      Estate Property   Robert W. Jennings                                                                $                308,632.47       Investor‐Lender          $           150,000.00   4‐447
      100           11117‐11119 S Longwood Drive                                       Estate Property   Robert W. Jennings                                                                $                308,632.47       Investor‐Lender          $           150,000.00   100‐447
      119                4019 S Indiana Avenue                                         Former Property   Robert Weech                                                                      $                    503.31       Investor‐Lender          $             6,912.56   119‐802
    13 to 15                      CCF2                                                 Fund              Roberta Doucet, Cumen LLC                                                         $                 25,000.00        Equity Investor         $            25,000.00   13‐645
       83              6356 S California Avenue               2804 W 64th Street       Estate Property   Rochelle Minchow                                                                  $                190,000.00       Investor‐Lender          $           110,000.00   83‐2061
       87                 7508 S Essex Avenue                2453‐59 E 75th Street     Estate Property   Rochelle Minchow                                                                  $                190,000.00       Investor‐Lender          $            50,000.00   87‐2061
       81             4317‐19 S Michigan Avenue                                        Estate Property   Ronald Mark Beal                                                                  $                 90,000.00       Investor‐Lender          $            90,000.00   81‐187
      123             7107‐29 S Bennett Avenue                                         Former Property   Ronald Tucker                                                                     $                 51,583.00       Investor‐Lender          $            51,583.00   123‐1398
    10 to 12                      CCF1                                                 Fund              Ronald Tucker and Paula Tucker                                                    $                 51,583.00       Investor‐Lender          $            51,583.00   10‐1398
      100           11117‐11119 S Longwood Drive                                       Estate Property   Roswitha M. and John S. Ennema                                                    $                 58,179.21       Investor‐Lender          $             5,000.00   100‐564
    102‐106             7927‐49 S Essex Avenue                                         Estate Property   Roswitha M. and John S. Ennema                                                    $                 58,179.21       Investor‐Lender          $            45,000.00   102‐564
    13 to 15                      CCF2                                                 Fund              Roswitha M. and John S. Ennema                                                    $                 59,208.29        Equity Investor         $            50,000.00   13‐564
        6            6437‐41 S Kenwood Avenue                                          Estate Property   RSS TRIAD INVESTMENTS, LLC                                                        $                 31,400.00       Investor‐Lender          $            30,000.00   6‐1344
        2             4533‐47 S Calumet Avenue                                         Estate Property   Russ Moreland                                                                     $                  3,000.00       Investor‐Lender          $            50,000.00   2‐286
       87                 7508 S Essex Avenue                2453‐59 E 75th Street     Estate Property   Russ Moreland                                                                     $                  3,000.00       Investor‐Lender          $            50,000.00   87‐286
      115                109 N Laramie Avenue                                          Former Property   Russell Shurtz (Horizon Trust Company, Custodian FBO Russell Shurtz IRA Account     $                       ‐       Investor‐Lender          $            25,000.00   115‐924
                                                                                                         599991402)
      904                        SSDF4                                                 Fund              Russell Shurtz (Horizon Trust Company, Custodian FBO Russell Shurtz IRA Account   $                 25,000.00        Equity Investor         $            25,000.00   904‐924
                                                                                                         599991402)
       68            6217‐27 S Dorchester Avenue                                       Estate Property   Russell Waite                                                                     $                155,176.75       Investor‐Lender          $            85,425.00   68‐1120
      111               6558 S Vernon Avenue                  416‐24 E 66th Street     Estate Property   Russell Waite                                                                     $                155,176.75       Investor‐Lender          $           220,119.00   111‐1120
      116         1102 Bingham St, Houston TX 77007                                    Estate Property   Russell Waite                                                                     $                155,176.75       Investor‐Lender          $            50,000.00   116‐1120
      143                 5434 S Wood Street                                           Former Property   Ryan Lam                                                                          $                150,000.00       Investor‐Lender          $            67,325.82   143‐832
      144                6525 S Evans Avenue                                           Former Property   Ryan Lam                                                                          $                150,000.00       Investor‐Lender          $           106,000.00   144‐832
      67                 1131‐41 E 79th Place                                          Estate Property   S and P Investment Properties EPSP401k, Pat Thomasson, Trustee                    $                 22,705.83       Investor‐Lender          $            22,000.00   67‐293
       5              7749‐59 S Yates Boulevard                                        Estate Property   Sam Gerber, CEO, Gerber and Associates, REI, LLC                                  $                139,985.85       Investor‐Lender          $            12,000.00   5‐562
       9                 8100 S Essex Avenue                2449‐57 East 81st Street   Estate Property   Sam Gerber, CEO, Gerber and Associates, REI, LLC                                  $                139,985.85       Investor‐Lender          $            42,000.00   9‐562
      74                3074 Cheltenham Place                 7836 S Shore Drive       Estate Property   Sam Gerber, CEO, Gerber and Associates, REI, LLC                                  $                139,985.85       Investor‐Lender          $            80,000.00   74‐562
        4             5450‐52 S Indiana Avenue                118‐132 E Garfield       Estate Property   Sam Harrison                                                                      $                 50,000.00       Investor‐Lender          $            25,000.00   4‐2027
      908                       SSDF 8                                                 Fund              Sam Harrison                                                                      $                 50,000.00       Investor‐Lender          $            25,000.00   908‐2027
       88             7546‐48 S Saginaw Avenue                                         Estate Property   Samir S. Totah and Norma S. Totah, Trustees of the Samir S. Totah and Norma S.    $                 24,500.00       Investor‐Lender          $            50,000.00   88‐915
                                                                                                         Totah Declaration Trust 03/08/200
       69                6250 S Mozart Avenue                2832‐36 W 63rd Street     Estate Property   Samir Totah                                                                       $                178,437.50       Investor‐Lender          $           150,000.00   69‐862
       62                7834‐44 S Ellis Avenue                                        Estate Property   Samuel Home Solutions LLC c/o George Samuel                                       $                235,519.28       Investor‐Lender          $            50,000.00   62‐347
       71                 701‐13 S 5th Avenue                    414 Walnut            Estate Property   SAMUEL HOME SOLUTIONS LLC, GEORGE SAMUEL,                                         $                235,519.28       Investor‐Lender          $           107,869.00   71‐347
       74               3074 Cheltenham Place                 7836 S Shore Drive       Estate Property   SAMUEL HOME SOLUTIONS LLC, GEORGE SAMUEL,                                         $                235,519.28       Investor‐Lender          $            42,131.00   74‐347
        4              5450‐52 S Indiana Avenue               118‐132 E Garfield       Estate Property   Sandeep Kattar                                                                    $                 50,000.00       Investor‐Lender          $            50,000.00   4‐1396
    10 to 12                      CCF1                                                 Fund              Sandy Kikerpill, Fresh Advantage                                                  $                233,000.00       Investor‐Lender          $           100,000.00   10‐875
    13 to 15                      CCF2                                                 Fund              Sandy Kikerpill, Fresh Advantage                                                  $                233,000.00       Investor‐Lender          $           100,000.00   13‐875
        5              7749‐59 S Yates Boulevard                                       Estate Property   Sarah Geldart                                                                     $                 57,200.00       Investor‐Lender          $            37,500.00   5‐1285
       79         6160‐6212 S Martin Luther King Drive                                 Estate Property   Sarah Geldart                                                                     $                 57,200.00       Investor‐Lender          $            20,000.00   79‐1285
      109              4750‐52 S Indiana Avenue                                        Estate Property   Sarah Qiuhong Yang                                                                $                100,000.00        Equity Investor         $           100,000.00   109‐1272
      119                4019 S Indiana Avenue                                         Former Property   Sarah Qiuhong Yang                                                                $                 60,543.00       Investor‐Lender          $            53,420.00   119‐1272
        3               5001 S Drexel Boulevard                909 E 50th Street       Estate Property   Schankman, Michael                                                                $                 57,402.06       Investor‐Lender          $            50,000.00   3‐2052




                                                                                                                              35
                                                                                                                            Exhibit 5
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                                                                                                                     Case No. 18‐cv‐5587




Property Number         Property Address                     Alternative Address               Type                                       Claimant Name                                       Claimed Amount (Total     Claim Category as Identified   Amount Claimed to be       Claim Number
                                                                                                                                                                                             Claimed Amount in Claim           on Claim Form            Invested in Property
                                                                                                                                                                                             Category as Identified on
                                                                                                                                                                                                   Claim Form)
      119              4019 S Indiana Avenue                                          Former Property   Schankman, Michael                                                                  $                 57,402.06       Investor‐Lender          $            26,000.00   119‐2052
    10 to 12                    CCF1                                                  Fund              Schankman, Michael                                                                  $                112,557.00        Equity Investor         $            50,000.00   10‐2052
       50               7760 S Coles Avenue                                           Estate Property   Scott E Pammer                                                                      $                243,954.00       Investor‐Lender          $            12,070.00   50‐827
       74              3074 Cheltenham Place                 7836 S Shore Drive       Estate Property   Scott E Pammer                                                                      $                243,954.00       Investor‐Lender          $            70,000.00   74‐827
       77          7750‐58 S Muskegon Avenue                2818‐36 E 78th Street     Estate Property   Scott E Pammer                                                                      $                243,954.00       Investor‐Lender          $            70,000.00   77‐827
       83             6356 S California Avenue               2804 W 64th Street       Estate Property   Scott E Pammer                                                                      $                243,954.00       Investor‐Lender          $            50,000.00   83‐827
      126         5201‐5207 W Washington Blvd                                         Former Property   Scott E Pammer                                                                      $                243,954.00       Investor‐Lender          $            50,000.00   126‐827
        1            1700‐08 Juneway Terrace                                          Estate Property   Scott Eaton c/o Chris Eaton                                                         $                549,101.33       Investor‐Lender          $            25,000.00   1‐1470
        3             5001 S Drexel Boulevard                 909 E 50th Street       Estate Property   Scott Eaton c/o Chris Eaton                                                         $                549,101.33       Investor‐Lender          $           100,000.00   3‐1470
       61            7237‐43 S Bennett Avenue                                         Estate Property   Scott Eaton c/o Chris Eaton                                                         $                549,101.33       Investor‐Lender          $            50,000.00   61‐1470
       68          6217‐27 S Dorchester Avenue                                        Estate Property   Scott Eaton c/o Chris Eaton                                                         $                549,101.33       Investor‐Lender          $            25,000.00   68‐1470
      100         11117‐11119 S Longwood Drive                                        Estate Property   Scott Eaton c/o Chris Eaton                                                         $                549,101.33       Investor‐Lender          $            50,000.00   100‐1470
      904                      SSDF4                                                  Fund              Scott Eaton c/o Chris Eaton                                                         $                 49,200.00        Equity Investor         $            50,000.00   904‐1470
    13 to 15                    CCF2                                                  Fund              Scott Eaton c/o Chris Eaton                                                         $                 49,200.00        Equity Investor         $            20,000.00   13‐1470
     96‐99             8326‐58 S Ellis Avenue                                         Estate Property   Scott Eaton c/o Chris Eaton                                                         $                549,101.33       Investor‐Lender          $            60,000.00   96‐1470
      122           7616‐7624 S Phillips Avenue                                       Former Property   Scott Naftulin dba N North End, LLC                                                 $                 71,946.23       Investor‐Lender          $            50,000.00   122‐216
      123            7107‐29 S Bennett Avenue                                         Former Property   Scott Naftulin dba N North End, LLC                                                 $                 71,946.23       Investor‐Lender          $            25,000.00   123‐216
      125             6548 N Campbell Avenue                                          Former Property   Scott Naftulin dba N North End, LLC                                                 $                 71,946.23       Investor‐Lender          $            25,000.00   125‐216
       61            7237‐43 S Bennett Avenue                                         Estate Property   Scott Tyler Williams as Custodian of New Idea Properties, Inc Profit Sharing Plan   $                 20,000.00       Investor‐Lender          $            20,000.00   61‐1468

        4            5450‐52 S Indiana Avenue                 118‐132 E Garfield      Estate Property   SeaDog Properties LLC / Darrell Odum                                                $                134,000.00       Investor‐Lender          $            24,000.00   4‐381
      67                1131‐41 E 79th Place                                          Estate Property   SeaDog Properties LLC / Darrell Odum                                                $                134,000.00       Investor‐Lender          $            50,000.00   67‐381
       95             8201 S Kingston Avenue                                          Estate Property   SeaDog Properties LLC / Darrell Odum                                                $                134,000.00       Investor‐Lender          $            60,000.00   95‐381
       77          7750‐58 S Muskegon Avenue                2818‐36 E 78th Street     Estate Property   Self Directed IRA Services, Inc., Custodian FBO Ping Liu IRA                        $                 57,290.32       Investor‐Lender          $            50,000.00   77‐544
       1             1700‐08 Juneway Terrace                                          Estate Property   Serva Fidem, LLC                                                                    $                 78,510.69       Investor‐Lender          $            34,930.00   1‐1425
      100         11117‐11119 S Longwood Drive                                        Estate Property   Serva Fidem, LLC                                                                    $                 78,510.69       Investor‐Lender          $            25,000.00   100‐1425
      91              7701‐03 S Essex Avenue                                          Estate Property   Shane E Veltri                                                                      $                465,000.00        Equity Investor         $           465,000.00   91‐733
       7            7109‐19 S Calumet Avenue                                          Estate Property   SHANKAR THIRUPPATHI                                                                 $                100,000.00       Investor‐Lender          $           100,000.00   7‐718
      68           6217‐27 S Dorchester Avenue                                        Estate Property   SHANKAR THIRUPPATHI                                                                 $                100,000.00       Investor‐Lender          $            84,190.00   68‐718
      69               6250 S Mozart Avenue                 2832‐36 W 63rd Street     Estate Property   SHANKAR THIRUPPATHI                                                                 $                100,000.00       Investor‐Lender          $            16,310.00   69‐718
       4            5450‐52 S Indiana Avenue                  118‐132 E Garfield      Estate Property   Shatar Capital Inc et al                                                            $              2,341,486.08     Institutional Lender                                4‐1483
                                                                                                                                                                                                                              Investor‐Lender
       5            7749‐59 S Yates Boulevard                                         Estate Property   Shatar Capital Inc et al                                                            $              2,341,486.08     Institutional Lender                                5‐1483
                                                                                                                                                                                                                              Investor‐Lender
      95             8201 S Kingston Avenue                                           Estate Property   Shelton Gandy                                                                       $                 82,360.00        Equity Investor         $            50,000.00   95‐630
       2           4533‐47 S Calumet Avenue                                           Estate Property   Shengjie Li and Yuye Xu                                                             $                165,441.12       Investor‐Lender          $            50,000.00   2‐1340
       9               8100 S Essex Avenue                 2449‐57 East 81st Street   Estate Property   Shengjie Li and Yuye Xu                                                             $                165,441.12       Investor‐Lender          $           100,000.00   9‐1340
      68          6217‐27 S Dorchester Avenue                                         Estate Property   Shengjie Li and Yuye Xu                                                             $                165,441.12       Investor‐Lender          $            35,000.00   68‐1340
      94            816‐20 E Marquette Road                                           Estate Property   Shengjie Li and Yuye Xu                                                             $                165,441.12       Investor‐Lender          $            25,000.00   94‐1340
      60            7026‐42 S Cornell Avenue                                          Estate Property   Sherri Agnifili                                                                     $                 30,962.50       Investor‐Lender          $            30,000.00   60‐348
      69              6250 S Mozart Avenue                  2832‐36 W 63rd Street     Estate Property   Sheryl F. Mennella (Madison Trust Company Custodian FBO Sheryl F. Mennella          $                 18,150.00       Investor‐Lender          $            18,150.00   69‐731
                                                                                                        Roth IRA M1604088)
       5            7749‐59 S Yates Boulevard                                         Estate Property   Shlomo Zussman                                                                      $                 25,000.00       Investor‐Lender          $            25,000.00   5‐579
     13‐15            2909‐19 E 78th Street                                           Fund              Shreeja LLC                                                                         $                 55,814.04       Investor‐Lender          $            50,000.00   13‐1444
                     7549‐59 S Essex Avenue
                   8047‐55 S Manistee Avenue
      82            6355‐59 S Talman Avenue                 2616‐22 W 64th Street     Estate Property   Sidney Cohn                                                                         $                 87,049.30      Investor‐Lender           $            60,000.00   82‐720
       73            7255‐57 S Euclid Avenue                1940‐44 E 73rd Street     Estate Property   Sidney Glenn Willeford II                                                           $                 75,000.00      Investor‐Lender           $            75,000.00   73‐1083
       74            3074 Cheltenham Place                    7836 S Shore Drive      Estate Property   Sidney Haggins                                                                      $                 85,000.00      Investor‐Lender           $            30,000.00   74‐1434
       78           7201 S Constance Avenue                 1825‐31 E 72nd Street     Estate Property   Sidney Haggins                                                                      $                 70,000.00      Investor‐Lender           $            50,000.00   78‐1431
       88          7546‐48 S Saginaw Avenue                                           Estate Property   Sidney Haggins                                                                      $                 70,000.00      Investor‐Lender           $            20,000.00   88‐1431
    102‐106          7927‐49 S Essex Avenue                                           Estate Property   Sidney Haggins                                                                      $                 85,000.00      Investor‐Lender           $            35,000.00   102‐1434
     96‐99            8326‐58 S Ellis Avenue                                          Estate Property   Sidney Haggins                                                                      $                 85,000.00      Investor‐Lender           $            20,000.00   96‐1434
        1           1700‐08 Juneway Terrace                                           Estate Property   Simon Usuga                                                                         $                 95,000.00      Investor‐Lender           $            45,000.00   1‐681
     96‐99            8326‐58 S Ellis Avenue                                          Estate Property   Simon Usuga                                                                         $                 95,000.00      Investor‐Lender           $            50,000.00   96‐681
      55              8107‐09 S Ellis Avenue                                          Estate Property   SLB Ventures, LLC                                                                   $                215,215.48      Investor‐Lender           $            95,000.00   55‐565
       56              8209 S Ellis Avenue                                            Estate Property   SLB Ventures, LLC                                                                   $                215,215.48      Investor‐Lender           $            24,960.00   56‐565
      109           4750‐52 S Indiana Avenue                                          Estate Property   SLB Ventures, LLC                                                                   $                215,215.48      Investor‐Lender           $            80,040.00   109‐565
       5            7749‐59 S Yates Boulevard                                         Estate Property   Smart Technologies PSP, Nizarali Jetha ‐ Manager                                    $                106,458.35      Investor‐Lender           $           100,000.00   5‐1458
       81          4317‐19 S Michigan Avenue                                          Estate Property   Sohm Strategic Investments, LLC                                                     $                 77,250.00      Investor‐Lender           $            25,000.00   81‐865
      88           7546‐48 S Saginaw Avenue                                           Estate Property   Sohm Strategic Investments, LLC                                                     $                 77,250.00      Investor‐Lender           $            50,000.00   88‐865
      904                     SSDF4                                                   Fund              Sohm Strategic Investments, LLC                                                     $                 77,250.00 Investor‐Lender and Equity     $            75,000.00   904‐865
                                                                                                                                                                                                                                 Investor
    13 to 15                  CCF2                                                    Fund              Sonoca Corporation                                                                  $                 47,630.56       Equity Investor          $            50,000.00   13‐422




                                                                                                                                   36
                                                                                                                               Exhibit 5
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Property Number           Property Address                       Alternative Address               Type                                      Claimant Name                              Claimed Amount (Total     Claim Category as Identified   Amount Claimed to be       Claim Number
                                                                                                                                                                                       Claimed Amount in Claim           on Claim Form            Invested in Property
                                                                                                                                                                                       Category as Identified on
                                                                                                                                                                                             Claim Form)
      126           5201‐5207 W Washington Blvd                                           Former Property   Soujanya Simhadri                                                         $                 25,000.00       Investor‐Lender          $            25,000.00   126‐766
       9                 8100 S Essex Avenue                   2449‐57 East 81st Street   Estate Property   Sounjay K. Gairola Revocable Trust (Sounjay K. Gairola Trustee)           $                148,278.93       Investor‐Lender          $            50,000.00   9‐1439
      61              7237‐43 S Bennett Avenue                                            Estate Property   Sounjay K. Gairola Revocable Trust (Sounjay K. Gairola Trustee)           $                148,278.93       Investor‐Lender          $            35,000.00   61‐1439
      73               7255‐57 S Euclid Avenue                  1940‐44 E 73rd Street     Estate Property   Sounjay K. Gairola Revocable Trust (Sounjay K. Gairola Trustee)           $                148,278.93       Investor‐Lender          $            60,000.00   73‐1439
       1               1700‐08 Juneway Terrace                                            Estate Property   Source One Funding, LLC                                                   $                 51,534.99       Investor‐Lender          $            50,000.00   1‐691
       1               1700‐08 Juneway Terrace                                            Estate Property   Spectra Investments LLC/ Deborah L. Mullica                               $                579,288.00       Investor‐Lender          $           110,000.00   1‐1220
      77             7750‐58 S Muskegon Avenue                  2818‐36 E 78th Street     Estate Property   Spectra Investments LLC/ Deborah L. Mullica                               $                579,288.00       Investor‐Lender          $            82,255.00   77‐1220
      89              7600‐10 S Kingston Avenue                 2527‐29 E 76th Street     Estate Property   Spectra Investments LLC/ Deborah L. Mullica                               $                579,288.00 Investor‐Lender and Equity     $           126,126.00   89‐1220
                                                                                                                                                                                                                            Investor
      115               109 N Laramie Avenue                                              Former Property   Spectra Investments LLC/ Deborah L. Mullica                               $                579,288.00       Investor‐Lender          $           105,772.00   115‐1220
      116         1102 Bingham St, Houston TX 77007                                       Estate Property   Spectra Investments LLC/ Deborah L. Mullica                               $                579,288.00       Investor‐Lender          $           139,971.00   116‐1220
      904                       SSDF4                                                     Fund              Spectra Investments LLC/ Deborah L. Mullica                               $                579,288.00        Equity Investor         $           260,907.00   904‐1220
      912           South Shore Property Holdings                                         Fund              Spectra Investments LLC/ Deborah L. Mullica                               $                579,288.00        Equity Investor         $           110,000.00   912‐1220
       67                1131‐41 E 79th Place                                             Estate Property   Sri Navalpakkam (AniPri Enterprises LLC)                                  $                259,775.00       Investor‐Lender          $           159,775.00   67‐484
    13 to 15                     CCF2                                                     Fund              Sri Navalpakkam (AniPri Enterprises LLC)                                  $                259,775.00        Equity Investor         $           100,000.00   13‐484
      904                       SSDF4                                                     Fund              Stanley J Kessock (Madison Trust Company FBO Stanley J. Kessock)          $                 82,400.00 Investor‐Lender and Equity     $            80,000.00   904‐866
                                                                                                                                                                                                                            Investor
    13 to 15                     CCF2                                                     Fund              STANLEY SCOTT                                                             $                 56,845.00       Investor‐Lender          $            60,000.00   13‐146
       75             7625‐33 S East End Avenue                                           Estate Property   Stephan Tang                                                              $                123,256.97       Investor‐Lender          $            25,185.00   75‐1111
       88             7546‐48 S Saginaw Avenue                                            Estate Property   Stephan Tang                                                              $                 50,000.00        Equity Investor         $            50,000.00   88‐1111
      100           11117‐11119 S Longwood Drive                                          Estate Property   Stephan Tang                                                              $                 50,000.00        Equity Investor         $            50,000.00   100‐1111
      115               109 N Laramie Avenue                                              Former Property   Stephan Tang                                                              $                123,256.97       Investor‐Lender          $            50,000.00   115‐1111
        2             4533‐47 S Calumet Avenue                                            Estate Property   Stephen V Mancuso, Laura L Mancuso, SLM Property Investments, IRA Trust   $                 50,000.00       Investor‐Lender          $            50,000.00   2‐769
                                                                                                            Services Co. FBO SLM Property INvestments IRA Account #5877315203

        5              7749‐59 S Yates Boulevard                                          Estate Property   Steve Weera Tonasut and Esther Kon Tonasut                                $                 50,000.00        Equity Investor         $            50,000.00   5‐154
       84                7051 S Bennett Avenue                                            Estate Property   Steve Weera Tonasut and Esther Kon Tonasut                                $                 50,000.00       Investor‐Lender          $            50,000.00   84‐312
      908                        SSDF8                                                    Fund              Steve Weera Tonasut and Esther Kon Tonasut                                $                 16,033.00        Equity Investor         $            16,033.00   908‐975
      937                    Mezzazine Fund                                               Fund              Steve Weera Tonasut and Esther Kon Tonasut                                $                 33,967.00        Equity Investor         $            33,967.00   937‐390
    10 to 12                      CCF1                                                    Fund              Steve Weera Tonasut and Esther Kon Tonasut                                $                100,000.00        Equity Investor         $           100,000.00   10‐303
     13‐15                2909‐19 E 78th Street                                           Fund              Steve Weera Tonasut and Esther Kon Tonasut                                $                150,000.00        Equity Investor         $           150,000.00   13‐304
                        7549‐59 S Essex Avenue
                      8047‐55 S Manistee Avenue
       55                 8107‐09 S Ellis Avenue                                          Estate Property   Steven and Linda Lipschultz                                               $                350,360.00       Investor‐Lender          $            73,360.00   55‐1442
       77            7750‐58 S Muskegon Avenue                  2818‐36 E 78th Street     Estate Property   Steven and Linda Lipschultz                                               $                350,360.00       Investor‐Lender          $           100,000.00   77‐1442
       93             7953‐59 S Marquette Road                  2708‐10 E 80th Street     Estate Property   Steven and Linda Lipschultz                                               $                350,360.00       Investor‐Lender          $           177,000.00   93‐1442
        2             4533‐47 S Calumet Avenue                                            Estate Property   Steven C Noss                                                             $                 69,388.00       Investor‐Lender          $            50,000.00   2‐361
        6             6437‐41 S Kenwood Avenue                                            Estate Property   Steven C Noss                                                             $                 69,388.00       Investor‐Lender          $            25,000.00   6‐361
      124                6801 S East End Avenue                                           Former Property   Steven C Noss                                                             $                 69,388.00       Investor‐Lender          $            17,560.00   124‐361
        4              5450‐52 S Indiana Avenue                   118‐132 E Garfield      Estate Property   Steven G. Mouty                                                           $                 50,000.00       Investor‐Lender          $            50,000.00   4‐566
        5              7749‐59 S Yates Boulevard                                          Estate Property   Steven G. Mouty                                                           $                 50,000.00       Investor‐Lender          $            50,000.00   5‐821
      100           11117‐11119 S Longwood Drive                                          Estate Property   Steven G. Mouty                                                           $                465,000.00        Equity Investor         $           150,000.00   100‐821
      904                        SSDF4                                                    Fund              Steven G. Mouty                                                           $                465,000.00        Equity Investor         $           100,000.00   904‐821
                     (EB South Chicago 1, 2, 3, &4)
    102‐106              7927‐49 S Essex Avenue                                           Estate Property   Steven G. Mouty                                                           $                465,000.00        Equity Investor         $           100,000.00   102‐821
     13‐15                2909‐19 E 78th Street                                           Fund              Steven G. Mouty                                                           $                465,000.00        Equity Investor         $           115,000.00   13‐821
                        7549‐59 S Essex Avenue
                      8047‐55 S Manistee Avenue
       78              7201 S Constance Avenue                  1825‐31 E 72nd Street     Estate Property   Steven J. Talyai                                                          $                175,000.00       Investor‐Lender                                   78‐131
      124                6801 S East End Avenue                                           Former Property   Steven J. Talyai                                                          $                175,000.00       Investor‐Lender                                   124‐131
    13 to 15                      CCF2                                                    Fund              Steven K Chennappan                                                       $                100,000.00       Investor‐Lender                                   13‐1266
       78              7201 S Constance Avenue                  1825‐31 E 72nd Street     Estate Property   Steven K. Chennappan IRA # 17293‐31                                       $                128,000.00       Investor‐Lender          $            10,000.00   78‐206
       92                7748‐52 S Essex Avenue                 2450‐52 E 78th Street     Estate Property   Steven K. Chennappan IRA # 17293‐31                                       $                128,000.00       Investor‐Lender          $            18,000.00   92‐206
       93             7953‐59 S Marquette Road                  2708‐10 E 80th Street     Estate Property   Steven K. Chennappan IRA # 17293‐31                                       $                128,000.00       Investor‐Lender          $            50,000.00   93‐206
      126           5201‐5207 W Washington Blvd                                           Former Property   Steven K. Chennappan IRA # 17293‐31                                       $                128,000.00       Investor‐Lender          $            50,000.00   126‐206
      904                        SSDF4                                                    Fund              Steven K. Chennappan IRA # 17293‐31                                       $                100,000.00        Equity Investor         $           100,000.00   904‐206
       60              7026‐42 S Cornell Avenue                                           Estate Property   Steven Lipschultz                                                         $                 71,126.00        Equity Investor         $            31,635.00   60‐1391
       68            6217‐27 S Dorchester Avenue                                          Estate Property   Steven Lipschultz                                                         $                 71,126.00        Equity Investor         $            22,000.00   68‐1391
       68            6217‐27 S Dorchester Avenue                                          Estate Property   Steven Lipschultz                                                         $                 85,000.00        Equity Investor         $            85,000.00   68‐1399
      125               6548 N Campbell Avenue                                            Former Property   Steven Lipschultz                                                         $                 71,126.00       Investor‐Lender          $            38,000.00   125‐1391
      126           5201‐5207 W Washington Blvd                                           Former Property   Steven Lipschultz                                                         $                 71,126.00        Equity Investor         $            50,000.00   126‐1407
      904                        SSDF4                                                    Fund              Steven Lipschultz                                                         $                 71,126.00        Equity Investor         $            71,126.00   904‐1391
        1              1700‐08 Juneway Terrace                                            Estate Property   Steven R. Bald                                                            $                586,378.00       Investor‐Lender          $            60,000.00   1‐399
       58             5955 S Sacramento Avenue                  2948‐56 W 60th Street     Estate Property   Steven R. Bald                                                            $                586,378.00       Investor‐Lender          $            40,000.00   58‐399




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                                                                                                                            Exhibit 5
                                                   Case: 1:18-cv-05587 Document #: 1280     Filed:
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                                                                                                                      Case No. 18‐cv‐5587




Property Number            Property Address                   Alternative Address               Type                                    Claimant Name                            Claimed Amount (Total     Claim Category as Identified Amount Claimed to be          Claim Number
                                                                                                                                                                                Claimed Amount in Claim           on Claim Form           Invested in Property
                                                                                                                                                                                Category as Identified on
                                                                                                                                                                                      Claim Form)
       61              7237‐43 S Bennett Avenue                                        Estate Property   Steven R. Bald                                                        $                586,378.00       Investor‐Lender        $               60,000.00   61‐399
       62                7834‐44 S Ellis Avenue                                        Estate Property   Steven R. Bald                                                        $                586,378.00       Investor‐Lender        $             181,378.00    62‐399
       64             4611‐17 S Drexel Boulevard                                       Estate Property   Steven R. Bald                                                        $                586,378.00       Investor‐Lender        $             180,000.00    64‐399
       69                6250 S Mozart Avenue                2832‐36 W 63rd Street     Estate Property   Steven R. Bald                                                        $                586,378.00       Investor‐Lender        $               40,000.00   69‐399
       75             7625‐33 S East End Avenue                                        Estate Property   Steven R. Bald                                                        $                586,378.00       Investor‐Lender                                    75‐399
       76             7635‐43 S East End Avenue                                        Estate Property   Steven R. Bald                                                        $                586,378.00       Investor‐Lender                                    76‐399
       79         6160‐6212 S Martin Luther King Drive                                 Estate Property   Steven R. Bald                                                        $                586,378.00       Investor‐Lender        $               30,000.00   79‐399
      100           11117‐11119 S Longwood Drive                                       Estate Property   Steven R. Bald                                                        $                 45,000.00        Equity Investor       $               45,000.00   100‐399
      124               6801 S East End Avenue                                         Former Property   Steven R. Bald                                                        $                586,378.00       Investor‐Lender        $               20,000.00   124‐339
     96‐99               8326‐58 S Ellis Avenue                                        Estate Property   Steven R. Bald                                                        $                586,378.00       Investor‐Lender        $               60,000.00   96‐399
        4              5450‐52 S Indiana Avenue                118‐132 E Garfield      Estate Property   Steven Roche                                                          $                127,821.13       Investor‐Lender        $                5,000.00   4‐329
        6             6437‐41 S Kenwood Avenue                                         Estate Property   Steven Roche                                                          $                127,821.13       Investor‐Lender        $               42,319.00   6‐329
       68            6217‐27 S Dorchester Avenue                                       Estate Property   Steven Roche                                                          $                127,821.13       Investor‐Lender        $               10,000.00   68‐329
       72              7024‐32 S Paxton Avenue                                         Estate Property   Steven Roche                                                          $                127,821.13       Investor‐Lender        $                9,500.00   72‐329
       79         6160‐6212 S Martin Luther King Drive                                 Estate Property   Steven Roche                                                          $                127,821.13       Investor‐Lender        $               50,000.00   79‐329
       82              6355‐59 S Talman Avenue               2616‐22 W 64th Street     Estate Property   Steven Roche                                                          $                127,821.13       Investor‐Lender        $               10,000.00   82‐329
       85            7201‐07 S Dorchester Avenue               1401 E 72nd Street      Estate Property   Steven Roche                                                          $                127,821.13       Investor‐Lender        $               20,000.00   85‐329
      100           11117‐11119 S Longwood Drive                                       Estate Property   Steven Trzaska                                                        $                167,000.00       Investor‐Lender        $             100,000.00    100‐141
    10 to 12                      CCF1                                                 Fund              Steven Trzaska                                                        $                167,000.00       Investor‐Lender        $               67,000.00   10‐141
       67                 1131‐41 E 79th Place                                         Estate Property   Stilwell, Heidi                                                       $                125,000.00       Investor‐Lender        $               25,000.00   67‐2055
    10 to 12                      CCF1                                                 Fund              Stilwell, Heidi                                                       $                125,000.00       Investor‐Lender        $             100,000.00    10‐2055
        9                 8100 S Essex Avenue               2449‐57 East 81st Street   Estate Property   Strata Trust Company FBO David J Geldart                              $                230,621.00       Investor‐Lender                                    9‐1010
       75             7625‐33 S East End Avenue                                        Estate Property   Strata Trust Company FBO David J Geldart                              $                230,621.00       Investor‐Lender                                    75‐1010
      115                109 N Laramie Avenue                                          Former Property   Strata Trust Company FBO David J Geldart                              $                230,621.00       Investor‐Lender                                    115‐1010
       68            6217‐27 S Dorchester Avenue                                       Estate Property   Strata Trust Company FBO Gary Wayne Williams                          $                 50,000.00        Equity Investor       $               50,000.00   68‐193
       83               6356 S California Avenue              2804 W 64th Street       Estate Property   Strata Trust Company FBO Vincent Michael Spreuwenberg IRA 201207909   $                 39,976.38       Investor‐Lender        $               35,067.00   83‐1160

        4              5450‐52 S Indiana Avenue                118‐132 E Garfield      Estate Property   Strategic Wealth Ventures, LLC, Brian Kothman Member                  $                 70,866.00       Investor‐Lender         $             35,655.00    4‐595
        5              7749‐59 S Yates Boulevard                                       Estate Property   Strategic Wealth Ventures, LLC, Brian Kothman Member                  $                 70,866.00       Investor‐Lender         $             23,626.00    5‐595
     96‐99               8326‐58 S Ellis Avenue                                        Estate Property   Strategic Wealth Ventures, LLC, Brian Kothman Member                  $                 70,866.00       Investor‐Lender         $             11,585.00    96‐595
       67                 1131‐41 E 79th Place                                         Estate Property   Stuart Edelman                                                        $                167,250.00       Investor‐Lender         $             90,000.00    67‐1201
       95               8201 S Kingston Avenue                                         Estate Property   Stuart Edelman                                                        $                167,250.00       Investor‐Lender         $             75,000.00    95‐1201
       80                2736‐44 W 64th Street                                         Estate Property   Sunshine Bliss LLC                                                    $                 32,800.00       Investor‐Lender         $             32,800.00    80‐1437
      123              7107‐29 S Bennett Avenue                                        Former Property   Sunwest Trust Custodian FBO Jose G. Galarza IRA                       $                 44,789.00       Investor‐Lender         $             50,000.00    123‐1394
    10 to 12                     CCF1                                                  Fund              Sunwest Trust FBO Francis Webb 1510692                                $                 27,000.00        Equity Investor        $             27,000.00    10‐288
       63             4520‐26 S Drexel Boulevard                                       Estate Property   Sunwest Trust‐FBO Mark P. Mouty                                       $                100,000.00        Equity Investor        $            100,000.00    63‐334
        4              5450‐52 S Indiana Avenue                118‐132 E Garfield      Estate Property   Susan Kalisiak‐Tingle                                                 $                469,921.00       Investor‐Lender         $              9,274.00    4‐1438
        5              7749‐59 S Yates Boulevard                                       Estate Property   Susan Kalisiak‐Tingle                                                 $                469,921.00       Investor‐Lender         $             48,226.00    5‐1438
        6             6437‐41 S Kenwood Avenue                                         Estate Property   Susan Kalisiak‐Tingle                                                 $                469,921.00       Investor‐Lender         $             50,000.00    6‐1438
       74               3074 Cheltenham Place                 7836 S Shore Drive       Estate Property   Susan Kalisiak‐Tingle                                                 $                469,921.00       Investor‐Lender         $             50,000.00    74‐1438
      904                  SSDF4 Legacy Fund                                           Fund              Susan Kalisiak‐Tingle                                                 $                106,000.00        Equity Investor        $             50,000.00    904‐1438

     96‐99                8326‐58 S Ellis Avenue                                       Estate Property   Susan Kalisiak‐Tingle                                                 $                469,921.00       Investor‐Lender         $             40,000.00    96‐1438
       81             4317‐19 S Michigan Avenue                                        Estate Property   SUSAN MARTINEZ                                                        $                 51,000.00       Investor‐Lender         $             50,000.00    81‐701
        5              7749‐59 S Yates Boulevard                                       Estate Property   Teena B Ploeger                                                       $                 18,500.00       Investor‐Lender         $             18,500.00    5‐521
        1               1700‐08 Juneway Terrace                                        Estate Property   Teresita M. Shelton                                                   $                426,513.00       Investor‐Lender                                    1‐330
        9                  8100 S Essex Avenue              2449‐57 East 81st Street   Estate Property   Teresita M. Shelton                                                   $                426,513.00       Investor‐Lender         $             26,513.00    9‐330
       58             5955 S Sacramento Avenue               2948‐56 W 60th Street     Estate Property   Teresita M. Shelton                                                   $                426,513.00       Investor‐Lender         $             25,000.00    58‐330
       60               7026‐42 S Cornell Avenue                                       Estate Property   Teresita M. Shelton                                                   $                426,513.00       Investor‐Lender         $             50,000.00    60‐330
       61              7237‐43 S Bennett Avenue                                        Estate Property   Teresita M. Shelton                                                   $                426,513.00       Investor‐Lender         $             15,000.00    61‐330
       64             4611‐17 S Drexel Boulevard                                       Estate Property   Teresita M. Shelton                                                   $                426,513.00       Investor‐Lender                                    64‐330
       70                638‐40 N Avers Avenue                                         Estate Property   Teresita M. Shelton                                                   $                426,513.00       Investor‐Lender         $              2,000.00    70‐330
       71                  701‐13 S 5th Avenue                   414 Walnut            Estate Property   Teresita M. Shelton                                                   $                426,513.00       Investor‐Lender         $             50,000.00    71‐330
       73               7255‐57 S Euclid Avenue              1940‐44 E 73rd Street     Estate Property   Teresita M. Shelton                                                   $                426,513.00       Investor‐Lender                                    73‐330
       85            7201‐07 S Dorchester Avenue              1401 E 72nd Street       Estate Property   Teresita M. Shelton                                                   $                426,513.00       Investor‐Lender         $             50,000.00    85‐330
       86              7442‐48 S Calumet Avenue                                        Estate Property   Teresita M. Shelton                                                   $                426,513.00       Investor‐Lender         $             30,000.00    86‐330
       92                7748‐52 S Essex Avenue              2450‐52 E 78th Street     Estate Property   Teresita M. Shelton                                                   $                426,513.00       Investor‐Lender         $             30,000.00    92‐330
      118                 400 S Kilbourn Avenue                                        Former Property   Teresita M. Shelton                                                   $                426,513.00       Investor‐Lender         $             50,000.00    118‐330
    10 to 12                       CCF1                                                Fund              Teresita M. Shelton                                                   $                426,513.00       Investor‐Lender         $             50,000.00    10‐330
       79         6160‐6212 S Martin Luther King Drive                                 Estate Property   Terri S. Tracy                                                        $                265,000.00       Investor‐Lender         $             25,000.00    79‐272
       82              6355‐59 S Talman Avenue               2616‐22 W 64th Street     Estate Property   Terri S. Tracy                                                        $                265,000.00       Investor‐Lender         $             70,000.00    82‐272
       87                  7508 S Essex Avenue               2453‐59 E 75th Street     Estate Property   Terri S. Tracy                                                        $                265,000.00       Investor‐Lender         $            120,000.00    87‐272




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                                                                                                                             Exhibit 5
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                                                                                                                       Case No. 18‐cv‐5587




Property Number            Property Address                    Alternative Address                Type                                    Claimant Name                                      Claimed Amount (Total    Claim Category as Identified   Amount Claimed to be       Claim Number
                                                                                                                                                                                           Claimed Amount in Claim           on Claim Form            Invested in Property
                                                                                                                                                                                           Category as Identified on
                                                                                                                                                                                                  Claim Form)
      94               816‐20 E Marquette Road                                           Estate Property   Terri S. Tracy                                                                  $               265,000.00       Investor‐Lender          $            50,000.00   94‐272
       6              6437‐41 S Kenwood Avenue                                           Estate Property   Terry L. Merrill, Sheryl R. Merrill                                             $               299,500.00       Investor‐Lender          $            50,000.00   6‐602
      60               7026‐42 S Cornell Avenue                                          Estate Property   Terry L. Merrill, Sheryl R. Merrill                                             $               299,500.00       Investor‐Lender          $            50,000.00   60‐602
      74                3074 Cheltenham Place                  7836 S Shore Drive        Estate Property   Terry L. Merrill, Sheryl R. Merrill                                             $               299,500.00       Investor‐Lender          $            50,000.00   74‐602
      77             7750‐58 S Muskegon Avenue                2818‐36 E 78th Street      Estate Property   Terry L. Merrill, Sheryl R. Merrill                                             $               299,500.00       Investor‐Lender          $            49,500.00   77‐602
      79          6160‐6212 S Martin Luther King Drive                                   Estate Property   Terry L. Merrill, Sheryl R. Merrill                                             $               299,500.00       Investor‐Lender          $            50,000.00   79‐602
      91                7701‐03 S Essex Avenue                                           Estate Property   Terry L. Merrill, Sheryl R. Merrill                                             $               299,500.00       Investor‐Lender          $            50,000.00   91‐602
      64              4611‐17 S Drexel Boulevard                                         Estate Property   Terry M McDonald ‐ Horizon Trust Custodian FBO Terry M McDonald IRA             $               137,333.33       Investor‐Lender          $            50,000.00   64‐571

      88               7546‐48 S Saginaw Avenue                                          Estate Property   Terry M McDonald ‐ Horizon Trust Custodian FBO Terry M McDonald IRA             $               137,333.33       Investor‐Lender          $            87,333.33   88‐571

      901                        SSDF1                                                   Fund              Terry M McDonald ‐ Horizon Trust Custodian FBO Terry M McDonald IRA             $               137,333.33        Equity Investor         $           137,333.33   901‐571

       73               7255‐57 S Euclid Avenue               1940‐44 E 73rd Street      Estate Property   Terry M McDonald and Rhonda R McDonald                                          $                50,000.00       Investor‐Lender          $            50,000.00   73‐124
       61              7237‐43 S Bennett Avenue                                          Estate Property   Teton Equity Group LLC                                                          $               208,439.99       Investor‐Lender          $           100,000.00   61‐1205
       71                 701‐13 S 5th Avenue                      414 Walnut            Estate Property   Teton Equity Group LLC                                                          $               208,439.99       Investor‐Lender          $           100,000.00   71‐1205
      N/A                         N/A                                                    Other             Texas Comptroller of Public Accounts                                            $                42,261.72            Other                                        613
       68            6217‐27 S Dorchester Avenue                                         Estate Property   TFG Retirement Trust                                                            $               340,886.77       Investor‐Lender          $            50,000.00   68‐665
      145             4755 S St Lawrence Avenue                                          Former Property   TFG Retirement Trust                                                            $               340,886.77       Investor‐Lender          $           261,376.12   145‐665
    10 to 12                      CCF1                                                   Fund              TFG Retirement Trust                                                            $               340,886.77       Investor‐Lender          $           100,000.00   10‐665
       81             4317‐19 S Michigan Avenue                                          Estate Property   Thaddeus Gala                                                                   $               100,000.00       Investor‐Lender                                   81‐2070
        9                 8100 S Essex Avenue                                            Estate Property   Thaddeus Gala (Grand Mountain)                                                  $               100,000.00       Investor‐Lender                                   9‐2070
       62                7834‐44 S Ellis Avenue                                          Estate Property   Thaddeus Gala (Grand Mountain)                                                  $               100,000.00       Investor‐Lender                                   62‐2070
       77            7750‐58 S Muskegon Avenue                2818‐36 E 78th Street      Estate Property   The Anchor Group LLC ‐ Ronald J. Hansen, Managing Partner (c/o Viola Hansen)    $                25,000.00       Investor‐Lender          $            25,000.00   77‐949

      80                 2736‐44 W 64th Street                                           Estate Property   The Anchor Group LLC ‐ Ronald J. Hansen, Managing Partner (c/o Viola Hansen)    $                25,000.00       Investor‐Lender          $            30,000.00   80‐949

       93              7953‐59 S Marquette Road               2708‐10 E 80th Street      Estate Property   The Bonita R. Skurski & Steven E Skurski Trust                                  $                98,452.43        Investor‐Lender         $            80,000.00   93‐2093
      115                109 N Laramie Avenue                                            Former Property   The Bonita R. Skurski & Steven E Skurski Trust                                  $                98,452.43        Investor‐Lender         $            20,000.00   115‐2093
       77            7750‐58 S Muskegon Avenue                2818‐36 E 78th Street      Estate Property   The Edward Falkowitz Living Trust                                               $               305,584.73        Investor‐Lender                                  77‐575
       90             7656‐58 S Kingston Avenue             2514‐2520 East 77th Street   Estate Property   The Edward Falkowitz Living Trust                                               $               305,584.73        Investor‐Lender                                  90‐575
      120               7823‐27 S Essex Avenue                                           Former Property   The Edward Falkowitz Living Trust                                               $               305,584.73        Investor‐Lender                                  120‐575
      63              4520‐26 S Drexel Boulevard                                         Estate Property   The Entrust Group FBO Dee Ann Nason 7230011277                                  $               150,000.00        Investor‐Lender         $            50,000.00   63‐790
       71                 701‐13 S 5th Avenue                      414 Walnut            Estate Property   The Entrust Group FBO Dee Ann Nason 7230011277                                  $               150,000.00        Investor‐Lender         $            50,000.00   71‐790
       79         6160‐6212 S Martin Luther King Drive                                   Estate Property   The Entrust Group FBO Dee Ann Nason 7230011277                                  $               150,000.00        Investor‐Lender         $            50,000.00   79‐790
       76             7635‐43 S East End Avenue                                          Estate Property   THE INCOME FUND, LLC Thomas Garlock, Managing Member                            $               771,830.76        Investor‐Lender         $            80,000.00   76‐1421
       77            7750‐58 S Muskegon Avenue                2818‐36 E 78th Street      Estate Property   THE INCOME FUND, LLC Thomas Garlock, Managing Member                            $               771,830.76        Investor‐Lender         $           150,000.00   77‐1421
      110          5618‐20 S Martin Luther King Drive                                    Estate Property   THE INCOME FUND, LLC Thomas Garlock, Managing Member                            $               771,830.76        Investor‐Lender         $           429,650.00   110‐1421
      152                 7635 S Coles Avenue                                            Former Property   THE INCOME FUND, LLC Thomas Garlock, Managing Member                            $               771,830.76        Investor‐Lender         $           105,000.00   152‐1421
       7               7109‐19 S Calumet Avenue                                          Estate Property   The Jacqueline C Rowe Living Trust                                              $               372,417.74        Investor‐Lender         $             9,000.00   7‐139
       71                 701‐13 S 5th Avenue                      414 Walnut            Estate Property   The Jacqueline C Rowe Living Trust                                              $               372,417.74        Investor‐Lender                                  71‐139
       82              6355‐59 S Talman Avenue                2616‐22 W 64th Street      Estate Property   The Jacqueline C Rowe Living Trust                                              $               372,417.74        Investor‐Lender                                  82‐139
      84                7051 S Bennett Avenue                                            Estate Property   The Jacqueline C Rowe Living Trust                                              $               372,417.74        Investor‐Lender         $            75,000.00   84‐139
       93              7953‐59 S Marquette Road               2708‐10 E 80th Street      Estate Property   The Jacqueline C Rowe Living Trust                                              $               372,417.74        Investor‐Lender                                  93‐139
      111                6558 S Vernon Avenue                 416‐24 E 66th Street       Estate Property   The Jacqueline C Rowe Living Trust                                              $               372,417.74        Investor‐Lender                                  111‐139
      118                400 S Kilbourn Avenue                                           Former Property   The Jacqueline C Rowe Living Trust                                              $               372,417.74        Investor‐Lender         $            80,000.00   118‐139
      122             7616‐7624 S Phillips Avenue                                        Former Property   The Jacqueline C Rowe Living Trust                                              $               372,417.74        Investor‐Lender         $            25,000.00   122‐139
      904                         SSDF4                                                  Fund              The Jacqueline C Rowe Living Trust                                              $               372,417.74         Equity Investor                                 904‐139
      N/A                          N/A                                                   Other             The Kraus Law Firm                                                              $                12,010.00         Trade Creditor                                  425
      N/A                          N/A                                                   Other             The Law Office of Richard K. Hellerman, PC                                      $                10,032.67    Independent Contractor                               142
       77            7750‐58 S Muskegon Avenue                2818‐36 E 78th Street      Estate Property   The Mennco Properties, LLC. Solo 401K Plan (by Robert Mennella Managing         $                50,000.00        Investor‐Lender         $            50,000.00   77‐1032
                                                                                                           Partner)
      69                 6250 S Mozart Avenue                 2832‐36 W 63rd Street      Estate Property   The Mennco Properties, LLC. Solo 401k Plan (Robert Mennella Managing Partner)   $                14,200.00       Investor‐Lender          $            14,200.00   69‐905

      58              5955 S Sacramento Avenue                2948‐56 W 60th Street      Estate Property   The Moore/Ferrer Family 2004 Trust                                              $               208,341.66       Investor‐Lender          $            50,000.00   58‐107
      82               6355‐59 S Talman Avenue                2616‐22 W 64th Street      Estate Property   The Moore/Ferrer Family 2004 Trust                                              $               208,341.66       Investor‐Lender          $            50,000.00   82‐107
     96‐99              8326‐58 S Ellis Avenue                                           Estate Property   The Moore/Ferrer Family 2004 Trust                                              $               208,341.66       Investor‐Lender          $           100,000.00   96‐107
      71                 701‐13 S 5th Avenue                       414 Walnut            Estate Property   The Peter Paul Nuspl Living Trust                                               $             1,123,278.00       Investor‐Lender          $           100,000.00   71‐2044
      75              7625‐33 S East End Avenue                                          Estate Property   The Peter Paul Nuspl Living Trust                                               $             1,123,278.00       Investor‐Lender          $           167,100.00   75‐2044
      76              7635‐43 S East End Avenue                                          Estate Property   The Peter Paul Nuspl Living Trust                                               $             1,123,278.00       Investor‐Lender          $            50,000.00   76‐2044
      83               6356 S California Avenue                2804 W 64th Street        Estate Property   The Peter Paul Nuspl Living Trust                                               $             1,123,278.00       Investor‐Lender          $           149,212.00   83‐2044
      84                7051 S Bennett Avenue                                            Estate Property   The Peter Paul Nuspl Living Trust                                               $             1,123,278.00       Investor‐Lender          $           175,530.00   84‐2044
      86              7442‐48 S Calumet Avenue                                           Estate Property   The Peter Paul Nuspl Living Trust                                               $             1,123,278.00       Investor‐Lender          $            11,121.00   86‐2044
      88              7546‐48 S Saginaw Avenue                                           Estate Property   The Peter Paul Nuspl Living Trust                                               $             1,123,278.00       Investor‐Lender          $            85,500.00   88‐2044




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Property Number            Property Address                    Alternative Address                Type                                  Claimant Name                        Claimed Amount (Total      Claim Category as Identified Amount Claimed to be          Claim Number
                                                                                                                                                                            Claimed Amount in Claim            on Claim Form           Invested in Property
                                                                                                                                                                            Category as Identified on
                                                                                                                                                                                  Claim Form)
       90              7656‐58 S Kingston Avenue            2514‐2520 East 77th Street   Estate Property   The Peter Paul Nuspl Living Trust                               $              1,123,278.00        Investor‐Lender        $               27,165.00   90‐2044
      111                 6558 S Vernon Avenue                 416‐24 E 66th Street      Estate Property   The Peter Paul Nuspl Living Trust                               $              1,123,278.00        Investor‐Lender        $             100,000.00    111‐2044
      118                 400 S Kilbourn Avenue                                          Former Property   The Peter Paul Nuspl Living Trust                               $              1,123,278.00        Investor‐Lender        $               95,000.00   118‐2044
      122             7616‐7624 S Phillips Avenue                                        Former Property   The Peter Paul Nuspl Living Trust                               $              1,123,278.00        Investor‐Lender        $               82,650.00   122‐2044
      124                6801 S East End Avenue                                          Former Property   The Peter Paul Nuspl Living Trust                               $              1,123,278.00        Investor‐Lender        $               30,000.00   124‐2044
      150                   526 W 78th Street                                            Former Property   The Peter Paul Nuspl Living Trust                               $              1,123,278.00        Investor‐Lender        $               50,000.00   125‐2044
      904                          SSDF4                                                 Fund              The Peter Paul Nuspl Living Trust                               $                 91,237.31         Equity Investor       $           1,123,278.00    904‐2044
        9                  8100 S Essex Avenue               2449‐57 East 81st Street    Estate Property   Therese Tibbits                                                 $                 77,826.66        Investor‐Lender        $               60,000.00   9‐208
       67                  1131‐41 E 79th Place                                          Estate Property   Thomas A Connely and Laurie A Connely                           $                 55,000.00         Equity Investor       $               55,000.00   67‐899
        4               5450‐52 S Indiana Avenue                118‐132 E Garfield       Estate Property   Thomas F. Gordon                                                $                200,000.00         Equity Investor       $             100,000.00    4‐2023
        6             6437‐41 S Kenwood Avenue                                           Estate Property   Thomas F. Gordon                                                $                 85,000.00         Equity Investor       $               85,000.00   6‐2023
       77             7750‐58 S Muskegon Avenue               2818‐36 E 78th Street      Estate Property   Thomas F. Gordon                                                $                200,000.00         Equity Investor       $             100,000.00    77‐2023
       70                638‐40 N Avers Avenue                                           Estate Property   Thomas Walsh                                                    $                 51,749.99        Investor‐Lender        $               50,000.00   70‐738
        1               1700‐08 Juneway Terrace                                          Estate Property   Thorofare Asset Based Lending REIT Fund IV, LLC                 $              2,698,151.51      Institutional Lender                                 1‐1188
      101               6949‐59 S Merrill Avenue                                         Estate Property   Thorofare Asset Based Lending REIT Fund IV, LLC                 $              1,915,706.50      Institutional Lender                                 101‐1188
        1               1700‐08 Juneway Terrace                                          Estate Property   Tiger Chang Investments LLC                                     $                 49,000.00        Investor‐Lender        $               10,000.00   1‐164
        3                5001 S Drexel Boulevard                909 E 50th Street        Estate Property   Tiger Chang Investments LLC                                     $                   5,000.00        Equity Investor       $                5,000.00   3‐164
        9                  8100 S Essex Avenue               2449‐57 East 81st Street    Estate Property   Tiger Chang Investments LLC                                     $                 49,000.00        Investor‐Lender        $               10,000.00   9‐164
       76              7635‐43 S East End Avenue                                         Estate Property   Tiger Chang Investments LLC                                     $                 49,000.00        Investor‐Lender        $               25,000.00   76‐164
    102‐106              7927‐49 S Essex Avenue                                          Estate Property   Tiger Chang Investments LLC                                     $                 49,000.00        Investor‐Lender        $                4,000.00   102‐164
        9                  8100 S Essex Avenue               2449‐57 East 81st Street    Estate Property   Timmy Rink                                                                                         Investor‐Lender                                    9‐217
      123              7107‐29 S Bennett Avenue                                          Former Property   TIMMY RINKJ                                                     $                 78,048.23        Investor‐Lender                                    123‐229
        4               5450‐52 S Indiana Avenue                118‐132 E Garfield       Estate Property   Timothy S Sharp                                                 $                650,000.00        Investor‐Lender        $               50,000.00   4‐76
        9                  8100 S Essex Avenue               2449‐57 East 81st Street    Estate Property   Timothy S Sharp                                                 $                650,000.00        Investor‐Lender        $               50,000.00   9‐76
       58              5955 S Sacramento Avenue               2948‐56 W 60th Street      Estate Property   Timothy S Sharp                                                 $                650,000.00        Investor‐Lender        $               50,000.00   58‐76
       64              4611‐17 S Drexel Boulevard                                        Estate Property   Timothy S Sharp                                                 $                650,000.00        Investor‐Lender        $               50,000.00   64‐76
       68            6217‐27 S Dorchester Avenue                                         Estate Property   Timothy S Sharp                                                 $                650,000.00        Investor‐Lender        $             100,000.00    68‐76
       85            7201‐07 S Dorchester Avenue               1401 E 72nd Street        Estate Property   Timothy S Sharp                                                 $                650,000.00        Investor‐Lender        $               50,000.00   85‐76
       86              7442‐48 S Calumet Avenue                                          Estate Property   Timothy S Sharp                                                 $                650,000.00        Investor‐Lender        $               50,000.00   86‐76
       89              7600‐10 S Kingston Avenue              2527‐29 E 76th Street      Estate Property   Timothy S Sharp                                                 $                650,000.00        Investor‐Lender        $               50,000.00   89‐76
       92                7748‐52 S Essex Avenue               2450‐52 E 78th Street      Estate Property   Timothy S Sharp                                                 $                650,000.00        Investor‐Lender        $             100,000.00    92‐76
      100           11117‐11119 S Longwood Drive                                         Estate Property   Timothy S Sharp                                                 $                650,000.00        Investor‐Lender        $               50,000.00   100‐76
    102‐106              7927‐49 S Essex Avenue                                          Estate Property   Timothy S Sharp                                                 $                650,000.00        Investor‐Lender        $               50,000.00   102‐76
    13 to 15                        CCF2                                                 Fund              Timothy S Sharp                                                 $                650,000.00        Investor‐Lender        $               50,000.00   13‐76
        4               5450‐52 S Indiana Avenue                118‐132 E Garfield       Estate Property   TMAKINDE, LLC                                                   $                247,000.00        Investor‐Lender        $               25,000.00   4‐372
       59            6001‐05 S Sacramento Avenue              2945‐51 W 60th Street      Estate Property   TMAKINDE, LLC                                                   $                247,000.00        Investor‐Lender        $             108,000.00    59‐372
       70                638‐40 N Avers Avenue                                           Estate Property   TMAKINDE, LLC                                                   $                247,000.00        Investor‐Lender        $             114,000.00    70‐372
       79         6160‐6212 S Martin Luther King Drive                                   Estate Property   Todd Colucy                                                     $                 54,000.02        Investor‐Lender        $               50,000.00   79‐70
      901                          SSDF1                                                 Fund              Todd Colucy                                                     $                 50,000.00         Equity Investor       $               50,000.00   901‐322
        5              7749‐59 S Yates Boulevard                                         Estate Property   Tolu Makinde                                                    $                 90,000.00        Investor‐Lender        $               30,000.00   5‐370
       70                638‐40 N Avers Avenue                                           Estate Property   Tolu Makinde                                                    $                 90,000.00        Investor‐Lender        $               15,000.00   70‐370
       73                7255‐57 S Euclid Avenue              1940‐44 E 73rd Street      Estate Property   Tolu Makinde                                                    $                 90,000.00        Investor‐Lender        $               25,000.00   73‐370
      908                          SSDF8                                                 Fund              Tolu Makinde                                                    $                 90,000.00        Investor‐Lender        $               20,000.00   908‐370
       68            6217‐27 S Dorchester Avenue                                         Estate Property   Top Mark Home Solutions                                         $                 30,800.00        Investor‐Lender        $               30,000.00   68‐1416
       71                  701‐13 S 5th Avenue                     414 Walnut            Estate Property   Toramba Trust (ROTH) Matthew Boyd, Trustee                      $                158,000.00        Investor‐Lender        $               58,000.00   71‐2062
    13 to 15                        CCF2                                                 Fund              Toramba Trust (ROTH) Matthew Boyd, Trustee                      $                100,000.00         Equity Investor       $             100,000.00    13‐2062
       76              7635‐43 S East End Avenue                                         Estate Property   Total Return Income Fund, LLC Thomas Garlock, Managing Member   $              1,571,886.00        Investor‐Lender        $             520,000.00    76‐1366
      122             7616‐7624 S Phillips Avenue                                        Former Property   Total Return Income Fund, LLC Thomas Garlock, Managing Member   $              1,571,886.00        Investor‐Lender        $             435,350.00    122‐1366
      123              7107‐29 S Bennett Avenue                                          Former Property   Total Return Income Fund, LLC Thomas Garlock, Managing Member   $              1,571,886.00        Investor‐Lender        $             400,000.00    123‐1366
      152                  7635 S Coles Avenue                                           Former Property   Total Return Income Fund, LLC Thomas Garlock, Managing Member   $              1,571,886.00        Investor‐Lender        $             105,000.00    152‐1366
       59            6001‐05 S Sacramento Avenue              2945‐51 W 60th Street      Estate Property   Towpath Investments LLC ‐ Robert Kessing (manager)              $                135,000.00        Investor‐Lender        $               30,000.00   59‐338
       78               7201 S Constance Avenue               1825‐31 E 72nd Street      Estate Property   Towpath Investments LLC ‐ Robert Kessing (manager)              $                135,000.00        Investor‐Lender        $               50,000.00   78‐338
       85            7201‐07 S Dorchester Avenue                1401 E 72nd Street       Estate Property   Towpath Investments LLC ‐ Robert Kessing (manager)              $                135,000.00        Investor‐Lender        $               30,000.00   85‐338
       89              7600‐10 S Kingston Avenue              2527‐29 E 76th Street      Estate Property   Towpath Investments LLC ‐ Robert Kessing (manager)              $                135,000.00        Investor‐Lender        $               25,000.00   89‐338
       76              7635‐43 S East End Avenue                                         Estate Property   Trey Hopkins                                                    $                100,000.00        Investor‐Lender        $             100,000.00    76‐714
       71                  701‐13 S 5th Avenue                    414 Walnut             Estate Property   TruStar Real Estate Solutions, LLC                              $                385,000.00        Investor‐Lender        $               75,000.00   71‐337
       74                3074 Cheltenham Place                 7836 S Shore Drive        Estate Property   TruStar Real Estate Solutions, LLC                              $                385,000.00        Investor‐Lender        $               75,000.00   74‐337
       89              7600‐10 S Kingston Avenue              2527‐29 E 76th Street      Estate Property   TruStar Real Estate Solutions, LLC                              $                385,000.00        Investor‐Lender        $             210,000.00    89‐337
     96‐99                8326‐58 S Ellis Avenue                                         Estate Property   TruStar Real Estate Solutions, LLC                              $                385,000.00        Investor‐Lender        $               25,000.00   96‐337
       79         6160‐6212 S Martin Luther King Drive                                   Estate Property   TSC Trust (Patricia Scully, Trustee)                            $                 50,000.00        Investor‐Lender        $               50,000.00   79‐2063




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Property Number            Property Address                   Alternative Address               Type                                     Claimant Name                                     Claimed Amount (Total     Claim Category as Identified   Amount Claimed to be       Claim Number
                                                                                                                                                                                         Claimed Amount in Claim            on Claim Form            Invested in Property
                                                                                                                                                                                          Category as Identified on
                                                                                                                                                                                                Claim Form)
       7               7109‐19 S Calumet Avenue                                        Estate Property   U.S. Bank National Association, as Trustee for the Registered Holders of J.P.   $              1,691,737.07     Institutional Lender                                7‐1453
                                                                                                         Morgan Chase Commercial Mortgage Securities Corp., Multifamily Mortgage Pass‐
                                                                                                         Through Certificates, Series 2017‐SB30
      63              4520‐26 S Drexel Boulevard                                       Estate Property   U.S. Bank National Association, as Trustee for the Registered Holders of J.P.   $              4,830,977.15     Institutional Lender                                63‐1448
                                                                                                         Morgan Chase Commercial Mortgage Securities Corp., Multifamily Mortgage Pass‐
                                                                                                         Through Certificates, Series 2017‐SB41
      65               6751‐59 S Merrill Avenue             2136‐40 East 68th Street   Estate Property   U.S. Bank National Association, as Trustee for the Registered Holders of J.P.   $              1,604,962.42     Institutional Lender                                65‐1328
                                                                                                         Morgan Chase Commercial Mortgage Securities Corp., Multifamily Mortgage Pass‐
                                                                                                         Through Certificates, Series 2018‐SB50*
      66                 7110 S Cornell Avenue                                         Estate Property   U.S. Bank National Association, as Trustee for the Registered Holders of J.P.   $              1,400,491.73     Institutional Lender                                66‐1327
                                                                                                         Morgan Chase Commercial Mortgage Securities Corp., Multifamily Mortgage Pass‐
                                                                                                         Through Certificates, Series 2018‐SB50*
      107               1422‐24 East 68th Street                                       Estate Property   UBS AG                                                                          $              4,649,579.63     Institutional Lender                                107‐2086
      108                2800‐06 E 81st Street                                         Estate Property   UBS AG                                                                          $              4,649,579.63     Institutional Lender                                108‐2086
      109              4750‐52 S Indiana Avenue                                        Estate Property   UBS AG                                                                          $              4,649,579.63     Institutional Lender                                109‐2086
      110          5618‐20 S Martin Luther King Drive                                  Estate Property   UBS AG                                                                          $              4,649,579.63     Institutional Lender                                110‐2086
      111                6558 S Vernon Avenue                416‐24 E 66th Street      Estate Property   UBS AG                                                                          $              4,649,579.63     Institutional Lender                                111‐2086
      112                 7450 S Luella Avenue               2220 East 75th Street     Estate Property   UBS AG                                                                          $              4,649,579.63     Institutional Lender                                112‐2086
      113               7840‐42 S Yates Avenue                                         Estate Property   UBS AG                                                                          $              4,649,579.63     Institutional Lender                                113‐2086
       76             7635‐43 S East End Avenue                                        Estate Property   Umbrella Investment Partners                                                    $                 72,894.00       Investor‐Lender          $            12,833.00   76‐1167
       87                 7508 S Essex Avenue                2453‐59 E 75th Street     Estate Property   Umbrella Investment Partners                                                    $                 72,894.00       Investor‐Lender          $            40,000.00   87‐1167
       95               8201 S Kingston Avenue                                         Estate Property   Umbrella Investment Partners                                                    $                 72,894.00       Investor‐Lender          $             5,000.00   95‐1167
    102‐106             7927‐49 S Essex Avenue                                         Estate Property   Umbrella Investment Partners                                                    $                 41,500.00        Equity Investor         $            40,000.00   102‐1167
     96‐99               8326‐58 S Ellis Avenue                                        Estate Property   Umbrella Investment Partners                                                    $                 72,894.00       Investor‐Lender          $            12,500.00   96‐1167
        5              7749‐59 S Yates Boulevard                                       Estate Property   United Capital Properties, LLC                                                  $                144,999.00       Investor‐Lender          $               979.00   5‐1480
       75             7625‐33 S East End Avenue                                        Estate Property   United Capital Properties, LLC                                                  $                144,999.00       Investor‐Lender          $             2,303.00   75‐1480
       79         6160‐6212 S Martin Luther King Drive                                 Estate Property   United Capital Properties, LLC                                                  $                144,999.00       Investor‐Lender          $            30,000.00   79‐1480
       84               7051 S Bennett Avenue                                          Estate Property   United Capital Properties, LLC                                                  $                144,999.00       Investor‐Lender          $            36,730.00   84‐1480
       89             7600‐10 S Kingston Avenue              2527‐29 E 76th Street     Estate Property   United Capital Properties, LLC                                                  $                144,999.00       Investor‐Lender          $            11,257.00   89‐1480
       92               7748‐52 S Essex Avenue               2450‐52 E 78th Street     Estate Property   United Capital Properties, LLC                                                  $                144,999.00       Investor‐Lender          $             8,730.00   92‐1480
      904                  SSDF4 Legacy Fund                                           Fund              United Capital Properties, LLC                                                  $                144,999.00       Investor‐Lender          $            55,000.00   904‐1480

       3                5001 S Drexel Boulevard                909 E 50th Street       Estate Property   US Freedom Investments, LLC                                                     $               175,500.00        Investor‐Lender          $            17,000.00   3‐1234
      72                7024‐32 S Paxton Avenue                                        Estate Property   US Freedom Investments, LLC                                                     $               175,500.00        Investor‐Lender          $            50,000.00   72‐1234
      73                7255‐57 S Euclid Avenue              1940‐44 E 73rd Street     Estate Property   US Freedom Investments, LLC                                                     $               175,500.00        Investor‐Lender          $            25,000.00   73‐1234
      78               7201 S Constance Avenue               1825‐31 E 72nd Street     Estate Property   US Freedom Investments, LLC                                                     $               175,500.00        Investor‐Lender          $            25,000.00   78‐1234
      79          6160‐6212 S Martin Luther King Drive                                 Estate Property   US Freedom Investments, LLC                                                     $               175,500.00        Investor‐Lender          $            25,000.00   79‐1234
      88               7546‐48 S Saginaw Avenue                                        Estate Property   US Freedom Investments, LLC                                                     $               175,500.00        Investor‐Lender          $             7,500.00   88‐1234
      901                        SSDF1                                                 Fund              US Freedom Investments, LLC                                                     $               175,500.00         Equity Investor         $           100,000.00   901‐1234
      904                        SSDF4                                                 Fund              US Freedom Investments, LLC                                                     $               175,500.00         Equity Investor         $            32,500.00   904‐1234
     13‐15                2909‐19 E 78th Street                                        Fund              US Freedom Investments, LLC                                                     $               175,500.00        Investor‐Lender          $            25,000.00   13‐1234
                         7549‐59 S Essex Avenue
                      8047‐55 S Manistee Avenue
      89              7600‐10 S Kingston Avenue              2527‐29 E 76th Street     Estate Property   Uyen Dinh                                                                       $                 15,793.28       Investor‐Lender          $             7,192.81   89‐2075
     13‐15                2909‐19 E 78th Street                                        Fund              Vagmi LLC                                                                       $                 27,113.23       Investor‐Lender          $            25,000.00   13‐1467
                         7549‐59 S Essex Avenue
                      8047‐55 S Manistee Avenue
     13‐15                2909‐19 E 78th Street                                        Fund              Vagmi LLC                                                                       $                 54,058.32       Investor‐Lender          $            50,000.00   13‐1465
                         7549‐59 S Essex Avenue
                      8047‐55 S Manistee Avenue
    10 to 12           7301‐09 S Stewart Avenue                                        Fund              Vagmi, LLC                                                                      $                 55,484.91       Investor‐Lender          $            50,000.00   10‐1462
                      7500‐06 S Eggleston Avenue
                          3030‐32 E 79th Street
      79          6160‐6212 S Martin Luther King Drive                                 Estate Property   Valery Lipenko                                                                  $                 50,000.00       Investor‐Lender          $            50,000.00   79‐517
       2               4533‐47 S Calumet Avenue                                        Estate Property   Vantage Appraisals 401k Profit Sharing Plan Benef Patricia Mueller Dcd          $                 81,024.17       Investor‐Lender          $            55,000.00   2‐1191

        4              5450‐52 S Indiana Avenue                118‐132 E Garfield      Estate Property   Vartan Tarakchyan                                                               $               415,000.00         Equity Investor         $            30,000.00   4‐1118
       6              6437‐41 S Kenwood Avenue                                         Estate Property   Vartan Tarakchyan                                                               $               415,000.00         Equity Investor         $            70,000.00   6‐1118
      58              5955 S Sacramento Avenue               2948‐56 W 60th Street     Estate Property   Vartan Tarakchyan                                                               $               415,000.00         Equity Investor         $            50,000.00   58‐1118
      61               7237‐43 S Bennett Avenue                                        Estate Property   Vartan Tarakchyan                                                               $               415,000.00         Equity Investor         $            20,000.00   61‐1118
      64              4611‐17 S Drexel Boulevard                                       Estate Property   Vartan Tarakchyan                                                               $               415,000.00         Equity Investor         $            50,000.00   64‐1118
       85            7201‐07 S Dorchester Avenue              1401 E 72nd Street       Estate Property   Vartan Tarakchyan                                                               $               415,000.00         Equity Investor         $            65,000.00   85‐1118
      904                        SSDF4                                                 Fund              Vartan Tarakchyan                                                               $               415,000.00         Equity Investor         $           130,000.00   904‐1118
        4              5450‐52 S Indiana Avenue                118‐132 E Garfield      Estate Property   Verdell Michaux                                                                 $                34,000.00         Equity Investor         $             5,000.00   4‐2039
       81             4317‐19 S Michigan Avenue                                        Estate Property   Verdell Michaux                                                                 $                34,000.00         Equity Investor         $             4,000.00   81‐2039
      111                6558 S Vernon Avenue                 416‐24 E 66th Street     Estate Property   Verdell Michaux                                                                 $                34,000.00         Equity Investor         $            25,000.00   111‐2039




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Property Number            Property Address                   Alternative Address             Type                                    Claimant Name                                    Claimed Amount (Total      Claim Category as Identified   Amount Claimed to be       Claim Number
                                                                                                                                                                                      Claimed Amount in Claim            on Claim Form            Invested in Property
                                                                                                                                                                                      Category as Identified on
                                                                                                                                                                                            Claim Form)
       3                5001 S Drexel Boulevard                909 E 50th Street     Estate Property   Victor Esposito T/A 2E‐LLC I am the manager member and the sole member of 2E‐ $                 50,000.00        Investor‐Lender          $            50,000.00   3‐308
                                                                                                       LLC
      902                        SSDF2                                               Fund              Victor Esposito T/A 2E‐LLC I am the manager member and the sole member of 2E‐ $                 50,000.00         Equity Investor         $            50,000.00   902‐308
                                                                                                       LLC
        3                5001 S Drexel Boulevard               909 E 50th Street     Estate Property   Victor Shaw                                                                   $                296,025.03        Investor‐Lender          $            50,000.00   3‐1040
       78               7201 S Constance Avenue              1825‐31 E 72nd Street   Estate Property   Victor Shaw                                                                   $                296,025.03        Investor‐Lender          $            55,000.00   78‐1040
       79         6160‐6212 S Martin Luther King Drive                               Estate Property   Victor Shaw                                                                   $                296,025.03        Investor‐Lender          $            50,000.00   79‐1040
      100           11117‐11119 S Longwood Drive                                     Estate Property   Victor Shaw                                                                   $                296,025.03        Investor‐Lender          $            50,000.00   100‐1040
    102‐106              7927‐49 S Essex Avenue                                      Estate Property   Victor Shaw                                                                   $                296,025.03        Investor‐Lender          $            30,000.00   102‐1040
     96‐99                8326‐58 S Ellis Avenue                                     Estate Property   Victor Shaw                                                                   $                296,025.03        Investor‐Lender          $            50,000.00   96‐1040
     96‐99                8326‐58 S Ellis Avenue                                     Estate Property   Viren R Patel                                                                 $                 50,000.00        Investor‐Lender          $            50,000.00   96‐507
       83               6356 S California Avenue              2804 W 64th Street     Estate Property   Virginia Lieblein                                                             $                 19,551.16        Investor‐Lender          $            16,698.33   83‐110
      109               4750‐52 S Indiana Avenue                                     Estate Property   Virginia Lieblein                                                             $                 19,551.16        Investor‐Lender          $             2,852.83   109‐110
     96‐99                8326‐58 S Ellis Avenue                                     Estate Property   Virginia S Oton                                                               $                   9,710.00       Investor‐Lender          $             9,710.00   96‐105
       79         6160‐6212 S Martin Luther King Drive                               Estate Property   Vistex Properties LLC                                                         $                107,000.02        Investor‐Lender          $           100,000.00   79‐1318
        4               5450‐52 S Indiana Avenue               118‐132 E Garfield    Estate Property   Vivek Pingili                                                                 $                150,213.00        Investor‐Lender          $            30,000.00   4‐522
      126            5201‐5207 W Washington Blvd                                     Former Property   Vivek Pingili                                                                 $                150,213.00        Investor‐Lender          $           130,213.00   126‐522
        1               1700‐08 Juneway Terrace                                      Estate Property   Vladimir Matviishin                                                           $                290,200.00        Investor‐Lender          $             7,500.00   1‐1294
        2              4533‐47 S Calumet Avenue                                      Estate Property   Vladimir Matviishin                                                           $                290,200.00        Investor‐Lender          $            51,000.00   2‐1294
        4               5450‐52 S Indiana Avenue               118‐132 E Garfield    Estate Property   Vladimir Matviishin                                                           $                290,200.00        Investor‐Lender          $            14,000.00   4‐1294
       62                 7834‐44 S Ellis Avenue                                     Estate Property   Vladimir Matviishin                                                           $                199,075.00        Investor‐Lender          $            50,000.00   62‐233
       64              4611‐17 S Drexel Boulevard                                    Estate Property   Vladimir Matviishin                                                           $                290,200.00        Investor‐Lender          $             8,000.00   64‐1294
       69                 6250 S Mozart Avenue               2832‐36 W 63rd Street   Estate Property   Vladimir Matviishin                                                           $                290,200.00        Investor‐Lender          $           150,000.00   69‐1294
       71                  701‐13 S 5th Avenue                    414 Walnut         Estate Property   Vladimir Matviishin                                                           $                199,075.00        Investor‐Lender          $            55,000.00   71‐233
       73                7255‐57 S Euclid Avenue             1940‐44 E 73rd Street   Estate Property   Vladimir Matviishin                                                           $                199,075.00        Investor‐Lender          $            50,000.00   73‐233
       74                3074 Cheltenham Place                 7836 S Shore Drive    Estate Property   Vladimir Matviishin                                                           $                199,075.00        Investor‐Lender          $            28,075.00   74‐233
       95                8201 S Kingston Avenue                                      Estate Property   Vladimir Matviishin                                                           $                290,200.00        Investor‐Lender          $            20,000.00   95‐1294
      904                         SSDF4                                              Fund              Vladimir Matviishin                                                           $                 50,000.00         Equity Investor         $            50,000.00   904‐1395
       61              7237‐43 S Bennett Avenue                                      Estate Property   Vladimir Matviishin, dba Network Expert                                       $                165,000.00        Investor‐Lender          $            50,000.00   61‐1382
       62                 7834‐44 S Ellis Avenue                                     Estate Property   Vladimir Matviishin, dba Network Expert                                       $                165,000.00        Investor‐Lender          $            50,000.00   62‐1382
       64              4611‐17 S Drexel Boulevard                                    Estate Property   Vladimir Matviishin, dba Network Expert                                       $                165,000.00        Investor‐Lender          $            50,000.00   64‐1382
       73                7255‐57 S Euclid Avenue             1940‐44 E 73rd Street   Estate Property   Vladimir Matviishin, dba Network Expert                                       $                138,075.00        Investor‐Lender          $            50,000.00   73‐1387
       74                3074 Cheltenham Place                7836 S Shore Drive     Estate Property   Vladimir Matviishin, dba Network Expert                                       $                138,075.00        Investor‐Lender          $            28,075.00   74‐1387
     96‐99                8326‐58 S Ellis Avenue                                     Estate Property   Vladimir Matviishin, dba Network Expert                                       $                138,075.00        Investor‐Lender          $            50,000.00   96‐1387
        1               1700‐08 Juneway Terrace                                      Estate Property   VLADIMIR RAUL GARCIA MELIJOV                                                  $                100,000.00        Investor‐Lender          $           100,000.00   1‐75
       77             7750‐58 S Muskegon Avenue              2818‐36 E 78th Street   Estate Property   Walter Akita                                                                  $                 50,000.00        Investor‐Lender          $            50,000.00   77‐1361
       63              4520‐26 S Drexel Boulevard                                    Estate Property   Walter T Akita and Margaret M Akita                                           $                 50,000.00         Equity Investor         $            50,000.00   63‐950
       74                3074 Cheltenham Place                7836 S Shore Drive     Estate Property   Walter T Akita and Margaret M Akita                                           $                100,000.00        Investor‐Lender          $            50,000.00   74‐950
       88              7546‐48 S Saginaw Avenue                                      Estate Property   Walter T Akita and Margaret M Akita                                           $                100,000.00        Investor‐Lender          $            50,000.00   88‐950
        4               5450‐52 S Indiana Avenue               118‐132 E Garfield    Estate Property   Wanda M. Behling                                                              $                 43,719.00        Investor‐Lender          $            11,219.00   4‐1025
      906                         SSDF6                                              Fund              Wanda M. Behling                                                              $                 43,719.00         Equity Investor         $            11,219.00   906‐1025
    10 to 12                       CCF1                                              Fund              Wanda M. Behling                                                              $                 43,719.00         Equity Investor         $            32,500.00   10‐1025
      124                6801 S East End Avenue                                      Former Property   Wayne K Larsen                                                                $                110,000.00         Equity Investor         $           110,000.00   124‐490
      124                6801 S East End Avenue                                      Former Property   Wayne K Larsen Diane Larsen                                                   $                110,000.00         Equity Investor         $           110,000.00   124‐853
       61              7237‐43 S Bennett Avenue                                      Estate Property   Wealth Builders 1, LLC                                                        $                 50,000.00        Investor‐Lender          $            50,000.00   61‐1275
        5              7749‐59 S Yates Boulevard                                     Estate Property   Wesley Pittman                                                                $                180,048.45        Investor‐Lender          $            32,000.00   5‐469
       56                   8209 S Ellis Avenue                                      Estate Property   Wesley Pittman                                                                $                180,048.45        Investor‐Lender          $            70,000.00   56‐469
      123              7107‐29 S Bennett Avenue                                      Former Property   Wesley Pittman                                                                $                180,048.45        Investor‐Lender          $            78,048.45   123‐469
       73                7255‐57 S Euclid Avenue             1940‐44 E 73rd Street   Estate Property   Wesley Pittman (Pittman Gold LLC)                                             $                180,048.45        Investor‐Lender          $            14,700.00   73‐469
       75              7625‐33 S East End Avenue                                     Estate Property   Wesley Pittman (Pittman Gold LLC)                                             $                180,048.45        Investor‐Lender          $           150,000.00   75‐469
       87                  7508 S Essex Avenue               2453‐59 E 75th Street   Estate Property   Wesley Pittman (Pittman Gold LLC)                                             $                180,048.45        Investor‐Lender          $            14,151.00   87‐469
       92                7748‐52 S Essex Avenue              2450‐52 E 78th Street   Estate Property   Wesley Pittman (Pittman Gold LLC)                                             $                180,048.45        Investor‐Lender          $            12,044.00   92‐469
        5              7749‐59 S Yates Boulevard                                     Estate Property   White Tiger Revocable Trust, Ira Lovitch, Zinaida Lovitch (aka Zina           $                127,152.37        Investor‐Lender          $            50,000.00   5‐537
                                                                                                       Goltsev/Goltseva), Trustees
      60               7026‐42 S Cornell Avenue                                      Estate Property   White Tiger Revocable Trust, Ira Lovitch, Zinaida Lovitch (aka Zina           $                127,152.37        Investor‐Lender          $            83,000.00   60‐537
                                                                                                       Goltsev/Goltseva), Trustees
      63               4520‐26 Drexel Boulevard                                      Estate Property   White Tiger Revocable Trust, Ira Lovitch, Zinaida Lovitch (aka Zina           $                 64,634.86         Equity Investor         $            50,000.00   63‐537
                                                                                                       Goltsev/Goltseva), Trustees
      72               7024‐32 S Paxton Avenue                                       Estate Property   White Tiger Revocable Trust, Ira Lovitch, Zinaida Lovitch (aka Zina           $                127,152.37        Investor‐Lender          $            83,000.00   72‐537
                                                                                                       Goltsev/Goltseva), Trustees
      88               7546‐48 S Saginaw Avenue                                      Estate Property   White Tiger Revocable Trust, Ira Lovitch, Zinaida Lovitch (aka Zina           $                127,152.37        Investor‐Lender          $            17,000.00   88‐537
                                                                                                       Goltsev/Goltseva), Trustees
    10 to 12                     CCF1                                                Fund              White Tiger Revocable Trust, Ira Lovitch, Zinaida Lovitch (aka Zina           $                 64,634.86         Equity Investor         $            30,000.00   10‐537
                                                                                                       Goltsev/Goltseva), Trustees




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                                                                                                                     Case No. 18‐cv‐5587




Property Number            Property Address                   Alternative Address               Type                                      Claimant Name                                       Claimed Amount (Total     Claim Category as Identified Amount Claimed to be          Claim Number
                                                                                                                                                                                             Claimed Amount in Claim           on Claim Form           Invested in Property
                                                                                                                                                                                             Category as Identified on
                                                                                                                                                                                                   Claim Form)
      N/A                         N/A                                                  Other             Whitley Penn LLP                                                                   $                161,406.22        Trade Creditor                                    536
     96‐99               8326‐58 S Ellis Avenue                                        Estate Property   Wiegert Tierie                                                                     $                104,000.00       Investor‐Lender        $               10,000.00   96‐74
       79         6160‐6212 S Martin Luther King Drive                                 Estate Property   William (Will) J Cook III                                                          $                100,000.00       Investor‐Lender                                    79‐700
       89             7600‐10 S Kingston Avenue              2527‐29 E 76th Street     Estate Property   William and Janice Halbur                                                          $                 20,000.00       Investor‐Lender                                    89‐2025
       79         6160‐6212 S Martin Luther King Drive                                 Estate Property   William B. Dreischmeir                                                                                               Investor‐Lender        $               60,000.00   79‐2017
        1              1700‐08 Juneway Terrace                                         Estate Property   William H. Akins, Jr.                                                              $              1,100,000.00        Equity Investor       $               20,000.00   1‐2003
        4              5450‐52 S Indiana Avenue                118‐132 E Garfield      Estate Property   William H. Akins, Jr.                                                              $              1,100,000.00        Equity Investor       $               10,000.00   4‐2003
       61              7237‐43 S Bennett Avenue                                        Estate Property   William H. Akins, Jr.                                                              $              1,100,000.00        Equity Investor       $               35,000.00   61‐2003
       73               7255‐57 S Euclid Avenue              1940‐44 E 73rd Street     Estate Property   William H. Akins, Jr.                                                              $              1,100,000.00       Investor‐Lender        $               50,000.00   73‐2003
       87                 7508 S Essex Avenue                2453‐59 E 75th Street     Estate Property   William H. Akins, Jr.                                                              $              1,100,000.00        Equity Investor       $             110,000.00    87‐2003
      100           11117‐11119 S Longwood Drive                                       Estate Property   William H. Akins, Jr.                                                              $              1,100,000.00       Investor‐Lender        $             250,000.00    100‐2003
    10 to 12                      CCF1                                                 Fund              William H. Akins, Jr.                                                              $              1,100,000.00 Investor‐Lender and Equity $                 25,000.00   10‐2003
                                                                                                                                                                                                                                  Investor
      85             7201‐07 S Dorchester Avenue              1401 E 72nd Street       Estate Property   William H. Akins, Jr.                                                              $              1,100,000.00        Equity Investor       $               50,000.00   85‐2003
       1               1700‐08 Juneway Terrace                                         Estate Property   William H. Akins, Jr. (CAMA SDIRA LLC FBO Bill Akins IRA)                          $              1,100,000.00       Investor‐Lender        $               25,000.00   1‐2003
      4               5450‐52 S Indiana Avenue                118‐132 E Garfield       Estate Property   William H. Akins, Jr. (CAMA SDIRA LLC FBO Bill Akins IRA)                          $              1,100,000.00       Investor‐Lender        $               20,000.00   4‐2003
      9                  8100 S Essex Avenue                2449‐57 East 81st Street   Estate Property   William H. Akins, Jr. (CAMA SDIRA LLC FBO Bill Akins IRA)                          $              1,100,000.00 Investor‐Lender and Equity $                 60,000.00   9‐2003
                                                                                                                                                                                                                                  Investor
      61               7237‐43 S Bennett Avenue                                        Estate Property   William H. Akins, Jr. (CAMA SDIRA LLC FBO Bill Akins IRA)                          $              1,100,000.00       Investor‐Lender        $             100,000.00    61‐2003
       79         6160‐6212 S Martin Luther King Drive                                 Estate Property   William H. Akins, Jr. (CAMA SDIRA LLC FBO Bill Akins IRA)                          $              1,100,000.00       Investor‐Lender        $               35,000.00   79‐2003
      87                  7508 S Essex Avenue                2453‐59 E 75th Street     Estate Property   William H. Akins, Jr. (CAMA SDIRA LLC FBO Bill Akins IRA)                          $              1,100,000.00       Investor‐Lender        $               10,000.00   87‐2003
       94              816‐20 E Marquette Road                                         Estate Property   William H. Akins, Jr. (CAMA SDIRA LLC FBO Bill Akins IRA)                          $              1,100,000.00       Investor‐Lender        $             250,000.00    94‐2003
       1                1700‐08 Juneway Terrace                                        Estate Property   William Hooper                                                                     $                 93,000.00        Equity Investor       $               54,800.00   1‐278
      904                        SSDF4                                                 Fund              William Hooper                                                                     $                 93,000.00        Equity Investor       $               93,000.00   904‐278
       2               4533‐47 S Calumet Avenue                                        Estate Property   William Needham                                                                    $                355,428.00       Investor‐Lender        $             169,500.00    2‐80
      61               7237‐43 S Bennett Avenue                                        Estate Property   William Needham                                                                    $                355,428.00       Investor‐Lender        $               35,000.00   61‐80
      62                 7834‐44 S Ellis Avenue                                        Estate Property   William Needham                                                                    $                355,428.00       Investor‐Lender        $             200,000.00    62‐80
       71                 701‐13 S 5th Avenue                     414 Walnut           Estate Property   William Needham                                                                    $                355,428.00       Investor‐Lender        $               50,000.00   71‐80
       79         6160‐6212 S Martin Luther King Drive                                 Estate Property   William Needham                                                                    $                355,428.00       Investor‐Lender        $               25,000.00   79‐80
      94               816‐20 E Marquette Road                                         Estate Property   William Needham                                                                    $                355,428.00       Investor‐Lender        $                6,000.00   94‐80
      126            5201‐5207 W Washington Blvd                                       Former Property   William S Burk                                                                     $                 46,131.08       Investor‐Lender        $               50,000.00   126‐925
       3                5001 S Drexel Boulevard                909 E 50th Street       Estate Property   Wilmington Trust, National Association, As Trustee For the Registered Holders of   $              2,879,601.67     Institutional Lender                                 3‐1329
                                                                                                         Wells Fargo Commercial Mortgage Trust 2014‐LC16, Commercial Mortgage Pass‐
                                                                                                         Through Certificates, Series 2014‐LC16*
       76             7635‐43 S East End Avenue                                        Estate Property   Winnie Quick Blackwell (née Winnie Jannett Quick)                                  $                 11,000.00       Investor‐Lender         $             11,000.00    76‐102
      130               4511 N Merimac Avenue                                          Former Property   Wisconsin Real Estate Investment Solutions LLC                                     $                101,166.49       Investor‐Lender         $             25,000.00    130‐1473
      132                9531 S Fairfield Avenue                                       Former Property   Wisconsin Real Estate Investment Solutions LLC                                     $                101,166.49       Investor‐Lender         $             50,000.00    132‐1473
       58             5955 S Sacramento Avenue               2948‐56 W 60th Street     Estate Property   Wisemove Properties LLC, (Anthony and Linda Reid, members)                         $                668,979.00       Investor‐Lender                                    58‐168
       61              7237‐43 S Bennett Avenue                                        Estate Property   Wisemove Properties LLC, (Anthony and Linda Reid, members)                         $                668,979.00       Investor‐Lender                                    61‐168
       64             4611‐17 S Drexel Boulevard                                       Estate Property   Wisemove Properties LLC, (Anthony and Linda Reid, members)                         $                668,979.00       Investor‐Lender                                    64‐168
       68            6217‐27 S Dorchester Avenue                                       Estate Property   Wisemove Properties LLC, (Anthony and Linda Reid, members)                         $                668,979.00       Investor‐Lender                                    68‐168
       79         6160‐6212 S Martin Luther King Drive                                 Estate Property   Wisemove Properties LLC, (Anthony and Linda Reid, members)                         $                668,979.00       Investor‐Lender                                    79‐168
       84                7051 S Bennett Avenue                                         Estate Property   Wisemove Properties LLC, (Anthony and Linda Reid, members)                         $                668,979.00       Investor‐Lender                                    84‐168
       88              7546‐48 S Saginaw Avenue                                        Estate Property   Wisemove Properties LLC, (Anthony and Linda Reid, members)                         $                668,979.00       Investor‐Lender                                    88‐168
       92                7748‐52 S Essex Avenue              2450‐52 E 78th Street     Estate Property   Wisemove Properties LLC, (Anthony and Linda Reid, members)                         $                668,979.00       Investor‐Lender                                    92‐168
       94              816‐20 E Marquette Road                                         Estate Property   Wisemove Properties LLC, (Anthony and Linda Reid, members)                         $                668,979.00       Investor‐Lender                                    94‐168
      100           11117‐11119 S Longwood Drive                                       Estate Property   Wisemove Properties LLC, (Anthony and Linda Reid, members)                         $                668,979.00       Investor‐Lender         $             50,000.00    100‐168
      904                  SSDF4 Legacy Fund                                           Fund              Wisemove Properties LLC, (Anthony and Linda Reid, members)                         $                668,979.00       Investor‐Lender                                    904‐168
      937                   Mezzazine Fund                                             Fund              Wisemove Properties LLC, (Anthony and Linda Reid, members)                         $                668,979.00       Investor‐Lender                                    937‐168
      100           11117‐11119 S Longwood Drive                                       Estate Property   WT Investment Trust (Wiegert Tierie)                                               $                 18,043.99       Investor‐Lender         $             17,350.00    100‐1310
       68            6217‐27 S Dorchester Avenue                                       Estate Property   Xiaoqing Chen                                                                      $                 11,408.33       Investor‐Lender         $             10,000.00    68‐1238
        1               1700‐08 Juneway Terrace                                        Estate Property   XUWEN LIN                                                                          $                 58,700.00       Investor‐Lender         $              8,700.00    1‐648
       71                 701‐13 S 5th Avenue                     414 Walnut           Estate Property   XUWEN LIN                                                                          $                 58,700.00       Investor‐Lender         $             16,521.00    71‐648
       84                7051 S Bennett Avenue                                         Estate Property   XUWEN LIN                                                                          $                 58,700.00       Investor‐Lender         $              8,523.00    84‐648
       89             7600‐10 S Kingston Avenue              2527‐29 E 76th Street     Estate Property   XUWEN LIN                                                                          $                 58,700.00       Investor‐Lender         $             24,956.00    89‐648
      904                        SSDF4                                                 Fund              Yanicque Michaux                                                                   $                 20,000.00        Equity Investor        $             20,000.00    904‐1052
       60               7026‐42 S Cornell Avenue                                       Estate Property   Yaron Fisher                                                                       $                130,193.00       Investor‐Lender         $             11,263.00    60‐479
      133                4109 N Kimball Avenue                                         Former Property   Yaron Fisher                                                                       $                130,193.00       Investor‐Lender         $              5,203.00    133‐479
    13 to 15                      CCF2                                                 Fund              Yaron Fisher                                                                       $                130,193.00       Investor‐Lender         $            108,617.00    13‐479
        4              5450‐52 S Indiana Avenue                118‐132 E Garfield      Estate Property   Yin Liu, Ping Xu                                                                   $                300,000.00       Investor‐Lender         $            200,000.00    4‐1368
       79         6160‐6212 S Martin Luther King Drive                                 Estate Property   Yin Liu, Ping Xu                                                                   $                300,000.00       Investor‐Lender         $            100,000.00    79‐1368
      100           11117‐11119 S Longwood Drive                                       Estate Property   Yin Liu, Ping Xu                                                                   $                150,000.00        Equity Investor        $            100,000.00    100‐1368
       67                 1131‐41 E 79th Place                                         Estate Property   Ying Xu (Brainwave Investments)                                                    $                126,625.00       Investor‐Lender                                    67‐134




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                                                                                                               Case No. 18‐cv‐5587




Property Number         Property Address                   Alternative Address            Type                                    Claimant Name                                  Claimed Amount (Total     Claim Category as Identified   Amount Claimed to be       Claim Number
                                                                                                                                                                                Claimed Amount in Claim           on Claim Form            Invested in Property
                                                                                                                                                                                Category as Identified on
                                                                                                                                                                                      Claim Form)
    10 to 12                 CCF1                                                Fund              Ying Xu (Brainwave Investments)                                             $                126,625.00       Investor‐Lender                                   10‐134
       61          7237‐43 S Bennett Avenue                                      Estate Property   Young Family Trust                                                          $                115,000.00       Investor‐Lender          $            30,000.00   61‐1452
       68         6217‐27 S Dorchester Avenue                                    Estate Property   Young Family Trust                                                          $                115,000.00       Investor‐Lender          $            40,000.00   68‐1452
       74           3074 Cheltenham Place                  7836 S Shore Drive    Estate Property   Young Family Trust                                                          $                115,000.00       Investor‐Lender          $            45,000.00   74‐1452
       74           3074 Cheltenham Place                  7836 S Shore Drive    Estate Property   Yvette Nazaire Camacho (iPlanGroup Agent for Custodian FBO Yvette Nazaire   $                 30,000.00       Investor‐Lender          $            30,000.00   74‐487
                                                                                                   Camacho IRA)
       61           7237‐43 S Bennett Avenue                                     Estate Property   Yvette Sahai                                                                $                 47,048.08       Investor‐Lender                                   61‐2049
      126         5201‐5207 W Washington Blvd                                    Former Property   Yvette Sahai                                                                $                 47,048.08       Investor‐Lender          $            28,780.00   126‐2049
       1            1700‐08 Juneway Terrace                                      Estate Property   Zahra (Nina) Mofrad                                                         $                 75,000.00       Investor‐Lender          $            25,000.00   1‐1024
      62              7834‐44 S Ellis Avenue                                     Estate Property   Zahra (Nina) Mofrad                                                         $                 75,000.00       Investor‐Lender          $            75,000.00   62‐1024
       84            7051 S Bennett Avenue                                       Estate Property   ZIN INVESTMENTS LLC ‐ c/o WILLIAM J. IANNAZZI                               $                402,500.00       Investor‐Lender          $           350,000.00   84‐234
      123           7107‐29 S Bennett Avenue                                     Former Property   ZIN INVESTMENTS LLC ‐ c/o WILLIAM J. IANNAZZI                               $                 83,178.85       Investor‐Lender          $           108,766.67   123‐234
      100         11117‐11119 S Longwood Drive                                   Estate Property   Zouhair and Nada Stephan                                                    $                300,000.00       Investor‐Lender          $           150,000.00   100‐283
    102‐106          7927‐49 S Essex Avenue                                      Estate Property   Zouhair and Nada Stephan                                                    $                300,000.00       Investor‐Lender          $           150,000.00   102‐283




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